Case 1:24-cv-00490-MN           Document 16      Filed 06/12/24      Page 1 of 633 PageID #: 93




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

QUALCOMM INCORPORATION, a
Delaware corporation, QUALCOMM
TECHNOLOGIES, INC., a Delaware
corporation,                                       C.A. No. 24-490-MN


                                Plaintiffs,


       v.


ARM HOLDINGS PLC., f/k/a ARM LTD., a
U.K. corporation,


                                Defendants.



 DECLARATION OF NICHOLAS R. FUNG IN SUPPORT OF DEFENDANTS MOTION
     TO DISMISS THE COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)

        I, Nicholas R. Fung, declare and state under penalty of perjury pursuant to 28 U.S.C. §

 1746 as follows:

        1.      I am an attorney licensed to practice in California and admitted pro hac vice

 to practice before this Court. I am an attorney at Morrison & Foerster LLP, attorneys of

 record for Arm Holdings plc (“Arm”).

        2.      I make this declaration in support of Arm’s Motion to Dismiss the Complaint

 Pursuant to Fed. R. Civ. P. 12(b)(6).

        3.      The facts and matters testified to herein are true to the best of my knowledge

 and belief. I am over 18 years of age, and if called as a witness, I could, and would,

 competently testify thereto.

        4.      Attached hereto as Exhibit 1 is a true and correct redacted copy of C.A. No.
Case 1:24-cv-00490-MN        Document 16       Filed 06/12/24      Page 2 of 633 PageID #: 94




 22-1146-MN, D.I. 19, Defendants’ Answer and Defenses to Plaintiff’s Complaint and Jury

 Demand and Defendants’ Amended Counterclaim, filed October 26, 2022.

        5.     Attached hereto as Exhibit 2 is a true and correct redacted copy of C.A. No.

 22-1146-MN, D.I. 21, Plaintiff Arm Ltd.’s Answer and Affirmative Defenses to Defendants

 Qualcomm Inc., Qualcomm Technologies, Inc., and Nuvia, Inc.’s Amended Counterclaim,

 filed November 15, 2022.

        6.     Attached hereto as Exhibit 3 is a true and correct redacted copy of C.A. No.

 22-1146-MN, D.I. 303, Plaintiff’s Letter to the Honorable Laura D. Hatcher Regarding

 Redactions to the March 6, 2024 Memorandum Order, filed March 20, 2024.

        7.     Attached hereto as Exhibit 4 is a true and correct copy of C.A. No. 22-1146-

 MN, D.I. 1, Plaintiff Arm Ltd.’s Complaint, filed August 31, 2022.

        8.     Attached hereto as Exhibit 5 is a true and correct redacted copy of C.A. No.

 22-1146-MN, D.I. 296, Plaintiff’s Responsive Letter to the Honorable Laura D. Hatcher

 Regarding Defendants’ Leave to Amend Answer and Counterclaim, filed March 6, 2024.

        9.     Attached hereto as Exhibit 6 is a true and correct redacted copy of C.A. No.

 22-1146-MN, D.I 279, Defendants’ Letter to the Honorable Laura D. Hatcher Requesting

 Leave to Amend Answer and Counterclaim, filed February 29, 2024.




 Dated: June 12, 2024
 New York, NY                               /s/ Nicholas R. Fung
                                            Nicholas R. Fung
Case 1:24-cv-00490-MN        Document 16       Filed 06/12/24     Page 3 of 633 PageID #: 95




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 12, 2024, a copy of the foregoing document

was served on the counsel listed below in the manner indicated:

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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24     Page 4 of 633 PageID #: 96




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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24   Page 5 of 633 PageID #: 97




                           Exhibit 1
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 19 Filed
                                    Filed10/26/22
                                          06/12/24 Page
                                                    Page16
                                                         ofof
                                                            83633
                                                               PageID
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                                                                      #: 325
                                                                         #: 98




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ARM LTD.,                                           )
                                                    )
                       Plaintiff,                   )
                                                    )
       v.                                           )   C.A. No. 22-1146 (MN)
                                                    )
QUALCOMM INC., QUALCOMM                             )   REDACTED PUBLIC VERSION
TECHNOLOGIES, INC. and NUVIA, INC.,                 )   Original Filing Date: October 26, 2022
                                                    )   Redacted Filing Date: October 26, 2022
                       Defendants.                  )


  DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT AND
      JURY DEMAND AND DEFENDANTS’ AMENDED COUNTERCLAIM

       1.      Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively,

“Qualcomm”) are poised to release to the market several innovative products enabled by custom-

designed high-performance, low-power central processing units (“CPUs”) containing a novel

microarchitecture and related technologies that will deliver the next era of computing

innovation. While many in the industry see in this pivotal moment the opportunity for

technological advancement, ARM sees an opportunity to strongarm Qualcomm into renegotiating

the financial terms of the parties’ longstanding license agreements, using this baseless lawsuit as

leverage. With this lawsuit, ARM makes clear to the marketplace that it will act recklessly and

opportunistically, threatening the development of new and innovative products as a negotiating

tactic, not because it has valid license and trademark claims.

       2.      ARM claims, with no legal or contractual basis, that following Qualcomm’s

acquisition of NUVIA Inc. (“NUVIA”) for $1.4 billion, Qualcomm’s use of any technology

acquired from NUVIA—including NUVIA technology that was further developed by Qualcomm
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 19 Filed
                                    Filed10/26/22
                                          06/12/24 Page
                                                    Page27
                                                         ofof
                                                            83633
                                                               PageID
                                                                  PageID
                                                                      #: 326
                                                                         #: 99




and has nothing to do with ARM—violates a previously-terminated license agreement between

ARM and NUVIA.

       3.      Qualcomm has its own license agreements with ARM, under which Qualcomm has

licensed and paid for the same intellectual property that NUVIA licensed under its own separate

agreements with ARM. Therefore, even though ARM terminated the NUVIA licenses, Qualcomm

owns independent licenses for the same ARM technology and information that allow it to provide

ARM-compliant products to its customers for many years to come—a fact ARM glaringly omitted

from its complaint, and which ARM has attempted to obfuscate through an aggressive

misinformation campaign. Thus, ARM has no right to demand any destruction of Qualcomm’s

CPU technology because Qualcomm’s use of ARM technology and information is licensed under

its overlapping license agreements.

       4.      The notion that ARM has the right to control technology that is not ARM’s—and

worse yet, to ask Defendants to destroy their innovation and inventions unless substantial monetary

tribute is paid to ARM—offends customary norms of technology ownership, as well as NUVIA’s

and Qualcomm’s rights under their agreements with ARM.

       5.      Even putting aside Qualcomm’s broad license rights, ARM’s reading of the

termination obligations in the NUVIA Architecture License Agreement (“ALA”) is wrong. To the

extent any destruction obligation exists, it explicitly applies only to ARM Confidential

Information.1 But ARM again omits important facts: (1) under the NUVIA ALA, information in

the public domain is not subject to confidentiality obligations, and (2) ARM publishes its

instruction set without confidentiality restrictions. Anyone is free to go to the ARM website and



1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
    relevant license agreements.


                                                2
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page38ofof83
                                                                633
                                                                  PageID
                                                                    PageID
                                                                         #: #:
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 download the 10,000+ page ARM Architecture Reference Manual.2 In this case, Qualcomm’s

 CPU cores are designed to be compatible with the publicly-available ARM Architecture version



         6.      Seeking additional leverage it can use to attain royalties from Qualcomm to which

 it is not entitled under the contracts, ARM now demands that Qualcomm stop using all NUVIA

 technology, regardless of whether it contains ARM Confidential Information. Qualcomm’s license

 rights, and any reasonable reading of the termination provisions of the NUVIA ALA, demonstrate

 that ARM has no right to require Qualcomm to stop using or destroy Qualcomm or NUVIA

 technology.

         7.      ARM’s position is a threat to the industry generally. Unless this Court rejects

 ARM’s arguments, ARM’s extreme position could be weaponized against all of its licensees,

 allowing ARM to claim ownership over all its licensees’ innovations.

         8.      As this litigation will show, Qualcomm and NUVIA have not violated NUVIA’s

 ALA or any other license agreement. Nor have they misused ARM’s trademarks.

               Qualcomm Announced Its Acquisition Of NUVIA In January 2021

         9.      In January 2021, Qualcomm announced that it would acquire NUVIA, a start-up

 working on a custom CPU—the portion of a computer that retrieves and executes instructions—

 known as the Phoenix Core. NUVIA was also working on a custom “System-on-a Chip” (“SoC”)

 that incorporated multiple Phoenix Cores for use in data centers and servers. SoCs are integrated

 circuits used in computers and other electronics that combine many elements of a computer system

 into a single chip.



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                                                 3
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page49ofof83
                                                                633
                                                                  PageID
                                                                    PageID
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        10.     Although Qualcomm and NUVIA were focused on different market segments, the

 NUVIA CPU and SoC technologies comprised promising, innovative technology. Because the

 NUVIA CPU cores were being designed to be ARM architecture-compatible, this technology was

 (and is) compatible with Qualcomm’s existing computer and mobile device chipset technologies.

        11.     Qualcomm’s plan was to complete the development of the Phoenix Core after the

 acquisition and ultimately drive this technology into various SoCs, particularly for use in the

 “compute” (e.g., laptops/PCs), “mobile” (e.g., smartphones), and “automotive” (e.g., digital

 cockpit) markets. Qualcomm also planned to continue the development of a SoC for use in data

 centers and servers (“Server SoC”). This would allow Qualcomm’s custom CPUs to compete

 more effectively against CPUs designed not only by rival ARM licensees and ARM, but also rival

 suppliers of CPUs compliant with other instruction set architectures (notably, Intel’s x86).

        12.     Major industry participants—including Microsoft, Google, Samsung, GM, HP, and

 many others—praised the acquisition as benefitting their products and end-customers.3 News of

 this acquisition appeared in Forbes and in newspapers around the world.

                           Qualcomm And NUVIA Had Individual
                  License Agreements With ARM With Common Provisions

        13.     At the time of the acquisition, NUVIA and Qualcomm had separate, but broadly

 overlapping, license agreements with ARM. Qualcomm’s ALA included all the rights granted to

 NUVIA, as well as additional rights. Both ALAs granted rights to use version 8 of the ARM

 instruction set architecture, including the ARM         instruction set architecture (“ISA”) with




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     See Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
     https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                                  4
Case 1:24-cv-00490-MN
  Case  1:22-cv-01146-MNDocument
                         Document1619 Filed
                                      Filed06/12/24  Page510
                                            10/26/22 Page  ofof
                                                              83633 PageID
                                                                 PageID    #: 102
                                                                        #: 329




 which the Phoenix Core was compatible. Qualcomm’s ALA is also broader, granting Qualcomm

 rights to the next generation v9 ISA.

        14.     ALAs grant licensees the right to design their own custom CPUs that can execute

 ARM’s ISA, as well as the right to design and distribute products incorporating such CPUs. An

 ISA lists the instructions that a software program will see, but an ISA does not tell a designer about

 the logic to implement it, nor how to build a CPU core, nor any of the features that make a CPU

 competitive. Application and software developers create their products to be compatible with

 particular ISAs. Applications and software that are compatible with a specific ISA can be run on

 any CPU that is compatible with the ISA, regardless of who has designed or manufactured the

 hardware. The ARM ISA allows for compatibility, as all ARM-compatible products can receive

 the same inputs (instructions) and, for each of those inputs, determine and output the proper result.

        15.     To make a CPU that then can execute the ARM ISA and therefore run compatible

 applications and other software, the CPU developer must design and build a complicated integrated

 circuit consisting of billions of transistors wired together into arrays that form larger,

 interconnected blocks. Building a CPU requires detailed micro-architectural know-how and

 expertise that is not related to the ISA, and requires expertise in cache design, branch prediction

 techniques, prefetchers, memory coherency/consistency paradigms, dependency resolution logic,

 schedulers, power delivery, power measurement and management, clocking methodology, and

 many other areas.

        16.     A CPU developer developing a custom CPU designs how the core is built, how it

 performs, and how it executes the CPU’s instructions. There are virtually infinite number of ways

 to design and build CPUs that can run the ARM instruction set. Companies that compete against

 each other to make better products utilizing ARM instruction sets employ armies of engineers who




                                                   5
Case 1:24-cv-00490-MN
  Case  1:22-cv-01146-MNDocument
                         Document1619 Filed
                                      Filed06/12/24  Page611
                                            10/26/22 Page  ofof
                                                              83633 PageID
                                                                 PageID    #: 103
                                                                        #: 330




 make countless design choices and tradeoffs to improve the size, computing performance, power

 consumption, heat dissipation, and other important features of CPUs.

        17.     Under an ALA license, ARM does not deliver any specific ARM design or tell the

 licensee how to make the CPU. That technological development—and the resulting product that

 may meet or fail the performance benchmarks necessary to succeed in the market—is left to the

 licensee. If the licensee is willing to put in the extraordinary effort and investment to develop a

 custom CPU, the ALA structure can and does allow for product differentiation, even from ARM’s

 own CPUs.

        18.     ARM competes against licensees designing custom cores under ALAs by offering

 its own “off-the-shelf” CPU designs that customers may license through a Technology License

 Agreement (“TLA”). When a licensee seeks to sell products licensed under a TLA—rather than

 under an ALA—ARM delivers complete processor core designs that a licensee can effectively

 drop into a larger SoC design. ARM’s off-the-shelf processor cores licensed under TLAs do not

 allow for the same kind of product differentiation among different TLA licensees because all

 classes of TLA-licensed processor cores are effectively the same. However, there can still be

 considerable variety and differentiation among SoCs that incorporate TLA-licensed processor

 cores along with other functional blocks and circuits. For example, Qualcomm’s Snapdragon chip

 products that use stock ARM cores are very successful in large part because of Qualcomm’s

 innovation in designing many of the other functional blocks and integrating them into the SoC as

 a whole. Such functional blocks include graphic processing units (GPU), digital signal processors

 (DSP), artificial intelligence (AI) processors, image processors, modems, and other technologies.

        19.     Some companies make use of both custom-designed ALA processor cores and off-

 the-shelf TLA-licensed cores in their products. Royalty rates are generally lower under ALAs and




                                                 6
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1619 Filed
                                      Filed06/12/24
                                            10/26/22 Page
                                                     Page712
                                                           ofof
                                                              83633
                                                                 PageID
                                                                    PageID
                                                                        #: 331
                                                                           #: 104




 higher under TLAs, because the TLA royalties account for ARM’s work in developing complete

 CPUs, whereas the licensees under an ALA make the significant investment to develop their own

 CPUs.

         20.    With the Phoenix Core, Qualcomm will begin incorporating more of its own custom

 CPUs in its products. Qualcomm is making this change because it believes its own innovation

 will generate better performing cores than ARM’s cores. This paradigm change will mean

 Qualcomm will in the future pay to ARM the lower royalty rate under its ALA for these custom

 CPUs, rather than the higher royalty rates under Qualcomm’s TLA.

                    After ARM Learned Of The NUVIA Acquisition, ARM
                        Demanded Higher Royalties From Qualcomm

         21.    Shortly after announcing the proposed acquisition of NUVIA in January 2021,

 Qualcomm informed ARM that the NUVIA engineers would be transferred to a Qualcomm

 subsidiary and would work under Qualcomm’s set of license agreements with ARM. Qualcomm

 also notified ARM that, to the extent NUVIA was utilizing any ARM Technology not currently

 covered under Qualcomm’s then-current ALA and TLA, Qualcomm would work with the ARM

 team to complete any necessary license annexes to cover such items.

         22.    Qualcomm believed that ARM would embrace the acquisition. Even though

 Qualcomm would now be working on its own custom CPUs, the fact that Qualcomm is developing

 SoCs compatible with the ARM ISA for markets where ARM-based processors have traditionally

 struggled, such as the “compute” market (i.e., the market for personal computers such as laptops),

 represents a tremendous opportunity for ARM. The combination of NUVIA’s innovative CPU

 technology with Qualcomm’s scale and engineering prowess provides the best opportunity for

 ARM to significantly increase its reach and associated royalty payments.




                                                 7
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1619 Filed
                                      Filed06/12/24
                                            10/26/22 Page
                                                     Page813
                                                           ofof
                                                              83633
                                                                 PageID
                                                                    PageID
                                                                        #: 332
                                                                           #: 105




         23.   ARM, however, acted opportunistically. In February 2021, ARM contended that

 “any transfer of designs, rights, or licenses under NUVIA’s agreements with Arm to Qualcomm

 will require and be subject to Arm’s prior consent.” ARM insisted, without basis, that Qualcomm

 needed ARM’s consent to “any transfer of designs, rights or licenses under NUVIA’s agreements”

 to Qualcomm. Later that month, ARM wrote that to secure its consent for the transfer of NUVIA’s

 CPU design to Qualcomm, Qualcomm must: (i) incorporate the much higher royalty rates from

 NUVIA’s licenses into Qualcomm’s pre-existing licenses; (ii) restrict the ability of Qualcomm

 employees from working on Qualcomm’s custom CPU designs such that “at a minimum” any

 individual with access to ARM Confidential Information wait three years before working on “any

 architecture CPU design” at Qualcomm; (iii) “discuss and decide on the design transfer fee

 associated with such CPU design transfer”; and (iv) enter into a separate license for

 implementation IP and software tools, which would include another undisclosed “design transfer

 fee.”

         24.   ARM’s demands were outrageous. First, it was attempting to secure supplemental

 payments and royalties for rights for which Qualcomm had already paid or was continuing to pay

 under its own license agreements. Qualcomm’s license agreements, on their face, make clear that

 Qualcomm’s use of ARM Technology in connection with the further development of the

 technology it acquired from NUVIA would be covered by Qualcomm’s pre-existing license

 agreements. For example,

                                                      Therefore, Qualcomm’s use of any ARM

 Technology utilized in NUVIA’s technology was fully licensed under Qualcomm’s license

 agreements as soon as Qualcomm acquired NUVIA. Nonetheless, and although not necessary,

 Qualcomm sought ARM’s consent to assign NUVIA’s ARM licenses to Qualcomm, even though




                                               8
Case 1:24-cv-00490-MN
  Case  1:22-cv-01146-MNDocument
                         Document1619 Filed
                                      Filed06/12/24  Page914
                                            10/26/22 Page  ofof
                                                              83633 PageID
                                                                 PageID    #: 106
                                                                        #: 333




 Qualcomm’s position was that NUVIA’s technology was licensed under Qualcomm’s license

 agreements as soon as the acquisition closed.

        25.        Second, ARM was claiming a right to control the transfer of NUVIA technology

 when NUVIA’s ALA provided no such rights to ARM.

        26.        Third, ARM was trying to interfere with Qualcomm’s business by preventing

 Qualcomm engineers from working for three years with absolutely no basis for such a demand in

 NUVIA’s or Qualcomm’s license agreements. ARM’s demands for additional payments from

 Qualcomm made little sense and were inconsistent with Qualcomm’s long-standing agreements.

 As ARM acknowledges in its complaint, NUVIA was focused on developing a CPU for use in

 low-volume, high-cost SoCs for the server market, whereas Qualcomm intended to use the

 technology NUVIA had started developing to build high-volume, lower cost SoCs for Qualcomm’s

 traditional markets, such as the “mobile” and “compute” markets. For its data center and server

 products—which would be of a lower volume and higher per-unit cost than, for example,

 Qualcomm’s higher volume and lower cost mobile products—NUVIA and ARM had negotiated

 a royalty rate that was many multiples higher than Qualcomm’s rate. ARM’s strategy, in light of

 Qualcomm’s more favorable terms, has been to ignore Qualcomm’s license rights and royalty rates

 and attempt to force upon Qualcomm NUVIA’s substantially higher royalty rate established for its

 server product.

        27.        If ARM could not get the benefit of forcing NUVIA’s royalty rate on Qualcomm’s

 custom CPU across Qualcomm’s broad SoC portfolio, its alternative strategy was to seek to

 preclude Qualcomm from proceeding with developing its custom CPU and, in doing so, force the

 purchase of ARM’s off-the-shelf CPU. This is beneficial for ARM because the TLA has a higher




                                                  9
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page10
                                                          15ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             334107




 royalty rate than Qualcomm’s ALA. When Qualcomm successfully replaces ARM-designed

 CPUs with its own designs, Qualcomm will pay ARM lower royalties under the ALA.

        28.     Given ARM’s unreasonable positions, which conflict with the terms of the parties’

 licenses, ARM and Qualcomm were unable to resolve this dispute prior to the close of the NUVIA

 acquisition on March 15, 2021. Even so, given the parties’ long-standing relationship, Qualcomm

 reaffirmed its interest in finding a productive path forward in its discussions with ARM after the

 acquisition was complete.

        29.     After the acquisition closed, ARM doubled down, asserting that Qualcomm needed

 to destroy NUVIA’s engineering work and start over unless it agreed to ARM’s demands,

 including tens of millions of dollars in both additional “transfer” payments and increased royalties.

 Qualcomm continued to try and reach a resolution with ARM even though ARM’s attempt to

 control NUVIA’s technology was unjustified.

        30.     While the parties had intermittent discussions to resolve the dispute, in or about

 September 2021, ARM stopped communicating with Qualcomm about the dispute. Meanwhile,

 throughout 2021 to the present day and with full knowledge by ARM, Qualcomm continued

 development work on the Phoenix Core and SoCs incorporating the Phoenix Core, as was its right

 under Qualcomm’s own license agreements with ARM.

   ARM Unexpectedly Terminated The NUVIA License Agreements And Qualcomm Went
        To Great Lengths To Insulate Itself From ARM’s Unreasonable Positions

        31.     Without warning, in a letter dated February 1, 2022 (but not received by Qualcomm

 until February 4, 2022), ARM terminated, effective March 1, 2022, the NUVIA ALA and TLA

 license agreements and demanded that NUVIA and Qualcomm destroy all ARM Confidential

 Information, and certify by April 1, 2022 that they had complied with ARM’s demands. Prior to

 the February 2022 letter, it had been over six months since ARM last suggested that NUVIA or



                                                  10
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page11
                                                          16ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
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 Qualcomm violated NUVIA’s license agreements.          ARM’s demand came out of nowhere,

 especially as ARM had continued to support Qualcomm in the development of the technology

 acquired from NUVIA.

        32.    The timing of ARM’s demand is telling on two fronts.

        33.    First, ARM waited until Qualcomm had expended a year of engineering effort and

 hundreds of millions of dollars to further develop and integrate Phoenix Core technology into

 multiple SoCs, in addition to the $1.4 billion Qualcomm spent to acquire NUVIA. ARM was

 seeking to maximize whatever leverage it had to threaten Qualcomm’s investment and

 Qualcomm’s SoC roadmap and extract exorbitant fees and royalty payments.

        34.    Second, ARM terminated the NUVIA agreements just three days before ARM

 publicly announced the failure of its merger transaction with NVIDIA—a deal that Qualcomm and

 many others in the industry had opposed. This timing suggests that, in part, ARM was seeking

 payback for Qualcomm’s public opposition to the NVIDIA deal.

        35.    Qualcomm disagreed that it was required to stop any of its work—or that

 destruction was appropriate—because Qualcomm holds valid licenses to all relevant ARM

 Technology and ARM’s interpretation of the termination obligations in the NUVIA agreement

 were inconsistent with the plain language of the license agreements.

        36.    Moreover, even though ARM demanded destruction of Confidential Information

 obtained under NUVIA’s ALA, NUVIA had implemented ARM Architecture                , which had

 been publicly available on ARM’s website for anyone to download since at least around January

 2021—over a year before the destruction request.



                                                                    Therefore, ARM Architecture




                                                11
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page12
                                                          17ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             336109




      was not Confidential Information, not subject to any restrictions, and not subject to any

 destruction obligation. For the same reasons, the NUVIA core design did not contain ARM

 Confidential Information.

        37.     Nonetheless, on April 1, 2022, NUVIA certified that it had destroyed and

 quarantined all NUVIA-acquired ARM Confidential Information.

        38.     Then, on April 12, 2022, just a few weeks after NUVIA made its certification, ARM

 accepted test results verifying that the implementation of the Phoenix Core in the Server SoC

 complied with the requirements necessary to execute the ARM instruction set. ARM confirmed

 that “Qualcomm . . . has validated their CPU core in accordance with the Verification

 requirements set out in the Architecture agreement.” ARM explicitly confirmed that the validation

 testing was conducted under Qualcomm’s ALA. Therefore, ARM was not only well aware that

 Qualcomm was working on the Phoenix Core under Qualcomm’s license agreements, but ARM

 also affirmed this work and understood that Qualcomm had implemented             of the ISA.

        39.     ARM’s position in this litigation is not just unsupported by its verification in April

 2022 and by the language of the license agreements, it is antithetical to the very nature of ARM’s

 ALAs, which allow a licensee to design its own, proprietary ARM-compatible technology that

 belongs to the licensee and that can be used by the licensee to compete against other ARM-

 compatible products, including those designed by ARM itself.

        40.     Licensees depend on this, as do regulators. ARM explicitly told regulators in

 December 2021, in connection with the proposed NVIDIA acquisition, that technology created by

 its ALA licensees belongs to the licensees, not ARM, stating: “architectural licensees do not use

 ARM’s CPU designs. Arm architectural licensees create their own proprietary CPU designs using




                                                 12
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page13
                                                          18ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             337110




 their own engineering teams.” ARM specifically referred regulators to Qualcomm’s acquisition

 of NUVIA as an example of Qualcomm’s efforts to create its own proprietary CPU.

                                  ARM’s Claims Are Baseless

        41.    In this lawsuit, ARM takes its baseless and extreme arguments public, claiming that

 technology that is not its own belongs to ARM, and that it is ARM’s prerogative to decide whether

 Qualcomm can use or continue to develop NUVIA’s technology. The termination provisions in

 the NUVIA ALA do not require such a result.

        42.    ARM ignores the broad license rights ARM has granted Qualcomm under its ALA

 and other license agreements. Qualcomm is licensed to use ARM Technology in connection with

 Qualcomm’s CPU core technology, even if any aspects trace back to NUVIA’s work. Moreover,

 ARM attempts to misappropriate NUVIA technologies that contain no ARM information, but it

 makes no sense to require Qualcomm to stop using its own intellectual property.

        43.    Additionally, ARM’s position effectively guts its own ALA, which is intended to

 encourage licensees to develop their own CPU core technology with their own innovations, at their

 own risk and expense and for their own benefit. ARM’s arguments would allow ARM to claim

 ownership over its licensees’ innovations and inventions. That is not what ARM licensees pay for

 under the ALA.

        44.    ARM’s trademark infringement and false-origin claims are also meritless. ARM

 contends that Qualcomm and NUVIA’s use of ARM’s trademarks in connection with any products

 related to NUVIA technology—including, but not limited to the Phoenix Core and the upcoming

 SoCs—is improper. But Qualcomm’s license agreements with ARM give Qualcomm the right to

 utilize ARM’s trademarks.




                                                13
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page14
                                                          19ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
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                                ARM’s website also publicly grants “any . . . third party” the right

 to use ARM’s trademarks pursuant to various guidelines.

        45.     In any event, Defendants’ use of ARM’s trademarks constitutes fair use and

 therefore is permissible. Qualcomm engages in limited use of the ARM Marks, such as in

 marketing materials, product specifications, and technical documentations, to convey accurately

 that Qualcomm’s products are compatible with the ARM architecture. These references are

 limited and truthful.

        46.     Rather than litigate its case in court, ARM attempted to maximize the negative

 impact of its filing this lawsuit by campaigning with members of the media and customers to

 generate additional publicity for ARM’s positions.

        47.     This Court should reject ARM’s claims and instead declare that Qualcomm and

 NUVIA’s conduct—including use of Qualcomm-developed technology—was fully licensed.

        Defendants, through their undersigned counsel, upon personal knowledge and/or upon

 information and belief, answer the Complaint dated August 31, 2022 (the “Complaint”) as follows:

        48.     COMPLAINT PARAGRAPH 1: Arm is the world’s leading provider of

 microprocessor intellectual property. For decades, Arm has developed innovative processor

 architecture and implementation designs that balance performance with energy efficiency. Billions

 of electronic devices use Arm processor technologies pursuant to Arm licenses—from

 smartphones used to interact seamlessly with friends and family around the world to an increasing

 number of the servers that run the essential day-to-day operations of Fortune 500 companies.

        ANSWER: Defendants admit that ARM licenses microprocessor intellectual

 property, and that a significant number of electronic devices use processors that are based




                                                14
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page15
                                           10/26/22 Page  20ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             339112




 on ARM architecture and designs, such as smartphones and to a far more limited extent

 computers. Defendants deny knowledge or information sufficient to form a belief as to the

 truth of the remainder of the allegations set forth in Complaint Paragraph 1, and on that

 basis deny them.

        49.     COMPLAINT PARAGRAPH 2: Qualcomm is a major semiconductor

 manufacturer. To accelerate its processor development efforts, Qualcomm spent over $1 billion to

 acquire Nuvia, a start-up led by senior engineers previously from Apple and Google that licensed

 Arm technologies to develop high-performance processor cores for semiconductor chips. In the

 process, Qualcomm caused Nuvia to breach its Arm licenses, leading Arm to terminate those

 licenses, in turn requiring Qualcomm and Nuvia to stop using and destroy any Arm-based

 technology developed under the licenses. Undeterred, Qualcomm and Nuvia have continued

 working on Nuvia’s implementation of Arm architecture in violation of Arm’s rights as the creator

 and licensor of its technology. Further, Qualcomm’s conduct indicates that it has already and

 further intends to use Arm’s trademarks to advertise and sell the resulting products in the United

 States, even though those products are unlicensed.

        ANSWER: Defendants admit that Qualcomm is a leading wireless technology

 innovator that designs numerous products, including semiconductors. Qualcomm further

 admits that, in 2021, Qualcomm Technologies, Inc. acquired NUVIA for approximately $1.4

 billion before working capital and other adjustments. Defendants also admit that NUVIA

 had license agreements with ARM LTD., such as an ALA and TLA, and that, prior to

 Qualcomm’s acquisition, NUVIA worked on CPUs and SoCs. Defendants further admit that

 in a letter dated February 1, 2022, ARM stated that it intended to terminate its ALA and

 TLA with NUVIA effective March 1, 2022, and requested that NUVIA destroy or return to




                                                15
  Case
Case   1:22-cv-01146-MN Document
     1:24-cv-00490-MN    Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page16
                                                          21ofof83 PageID
                                                                 633      #: #:
                                                                     PageID  340113




 ARM any ARM Confidential Information, including any copies thereof in its possession and

 any ARM Technology or derivatives.            Defendants otherwise deny the allegations in

 Complaint Paragraph 2, except to the extent they purport to state legal conclusions as to

 which no response is required.

          50.   COMPLAINT PARAGRAPH 3: Arm now brings suit for specific performance

 of the Nuvia licenses’ termination provisions to require Qualcomm and Nuvia to stop using and to

 destroy the relevant Nuvia technology and to stop their improper use of Arm’s trademarks with

 their related products. Arm also seeks declaratory judgment, injunctive relief, and damages for the

 use of Arm’s trademarks in connection with semiconductor chips incorporating the relevant Nuvia

 technology.

          ANSWER: Complaint Paragraph 3 purports to state legal conclusions as to which no

 response is required. To the extent a response is required, Defendants deny the allegations

 in Complaint Paragraph 3, except admit that Plaintiff purports to assert the claims and seek

 the relief described in Complaint Paragraph 3.

                                            PARTIES

          51.   COMPLAINT PARAGRAPH 4: Plaintiff Arm is a corporation organized under

 the laws of the United Kingdom, has its principal place of business in Cambridge, United

 Kingdom, and is a resident or domiciliary of the United Kingdom.

          ANSWER: Defendants deny knowledge or information sufficient to form a belief as

 to the truth of the allegations in Complaint Paragraph 4, and on that basis deny them.

          52.   COMPLAINT PARAGRAPH 5: Defendant Qualcomm Inc. is a Delaware

 corporation with its principal place of business at 5775 Morehouse Drive, San Diego, California

 92121.

          ANSWER: Defendants admit the allegations of Complaint Paragraph 5.


                                                 16
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page17
                                                          22ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             341114




        53.     COMPLAINT PARAGRAPH 6: Defendant Qualcomm Technologies, Inc. is a

 subsidiary of Qualcomm Inc. and a Delaware corporation with its principal place of business at

 5775 Morehouse Drive, San Diego, California 92121.

        ANSWER: Defendants admit the allegations of Complaint Paragraph 6.

        54.     COMPLAINT PARAGRAPH 7: Defendant Nuvia is a subsidiary of Qualcomm

 and a Delaware corporation with its principal place of business at 2841 Mission College Blvd.,

 Santa Clara, California 95054.

        ANSWER: Defendants admit the allegations of Complaint Paragraph 7.

                                  JURISDICTION AND VENUE

        55.     COMPLAINT PARAGRAPH 8: The Court has subject matter jurisdiction under

 28 U.S.C. § 1331 (federal question), 15 U.S.C. § 1121 (trademarks), and 28 U.S.C. § 1367(a)

 (supplemental jurisdiction). The Court also has subject matter jurisdiction under 28 U.S.C. § 1332

 because there is complete diversity between the parties, and because the amount in controversy,

 based on the consideration that was anticipated under the Nuvia licenses, the volume of products

 expected under those licenses, and Defendants’ potential loss from complying with the equitable

 relief requested here, exceeds $75,000, exclusive of interest and costs.

        ANSWER: Complaint Paragraph 8 purports to state legal conclusions as to which no

 response is required. To the extent a response is required, Defendants deny the allegations

 in Complaint Paragraph 8.

        56.     COMPLAINT PARAGRAPH 9: The Court has personal jurisdiction over

 Qualcomm and Nuvia because they are incorporated in Delaware. Qualcomm and Nuvia have

 purposely availed themselves of the privileges and benefits of the laws of Delaware.




                                                 17
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page18
                                                          23ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             342115




        ANSWER: Complaint Paragraph 9 purports to state legal conclusions as to which no

 response is required. To the extent a response is required, Defendants admit that Qualcomm

 Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in Delaware.

        57.     COMPLAINT PARAGRAPH 10: Venue is proper in this judicial district under

 28 U.S.C. § 1391 because Qualcomm and Nuvia are incorporated in Delaware. Venue is also

 proper because Qualcomm Inc. and Qualcomm Technologies, Inc. have purposefully availed

 themselves of the courts in the State of Delaware and this Judicial District.

        ANSWER: Complaint Paragraph 10 purports to state legal conclusions as to which

 no response is required. To the extent a response is required, Defendants admit that

 Qualcomm Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in

 Delaware.

                                   FACTUAL ALLEGATIONS

 Arm’s business model4

        58.     COMPLAINT PARAGRAPH 11: For decades, Arm has been a world leader in

 developing processor architectures, including instruction set architectures, and processor core

 designs implementing those architectures, all of which are covered by an extensive intellectual

 property portfolio.

        ANSWER: Defendants admit that ARM develops instruction set architectures for

 CPUs, and also designs CPUs that implement ARM’s instruction set architecture.

 Defendants further admit that ARM owns some intellectual property. Defendants otherwise




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     Defendants have not specifically responded to the headings interspersed between the numbered
     paragraphs in ARM’s complaint. For the avoidance of doubt, and to the extent they require a
     response, Defendants deny any allegations made therein.


                                                 18
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page19
                                           10/26/22 Page  24ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             343116




 deny the allegations in Complaint Paragraph 11 except to the extent they purport to state

 legal conclusions as to which no response is required.

        59.     COMPLAINT PARAGRAPH 12: Processor cores are the parts of a computer’s

 Central Processing Unit or “CPU” that read and execute program instructions to perform specific

 actions. Modern CPUs often integrate multiple processor cores on a single semiconductor chip or

 integrated circuit (“IC”).

        ANSWER: Defendants admit the allegations in Complaint Paragraph 12.

        60.     COMPLAINT PARAGRAPH 13: Arm owns intellectual property relating to its

 processor architectures and designs, including, among other things, trademarks.

        ANSWER: Defendants admit that ARM may own some intellectual property,

 including trademarks. Defendants otherwise deny the allegations in Complaint Paragraph

 13 except to the extent they purport to state legal conclusions as to which no response is

 required.

        61.     COMPLAINT PARAGRAPH 14: Arm does not manufacture or sell chips.

 Instead, Arm licenses its technologies to hundreds of companies to use in developing their own

 chips or in their own electronic devices and works with these companies to ensure the success of

 Arm-based products.

        ANSWER: Defendants admit that ARM does not manufacture or sell semiconductor

 chips, and that ARM licenses intellectual property to various licensees.            Defendants

 otherwise deny knowledge or information sufficient to form a belief as to the truth of the

 allegations in Complaint Paragraph 14, and on that basis deny them.

        62.     COMPLAINT PARAGRAPH 15: Arm’s customers manufacture (or have

 manufactured for them) chips based on Arm’s technologies. The chips may then be used in the




                                                19
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page20
                                           10/26/22 Page  25ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             344117




 customer’s own devices or sold to other device manufacturers. Arm earns revenue from licensing

 fees and royalties based on the number of Arm-based chips its customers sell.

        ANSWER: Defendants admit that ARM receives licensing fees and royalties from

 licensees, and that various licensees manufacture products that may include ARM

 Technology. Defendants otherwise deny the allegations in Complaint Paragraph 15.

        63.     COMPLAINT PARAGRAPH 16: Arm’s business model relies on Arm’s ability

 to monetize its research and intellectual property by receiving both licensing fees and royalties for

 products incorporating Arm’s technology and intellectual property. Arm therefore grows its

 revenues by increasing both the number of customers and the number of Arm-based products sold.

        ANSWER: Defendants deny knowledge or information sufficient to form a belief as

 to the truth of the allegations in Complaint Paragraph 16, and on that basis deny them.

        64.     COMPLAINT PARAGRAPH 17: There are two main types of Arm licenses for

 Arm’s technologies: Technology License Agreements (“TLAs”), which allow the use of specific

 “off-the-shelf” Arm processor core designs with only minor modifications, and Architecture

 License Agreements (“ALAs”), which allow for the design of custom processor cores that are

 based on particular architectures provided by Arm.

        ANSWER:         Defendants admit that ARM enters into license agreements with

 licensees, including Technology License Agreements (“TLAs”) and Architecture License

 Agreements (“ALAs”). Defendants otherwise deny the allegations in Paragraph 17.

        65.     COMPLAINT PARAGRAPH 18: Arm grants few ALAs. Custom processor

 cores can take years to design, at great expense and requiring significant support from Arm, with

 no certainty of success. If successful, ALA licensees can sell custom processor cores for use in

 other companies’ products.




                                                  20
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page21
                                                          26ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             345118




        ANSWER: Defendants admit that it requires significant expense and commitment to

 design custom CPUs. Defendants respectfully refer the Court to the Qualcomm and NUVIA

 ALAs for their complete language and content. Defendants otherwise deny the allegations

 in Complaint Paragraph 18.

        66.       COMPLAINT PARAGRAPH 19: Arm ALAs typically authorize licensees only

 to develop processor cores based on specific Arm technology provided by Arm under the licenses,

 rather than granting broader licenses to use Arm-based technology generally.

        ANSWER: Defendants respectfully refer the Court to the Qualcomm and NUVIA

 ALAs for their complete language and content. Defendants deny knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations in Complaint Paragraph

 19, and on that basis deny them.

 Nuvia obtains Arm licenses

        67.       COMPLAINT PARAGRAPH 20: Nuvia was founded as a start-up in 2019 by

 chip engineers who left Apple and Google. Nuvia planned to design energy-efficient CPUs for

 data center servers based on a custom processor implementing the Arm architecture, which would

 have expanded the market for Arm’s technology. Nuvia’s business model was thus reliant on

 customizing processor core designs based on Arm’s technology. As one of the founders explained

 to the press when launching Nuvia, the start-up’s premise (and one of its attractions to investors)

 was that Nuvia intended to build “a custom clean sheet designed from the ground up” using Arm’s

 architecture.5



 5
     Danny Crichton, Three of Apple and Google’s former star chip designers launch NUVIA with
     $53M in series A funding, TechCrunch (Nov. 15, 2019),
     https://techcrunch.com/2019/11/15/three-of-apple-and-googles-former-star-chip-designers-
     launch-nuvia-with-53m-in-series-a-funding/.


                                                 21
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page22
                                           10/26/22 Page  27ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             346119




        ANSWER: Defendants admit that NUVIA worked on custom CPUs that could be

 used in data center servers, that the custom CPU designs would expand the market for ARM

 technology, and that the custom CPUs that NUVIA worked on, prior to NUVIA’s acquisition

 by Qualcomm, were intended to be compatible with ARM architecture.                   Defendants

 respectfully refer the Court to the cited publication for its complete language and content.

 Defendants otherwise deny the allegations in Complaint Paragraph 20.

        68.     COMPLAINT PARAGRAPH 21: In September 2019, Arm granted Nuvia an

 ALA and TLA, providing rights to design custom processor cores based on an Arm architecture

 and to modify certain off-the-shelf designs. The licenses granted in the ALA and TLA are

 necessary to use Arm’s extensive intellectual property portfolio covering the Arm architecture.

 The ALA and TLA included rights to use Arm trademarks in connection with products developed

 by Nuvia under the licenses. Arm also provided substantial, crucial, and individualized support

 from Arm employees to assist Nuvia in its development of Arm-based processors for data center

 servers.

        ANSWER: Defendants admit that NUVIA had a TLA and ALA with ARM, and

 respectfully refer the Court to the referenced agreements for their complete language and

 content. Defendants otherwise deny the allegations of Complaint Paragraph 21, except to

 the extent they purport to state legal conclusions as to which no response is required.

        69.     COMPLAINT PARAGRAPH 22: The licenses provided Nuvia access to specific

 Arm architecture, designs, intellectual property, and support in exchange for payment of licensing

 fees and royalties on future server products that include processor cores based on Arm’s

 architecture, designs, or related intellectual property. Nuvia’s licensing fees and royalty rates

 reflected the anticipated scope and nature of Nuvia’s use of the Arm architecture. The licenses




                                                22
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page23
                                                          28ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
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 safeguarded Arm’s rights and expectations by prohibiting assignment without Arm’s consent,

 regardless of whether a contemplated assignee had its own Arm licenses.

        ANSWER: Defendants admit that NUVIA’s TLA and ALA provided NUVIA with a

 license to certain ARM Technology. Defendants further admit that NUVIA and ARM

 intended the licensing fees and royalties set forth in the NUVIA ALA to apply to future server

 products, not products for other markets. Defendants respectfully refer the Court to the

 referenced agreements for their complete language and content. Defendants otherwise deny

 the allegations of Complaint Paragraph 22.

        70.     COMPLAINT PARAGRAPH 23: From September 2019 to early 2021, Nuvia

 used the technology it licensed from Arm to design and develop processor cores. Arm provided

 preferential support for Nuvia’s development efforts, with Arm seeking to accelerate research and

 development in next-generation processors for data center servers to support that sector’s transition

 to Arm technology.

        ANSWER: Defendants deny knowledge or information sufficient to form a belief as

 to the truth of the allegations in the second sentence of Complaint Paragraph 23, and on that

 basis deny them. Defendants otherwise deny the allegations of Complaint Paragraph 23.

        71.     COMPLAINT PARAGRAPH 24: In August 2020, Nuvia announced that its

 “first-generation CPU, code-named ‘Phoenix’” would be “a custom core based on the ARM

 architecture.”6 It also publicized benchmark tests showing that Phoenix could double the




 6
     John Bruno & Sriram Dixit, Performance Delivered a New Way, Silicon Reimagined (Aug.
     11,    2020),   https://medium.com/silicon-reimagined/performance-delivered-a-new-way-
     8f0f5ed283d5.


                                                  23
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page24
                                                          29ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             348121




 performance of rival products from Apple, Intel, AMD, and Qualcomm. Based on these results,

 Nuvia claimed that the “Phoenix CPU core has the potential to reset the bar for the market.”7

           ANSWER: Defendants respectfully refer the Court to the cited publication for its

 complete language and content. Defendants otherwise admit the allegations in Complaint

 Paragraph 24.

 Qualcomm relies on designs created by Arm

           72.   COMPLAINT PARAGRAPH 25: Qualcomm is one of the world’s largest

 semiconductor companies, with a portfolio of intellectual property and products directed to

 wireless technologies, including cellular, Bluetooth, and Wi-Fi; CPUs and ICs; networking;

 mobile computers; cell phones; wearables; cameras; automobiles; and other electronic devices.

           ANSWER: Defendants admit the allegations of Complaint Paragraph 25.

           73.   COMPLAINT PARAGRAPH 26: Even though Qualcomm has an Arm ALA, its

 prior attempts to design custom processors have failed. Qualcomm invested in the development of

 a custom Arm-based processor for data center servers until 2018, when it cancelled the project and

 laid off hundreds of employees.8

           ANSWER: Defendants respectfully refer the Court to the cited publications for their

 complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 26. The allegation that Qualcomm’s “prior attempts to design custom processors




 7
     Id.
 8
     See, e.g., Andrei Frumusanu, Qualcomm to Acquire NUVIA: A CPU Magnitude Shift,
     AnandTech (Jan. 13, 2021), https://www.anandtech.com/show/16416/qualcomm-to-acquire-
     nuvia-a-cpu-magnitude-shift; Andy Patrizio, Qualcomm makes it official; no more data
     center chip, Network World (Dec. 12, 2018),
     https://www.networkworld.com/article/3327214/qualcomm-makes-it-official-no-more-data-
     center-chip.html.


                                                24
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page25
                                           10/26/22 Page  30ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             349122




 have failed” is patently false. Qualcomm has had great success in developing custom

 processors, to ARM’s significant benefit.

        74.     COMPLAINT PARAGRAPH 27: Qualcomm’s commercial products thus have

 relied on processor designs prepared by Arm’s engineers and licensed to Qualcomm under Arm

 TLAs. Discovery is likely to show that as of early 2021, Qualcomm had no custom processors in

 its development pipeline for the foreseeable future. To fill this gap, Qualcomm sought improperly

 to purchase and use Nuvia’s custom designs without obtaining Arm’s consent.

        ANSWER: Defendants deny the allegations of Complaint Paragraph 27.

 Qualcomm acquires Nuvia

        75.     COMPLAINT PARAGRAPH 28: On January 13, 2021, Qualcomm announced

 that Qualcomm Technologies, Inc. was acquiring Nuvia for $1.4 billion. Neither Qualcomm nor

 Nuvia provided prior notice of this transaction to Arm. Nor did they obtain Arm’s consent to the

 transfer or assignment of the Nuvia licenses.

        ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

 announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

 agreement to acquire NUVIA for approximately $1.4 billion before working capital and

 other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 28,

 except to the extent they purport to state legal conclusions as to which no response is

 required.

        76.     COMPLAINT PARAGRAPH 29: Qualcomm indicated in its announcement that

 “NUVIA CPUs”—that is, Nuvia’s implementations of Arm technology developed under the Nuvia

 licenses with Arm—would be incorporated into a range of Qualcomm products. Qualcomm’s press

 release declared its grand ambitions for Nuvia’s implementation of Arm technology: “NUVIA

 CPUs are expected to be integrated across Qualcomm Technologies’ broad portfolio of products,


                                                 25
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page26
                                                          31ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             350123




 powering flagship smartphones, next-generation laptops, and digital cockpits, as well as Advanced

 Driver Assistance Systems, extended reality and infrastructure networking solutions.”9 The press

 release also indicated that Qualcomm’s first target would be “integrating NUVIA CPUs with

 Snapdragon,” its flagship suite of system on a chip (“SoC”) semiconductor products for mobile

 devices.

         ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 29.

         77.    COMPLAINT PARAGRAPH 30: As Qualcomm’s CEO, Cristiano Amon, noted

 in a Reuters interview shortly after the acquisition closed in the first half of 2021, “Qualcomm will

 start selling Nuvia-based laptop chips next year.”10 Amon confirmed the negative impact this

 might have on Arm, saying: “If Arm . . . eventually develops a CPU that’s better than what we can

 build ourselves, then we always have the option to license from Arm.”

         ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 30.

         78.    COMPLAINT PARAGRAPH 31: Qualcomm also confirmed its prior

 deficiencies in core design, reportedly promoting the Nuvia acquisition as “filling a gap” because

 “for several years now” the company “had been relying on external IP such as Arm’s Cortex




 9
      Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 13, 2021),
      https://www.qualcomm.com/news/releases/2021/01/13/qualcomm-acquire-nuvia.
 10
      Stephen Nellis, Qualcomm’s new CEO eyes dominance in the laptop markets, Reuters (July 2,
      2021),    https://www.reuters.com/technology/qualcomms-new-ceo-eyes-dominance-laptop-
      markets-2021-07-01/.


                                                  26
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page27
                                                          32ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             351124




 cores.”11 Qualcomm further explained that “the immediate goals for the NUVIA team will be

 implementing custom CPU cores” designed for laptops.12

            ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 31.

            79.   COMPLAINT PARAGRAPH 32: Analysts confirmed that the “Qualcomm

 acquisition [of] NUVIA is a huge move to scale up dramatically. It can reinvigorate current lines

 in smartphone, Windows PC and automotive SoCs, and make them more competitive with the

 competition. They have been lagging.”13

            ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 32.

            80.   COMPLAINT PARAGRAPH 33: Providing further confirmation of the

 acquisition’s importance to Qualcomm in filling the “gap” in its “lagging” IP design, analysts

 noted that the Nuvia acquisition was “extremely speedy in terms of timeline,” and Qualcomm

 “went as far as [to] put out a concrete roadmap for . . . using the newly acquired IP from Nuvia,”




 11
      Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
      Laptops (Updated), AnandTech (Mar. 16, 2021),
      https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia.
 12
      Id.
 13
      Trading Places Research, Qualcomm’s Acquisition of NUVIA is a Huge Move, Seeking Alpha
      (Jan. 13, 2021), https://seekingalpha.com/article/4398808-qualcomms-acquisition-of-nuvia-
      is-huge-move.


                                                27
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page28
                                                          33ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             352125




 announcing that Nuvia’s processors would be finalized for use in high-end laptops “in the second

 half of 2022.”14

            ANSWER: Defendants respectfully refer the Court to the referenced publications for

 their complete language and content.          Defendants otherwise deny the allegations of

 Complaint Paragraph 33.

            81.   COMPLAINT PARAGRAPH 34: Based on standard industry scheduling, that

 timeline indicated a design for data center processors would be completed “essentially as soon as

 possible following the acquisition” of Nuvia.15

            ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 34.

            82.   COMPLAINT PARAGRAPH 35: This timing indicates that the Arm-based cores

 that Nuvia designed using Arm’s technology and intellectual property were, as of the acquisition

 date, effectively ready for the final stages of design for Qualcomm chips, leading promptly to

 product integration and manufacturing. Qualcomm’s November 2021 10-K filing disclosed that

 the $1.4 billion acquisition encompassed Nuvia’s team and “certain in-process technologies,”




 14
      Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
      Laptops (Updated), AnandTech (Mar. 16, 2021),
      https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia (quoting
      Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 15, 2021),
      https://www.qualcomm.com/news/releases/2021/03/16/qualcomm-completes-acquisition-
      nuvia).
 15
      Id.


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Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page29
                                                          34ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             353126




 reflecting the availability of existing cores such as the Phoenix CPU core developed under Nuvia’s

 ALA.16

          ANSWER: Defendants respectfully refer the Court to the referenced publication for

 its complete language and content. Defendants otherwise deny the allegations of Complaint

 Paragraph 35, except to the extent they purport to state legal conclusions as to which no

 response is required.

          83.   COMPLAINT PARAGRAPH 36: By entering into the acquisition of Nuvia and

 transferring the rights and technology developed under the Nuvia licenses without Arm’s consent,

 Qualcomm thus greatly accelerated its ability to bring to market custom-designed processor

 cores—a head start that Qualcomm was willing to pay over $1 billion to obtain.

          ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

 announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

 agreement to acquire NUVIA for approximately $1.4 billion before working capital and

 other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 36.

 Arm terminates the Nuvia licenses

          84.   COMPLAINT PARAGRAPH 37: Soon after the announcement of the merger,

 Arm informed Qualcomm in writing that Nuvia could not assign its licenses and that Qualcomm

 could not use Nuvia’s in-process designs developed under the Nuvia ALA without Arm’s consent.

 For more than a year, Arm negotiated with Qualcomm, through Qualcomm Inc. and Qualcomm




 16
      Qualcomm Inc., Annual Report (Form 10-K) (Nov. 3, 2021), https://investor.qualcomm.com/
      financial-information/sec-filings/content/0001728949-21-000076/0001728949-21-
      000076.pdf.


                                                29
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page30
                                                          35ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             354127




 Technologies, Inc., in an effort to reach an agreement regarding Qualcomm’s unauthorized

 acquisition of Nuvia’s “in-process technologies” and license.

         ANSWER: Defendants admit that in a letter dated February 2, 2021, ARM wrote to

 Qualcomm Technologies, Inc. that “any transfer of designs, rights, or licenses under

 NUVIA’s agreements with Arm to Qualcomm will require and be subject to Arm’s prior

 consent.” Defendants otherwise deny the allegations of Complaint Paragraph 37, except to

 the extent they purport to state legal conclusions as to which no response is required.

         85.    COMPLAINT PARAGRAPH 38: All the while, Qualcomm continued to

 broadcast its intentions to rush Nuvia products to market. In November 2021, Qualcomm’s Chief

 Technology Officer told investors that Qualcomm was “pretty far along at this point” in developing

 its first chip with Nuvia’s implementation of Arm technology and would “sample a product at,

 let’s say nine months from now”—which would be August 2022.17 Then in January 2022,

 Qualcomm issued a press release touting the “broad support from ecosystem partners for the PC

 industry’s transition to Arm®-based computing,” with Qualcomm’s CEO confirming that “[t]he

 future of the PC industry is modern Arm-based architectures” and boasting that “the recent

 acquisition of NUVIA uniquely positions Qualcomm Technologies to drive this industry wide

 transition.”18 Elsewhere, Qualcomm’s CEO reiterated that Qualcomm is “definitely in a hurry” to




 17
      Qualcomm Investor Day 2021 Livestream: CEO Cristiano Amon looks ahead, YouTube (Nov.
      16, 2021), https://www.youtube.com/watch?v=rUWPzROYn2E; see also Mark Hachman,
      Qualcomm Prophesizes 2023 as the Rebirth of PC Snapdragon Chips, PCWorld (Nov. 16,
      2021), https://www.pcworld.com/article/552285/qualcomm-prophesies-2023-as-the-rebirth-
      of-its-snapdragon-chips.html.
 18
      Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
      PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
      https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
      partners-build-industry-momentum-windows-arm.


                                                30
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page31
                                                          36ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             355128




 launch Nuvia’s Arm-based chips “as fast as we can.”19 Based on these statements, discovery is

 likely to show that Qualcomm and Nuvia continued to use the relevant technology developed under

 Nuvia’s Arm licenses.

         ANSWER: Defendants respectfully refer the Court to the referenced publications for

 their complete language and content.         Defendants otherwise deny the allegations of

 Complaint Paragraph 38.

         86.    COMPLAINT PARAGRAPH 39: On February 1, 2022, Arm sent a letter to

 Nuvia and Qualcomm terminating the Nuvia licenses effective March 1, 2022. The letter

 terminated the licenses based on Nuvia’s material breach of the assignment provisions of the Nuvia

 licenses by entering into the acquisition of Nuvia without Arm’s consent. The letter also reminded

 Nuvia and Qualcomm of their obligations upon termination to stop using and destroy the Nuvia

 technology developed under the now-terminated licenses.

         ANSWER: Defendants admit that, on February 4, 2022, Qualcomm and Gerard

 Williams, NUVIA’s former Chief Executive Officer, received a letter purporting to terminate

 NUVIA’s ALA and TLA, with the termination effective as of March 1, 2022. Defendants

 otherwise deny the allegations of Complaint Paragraph 39, except to the extent they purport

 to state legal conclusions as to which no response is required.

         87.    COMPLAINT PARAGRAPH 40: In February 2022, pending termination of the

 Nuvia licenses, Nuvia sought Arm’s verification that a Nuvia processor design satisfied the Arm

 architecture’s specifications. On February 23, 2022, Qualcomm confirmed that it was still




 19
      Nilay Patel, What Comes After the Smartphone, With Qualcomm CEO Cristiano Amon, The
      Verge (Jan. 11, 2022), https://www.theverge.com/22876511/qualcomm-ceo-cristiano-amon-
      interview-decoder-podcast.


                                                31
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page32
                                           10/26/22 Page  37ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             356129




 developing the relevant Nuvia technology by stating in a court filing that certain Nuvia documents

 were based on “years of research and work” and would “reveal secret design components of

 Qualcomm chips that are still in development.” Qualcomm Technologies, Inc. v. Hoang, No. 3:22-

 cv-00248-CAB-BLM (S.D. Cal. Feb. 23, 2022), ECF No. 1 at 5-6.

        ANSWER: Defendants respectfully refer the Court to the cited court filing for its

 complete language and content. Defendants admit that Qualcomm began verification of a

 Qualcomm processor design in December 2021, that Qualcomm continued developing

 processor technology that it acquired from NUVIA beginning in March 2021 (doing so with

 ARM’s knowledge that Qualcomm's design work was ongoing), and that ARM verified that

 the Qualcomm design satisfied ARM’s architecture specification. Defendants otherwise

 deny the allegations of Complaint Paragraph 40.

        88.     COMPLAINT PARAGRAPH 41: On March 1, 2022, the Nuvia licenses

 terminated, along with the corresponding rights to use or sell products based on or incorporating

 Nuvia technology developed under those licenses.

        ANSWER: Defendants deny the allegations of Complaint Paragraph 41, except to the

 extent they purport to state legal conclusions as to which no response is required.

        89.     COMPLAINT PARAGRAPH 42: On April 1, 2022, Qualcomm’s General

 Counsel sent Arm a letter enclosing a Nuvia representative’s termination certification. The

 certification acknowledged—without objection—that the Nuvia licenses had been terminated. The

 certification recognized the obligations upon termination, and asserted that Nuvia was in

 compliance. Qualcomm and Nuvia thereby conceded that termination of the Nuvia licenses was

 appropriate, and that the termination provisions had been triggered, are binding, and are

 enforceable.




                                                32
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page33
                                                          38ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             357130




         ANSWER: Defendants admit that, on April 1, 2022, Qualcomm Incorporated’s

 General Counsel and Corporate Secretary transmitted a Certification from Gerard Williams

 stating that to the best of his knowledge, information and belief after due inquiry, NUVIA

 was in compliance with its obligations under                      with respect to any ARM

 Confidential Information.       Defendants otherwise deny the allegations of Complaint

 Paragraph 42, except to the extent they purport to state legal conclusions as to which no

 response is required.

 Qualcomm keeps using Arm-based technology developed under the Nuvia licenses

         90.    COMPLAINT PARAGRAPH 43: Qualcomm is subject to Nuvia’s termination

 requirements as the acquirer of Nuvia. Qualcomm has publicly described Nuvia as a Qualcomm

 “team” that has been “very tight[ly] integrat[ed]” with and is “not separate” from Qualcomm.20

 Qualcomm has also acted on behalf of Nuvia publicly and in correspondence with Arm since the

 acquisition. Qualcomm further told Arm that it planned to “redeploy NUVIA employees” and

 “transfer NUVIA’s work” to Qualcomm and, consistent with that plan, Qualcomm has on-boarded

 Nuvia’s leadership and employees as Qualcomm employees.21




 20
      Ian Cutress, Interview with Alex Katouzian, Qualcomm SVP: Talking Snapdragon, Microsoft,
      Nuvia,      and       Discrete     Graphics,      AnandTech       (Jan.     31,     2022),
      https://www.anandtech.com/show/17233/interview-with-alex-katouzian-qualcomm-svp-
      talking-snapdragon-microsoft-nuvia-and-discrete-graphics; Ian Cutress, AnandTech Interview
      with Miguel Nunes: VP for Windows and Chrome PCs, Qualcomm, AnandTech (Feb. 14,
      2022),     https://www.anandtech.com/show/17253/anandtech-interview-with-miguel-nunes-
      senior-director-for-pcs-qualcomm.
 21
      See, e.g., Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 16, 2021),
      https://investor.qualcomm.com/news-events/press-releases/detail/1304/qualcomm-completes-
      acquisition-of-nuvia; Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
      https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                               33
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page34
                                           10/26/22 Page  39ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             358131




        ANSWER: Defendants respectfully refer the Court to the cited publications for their

 complete language and content. Defendants admit that, on January 27, 2021, Qualcomm

 wrote to ARM that Qualcomm had entered into a definitive agreement to acquire NUVIA

 and stating: “Following the closing of the acquisition, for ease of operation and structure,

 QTI intends to transfer NUVIA’s work and employees to QTI and other current Qualcomm

 subsidiaries and have the then former NUVIA employees continue their activities under the

 Qualcomm ALA and TLA, as that will be their current employer.” Defendants further

 admit that, on February 3, 2021, Qualcomm stated in a letter to ARM that, after the NUVIA

 acquisition, NUVIA would “become a wholly owned subsidiary of Qualcomm and, post-

 closing, our plan is to redeploy NUVIA employees to currently existing Qualcomm entities.”

 Defendants otherwise deny the allegations in Complaint Paragraph 43, except to the extent

 they purport to state legal conclusions as to which no response is required.

        91.    COMPLAINT PARAGRAPH 44: On April 29, 2022, Arm wrote Qualcomm

 clarifying that neither Nuvia nor Qualcomm was authorized to continue working on technology

 that was developed under the Nuvia licenses.

        ANSWER: Defendants admit that ARM wrote a letter to Qualcomm dated April 29,

 2022. Defendants otherwise deny the allegations in Complaint Paragraph 44 except to the

 extent they purport to state legal conclusions as to which no response is required.

        92.    COMPLAINT PARAGRAPH 45: Two weeks later, on May 13, 2022, Qualcomm

 sought Arm’s verification that a new Qualcomm processor core complied with Arm architecture

 so that it could be verified and incorporated into a product. Qualcomm did not explain whether

 this processor core design was based on Nuvia’s designs under the terminated licenses.




                                                34
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page35
                                                          40ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             359132




         ANSWER: Defendants admit that, on May 13, 2022, Qualcomm submitted to ARM

 a compliance report for a new Qualcomm CPU. Defendants otherwise deny the allegations

 in Complaint Paragraph 45.

         93.    COMPLAINT PARAGRAPH 46: Based on the timing and circumstances

 surrounding Qualcomm’s request, discovery is likely to show that Qualcomm’s processor core

 design is based on or incorporates in whole or in part the processor core design developed under

 the prior Nuvia licenses.

         ANSWER: Defendants admit that Qualcomm’s Phoenix Core design incorporates

 intellectual property acquired from NUVIA, which is wholly independent of ARM.

 Defendants otherwise deny the allegations in Complaint Paragraph 46, except to the extent

 they purport to state legal conclusions to which no response is required.

         94.    COMPLAINT PARAGRAPH 47: Qualcomm’s Arm licenses do not cover

 products based on or incorporating Arm-based technologies developed by third parties under

 different Arm licenses, such as the now-terminated Nuvia licenses.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 47.

         95.    COMPLAINT PARAGRAPH 48: Despite Arm’s termination of the Nuvia

 licenses, Qualcomm has continued to tell the public that its Nuvia chips will soon be joining the

 industry-wide “ecosystem transition to Arm.”22 Like Qualcomm’s prior statements, this

 announcement was directed to readers throughout the United States, including to readers

 physically located in the State of Delaware and this Judicial District.




 22
      Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
      https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
      apple/id1091374076?i=1000565773375.


                                                  35
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page36
                                                          41ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             360133




         ANSWER: Defendants respectfully refer the Court to the cited publications for their

 complete language and content. Defendants otherwise deny the allegations in Complaint

 Paragraph 48, except to the extent they purport to state legal conclusions to which no

 response is required.

         96.     COMPLAINT PARAGRAPH 49: In June 2022, Qualcomm’s CEO reiterated that

 it would soon begin “sampling” Nuvia chips to companies, allowing them to design electronic

 devices incorporating the chips in the “next year.”23 Based on that timeline, he explained, “[i]n

 late next year, beginning 2024, you’re going to see Windows PCs powered by Snapdragon with a

 Nuvia-designed CPU.”24

         ANSWER: Defendants respectfully refer the Court to the cited publications for their

 complete language and content. Defendants otherwise deny the allegations in Complaint

 Paragraph 49.

         97.     COMPLAINT PARAGRAPH 50: In the microprocessor industry, “sampling”

 means providing pre-production processors to original equipment manufacturers (“OEMs”),

 original device manufacturers (“ODMs”), or independent software vendors (“ISVs”) for use in the

 product design cycle before product launch.




 23
      Id.; see also Mark Tyson, Qualcomm CEO Admits Nuvia Chip OEM Sampling is Delayed
      (Update),           Tom’s            Hardware             (June            10,          2022),
      https://www.tomshardware.com/news/qualcomm-nuvia-chip-sampling-delays              (Qualcomm
      spokesperson clarifying: “We are on track to sample the first products with our next generation
      CPUs this year.”).
 24
      Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
      https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
      apple/id1091374076?i=1000565773375.


                                                  36
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page37
                                                          42ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             361134




         ANSWER: Defendants admit the allegations in Complaint Paragraph 50 generally

 describe sampling, but note that they fail to distinguish between precommercial engineering

 samples and commercial samples.

         98.    COMPLAINT PARAGRAPH 51: Based on Qualcomm’s statements that Nuvia

 processors took “years” to develop and “are still in development,” and Qualcomm’s consistent

 statements that it is developing Nuvia’s Arm chips, discovery is likely to show that the chips that

 Qualcomm intends to sample in the coming months will contain Nuvia technology that Qualcomm

 cannot use and instead must destroy.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 51, except to

 the extent they purport to state legal conclusions to which no response is required.

         99.    COMPLAINT PARAGRAPH 52: Further, based on Qualcomm’s public

 announcements of its plans to use Nuvia technology, discovery is likely to show that Qualcomm

 has continued to retain and use Nuvia technology developed pursuant to the Nuvia licenses,

 thereby materially breaching the termination provisions of those licenses.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 52, except to

 the extent they purport to state legal conclusions to which no response is required.

         100.   COMPLAINT PARAGRAPH 53: News reports indicate that Qualcomm is also

 developing Nuvia processors for data center servers, and “already has working silicon to at least

 demonstrate to potential customers,”25 which discovery is likely to show is based on or

 incorporates Nuvia technology developed under the now-terminated Nuvia ALA.




 25
      Dan Robinson, Qualcomm readying new Arm server chip based on Nuvia acquisition, The
      Register                      (Aug.                    19,                   2022),
      https://www.theregister.com/2022/08/19/qualcomm_arm_server_chip/ (citing Ian King,



                                                 37
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page38
                                                          43ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             362135




        ANSWER: Defendants respectfully refer the Court to the cited publications for their

 complete language and content. Defendants otherwise deny the allegations in Complaint

 Paragraph 53, except to the extent they purport to state legal conclusions for which no

 response is required.

        101.    COMPLAINT PARAGRAPH 54: The failure of Nuvia and Qualcomm to comply

 with the post-termination obligations under the Nuvia ALA is causing, and will continue to cause,

 irreparable harm to Arm. Qualcomm effectively seeks to circumvent Arm’s licensing model,

 which allocates use of the technology developed pursuant to a particular Arm license to a particular

 licensee.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 54, except to

 the extent they purport to state legal conclusions to which no response is required.

        102.    COMPLAINT PARAGRAPH 55: These breaches thus interfere with Arm’s

 ability and right to control the use of its technology, negatively affecting Arm’s relationships with

 existing and prospective licensees.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 55, except to

 the extent they purport to state legal conclusions to which no response is required.

        103.    COMPLAINT PARAGRAPH 56: The prospective monetary damages from

 Qualcomm’s circumvention and interference with Arm’s control over its technology are not

 readily ascertainable or calculable, given the resulting future impact on Arm’s relationships with

 existing and prospective customers.




    Qualcomm Is Plotting a Return to Server Market With New Chip, Bloomberg (Aug. 18, 2022),
    https://www.bloomberg.com/news/articles/2022-08-18/qualcomm-is-plotting-a-return-to-
    server-market-with-new-chip).


                                                  38
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page39
                                                          44ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             363136




        ANSWER: Defendants deny the allegations in Complaint Paragraph 56, except to

 the extent they purport to state legal conclusions to which no response is required.

        104.    COMPLAINT PARAGRAPH 57: Qualcomm’s improper acquisition of the

 relevant Nuvia technology in violation of Arm’s standard provisions threatens to harm Arm’s

 position in the ecosystem of Arm-based devices, harm Arm’s reputation as an intellectual property

 owner and technology developer whose licenses must be respected, and embolden other companies

 to likewise harm Arm’s reasonable business expectations in issuing its licenses.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 57, except to

 the extent they purport to state legal conclusions to which no response is required.

           COUNT I: BREACH OF CONTRACT – SPECIFIC PERFORMANCE
                            (ALL DEFENDANTS)

        105.    COMPLAINT PARAGRAPH 58: Arm hereby restates and re-alleges the

 allegations set forth above and incorporates them by reference.

        ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

 Paragraphs 1-57 as if fully set forth herein.

        106.    COMPLAINT PARAGRAPH 59: The termination obligations of the ALA

 between Nuvia and Arm survive termination and remain valid and enforceable contract provisions,

 as Qualcomm’s correspondence and Nuvia’s termination certification confirm.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 59, except to

 the extent they purport to state legal conclusions to which no response is required.

        107.    COMPLAINT PARAGRAPH 60: Arm complied with and fulfilled all relevant

 duties, conditions, covenants, and obligations under the Nuvia ALA, including ceasing use of

 Nuvia confidential information in its possession.




                                                 39
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page40
                                           10/26/22 Page  45ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             364137




        ANSWER: Defendants deny the allegations in Complaint Paragraph 60, except to

 the extent they purport to state legal conclusions to which no response is required.

        108.    COMPLAINT PARAGRAPH 61: The Nuvia ALA terms were just and

 reasonable, involving adequate consideration and reasonable obligations for Nuvia in the event of

 Arm’s termination based on Nuvia’s material breach. Those obligations served to restore the

 license holder to its position ex ante, protect Arm’s business model and reasonable business

 expectations in issuing its licenses, and prevent the unjust enrichment of Qualcomm, the party that

 induced Nuvia’s breach.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 61, except to

 the extent they purport to state legal conclusions to which no response is required.

        109.    COMPLAINT PARAGRAPH 62: Upon termination, the Nuvia ALA requires

 Nuvia to cease using and destroy any technology developed under the Nuvia ALA, as well as cease

 using Arm’s trademarks in connection with any technology developed under the Nuvia ALA.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 62, except to

 the extent they purport to state legal conclusions to which no response is required.

        110.    COMPLAINT PARAGRAPH 63: Qualcomm shares Nuvia’s obligations under

 the Nuvia ALA in its capacity as Nuvia’s acquirer, and thus Qualcomm is likewise subject to the

 requirements of the Nuvia licenses’ termination provisions.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 63, except to

 the extent they purport to state legal conclusions to which no response is required.

        111.    COMPLAINT PARAGRAPH 64: Based on Defendants’ correspondence with

 Arm, public statements, and processor verification requests, discovery is likely to show that




                                                 40
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page41
                                           10/26/22 Page  46ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             365138




 Defendants are still using and developing Nuvia technology developed under the now-terminated

 licenses, along with Arm trademarks, and intend to continue to do so.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 64, except to

 the extent they purport to state legal conclusions to which no response is required.

        112.   COMPLAINT PARAGRAPH 65: Defendants therefore have breached and are

 breaching the Nuvia ALA’s termination provisions.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 65, except to

 the extent they purport to state legal conclusions to which no response is required.

        113.   COMPLAINT PARAGRAPH 66: As a direct and proximate result of Nuvia and

 Qualcomm’s past and ongoing breaches, Arm has been irreparably injured and damaged in

 amounts not capable of determination, including, but not limited to, injury to Arm’s global

 licensing program and misuse of Arm’s technology.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 66, except to

 the extent they purport to state legal conclusions to which no response is required.

        114.   COMPLAINT PARAGRAPH 67: Unless Defendants’ breaches of the Nuvia

 ALA’s termination provisions are enjoined and specific performance is granted, Arm will continue

 to suffer irreparable harm. As such, Arm has the right to enforcement of Nuvia and Qualcomm’s

 compliance with the ALA’s termination provisions, including via injunctive relief, specific

 performance, or any other measures necessary to avoid irreparable harm to Arm or to mitigate

 damages that have been caused by, and will continue to be caused by, Defendants’ breach.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 67, except to

 the extent they purport to state legal conclusions to which no response is required.




                                                41
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page42
                                                          47ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             366139




        115.    COMPLAINT PARAGRAPH 68: Arm is entitled to specific performance

 requiring Defendants to comply with the Nuvia ALA’s termination provisions, including ceasing

 all use of and destroying any technology developed under the Nuvia ALA, and ceasing all use of

 Arm trademarks in connection with any technology developed under the Nuvia ALA—including

 the relevant Nuvia technology.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 68, except to

 the extent they purport to state legal conclusions to which no response is required.

        116.    COMPLAINT PARAGRAPH 69: Arm is also entitled to monetary compensation

 incidental to specific performance of the Nuvia ALA’s termination provisions to compensate Arm

 for the delay in Defendants’ performance of their contractual obligations.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 69, except to

 the extent they purport to state legal conclusions to which no response is required.

                    COUNT II: DECLARATORY JUDGMENT AND
                 TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114
                               (ALL DEFENDANTS)

        117.    COMPLAINT PARAGRAPH 70: Arm hereby restates and re-alleges the

 allegations set forth above and incorporates them by reference.

        ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

 Paragraphs 1-69 as if fully set forth herein.

        118.    COMPLAINT PARAGRAPH 71: Arm owns U.S. Registration Nos. 5,692,669

 and 5,692,670 for the ARM word mark in standard characters and the stylized ARM mark featuring

 the word “arm” in all lower case letters (collectively, the “ARM Marks”), true and correct copies

 of which are attached as Exhibits A and B. These marks are registered for “[e]lectronic data

 processing equipment,” “integrated circuits,” “semiconductors,” “microprocessors,” “RISC-based

 instruction set architectures, namely, software instructions designed to function with particular


                                                 42
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page43
                                           10/26/22 Page  48ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             367140




 microprocessors,” “data processors,” “printed circuit boards,” “electronic circuit boards,” and

 related “[r]esearch, development and design,” among numerous other goods and services. The

 applications to register the marks were filed on July 31, 2017 and were issued on March 5, 2019.

 The application for Registration No. 5,692,669 has a claimed first use and first use-in-commerce

 date of November 30, 1990, while the application for Registration No. 5,692,670 has a claimed

 first use and first use-in-commerce date of August 1, 2017.

        ANSWER: Defendants refer the Court to Exhibits A and B of the Complaint for their

 complete language and content. Defendants otherwise deny the allegations in Complaint

 Paragraph 71, except to the extent they purport to state legal conclusions to which no

 response is required.

        119.    COMPLAINT PARAGRAPH 72: The ARM Marks have come to signify the

 highest standards of quality and excellence associated with licensed Arm products and services

 and have incalculable reputation and goodwill, which belong to Arm.

        ANSWER: To the extent the allegations in Complaint Paragraph 72 purport to state

 legal conclusions, no response is required.         Defendants otherwise deny knowledge or

 information sufficient to form a belief as to the truth of the allegations set forth in Complaint

 Paragraph 72, and on that basis deny them.

        120.    COMPLAINT PARAGRAPH 73: Arm has had valid and protectable rights in the

 ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

 connection with integrated circuit and microprocessor technologies.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 73, except to

 the extent they purport to state legal conclusions to which no response is required.




                                                43
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page44
                                                          49ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             368141




         121.   COMPLAINT PARAGRAPH 74: Qualcomm and Nuvia, as current or former

 Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

 knowledge of Arm’s ownership and use of the ARM Marks for years.

         ANSWER: Qualcomm admits that its ALA and TLA with ARM permit the use of

 ARM Marks. Defendants otherwise deny the allegations in Complaint Paragraph 74, except

 to the extent they purport to state legal conclusions to which no response is required.

         122.   COMPLAINT PARAGRAPH 75: Arm has not authorized Qualcomm or Nuvia

 to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

 technology developed under the now-terminated licenses, instead terminating those licenses.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 75, except to the

 extent they purport to state legal conclusions to which no response is required.

         123.   COMPLAINT PARAGRAPH 76: Qualcomm and Nuvia have engaged in

 substantial preparation and taken concrete steps with the intent to infringe Arm’s trademarks in

 violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114. Arm’s customers—including

 Qualcomm and Nuvia, as discovery is likely to show—often use the ARM Marks in their die

 encapsulation (die packages), end user product packaging, advertising and promotional materials,

 technical documentation, and websites directed to users throughout the United States, including

 users physically located in the State of Delaware and this Judicial District. Qualcomm promotes

 Snapdragon products as incorporating Arm technology, such as by saying on its website that

 “Snapdragon 855 is equipped with the cutting-edge Qualcomm® KryoTM 485 CPU built on ARM

 Cortex Technology.”26 In January 2022, Qualcomm issued a press release touting the “broad



 26
      Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
      finder/smartphones/samsung-galaxy-note10-5g.


                                               44
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page45
                                                          50ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             369142




 support from ecosystem partners for the PC industry’s transition to Arm®-based computing,” with

 Qualcomm’s CEO boasting that “the recent acquisition of NUVIA uniquely positions Qualcomm

 Technologies to drive this industry wide transition.”27 This press release remains online. Also,

 Qualcomm and Nuvia’s plans to begin sampling chips with the relevant Nuvia technology as soon

 as August 2022 would require manufacturing a limited run of the chips in advance, and news

 reports indicate that Qualcomm already has some working chips to demonstrate to potential

 customers. Qualcomm and Nuvia have thus used the ARM Marks in connection with the

 advertising, distribution, offering for sale, or sale of the chips, and Arm believes discovery will

 show that their further use is imminent if it has not happened already.

         ANSWER: Qualcomm admits to using certain ARM Marks as permitted by its

 licenses to accurately refer to ARM’s technology, including, but not limited to, in marketing

 materials, product specifications, and technical documents. Defendants deny knowledge or

 information sufficient to form a belief as to how ARM’s other licensees use ARM Marks.

 Defendants otherwise respectfully refer the Court to the cited publications for their complete

 language and content. Defendants otherwise deny the allegations in Complaint Paragraph

 76, except to the extent they purport to state legal conclusions to which no response is

 required.

         124.   COMPLAINT PARAGRAPH 77: Qualcomm and Nuvia’s unauthorized use of

 the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

 technology is likely to cause confusion, mistake, or deception on the part of consumers as to the



 27
      Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
      PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
      https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
      partners-build-industry-momentum-windows-arm.


                                                 45
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page46
                                           10/26/22 Page  51ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             370143




 affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship, or

 approval of Defendants’ semiconductor chips using the relevant Nuvia technology, constituting

 trademark infringement in violation of 15 U.S.C. § 1114. Given Arm’s close relationships with its

 customers and individualized support for their products, there is and is likely to be confusion in

 the marketplace because consumers encountering the ARM Marks in connection with

 semiconductor chips incorporating the relevant Nuvia technology do and will likely believe that

 the products are endorsed by, licensed by, or otherwise associated with Arm. Semiconductor chips

 incorporating the relevant Nuvia technology are also readily identifiable without the use of the

 ARM Marks, such as by not mentioning the processor architecture or by using the generic term

 “RISC” (for reduced instruction set computer).

        ANSWER: Defendants deny the allegations in Complaint Paragraph 77, except to the

 extent they purport to state legal conclusions to which no response is required.

        125.    COMPLAINT PARAGRAPH 78: An actual and justiciable controversy exists

 between Defendants and Arm regarding infringement of Arm’s trademarks. Although Arm

 repeatedly notified Qualcomm and Nuvia that their development of the relevant Nuvia technology

 is unlicensed following termination of the Nuvia licenses, Qualcomm has continued to tell

 reporters that the technology is on track to be sampled to customers this year, and news reports

 indicate that Qualcomm already has some working chips to demonstrate to potential customers.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 78, except to

 the extent they purport to state legal conclusions to which no response is required.

        126.    COMPLAINT PARAGRAPH 79: Arm is entitled to a declaratory judgment that

 Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor chips




                                                  46
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page47
                                           10/26/22 Page  52ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             371144




 with the relevant Nuvia technology and the ARM Marks do and will infringe Arm’s trademarks,

 directly and indirectly.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 79, except to the

 extent they purport to state legal conclusions to which no response is required.

        127.    COMPLAINT PARAGRAPH 80: Defendants’ acts of infringement have injured

 Arm in an amount as yet unknown. Arm is entitled to recover from Defendants the damages

 sustained as a result of Defendants’ wrongful acts in an amount subject to proof at trial.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 80, except to the

 extent they purport to state legal conclusions to which no response is required.

        128.    COMPLAINT PARAGRAPH 81: Based on Qualcomm and Nuvia’s continued

 development of the relevant Nuvia technology after repeated notifications that the technology is

 unlicensed following termination of the Nuvia licenses, discovery is likely to show that Qualcomm

 and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’

 fees pursuant to 15 U.S.C. § 1117(a).

        ANSWER: Defendants deny the allegations in Complaint Paragraph 81, except to

 the extent they purport to state legal conclusions to which no response is required.

        129.    COMPLAINT PARAGRAPH 82: Arm will suffer and is suffering irreparable

 harm to its name, reputation, and goodwill from Defendants’ trademark infringement. Arm has no

 adequate remedy at law and is entitled to a permanent injunction against Defendants’ continuing

 infringement, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to deliver up for

 destruction, or to show proof of said destruction or sufficient modification to eliminate the

 infringing matter, all semiconductor chips, die encapsulation (die packages), end user product

 packaging, advertising and promotional materials, technical documentation, websites, and other




                                                 47
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page48
                                                          53ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             372145




 matter in Defendants’ possession, custody, or control that bears or displays the ARM Marks in any

 manner in connection with the relevant Nuvia technology. Unless enjoined, Defendants will

 continue their infringing conduct.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 82, except to the

 extent they purport to state legal conclusions to which no response is required.

                   COUNT III: DECLARATORY JUDGMENT AND
               FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. § 1125
                               (ALL DEFENDANTS)

        130.    COMPLAINT PARAGRAPH 83: Arm hereby restates and re-alleges the

 allegations set forth above and incorporates them by reference.

        ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

 Paragraphs 1-82 as if fully set forth herein.

        131.    COMPLAINT PARAGRAPH 84: The acts of Qualcomm and Nuvia described

 above constitute false designation of origin in violation of Section 43(a) of the Lanham Act, 15

 U.S.C. § 1125(a).

        ANSWER: Defendants deny the allegations in Complaint Paragraph 84, except to

 the extent they purport to state legal conclusions to which no response is required.

        132.    COMPLAINT PARAGRAPH 85: Arm has had valid and protectable rights in the

 ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

 connection with integrated circuit and microprocessor technologies.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 85, except to

 the extent they purport to state legal conclusions to which no response is required.

        133.    COMPLAINT PARAGRAPH 86: Qualcomm and Nuvia, as current or former

 Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

 knowledge of Arm’s ownership and use of the ARM Marks for years.


                                                 48
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page49
                                                          54ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             373146




         ANSWER: Qualcomm admits that its ALA and TLA permit use of the ARM Marks.

 Defendants otherwise deny the allegations in Complaint Paragraph 86, except to the extent

 they purport to state legal conclusions to which no response is required.

         134.   COMPLAINT PARAGRAPH 87: Arm has not authorized Qualcomm or Nuvia

 to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

 technology developed under the now-terminated licenses, instead terminating those licenses.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 87, except to

 the extent they purport to state legal conclusions to which no response is required.

         135.   COMPLAINT PARAGRAPH 88: Qualcomm and Nuvia have engaged in

 substantial preparation and taken concrete steps with the intent to falsely designate the origin of

 their products in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Arm’s

 customers—including Qualcomm and Nuvia, as discovery is likely to show—often use the ARM

 Marks in their die encapsulation (die packages), end user product packaging, advertising and

 promotional materials, technical documentation, and websites directed to users throughout the

 United States, including users physically located in the State of Delaware and this Judicial District.

 Qualcomm promotes Snapdragon products as incorporating Arm technology, such as by saying on

 its website that “Snapdragon 855 is equipped with the cutting-edge Qualcomm® KryoTM 485

 CPU built on ARM Cortex Technology.”28 In January 2022, Qualcomm issued a press release

 touting the “broad support from ecosystem partners for the PC industry’s transition to Arm®-based

 computing,” with Qualcomm’s CEO boasting that “the recent acquisition of NUVIA uniquely




 28
      Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
      finder/smartphones/samsung-galaxy-note10-5g.


                                                  49
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page50
                                                          55ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             374147




 positions Qualcomm Technologies to drive this industry wide transition.”29 This press release

 remains online. Also, Qualcomm and Nuvia’s plans to begin sampling chips with the relevant

 Nuvia technology as soon as August 2022 would require manufacturing a limited run of the chips

 in advance, and news reports indicate that Qualcomm already has some working chips to

 demonstrate to potential customers. Qualcomm and Nuvia have thus used the ARM Marks in

 connection with the advertising, distribution, offering for sale, or sale of the chips, and Arm

 believes discovery will show that their further use is imminent if it has not happened already.

         ANSWER: Qualcomm admits to using certain ARM Marks pursuant to its licenses

 to accurately refer to ARM’s technology, including, but not limited to, in marketing

 materials, product specifications, and technical documents. Defendants deny knowledge or

 information sufficient to form a belief as to how ARM’s other customers use ARM Marks.

 Defendants respectfully refer the Court to the cited publications for their complete language

 and content. Defendants otherwise deny the allegations in Complaint Paragraph 88, except

 to the extent they purport to state legal conclusions to which no response is required.

         136.   COMPLAINT PARAGRAPH 89: Qualcomm and Nuvia’s unauthorized use of

 the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

 technology is likely to cause confusion, mistake, or deception on the part of consumers as to the

 affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship, or

 approval of Defendants’ semiconductor chips using the relevant Nuvia technology, constituting

 false designation of origin in violation of 15 U.S.C. § 1125(a)(1)(A). Given Arm’s close



 29
      Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
      PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
      https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
      partners-build-industry-momentum-windows-arm.


                                                 50
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page51
                                           10/26/22 Page  56ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             375148




 relationships with its customers and individualized support for their products, there is and is likely

 to be confusion in the marketplace because consumers encountering the ARM Marks in connection

 with semiconductor chips incorporating the relevant Nuvia technology do and will likely believe

 that the products are endorsed by, licensed by, or otherwise associated with Arm. Semiconductor

 chips incorporating the relevant Nuvia technology are also readily identifiable without the use of

 the ARM Marks, such as by not mentioning the processor architecture or by using the generic term

 “RISC” (for reduced instruction set computer).

        ANSWER: Defendants deny the allegations in Complaint Paragraph 89, except to

 the extent they purport to state legal conclusions to which no response is required.

        137.    COMPLAINT PARAGRAPH 90: An actual and justiciable controversy exists

 regarding Defendants’ false designation of origin. Although Arm repeatedly notified Qualcomm

 and Nuvia that their development of the relevant Nuvia technology is unlicensed following

 termination of the Nuvia licenses, Qualcomm has continued to tell reporters that the technology is

 on track to be sampled to customers this year, and news reports indicate that Qualcomm already

 has some working chips to demonstrate to potential customers.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 90, except to

 the extent they purport to state legal conclusions to which no response is required.

        138.    COMPLAINT PARAGRAPH 91: Arm is entitled to a declaratory judgment that

 Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor chips

 with the relevant Nuvia technology and the ARM Marks do and will falsely designate the origin

 of their products, directly and indirectly.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 91, except to the

 extent they purport to state legal conclusions to which no response is required.




                                                  51
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page52
                                           10/26/22 Page  57ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             376149




        139.    COMPLAINT PARAGRAPH 92: Defendants’ acts of false designation of origin

 have injured Arm in an amount as yet unknown. Arm is entitled to recover from Defendants the

 damages sustained as a result of Defendants’ wrongful acts in an amount subject to proof at trial.

        ANSWER: Defendants deny the allegations in Complaint Paragraph 92, except to the

 extent they purport to state legal conclusions to which no response is required.

        140.    COMPLAINT PARAGRAPH 93: Based on Qualcomm and Nuvia’s continued

 development of the relevant Nuvia technology after repeated notifications that the technology is

 unlicensed following termination of the Nuvia licenses, discovery is likely to show that Qualcomm

 and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’

 fees pursuant to 15 U.S.C. § 1117(a).

        ANSWER: Defendants deny the allegations in Complaint Paragraph 93, except to

 the extent they purport to state legal conclusions to which no response is required.

        141.    COMPLAINT PARAGRAPH 94: Arm will suffer and is suffering irreparable

 harm to its name, reputation, and goodwill from Defendants’ false designation of origin. Arm has

 no adequate remedy at law and is entitled to a permanent injunction against Defendants’ continuing

 false designation of origin, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to

 deliver up for destruction, or to show proof of said destruction or sufficient modification to

 eliminate the falsely designated matter, all semiconductor chips, die encapsulation (die packages),

 end user product packaging, advertising and promotional materials, technical documentation,

 websites, and other matter in Defendants’ possession, custody, or control that bears or displays the

 ARM Marks in any manner in connection with the relevant Nuvia technology. Unless enjoined,

 Defendants will continue their wrongful conduct.




                                                 52
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page53
                                           10/26/22 Page  58ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             377150




        ANSWER: Defendants deny the allegations in Complaint Paragraph 94, except to

 the extent they purport to state legal conclusions to which no response is required.

                                 ARM’S PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Arm Ltd. requests that the Court grant the following relief:

        a.      A judgment in Arm’s favor on all claims against Defendants;

        b.      An order requiring specific performance by Defendants of the Nuvia licenses’

 termination provisions;

        c.      An award of damages incidental to specific performance as a result of Defendants’

 breach of contract, in amounts to be proven at trial, including all pre-judgment and post-judgment

 interest at the maximum rate permitted by law;

        d.      A judgment and a declaration that advertising, distributing, offering for sale, or

 selling semiconductor chips with the relevant Nuvia technology and the ARM Marks infringes

 Arm’s trademarks, directly and indirectly;

        e.      An order and judgment permanently enjoining Defendants and their officers,

 directors, agents, servants, employees, and all others acting in privity or in concert with them, and

 their parents, subsidiaries, divisions, successors, and assigns from (1) using in any manner in

 connection with the relevant Nuvia technology the ARM Marks, or any mark or logo that is

 confusingly similar to or a colorable imitation of the ARM Marks owned by Arm; (2) doing any

 act or thing calculated or likely to cause confusion or mistake in the minds of the members of the

 public or prospective customers as to the affiliation, connection, or association of Defendants with

 Arm, or as to the origin, sponsorship, or approval of Defendants’ semiconductor chips using the

 relevant Nuvia technology; or (3) assisting, aiding, or abetting any other person or business entity

 in performing any of the aforementioned activities;




                                                  53
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page54
                                           10/26/22 Page  59ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             378151




        f.      An order and judgment directing Defendants, pursuant to 15 U.S.C. § 1116(a), to

 file with this Court and serve upon Arm within thirty (30) days after entry of the injunction a report

 in writing under oath setting forth in detail the manner and form in which Defendants have

 complied with the injunction and ceased all offering of products with the relevant Nuvia

 technology under the ARM Marks, as set forth above;

        g.      An order and judgment directing Defendants and their officers, directors, agents,

 servants, employees, and all others acting in privity or in concert with them, and their parents,

 subsidiaries, divisions, successors, and assigns to deliver up for destruction, or to show proof of

 said destruction or sufficient modification to eliminate the infringing matter, all semiconductor

 chips, die encapsulation (die packages), end user product packaging, advertising and promotional

 materials, technical documentation, websites, and other matter in Defendants’ possession, custody,

 or control that bears or displays in any manner in connection with the relevant Nuvia technology

 the ARM Marks or any other mark that is confusingly similar to or a colorable imitation of the

 ARM Marks;

        h.      A judgment in the aggregate amount of (1) Defendants’ profits, (2) Arm’s actual

 damages, (3) the costs of this action pursuant to 15 U.S.C. § 1117, and (4) restitution and/or

 disgorgement of all revenues, earnings, profits, compensation, and benefits that may have been

 obtained by Defendants in connection with their semiconductor chips using the relevant Nuvia

 technology and the ARM Marks, including all pre-judgment and post-judgment interest at the

 maximum rate permitted by law;

        i.      A judgment trebling any damages to the extent permitted by law, including under

 15 U.S.C. § 1117;

        j.      Exemplary or punitive damages to the extent permitted by law;




                                                  54
  Case
Case   1:22-cv-01146-MN Document
     1:24-cv-00490-MN    Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page55
                                                          60ofof83 PageID
                                                                 633      #: #:
                                                                     PageID  379152




        k.      Costs, expenses, and reasonable attorney fees under all applicable rules, statutes,

 and rules in common law that would be appropriate, with pre-judgment and post-judgment interest

 thereon at the maximum rate permitted by law;

        l.      Equitable relief addressing any infringement occurring after entry of judgment; and

        m.      Such other relief as the Court deems just and proper.

        ANSWER TO PLEA FOR RELIEF: ARM’s characterization of the relief it seeks

 does not require a response. To the extent a response is required, Defendants deny the

 allegations in the prayer for relief and further deny that ARM is entitled to the requested

 relief, or any relief, against the Defendants, and the Defendants request that the Court

 dismiss all claims against them with prejudice and order such further relief as the Court

 deems just and proper.

                                         JURY DEMAND

        Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Arm hereby demands a TRIAL BY

 JURY of all claims and issues presented in this Complaint that are so triable.

        ANSWER TO JURY DEMAND: ARM’s jury demand states a legal conclusion to

 which no response is required, and Defendants otherwise reserve their right to contest

 ARM’s jury demand.

                                           DEFENSES

        142.    Without admitting that the Defendants engaged in the acts and conduct set forth in

 ARM’s Complaint or that such acts or conduct would entitle ARM to the relief it seeks or that the

 allegation of an affirmative or other defense requires Defendants to prove affirmatively the

 circumstances as alleged, the Defendants assert the following defenses with respect to the claims

 alleged in the Complaint, without assuming the burden of proof or persuasion where the burden

 rests on ARM. By designating the following defenses, the Defendants do not in any way waive or


                                                 55
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page56
                                                          61ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             380153




 limit any defenses which are or may be raised by their denials, allegations and averments set forth

 herein, and do not assume the burden of proof for any element of a claim to which the applicable

 law places the burden of proof on the Plaintiff. The defenses are pleaded in the alternative, are

 raised to preserve the Defendants’ rights to assert such defenses, and are without prejudice to their

 ability to raise other and further defenses. The Defendants hereby give notice that they intend to

 rely upon such other and further defenses as may become available or apparent at any time and

 hereby reserve all rights to amend and/or supplement any and all defenses set forth herein.

                                         FIRST DEFENSE

                                    (Failure To State A Claim)

        143.    The Complaint fails to state a claim against the Defendants upon which relief can

 be granted.

                                       SECOND DEFENSE

                         (Defendants Did Not Breach The NUVIA ALA)

        144.    Defendants did not breach the termination provisions of NUVIA’s ALA because

 Defendants complied with the termination provision.

        145.    Defendants did not breach the NUVIA ALA. Defendants’ use of ARM technology

 and information was fully licensed under the Qualcomm ALA.

                                        THIRD DEFENSE

                 (Defendants’ Use Of ARM Marks Is Licensed And Therefore
                     Permitted Under Qualcomm’s License Agreements)

        146.    Defendants are licensed to use the ARM Marks at issue and therefore they are not

 in violation of 15 U.S.C. §§ 1114 and 1125.

        147.    For example, under                  of Qualcomm’s ARM ALA, ARM




                                                  56
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page57
                                                          62ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             381154




        148.     The Qualcomm products at issue in ARM’s complaint were

                      Qualcomm’s license agreements. Accordingly, Defendants are permitted to

 use ARM’s Marks licensed under that agreement.

                                       FOURTH DEFENSE

                                             (Fair Use)

        149.     Defendants are not subject to liability for alleged trademark infringement because

 Defendants’ use of ARM Marks constitutes fair use.

        150.     Defendants use the ARM Marks in marketing materials, product specifications and

 technical documents to truthfully refer to ARM’s technology and its relationship with Qualcomm’s

 products.     For example, Qualcomm’s website describes the Kryo CPU as follows: “The

 Qualcomm® Kryo™ CPU (built on ARM Cortex Technology) available in certain Snapdragon

 processors is optimized for high-performance mobile computing.”

        151.     Use of the ARM Marks in this manner is necessary to accurately describe that

 Qualcomm’s products are compatible with ARM’s technology.

        152.     This use of the ARM Marks indicates that Qualcomm’s products use an ARM ISA.

 This is a true and accurate representation of the relationship between ARM and Qualcomm’s

 products.

        153.     Defendants use only so much of the ARM Marks as necessary to describe ARM’s

 products.




                                                 57
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page58
                                                          63ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             382155




                                          FIFTH DEFENSE

                                             (Ripeness)

         154.     ARM’s claims under 15 U.S.C. §§ 1114 and 1125 are premature and not ripe for

 adjudication.

                                          SIXTH DEFENSE

                        (Plaintiff’s Breach Of The NUVIA ALA Prevents It
                                From Seeking To Enforce The ALA)

         155.     ARM is barred from bringing or maintaining its breach of contract claim based on

 the NUVIA ALA, or recovering any remedy against the Defendants based on this claim, because

 ARM breached the NUVIA ALA, and such breach excuses any nonperformance by the answering

 Defendants.

         156.     ARM’s refusal to fulfill its responsibilities under the NUVIA ALA bars its own

 claims of breach of contract against the Defendants.

         157.     Moreover, pursuant to            of the ALA, ARM’s ability to recover damages

 is limited.

                                       SEVENTH DEFENSE

                                           (Unclean Hands)

         158.     ARM is barred from bringing or maintaining its claims by virtue of the equitable

 doctrine of unclean hands, including because ARM has refused to fulfill its contractual obligations

 to Defendants.

                                          EIGHTH DEFENSE

                                              (Waiver)

         159.     By the statements, conduct, acts, or omissions attributable to ARM alone, ARM has

 waived all claims and causes of action and any recovery or remedy alleged in the complaint. ARM



                                                 58
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page59
                                                          64ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             383156




 has been aware of Qualcomm’s development of technology it acquired from NUVIA for over a

 year, and only now seeks to preclude Qualcomm from proceeding with its development.

                                        NINTH DEFENSE

                                             (Estoppel)

        160.    By the statements, conduct, acts, or omissions attributable to ARM alone, ARM is

 estopped from seeking any recovery or remedy as alleged in the complaint. ARM has been aware

 of Qualcomm’s development of technology it acquired from NUVIA for over a year, and only now

 seeks to preclude Qualcomm from proceeding with its development.

                                        TENTH DEFENSE

                                           (No Damages)

        161.    ARM’s claims cannot be maintained because ARM cannot prove any cognizable

 loss, damage, or injury as a result of the conduct alleged in the Complaint.

        162.    Moreover, to the extent ARM seeks damages, ARM’s damages are limited pursuant

 to            of the ALA.

                                     ELEVENTH DEFENSE

                                 (Failure To Mitigate Damages)

        163.    ARM’s claim for damages is barred in whole or in part due to ARM’s failure to

 mitigate the alleged damages resulting from its claims.

        164.    ARM knew in March of 2021 that Qualcomm had acquired NUVIA and that it

 intended to continue developing technology acquired from NUVIA.

        165.    ARM waited until February 2022 to terminate the NUVIA ALA, allegedly because

 NUVIA violated assignments provisions in the NUVIA agreements.

        166.    ARM’s actions worked to maximize its alleged damages.




                                                 59
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page60
                                           10/26/22 Page  65ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             384157




                                       TWELFTH DEFENSE

                                        (Equitable Defenses)

          167.   The claims alleged and the relief sought in this action are barred in whole or in part

 by the equitable doctrines of laches, acquiescence, consent, ratification, and/or similar doctrines.

                                      THIRTEENTH DEFENSE

                               (No Entitlement To Equitable Relief)

          168.   To the extent the Complaint seeks equitable relief, such relief is barred because

 there is an adequate remedy at law.

                                      FOURTEENTH DEFENSE

                                        (Trademark Misuse)

          169.   ARM has misused its marks inequitably, in order to harm Defendants.

          170.   ARM has falsely claimed that Defendants are not entitled to utilize the ARM

 Marks.

          171.   ARM falsely told customers, the media, and the public that Qualcomm cannot

 manufacture or sell products compatible with ARM’s ISA that contain NUVIA technology.

          172.   In so doing, ARM is indicating that Defendants are not entitled to utilize the ARM

 Marks.

          173.   This is incorrect.    Defendants are fully licensed to the ARM Marks under

 Qualcomm’s license agreements with ARM.




                                                  60
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page61
                                                          66ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             385158




                                     FIFTEENTH DEFENSE

                                          (Other Defenses)

        174.    Defendants hereby adopt and incorporate by reference any and all other defenses

 asserted, or that may hereafter be asserted, by any other defendant not expressly set forth herein to

 the extent such defense may be applicable to Defendants.

                                        COUNTERCLAIM

        175.    Defendants, for their Counterclaim against ARM, seek a declaration that

 Defendants have not breached NUVIA’s license agreements with ARM, and that Defendants’

 design, activities, and work on the Phoenix Core and associated SoCs are fully licensed pursuant

 to Qualcomm’s license agreements with ARM. Defendants set forth their counterclaim below,

 and incorporate by reference their introduction, set forth in paragraphs 1-47 above, as though set

 forth in full below.

                                          THE PARTIES

        176.    Qualcomm Incorporated is a Delaware corporation with its principal place of

 business in San Diego, California. Qualcomm is the world’s leading wireless technology

 innovator and the driving force behind the development, launch, and expansion of 5G technology.

 Qualcomm’s foundational technologies enable the mobile ecosystem and are found in every 3G,

 4G, and 5G smartphone. Qualcomm brings the benefits of mobile to new industries, including

 automotive, the internet of things, and computing, where Qualcomm has driven the convergence

 of PC and mobile technology to increase productivity, connectivity, and security in portable

 laptops.

        177.    Qualcomm Technologies, Inc. is a Delaware corporation with a principal place of

 business in San Diego, California. Qualcomm Technologies is a wholly-owned subsidiary of



                                                  61
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page62
                                                          67ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             386159




 Qualcomm Incorporated and operates, along with its subsidiaries, substantially all of Qualcomm’s

 engineering, research and development functions, and substantially all of its products and services

 businesses, including its QCT semiconductor business.

        178.    NUVIA, Inc. was founded in February 2019 to design and develop ARM-

 compatible cores for use in server products. NUVIA comprised a proven world-class CPU and

 technology design team, with industry-leading expertise in high-performance processors, SoCs,

 and power management for compute-intensive devices and applications. Qualcomm acquired

 NUVIA in March 2021 for approximately $1.4 billion, before working capital and other

 adjustments.

        179.    ARM is a corporation headquartered in Cambridge, United Kingdom and was

 founded in 1990. ARM is planning to issue an IPO in the future, and ARM’s positions will have

 a detrimental impact on this IPO unless this action is resolved beforehand.

                                 JURISDICTION AND VENUE

        180.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 § 1332 as there is complete diversity between the parties and the amount in controversy exceeds

 $75,000.

        181.    Venue is proper in the District of Delaware under 28 U.S.C. § 1391 because ARM,

 through its Complaint dated August 31, 2022, has consented to jurisdiction and venue in the State

 of Delaware and this Judicial District.




                                                 62
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page63
                                                          68ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             387160




                                 FACTUAL BACKGROUND

         I.      QUALCOMM AND NUVIA’S AGREEMENTS WITH ARM

         182.    On May 30, 2013, Qualcomm30 and ARM entered into an Amended and Restated

 Architecture License Agreement (the “QC ALA”), No. LES-TLA-20039, and Annex 1 to that

 agreement.     On May 31, 2013, Qualcomm and ARM entered into a Technology License

 Agreement (the “QC TLA”), No. LEC-TLA00550 and Annex 1 to that agreement. On June 23,

 2020, Qualcomm and ARM entered into an updated Annex 1 to the ALA and an Annex 1 to the

 QC TLA.

         183.




         184.    Under the QC TLA, ARM licenses to Qualcomm fully designed and functional

 ARM Technology. ARM provides this technology “off the shelf” to Qualcomm (i.e., the license

 is for a fully designed and functional piece of technology).



                                 .

         185.    On September 27, 2019, NUVIA entered into both a TLA and an ALA through

 which it licensed certain ARM Technology. The NUVIA ALA was later amended on October 17,

 2019.




 30




                                               63
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page64
                                                          69ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             388161




        186.    Prior to ARM’s termination of the NUVIA ALA and TLA, Qualcomm’s and

 NUVIA’s license agreements with ARM broadly overlapped. At the time of termination of the

 NUVIA agreements, Qualcomm’s ALA and TLA provided Qualcomm a license to the same

 technologies that were licensed under the NUVIA agreements.

        187.    However, as discussed above, the royalty rates under NUVIA’s license agreements

 were higher than those under Qualcomm’s.

        II.     ARM TRIES TO TAKE ADVANTAGE OF QUALCOMM’S ACQUISITION
                OF NUVIA

        a.        Qualcomm Alerts ARM To Its Pending Acquisition Of NUVIA

        188.    As discussed above in paragraphs 1-47, on January 13, 2021, Qualcomm

 announced its intent to acquire—for $1.4 billion before working capital and other adjustments—

 NUVIA, a start-up focused on developing a promising custom CPU compliant with the ARM ISA

 designed for data center servers.

        189.    On January 27, 2021, Qualcomm wrote ARM a letter stating that it had entered into

 a definitive agreement to acquire NUVIA, and noting that Qualcomm and NUVIA had overlapping

 license agreements. As Qualcomm notified ARM, “[f]ollowing the closing of the acquisition, for

 ease of operation and structure, QTI intends to transfer NUVIA’s work and employees to QTI and

 other current Qualcomm subsidiaries and have the then former NUVIA employees continue their

 activities under the Qualcomm ALA and TLA, as that will be their current employer.” In its letter,

 Qualcomm told ARM that it would be willing to “work with the ARM team to complete any

 necessary annexes” to Qualcomm’s ALA and TLA “to the extent NUVIA was utilizing any ARM

 technology not currently covered under the current QTI ALA and TLA.” Given the timing of the

 acquisition, which was scheduled to close in March, Qualcomm requested that ARM respond by

 February 3, 2021.



                                                64
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page65
                                           10/26/22 Page  70ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             389162




        190.    ARM did not respond until February 2, 2021, and said it would start reviewing

 “NUVIA’s contracts with ARM” and would “aim to get in touch” regarding additional materials

 required to facilitate the review by February 17, 2021. ARM further stated that it expected

 Qualcomm and NUVIA to “continue to follow the confidentiality obligations” in the parties’

 agreements and that the transfer of “designs, rights, or licenses” would be subject to “Arm’s prior

 consent,” which is “customarily documented in a three-way agreement between Arm, transferor,

 and transferee.”

        191.    Qualcomm replied the following day. Qualcomm confirmed that both “NUVIA

 and Qualcomm’s existing agreements with ARM provide for the protection of ARM’s confidential

 information,” and that they “would abide by the confidentiality terms of those agreements.”

 Qualcomm further requested that ARM provide its proposed “three-way agreement” for review.

        192.    ARM never provided a draft of the “three-way agreement” or explained its concerns

 regarding protection of its confidential information. Nor was any such “three-way agreement”

 necessary to transfer any designs or rights to the NUVIA technology that Qualcomm had acquired.

 Rather, by its terms, Qualcomm’s agreements provided any rights necessary to continue the

 development of custom cores for the uses Qualcomm contemplated.

        b.      ARM’s Baseless Threats

        193.    ARM waited nearly two weeks after Qualcomm’s letter to provide any meaningful

 response. On February 16, 2021, ARM gave Qualcomm a broad list of demands, claiming that

 ARM could only consent to the assignment of NUVIA’s agreements to Qualcomm if Qualcomm

 agreed to several outrageous demands, set forth in Paragraph 23 above.

        194.    Although assignment of the NUVIA agreement was unnecessary because of

 Qualcomm’s own license agreements and nothing in the NUVIA agreement precluded Qualcomm

 from acquiring NUVIA or its technology, ARM’s ploy in tying its consent to these demands was


                                                 65
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page66
                                                          71ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             390163




 to try and leverage the swiftly approaching closing date in a misguided attempt to disrupt

 Qualcomm’s acquisition.

        195.   In correspondence sent February 18 and February 25, 2021, Qualcomm explained

 that ARM’s demand that Qualcomm pay the NUVIA licensing rates was not appropriate because

 “ARM has not proposed giving Qualcomm any additional rights or benefits in exchange for” its

 demand for additional payments and because there was no contractual support for ARM’s

 imposition of NUVIA’s royalty rates on Qualcomm.

        196.   Qualcomm also explained that ARM’s proposed restrictions on Qualcomm’s

 engineers were inappropriate, as the proposed three-year restriction period would make it nearly

 impossible to develop products, thus endangering Qualcomm development work and would

 adversely impact ARM through the loss of licensing revenue.

        197.   During Qualcomm’s February 2021 discussions with ARM, it became apparent that

 ARM’s position was that NUVIA needed to assign its license agreements to Qualcomm, and that

 assignment could only be made with ARM’s consent under



        198.




        199.




                                               66
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page67
                                                          72ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             391164




        200.   These assignment provisions are inapplicable to Qualcomm’s acquisition of

 NUVIA because Qualcomm has its own separate license agreements with ARM, which covered

 NUVIA and its technology as soon as the acquisition closed.




        201.   In addition, the ALA gave Qualcomm broad license rights to design architecture

 compatible cores at all stages of implementation.




        202.   Therefore, NUVIA’s technology would be covered by Qualcomm’s ALA upon its

 acquisition. It was not necessary to transfer NUVIA’s licenses to effectuate the acquisition of

 NUVIA or its technology.

        203.   Regardless, in an effort to compromise, on February 25, 2021, Qualcomm asked

 that ARM consent to the transfer of the NUVIA licenses to Qualcomm by March 2, 2021.

        204.   By a letter dated March 2, 2021, ARM refused to consent. Instead, ARM reiterated

 its demand that Qualcomm agree to the higher royalties of the NUVIA license agreement,

 including for what it alleged to be “derivative[]” products developed by Qualcomm. ARM

 conditioned its consent to the assignment of the agreements by NUVIA to Qualcomm on

 Qualcomm agreeing to these demands.




                                                67
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page68
                                                          73ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             392165




        205.    Qualcomm did not agree to these demands and Qualcomm’s acquisition of NUVIA

 was completed as scheduled on March 16, 2021.

        206.    Although the parties had intermittent discussions to resolve the dispute, they were

 unable to resolve these issues, and in September 2021, ARM went silent.

        d.      With ARM’s Knowledge And Assistance Owed To Qualcomm Under Its ALA,
                Qualcomm Continued Its Work Developing CPU Cores After The Acquisition
                Closed

        207.    From March 16, 2021 through the present, Qualcomm engineers (including former

 NUVIA employees), operating under the Qualcomm license agreements, worked diligently to

 develop market-leading CPU cores and SoCs improving and further developing the technology it

 acquired from NUVIA.

        208.    When Qualcomm acquired NUVIA, NUVIA had certain technology for a CPU core

 (i.e., the Phoenix Core) and the Server SoC that would use the Phoenix Core, but this technology

 was not fully developed. Qualcomm continued to develop the Phoenix Core and Server SoC.

        209.    Qualcomm also designed a SoC for use in the “compute” space (the “Compute

 SoC”), which would include aspects of the Phoenix Core. Unlike the Server SoC, the Compute

 SoC was initially conceived of and innovated at Qualcomm after the NUVIA acquisition, including

 modifications of the Phoenix Core for this application.

        210.    Throughout 2021 and 2022, Qualcomm received limited support from ARM as it

 developed the Phoenix Core and the two SoCs under Qualcomm’s agreements, largely related to

 certain verification processes ARM is obligated to provide to ensure that the core design meets the

 architectural guidelines. During the verification process, ARM knew that it was interacting with

 former NUVIA employees, and knew that Qualcomm was seeking to verify core designs that

 included technologies Qualcomm had acquired from NUVIA.




                                                 68
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page69
                                           10/26/22 Page  74ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             393166




        211.   Beginning immediately after the acquisition, Qualcomm—including many

 Qualcomm team members who had previously worked at NUVIA—began having weekly calls

 with ARM engineers related to verification testing of the in-development Phoenix Core and the

 Server SoC.

        212.   The discussion between ARM and Qualcomm (which included the former NUVIA

 engineers) was open and transparent. ARM was aware that the discussions included Qualcomm

 engineers formerly at NUVIA related to Qualcomm’s ongoing development of the technologies it

 had acquired from NUVIA.

        213.   ARM has also continued to license technology to Qualcomm, and Qualcomm has

 continued to pay ARM for those licenses.

        214.   For example, in July 2021, ARM delivered to Qualcomm four design-only licenses

 for Qualcomm internal testing. It also delivered to Qualcomm twelve single-use licenses, allowing

 the development of a single chipset design using the licensed ARM Technology. Subsequently,

 in October 2021, ARM delivered three perpetual licenses allowing for use of some of that same

 ARM Technology in unlimited designs. Like other licenses from ARM, Qualcomm paid for these

 licenses.

        215.   In or around late 2021, Qualcomm also introduced the Compute SoC into the

 parties’ weekly discussions. Like the parties’ discussions concerning the in-development Phoenix

 Core for the Server SoC, these discussions were transparent, and ARM was aware that these

 discussions included Qualcomm engineers formerly at NUVIA and related to Qualcomm’s

 ongoing development of the technologies it had acquired from NUVIA.

        216.   Also in December 2021, Qualcomm submitted an interim compliance report to

 ARM for the Server SoC it had been developing since the NUVIA acquisition. This compliance




                                                69
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page70
                                                          75ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             394167




 report stated that the Server SoC implemented          of the ARM ISA, which was, at that time,

 publicly available on ARM’s website and licensed under Qualcomm’s ALA.

           III.   ARM WAITED OVER A YEAR TO TERMINATE THE NUVIA LICENSES
                  AND DEMAND QUALCOMM DESTROY TECHNOLOGY

           a.     On February 1, 2022, ARM Claimed NUVIA And Qualcomm Breached The
                  NUVIA License Agreements And Terminated The Agreements

           217.   As discussed above in paragraphs 31-40, in a letter dated February 1, 2022, after

 ARM had been interfacing with Qualcomm and its development efforts for months, ARM notified

 Gerard Williams III, the former CEO and President of NUVIA, that it intended to terminate both

 NUVIA’s ALA and TLA for “material breach.”

           218.   ARM’s February 2022 letter alleged that NUVIA had violated the assignment

 provisions in               of both the NUVIA ALA and TLA when it was acquired by Qualcomm

 without ARM’s consent. ARM also alleged that NUVIA violated the confidentiality provisions

 of               of both of the NUVIA license agreements by making unlicensed use of ARM’s

 confidential information. ARM’s letter did not explain its assertions or define the purported

 breach.

           219.   But NUVIA was not required to obtain consent from ARM to “transfer” its licenses

 or technology. There are no provisions in the NUVIA-ARM agreements or the Qualcomm-ARM

 agreements that prohibited Qualcomm from purchasing NUVIA, nor are there any such provisions

 that required ARM’s consent to purchase NUVIA.

           220.   As a Qualcomm subsidiary, NUVIA was licensed under the Qualcomm ALA and

 TLA to use ARM Technology and Confidential Information. And Qualcomm’s licenses covered

 the further development of the technology acquired from NUVIA by Qualcomm.




                                                 70
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page71
                                                          76ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             395168




        221.    ARM’s argument under                  fails for the same reasons. At the time of the

 termination, both NUVIA and Qualcomm were licensed to use the ARM information in the

 Phoenix Core and related SoCs under the Qualcomm ALA and TLA, and any use of that

 information was fully authorized.

        222.    In addition, the Phoenix Core and the Server SoC implemented           of the ARM

 ISA, and did not utilize any ARM Confidential Information because ARM has published this

 specification and placed it in the public domain. ARM was well aware of this fact by the time it

 sent the February 1, 2022 termination letter.

        223.    Thus, contrary to ARM’s assertions, neither NUVIA nor Qualcomm “committed a

 material breach of” the NUVIA ALA.

        224.    Moreover, ARM waited to terminate the NUVIA agreement until Qualcomm had

 already completed the design of the Phoenix Core for its Server SoC—and even after ARM had

 accepted Qualcomm’s core design as ISA compatible.

        225.    ARM demanded, upon termination, that NUVIA:

                        a.     “discontinue any use and distribution of all Arm Technology, Arm
                               Confidential Information and any products embodying such
                               technology or information”;

                        b.     “[a]t Arm’s option, either destroy or return to Arm any Arm
                               Confidential Information, including any copies thereof in its
                               possession and any Arm Technology or derivatives . . . thereof in its
                               possession”; and

                        c.     “[w]ithin one month after termination, furnish to Arm a certificate
                               signed by a duly authorized representative that to the best of his or
                               her knowledge, information and belief, after due enquiry, NUVIA
                               has complied with these provisions.”

        226.    ARM further claimed (wrongly) that these “obligations extend to Qualcomm and

 its widely publicized use of NUVIA’s technology developed under NUVIA’s ALA and TLA.”




                                                 71
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page72
                                           10/26/22 Page  77ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             396169




 ARM contended in its termination notice that certification of the return or destruction of ARM

 Confidential Information should “extend to Qualcomm as well.”

        227.   ARM informed NUVIA that its unilateral termination would be effective as of

 March 1, 2022 and demanded the return or destruction of any ARM Confidential Information

 delivered to NUVIA by April 1, 2022.

        228.   ARM’s demand that NUVIA discontinue using and distributing ARM Technology,

 ARM Confidential Information, and any products embodying such technology or information was

 baseless. NUVIA and the technology Qualcomm acquired from NUVIA was licensed under

 Qualcomm’s license agreements.

        229.   Likewise, ARM’s demand that NUVIA destroy ARM Confidential Information

 was baseless because NUVIA was licensed to this information under Qualcomm’s license

 agreements and Qualcomm’s further development of this technology was also licensed under

 Qualcomm’s license agreements.

        230.   Nonetheless, Qualcomm and NUVIA acted swiftly, at great time and expense, to

 take additional measures to satisfy ARM’s unreasonable demand to comply with the termination

 provisions in NUVIA’s license agreements.

        231.   Qualcomm and NUVIA removed NUVIA-acquired ARM Confidential Information

 from its designs and redesigned its products to replace it with information acquired under

 Qualcomm’s license—even though it was the exact same information—then quarantined a copy.

 Qualcomm also removed NUVIA-acquired ARM Confidential Information from its design

 environment and systems and quarantined it.




                                               72
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page73
                                                          78ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             397170




         232.   During this period, Qualcomm’s engineers were not working on further

 development of products because their attention was focused on the removal of NUVIA-acquired

 ARM Confidential Information.

         233.   NUVIA then provided ARM with its certification of its compliance with the

 termination provisions on April 1, 2022, as requested by ARM, even though the termination

 provisions were inapplicable.31

         b.     ARM Continued To Threaten Qualcomm

         234.   After NUVIA’s certification, ARM responded by purporting to impose even more

 onerous demands than required by the termination provisions. In an April 29, 2022 letter, ARM

 wrote to confirm that: “both Qualcomm and NUVIA . . . will not proceed with any further

 development of NUVIA technology that embodies or is derivative of Arm confidential information

 or technology.”

         235.   The termination provisions do not, by their plain language, require any such thing.

 They require only that NUVIA



 These provisions apply only to NUVIA, not Qualcomm. And, of course, Qualcomm owns its own

 licenses to ARM Confidential Information and Technology.

         236.      Moreover, in this April letter, ARM stated that “Arm does not believe that the

 NuVia [sic] technology discussed above constitutes or can form the basis of an Arm Compliant

 Product or Architecture Compliant Product for purposes of the relevant Qualcomm agreements

 with Arm.” This assertion was incorrect because of Qualcomm’s own licenses, which do not



 31
      Meanwhile, ARM never certified its own compliance with the termination provisions, in
      violation of the NUVIA agreements.


                                                 73
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page74
                                           10/26/22 Page  79ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             398171




 restrict Qualcomm’s ability to develop CPU cores using Qualcomm’s technology, including

 technology it acquired from NUVIA.

         237.     Then, on August 2, 2022, ARM told Qualcomm that “Qualcomm is not authorized

 to make, use, sell, or import a product incorporating designs or derivatives of the NUVIA

 technology.” In other words, ARM contended—with absolutely no basis—that Qualcomm cannot

 use any of NUVIA’s intellectual property, proprietary designs, or confidential information, which

 include technology that ARM did not own or develop. ARM’s demands go far afield of ARM

 Confidential Information or ARM Technology. ARM is pretending that it has rights over NUVIA

 Technology and NUVIA Confidential Information, a position that is baseless in light of the actual

 provisions of the NUVIA agreements. ARM also threatened Qualcomm’s customers, asserting

 that “[n]either Qualcomm nor its customers are licensed to use any part of Arm’s broad intellectual

 property portfolio with respect to such products. Arm will use all necessary means to protect its

 legal rights.”

         238.     ARM’s threats are baseless. ARM apparently contends that it has rights over all

 technology, proprietary designs, and confidential information developed by NUVIA, including

 technology that had absolutely nothing to do with ARM. But ARM has no right to demand

 destruction of that technology. ARM does not own CPU and/or SoC designs of its licensees, as

 ARM’s license agreements and its statements to regulators make clear.

         239.     There are no provisions in either the NUVIA-ARM agreements or the Qualcomm-

 ARM agreements that:

         a.       prohibited Qualcomm from purchasing NUVIA or acquiring NUVIA’s
                  technology;

         b.       required Qualcomm to obtain ARM’s consent to purchase NUVIA or access
                  NUVIA’s technology;

         c.       mandate that Qualcomm stop using any NUVIA technology it acquired;


                                                 74
  Case
Case   1:22-cv-01146-MN Document
     1:24-cv-00490-MN    Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page75
                                                          80ofof83 PageID
                                                                 633      #: #:
                                                                     PageID  399172




        d.     mandate that Qualcomm destroy NUVIA’s technology;

        e.     prohibit the transfer or disclosure of NUVIA’s technology or confidential
               information to Qualcomm;

        f.     limit the use of NUVIA technology only to NUVIA; or

        g.     require Qualcomm to obtain ARM’s consent to further develop any in-process
               designs or technology that Qualcomm acquired from NUVIA.

        IV.    ARM CONTINUES TO SUPPORT QUALCOMM’S DEVELOPMENT
               WORK

        240.   Despite ARM’s demands that Qualcomm destroy and stop using NUVIA

 technology, for approximately one year, ARM continued to provide verification support to

 Qualcomm in developing the Phoenix Core and related SoCs, and also continued to acknowledge

 the Defendants’ rights under the Qualcomm ALA and TLA to that technology.

        241.   For example, on April 12, 2022—after Qualcomm certified that it had destroyed all

 NUVIA-acquired ARM Confidential Information—ARM accepted test results verifying that the

 implementation of the Phoenix Core in the Server SoC complied with the requirements necessary

 to execute ARM’s instruction set. ARM explicitly validated this testing under the Qualcomm

 ALA.

        242.   Similarly, in May of 2022, Qualcomm received an email from ARM stating that

 the Compute SoC—which integrated technology acquired from NUVIA and was first developed

 after Qualcomm’s acquisition of NUVIA—had passed all relevant tests and was ARM-compatible.

 Yet, ARM’s engineering team noted that it could not yet send a formal compliance waiver because

 ARM’s legal team was withholding it.

        V.     ARM IS ATTEMPTING TO DISRUPT QUALCOMM’S CUSTOMER
               RELATIONSHIPS BY MISREPRESENTING QUALCOMM’S ALA

        243.   Since filing the Complaint in this case on August 31, 2022, ARM has persistently

 and wrongfully attempted to disrupt Qualcomm’s business and customer relationships by


                                               75
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page76
                                           10/26/22 Page  81ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             400173




 spreading misinformation about the nature of Qualcomm’s ARM licenses to customers that

 purchase Qualcomm’s ARM-compatible cores and chipsets.

        244.    ARM has engaged in this misinformation campaign directly through its leadership

 and through the leadership of its owner, SoftBank, acting on ARM’s behalf, in an attempt to

 damage Qualcomm, disparage its products, disrupt Qualcomm’s relationships with its customers,

 and create uncertainty where there is none.

        245.    At least as early as October 2022, ARM falsely stated to one or more of

 Qualcomm’s longstanding original equipment manufacturer (“OEM”) customers that unless they

 accept a new direct license from ARM on which they pay royalties based on the sales of the OEM’s

 products, they will be unable to obtain ARM-compliant chips from 2025 forward. ARM has also

 threatened at least one OEM that, if the OEM does not do so, ARM will go on to license the OEM’s

 large competitors instead—the implication being that the OEM would be excluded from the market

 and could not obtain any ARM-compliant chips from Qualcomm or any other supplier, including

 “off-the-shelf” chips from ARM under a TLA. ARM has done this despite already having

 approached the OEM’s competitors with a direct licensing offer, while acting as if ARM would

 only approach the competing OEMs if the threatened OEM declined the license in the first

 instance.

        246.    ARM also told one or more Qualcomm customers that, when the existing TLA

 agreements expire, ARM will cease licensing CPUs to all semiconductor companies—including

 Qualcomm—under an ARM TLA. ARM claimed that it is changing its business model and will

 only provide licenses to the device-makers themselves. ARM has explained to the OEMs that a

 direct OEM license will be the only way for device-makers to get access to ARM-compliant chips.




                                               76
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page77
                                                          82ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             401174




        247.     ARM is trying to coerce such customers into accepting its direct license by falsely

 asserting that Qualcomm will not be able to provide them with ARM-compliant chips beginning

 in 2025 because Qualcomm’s ARM license agreements terminate in 2024, that ARM will not

 extend its licenses with Qualcomm, and that ARM will not allow Qualcomm to ship products from

 2025 forward.

        248.     These statements are unequivocally false and are intended to harm Qualcomm’s

 relationships with its customers—and to secure lucrative contracts with those customers for

 ARM—by calling into question Qualcomm’s ability to maintain its ARM licenses beyond 2024

 and provide products to its customers, despite Qualcomm having a clear right to do so for years to

 come under its ARM licenses.

        249.     Qualcomm is licensed for several years past 2025 under its ALA, which provides

 Qualcomm with the unilateral right to extend the contract past the initial term for several more

 years. Specifically, the ALA states:

                 a.




                 b.



        250.     Accordingly, because the Qualcomm ALA has not been terminated—and because

 no event has occurred that would give rise to a right to terminate—the initial term of the license

 will continue until                 Qualcomm then has the right to extend the license until

            Accordingly, ARM does not have the right to refuse to extend Qualcomm’s license or

 stop Qualcomm from shipping its products in 2025.




                                                 77
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page78
                                           10/26/22 Page  83ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             402175




        251.    Moreover, ARM has no right to require additional royalties from Qualcomm’s

 customers. Qualcomm’s ALA provides Qualcomm with an exhaustive license, meaning that ARM

 is not entitled to go and seek another royalty from Qualcomm’s customers on the same products

 for which ARM has received a royalty from Qualcomm.

        252.    ARM’s coercion efforts did not stop with these false statements about Qualcomm’s

 license agreements. To apply more pressure, ARM further stated that Qualcomm and other

 semiconductor manufacturers will also not be able to provide OEM customers with other

 components of SoCs (such as graphics processing units (“GPU”), neural processing units (“NPU”),

 and image signal processor (“ISP”)), because ARM plans to tie licensing of those components to

 the device-maker CPU license.

        253.    ARM also claimed that it had already informed Qualcomm about its new business

 model that requires a direct license with the OEMs. That statement is false. ARM has not notified

 Qualcomm that it will be requiring direct licenses from device-makers. ARM did not tell

 Qualcomm that it intends to stop licensing CPU technology as a standalone license, that it will no

 longer license CPU technology to semiconductor companies, or that it will require licensees to

 obtain other technologies (notably ARM’s GPU and NPU technology) only from ARM. As noted

 above, these attempted or threatened changes in ARM’s business model do not account for

 Qualcomm’s existing agreements with ARM.

        254.    While ARM’s statements about Qualcomm have no basis in fact, they cause

 significant reputational damage and harm Qualcomm’s customer relationships. Moreover, while

 ARM’s goal may be to harm Qualcomm—and to coerce contracts with Qualcomm’s customers

 that are unnecessary in view of the fully exhaustive rights it has granted Qualcomm under its




                                                78
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page79
                                                          84ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
                                                                             403176




 contracts—its tactics will result in harm to ARM’s customers and licensees throughout the

 industry.

        VI.     ARM’S WELL-ESTABLISHED EFFORTS TO LIMIT INNOVATION ARE
                HARMFUL TO THE INDUSTRY AND TO ARM ITSELF

        255.    ARM’s mercenary desire to thwart innovation is nothing new.               Prior to

 Qualcomm’s acquisition of NUVIA, in September 2020, NVIDIA announced that it was going to

 acquire ARM to “bring[] together NVIDIA’s leading AI computing platform with Arm’s vast

 ecosystem to create the premier computing company for the age of artificial intelligence.” The

 announcement led to immediate antitrust concerns, regulatory challenges, and public opposition

 from many companies, including Qualcomm. The near universal concern was that an NVIDIA-

 controlled ARM would impede innovation and lead to higher prices. On February 7, 2022, ARM

 and NVIDIA announced that the acquisition would be terminated.

        256.    Only three days before that announcement—when it was no doubt clear to ARM

 that the acquisition would not close—ARM sent its termination letter to the Defendants,

 terminating NUVIA’s license agreements and demanding that Qualcomm stop working on any of

 the NUVIA technology. As Qualcomm was one of the more public opponents of the acquisition,

 ARM’s actions appear to be retributive.

        257.    Although ARM’s efforts to destroy Qualcomm’s innovation and prevent

 Qualcomm from expanding and advancing technology may in the short term, create the illusion of

 ARM achieving greater profitability—either by effectively strongarming Qualcomm into paying

 additional, unjustified royalties or through eliminating Qualcomm as a competitor in the custom

 CPU and server SoC space—in the long term it only harms ARM’s interest and weakens the place

 in the market ARM hopes for after its IPO because it is injurious to ARM customers and

 licensees. ARM’s positions are directly contrary to the purpose of the ALA, which will have little



                                                79
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page80
                                           10/26/22 Page  85ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             404177




 value if licensees are not assured that they can use it to develop their own CPU core technology,

 at their own risk and expense and for their own benefit.

                                        COUNTERCLAIM

                                      (Declaratory Judgment)

        258.    Defendants incorporate by reference all allegations set forth in the preceding

 paragraphs 1-47 and 175-257 as though fully set forth herein.

        259.    Defendants are entitled to declaratory judgment that:

        a.      Defendants did not breach the NUVIA ALA and NUVIA TLA;

        b.      After Qualcomm’s acquisition of NUVIA, Qualcomm’s architected cores
                (including all further developments, iterations, or instantiations of the technology
                acquired from NUVIA), Server SoC, and Compute SoC, are fully licensed under
                Qualcomm’s ALA and TLA for the full terms of those licenses;

        c.      ARM’s statements that Qualcomm’s ALA expires in 2024 are false;

        d.      ARM’s statements that Qualcomm will be unable to deliver ARM-compliant
                products after 2024 are false;

        e.      ARM has no right to prevent Qualcomm from shipping its validly-licensed
                products.

        260.    A judicial declaration pursuant to the Federal Declaratory Judgment Act (28 U.S.C.

 §§ 2201-2202 et seq.) concerning this matter is necessary and appropriate so that Qualcomm can

 confirm its belief that it can continue to develop and sell chips free from challenge that its actions

 are in violation of the Qualcomm ALA, the Qualcomm TLA, the NUVIA ALA, or the NUVIA

 TLA.

        261.    A valid and justiciable controversy exists between ARM and Qualcomm because

 ARM is attempting to prevent Qualcomm from exercising its rights under its license agreements

 with ARM, including by bringing suit claiming that Defendants breached NUVIA’s license

 agreements with ARM.



                                                  80
Case 1:24-cv-00490-MN
  Case 1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24  Page81
                                           10/26/22 Page  86ofof83
                                                                 633 PageID
                                                                   PageID #: #:
                                                                             405178




                                    PRAYER FOR RELIEF

        WHEREFORE, Defendants request judgment and relief as follows:

        a.      For the declaratory judgments set forth in Defendants’ counterclaim;

        b.      For an Order enjoining ARM from:

                (i)     making any claim that Qualcomm’s CPU products, including products that
                        contain technology acquired from NUVIA, are not licensed under
                        Qualcomm’s agreements with ARM, are not ARM-compatible, cannot be
                        commercialized as ARM-compliant, or that Qualcomm is prohibited from
                        using ARM’s marks in the marketing of any such products;

                (ii)    misrepresenting the scope, terms, or rights granted to Qualcomm under its
                        agreements with ARM; and

                (iii)   making false statements about Qualcomm’s ability to sell its CPU
                        products to its customers, the media, analysts, or others;

        c.      For an Order requiring ARM to comply with its obligations under Qualcomm’s

 license agreements without discrimination or retaliation;

        d.      For an award of attorney’s fees and costs as allowed by law; and

        e.      For such other and further relief as the Court may deem just and proper.


                                                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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                                                81
  Case
Case   1:22-cv-01146-MN Document
     1:24-cv-00490-MN    Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page82
                                                          87ofof83 PageID
                                                                 633      #: #:
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 October 26, 2022




                                        82
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  19 Filed 06/12/24
                                           10/26/22 Page
                                                     Page83
                                                          88ofof83
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 26, 2022, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on October 26,

 2022, upon the following in the manner indicated:

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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24   Page 89 of 633 PageID #: 181




                            Exhibit 2
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page190
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 492
                                                                           #: 182




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 ARM LTD., a U.K. corporation,

                  Plaintiff,

        v.                                           C.A. No. 22-1146-MN

 QUALCOMM INC., a Delaware corporation,              JURY TRIAL DEMANDED
 QUALCOMM TECHNOLOGIES, INC., a
 Delaware corporation, and NUVIA, INC., a            REDACTED - PUBLIC VERSION
 Delaware corporation,

                  Defendants.



      PLAINTIFF ARM LTD.’S ANSWER AND AFFIRMATIVE DEFENSES TO
    DEFENDANTS QUALCOMM INC., QUALCOMM TECHNOLOGIES, INC., AND
                 NUVIA, INC.’S AMENDED COUNTERCLAIM

        Plaintiff Arm Ltd. (“Arm”) hereby submits its Answer and Affirmative Defenses to

 the Amended Counterclaim of Defendants Qualcomm Inc., Qualcomm Technologies, Inc.

 (collectively “Qualcomm”), and NuVia, Inc. (“Nuvia”).

                                PRELIMINARY STATEMENT

        Contrary to its allegations, Qualcomm cannot continue using Arm-based technology,

 including the Phoenix core, that Nuvia developed under its now-terminated Architecture

 License Agreement (“ALA”) with Arm, for several independent reasons:

        First, pursuant to an express, independent obligation under Nuvia’s ALA, the

 relevant Nuvia technology, including the Phoenix core, can no longer be used and must be

 destroyed. This destruction obligation extends to all derivatives or embodiments of Arm

 technology generated at Nuvia based on Nuvia’s ALA. The Nuvia ALA leaves no doubt

 that the destruction obligation extends to processor cores, such as Nuvia’s Phoenix core,

 which is the basis for Qualcomm’s proposed future products. Defendants must discontinue


                                               1
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page291
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 493
                                                                           #: 183




 any use of products derived from or embodying technology provided by Arm under the

 Nuvia ALA. These obligations were not amended, terminated, avoided, or affected in any

 way whatsoever by any provision in Qualcomm’s ALA. In April and May 2022, Nuvia and

 Qualcomm expressly certified that they would comply with the obligation to destroy and not

 use the defined Arm technology and confidential information—which includes Defendants’

 products embodying and derivatives of the same—under the Nuvia ALA. Defendants

 belatedly seek to dispute whether Arm was entitled to terminate Nuvia’s ALA, but they

 waived any such argument by conceding termination at the time and by purporting to certify

 compliance with the termination obligations shortly thereafter. Now they must actually

 abide by their very clear contractual obligations.

        Second, Arm has no obligation to support Qualcomm’s further attempts to continue

 developing unlicensed technology originally developed at Nuvia using Arm’s architecture.

 Qualcomm’s ALA with Arm expressly excludes any license to Arm technology that was not

 developed under that specific ALA. The Qualcomm ALA limits Qualcomm’s design and

 manufacture rights, and Arm’s verification, delivery, and support obligations, to chips

 (1) based on the technology Arm delivered to Qualcomm under that ALA, (2) created at

 Qualcomm, by Qualcomm engineers and Qualcomm subsidiaries during the period while

 those entities were subsidiaries of Qualcomm, and (3) licensed subject to the terms of that

 ALA. None of this is true of the Phoenix core or other designs developed by Nuvia

 engineers at Nuvia based on the technology and license granted to Nuvia by Arm when

 Nuvia was a standalone company. Thus, Qualcomm is not only trying to develop an

 unlicensed product, but is also materially breaching its ALA with Arm.




                                                2
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page392
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 494
                                                                           #: 184




           Third, there is no uncertainty that Arm’s consent was required but not obtained for

 the transfer of Nuvia’s rights, including through Qualcomm’s acquisition of the company.

 Because the Nuvia ALA expressly required prior consent from Arm to any assignment of

 the ALA, and expressly defined assignment to include any other company’s acquisition of

 Nuvia, Qualcomm’s acquisition of Nuvia without Arm’s prior consent breached the Nuvia

 ALA.

           Fourth, Arm did not waive its rights (or prejudice Qualcomm) by exploring a

 business solution before bringing suit. Within days after Qualcomm first contacted Arm

 about its planned acquisition of Nuvia, Arm informed Qualcomm in writing that it would

 need to enter into a new agreement if it wished to continue using the designs and technology

 that had been created pursuant to the Nuvia ALA. Arm did not wait in the weeds; it openly

 and promptly identified and communicated Nuvia’s and Qualcomm’s obligations. And

 Qualcomm agreed in writing with Arm’s position that, even if Arm continued to support the

 Nuvia team in the interim, Arm’s “assistance does not expressly or impliedly waive any of

 Arm’s rights.” Arm notified Qualcomm again of its obligations in early August 2022 before

 it filed its Complaint. Qualcomm knew the risks, and willfully refused to heed Arm’s

 warnings. Faced with Qualcomm’s refusal to respect Arm’s licenses, Arm brought this

 lawsuit to protect its rights under the Nuvia ALA and the Arm technology ecosystem by

 obtaining specific performance of Defendants’ obligation to destroy and stop using the

 unlicensed Nuvia designs. These facts, not any misguided allegations about prior merger

 issues or purported changes in Arm’s business model, are the reason and basis for Arm’s

 claims.




                                                 3
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page493
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 495
                                                                           #: 185




                                            ANSWER

        Arm further answers the Counterclaim as follows, and except as expressly admitted

 below, Arm denies each and every allegation of the Counterclaim:

        1.     In answer to paragraph 1, Arm admits, as discovery is likely to show, that

 Qualcomm plans to market products that are based on or incorporate Arm-based technology

 developed under the now-terminated Nuvia ALA. Arm lacks sufficient knowledge or

 information to form a belief about the truth of the remaining allegations in the first sentence

 of paragraph 1 and on that basis denies them. Arm denies the allegation that “many in the

 industry see in this pivotal moment the opportunity for technological advancement,” with

 industry commentators instead stating, for example: “Assuming that these Nuvia chips do

 not get side-tracked in terms of a launch, Qualcomm will effectively be behind Apple by

 three generations,”1 “Qualcomm is still behind” and “is going to have some catching up to

 do,”2 and “Qualcomm’s predictions for the Nuvia processors have centered on it being a

 way to make Windows laptops that rival Apple’s M1 chips in the MacBook Pro. However,

 Apple has already said that it will be making no more versions of the M1, and the

 expectation is that by 2023 it will already be on to an M2, or even M3.”3 Arm denies the

 remaining allegations in this paragraph.



 1
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  Rich Woods, Qualcomm’s Custom Arm Processors for Windows PCs are Coming Late Next
 Year, XDA Developers (Apr. 27, 2022), https://www.xda-developers.com/qualcomms-custom-
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  William Gallagher, Qualcomm Says Its Apple Silicon Rival Chips Will Be in PCs by Late 2023,
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                                                4
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page594
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 496
                                                                           #: 186




        2.     Paragraph 2 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm respectfully refers the Court to the Complaint for

 Arm’s claim that Defendants must stop using and destroy any Arm-based technology

 developed under the Nuvia ALA. Arm denies the remaining allegations in this paragraph.

        3.     Paragraph 3 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm admits that Qualcomm has licensed and paid for its

 own ALA, which expressly excludes a license to                              such as Nuvia’s

 implementation of Arm architecture—

                                                                       For purposes of the

 Qualcomm ALA, the relevant Nuvia technology embodies and was derived from Arm

 technology delivered by Arm to Nuvia under Nuvia’s now-terminated ALA, and thus is

 expressly excluded from the Qualcomm ALA license. Arm denies the remaining allegations

 in this paragraph.

        4.     Paragraph 4 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm denies that the Nuvia ALA—which states




              —provided any alleged rights of “technology ownership” surviving termination

 of the Nuvia ALA, and Arm denies the remaining allegations in this paragraph.

        5.     Paragraph 5 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm admits that Qualcomm and Nuvia’s destruction

 obligation applies to Arm Confidential Information, a contractual term defined to include




                                               5
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page695
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 497
                                                                           #: 187




                                                        Arm also admits that the Arm

 Architecture Reference Manual is available online, but denies that the manual is in the

 public domain; instead, the manual makes clear that “[n]o license, express or implied, by

 estoppel or otherwise to any intellectual property rights is granted by this document unless

 specifically stated.” Arm lacks sufficient knowledge or information to form a belief about

 the truth of allegations in the last sentence of this paragraph and on that basis denies them.

 Arm denies the remaining allegations in this paragraph.

        6.     Paragraph 6 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm respectfully refers the Court to the Complaint and

 admits that it seeks specific performance of the Nuvia licenses’ termination provisions to

 require Qualcomm and Nuvia to stop using and to destroy any Arm-based technology

 developed under the Nuvia ALA, which constitutes and embodies




                                      Arm denies the allegation that it is “[s]eeking additional

 leverage it can use to attain royalties from Qualcomm to which it is not entitled under the

 contracts” because even if it did not have to stop using and destroy the relevant Nuvia

 technology, Qualcomm would have been subject to Nuvia’s royalty rates under the Nuvia

 ALA in its capacity as Nuvia’s acquirer. For example, Section 6.2 of the Nuvia ALA says:




                                                6
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page796
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 498
                                                                           #: 188




 This royalty obligation for products that are based on or incorporate Arm-based technology

 developed in whole or in part under the Nuvia ALA survives termination of the Nuvia ALA.

 In contrast, Qualcomm improperly sought to bring the Nuvia technology under its own ALA

 to avoid paying Nuvia’s royalty rates, even though the Nuvia technology was not developed

 or licensed under Qualcomm’s ALA. Arm denies the remaining allegations in this

 paragraph.

        7.     In answer to paragraph 7, Arm admits that, in the event its licenses are

 terminated for material breach, its licensees may be subject to termination obligations. Arm

 denies the remaining allegations in this paragraph.

        8.     Paragraph 8 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm denies the allegations contained in this paragraph.

        9.     In answer to paragraph 9, Arm admits that Qualcomm made such an

 announcement, but Arm denies the suggestion that it knew all of the specific uses for which

 Nuvia intended the Phoenix core.

        10.    In answer to paragraph 10, Arm denies the suggestion that processor cores

 based on Arm architecture are merely “compatible” with the architecture that they

 implement, embody, and are derived from, and Arm lacks sufficient knowledge or

 information to form a belief about the truth of the allegations regarding compatibility with

 Qualcomm technologies and on that basis denies them.




                                               7
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page897
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 499
                                                                           #: 189




        11.    In answer to paragraph 11, Arm admits that Qualcomm publicly announced

 plans to integrate Nuvia CPU cores into Qualcomm’s flagship smartphones, next-generation

 laptops, and digital cockpits, as well as Advanced Driver Assistance Systems, extended

 reality and infrastructure networking solutions. Arm lacks sufficient knowledge or

 information to form a belief about the truth of the remaining allegations in this paragraph

 and on that basis denies them.

        12.    In answer to paragraph 12, Arm admits that Qualcomm published a press

 release quoting industry participants commenting on Qualcomm’s acquisition of Nuvia.

 The website referenced in paragraph 12 and the contents thereof speak for themselves. Arm

 denies the remaining allegations in this paragraph.

        13.    Paragraph 13 contains legal conclusions to which no response is required. To

 the extent a response is required, Arm admits that at the time of Nuvia’s acquisition, Nuvia

 and Qualcomm had separate license agreements with Arm, each of which licensed

 separately defined Arm technology delivered to the relevant party. Arm admits that Nuvia’s

 and Qualcomm’s separate license agreements with Arm provided certain rights to use

 version 8 of the Arm architecture, including version    . Arm admits that the Phoenix core

 embodied and was derived from version        of the Arm architecture. Arm admits that

 Qualcomm has a license agreement with Arm that provides certain rights to use version 9 of

 the Arm architecture. Arm denies the remaining allegations in this paragraph.

        14.    Arm admits the allegations in the first and third sentences of paragraph 14 as

 to at least some Arm ALAs, while denying the suggestion that all Arm ALAs grant uniform

 rights. Arm admits that an instruction set architecture (“ISA”) is part of the abstract model

 of a computer that specifies how the CPU interacts with software. Arm admits that




                                               8
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page998
                                                           ofof
                                                              45633
                                                                 PageID
                                                                    PageID
                                                                        #: 500
                                                                           #: 190




 applications and software that conform to an ISA’s specifications can generally be run on a

 CPU that is based on the ISA, regardless of who has designed or manufactured the

 hardware. Arm admits that the Arm ISA allows for compatibility of applications and

 software, as all Arm-based products can receive the same inputs (instructions) and, for each

 of those inputs, determine and output the proper result.

         15.   Arm admits the allegations in the first sentence of paragraph 15. Arm denies

 that micro-architectural know-how and expertise required to build a CPU is not related to

 the ISA. Arm lacks sufficient knowledge or information to form a belief about the truth of

 the remaining allegations in this paragraph and on that basis denies them.

         16.   In answer to the first sentence of paragraph 16, Arm admits that a CPU

 developer developing a custom CPU generally designs the core to meet the requirements of

 the relevant architecture. Arm lacks sufficient knowledge or information to form a belief

 about the truth of the second and third sentences of this paragraph and on that basis denies

 them.

         17.   Arm admits the allegations in paragraph 17, but denies the suggestion that

 ALA licensees develop custom processor cores without significant support from Arm.

         18.   In answer to the first sentence of paragraph 18, Arm admits that Arm

 Technology License Agreements (“TLAs”) allow the use of specific “off-the-shelf” Arm

 processor core designs with only minor modifications. Arm denies the remaining

 allegations in this sentence. Arm lacks sufficient knowledge or information to form a belief

 about the truth of the remaining allegations in this paragraph and on that basis denies them.




                                               9
Case
  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  21 Filed 06/12/24
                                           11/15/22 Page
                                                     Page10
                                                          99ofof45
                                                                 633
                                                                   PageID
                                                                     PageID
                                                                          #: #:
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        19.    In answer to the first sentence of paragraph 19, Arm admits that a limited

 number of companies make use of both Arm ALAs and TLAs. Arm denies the remaining

 allegations in this paragraph.

        20.    In answer to paragraph 20, Arm denies that Qualcomm products incorporating

 the relevant technology Nuvia developed under the Nuvia ALA would not be subject to the

 Nuvia ALA’s royalty rates—setting aside that Qualcomm is not entitled to make such

 products using technology subject to discontinuance and destruction obligations. Arm lacks

 sufficient knowledge or information to form a belief about the truth of the remaining

 allegations in this paragraph and on that basis denies them.

        21.    In answer to the first sentence of paragraph 21, Arm admits that on

 January 27, 2021, Qualcomm informed Arm that Qualcomm intended to transfer Nuvia’s

 work and employees to Qualcomm and have those employees continue their activities under

 the Qualcomm ALA and TLA, leading Arm to provide prompt notice of Qualcomm’s need

 for a new agreement to cover the technology transfer. Arm admits the allegations in the

 second sentence of this paragraph.

        22.    Arm lacks sufficient knowledge or information to form a belief about the

 truth of the allegations in the first sentence of paragraph 22 and on that basis denies them.

 Arm denies the remaining allegations in this paragraph.

        23.    Arm denies the allegations in the first sentence of paragraph 23. In answer to

 the second and third sentences of this paragraph, Arm admits that it made the quoted

 statements in a letter that Arm sent to Qualcomm dated February 2, 2021, to which Arm

 refers for a complete statement of its contents; but Arm denies that these statements were

 without basis, given that they were based on the Nuvia ALA’s assignment provision. In




                                               10
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page11
                                                          100
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 502
                                                                            #: 192




  answer to the fourth sentence of this paragraph, Arm admits that it sent Qualcomm a letter

  dated February 16, 2021 with a “commercial proposal to facilitate NUVIA’s design transfer

  to Qualcomm.” Arm admits that its commercial proposal offered an amendment to

  Qualcomm’s ALA to “(a) align the terms of that agreement with those in NUVIA’s

  architecture license agreement including but not limited to the royalty rates and (b) address

  the implementation of appropriate safeguards with respect to Arm’s confidential information

  which can be delivered under a confidentiality agreement or under Qualcomm’s technology

  license agreement (‘TLA’), or both (collective, ‘ARM Confidential Information’),” and

  subject to that understanding, Arm admits clause (ii) of the fourth sentence of this

  paragraph. Arm admits that its commercial proposal also offered to “discuss and decide on

  the design transfer fee associated with such CPU design transfer” and that, “[w]ith respect

  to NUVIA’s design(s) using Arm implementation IP and software tools, Qualcomm will

  enter into a separate license for such implementation IP and software tools.” Arm denies

  the remaining allegations in this paragraph.

         24.    Paragraph 24 contains legal conclusions to which no response is required. To

  the extent a response is required, Arm admits that Annex 1 of the Qualcomm ALA licenses

  Qualcomm and its subsidiaries to



                                                 in Section B.1.1, but

                                          . Arm admits that on February 25, 2021, Qualcomm

  sought Arm’s consent for Qualcomm to acquire—and thereby assign to itself—Nuvia’s Arm

  license rights, without asserting that such consent was not necessary, and without obtaining

  such consent. Arm denies the remaining allegations in this paragraph.




                                                  11
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page12
                                                          101
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 503
                                                                            #: 193




         25.    Arm denies the allegations in paragraph 25.

         26.    In answer to paragraph 26, Arm admits that its February 16, 2021 commercial

  proposal offered a novation to provide appropriate safeguards with respect to Arm’s

  confidential information. Arm denies the allegation that the proposed payments made “little

  sense” when Qualcomm asserts that it will use processors developed under Nuvia’s ALA for

  data center servers and other products subject to Nuvia’s “much higher royalty rates” but

  “will in the future pay to ARM the lower royalty rate under [Qualcomm’s] ALA.” Arm

  admits that Nuvia planned to design CPUs implementing Arm architecture for use in data

  center servers, for which Arm provided substantial, crucial, and individualized support, and

  which technologically could be (and Qualcomm now admits have been) re-purposed for use

  in other products. Arm admits that the royalty rate in the Nuvia ALA—which Qualcomm

  improperly sought to avoid, even for data center server technology developed under the

  Nuvia ALA—is higher than the royalty rate in the Qualcomm ALA. Arm denies the

  suggestion that the Nuvia ALA’s royalty rates applied only to data center server products,

  given that Nuvia’s ALA contained no field-of-use limitation that would have prevented it

  from repurposing its processor cores for use in other products subject to its same royalty

  rates. Arm denies the remaining allegations in this paragraph.

         27.    Arm denies the allegations in paragraph 27.

         28.    In answer to paragraph 28, Arm admits that Qualcomm refused to discuss a

  novation and, as a result, Arm did not consent to Qualcomm’s acquisition of (and thus

  Nuvia’s assignment of) Nuvia’s license rights to its implementation of Arm technology.

  Arm admits that Arm and Qualcomm continued to discuss a commercial resolution of the




                                               12
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page13
                                                          102
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 504
                                                                            #: 194




  assignment issue after the close of the Nuvia acquisition, until Qualcomm broke off

  communications in October 2021. Arm denies the remaining allegations in this paragraph.

         29.    In answer to paragraph 29, Arm admits that, after the acquisition closed, Arm

  informed Qualcomm that it would need to cease using and destroy any technology

  developed under the Nuvia ALA if the parties did not agree to a novation. Arm admits that,

  in an effort to reach a compromise, Arm proposed that Qualcomm pay a design transfer fee

  and harmonize certain royalty rates with Nuvia’s rates in lieu of the hundreds of millions of

  dollars Arm anticipated earning from Nuvia’s products expanding the market for Arm-based

  chips. Arm denies the remaining allegations in this paragraph.

         30.    In answer to paragraph 30, Arm admits that before Arm sent its February 1,

  2022 letter terminating the Nuvia ALA, Arm and Qualcomm discussed the assignment

  dispute from January 27, 2021, when Qualcomm first brought the issue to Arm’s attention,

  through at least October 18, 2021. Arm denies that it stopped communicating with

  Qualcomm in or about September 2021 given that Qualcomm did not respond to or

  otherwise acknowledge Arm’s August 31, 2021 proposal prior to its expiration. Further,

  Arm sent an October 18, 2021 request that Qualcomm put forward a proposal for Arm to

  consider, and Qualcomm failed to respond. Arm denies the remaining allegations in this

  paragraph.

         31.    In answer to paragraph 31, Arm admits that it sent a letter dated February 1,

  2022 to Nuvia and Qualcomm terminating the Nuvia licenses effective March 1, 2022. Arm

  admits that its letter reminded Nuvia and Qualcomm of their obligations upon termination to

  stop using and destroy the relevant Nuvia technology developed under the now-terminated

  licenses and to certify that they had complied with the termination provisions within one




                                               13
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page14
                                                          103
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 505
                                                                            #: 195




  month of the termination. Arm lacks sufficient knowledge or information to form a belief

  about the truth of the allegations related to the date of Qualcomm’s receipt of Arm’s letter.

  Arm denies the second sentence of paragraph 31. Arm admits that prior to termination of

  the Nuvia ALA, Arm supported the Nuvia team under the Nuvia ALA given that Qualcomm

  had expressly agreed to Arm’s condition that “such interaction and/or assistance does not

  expressly or impliedly waive any of Arm’s rights with respect to the novation.” Arm denies

  the remaining allegations in this paragraph.

         32.    Arm denies the allegations in paragraph 32.

         33.    In answer to paragraph 33, Arm denies that it waited to terminate the Nuvia

  ALA and TLA for material breach by continuing to negotiate with Qualcomm in good faith.

  Arm lacks sufficient knowledge or information to form a belief about the truth of the

  allegations related to Qualcomm’s expenses or development efforts and on that basis denies

  them. Arm denies the suggestion that the fees and royalty payments Nuvia agreed to pay for

  technology developed under its ALA were exorbitant. Arm denies the remaining allegations

  in this paragraph.

         34.    In answer to paragraph 34, Arm admits that it sent a letter to Nuvia and

  Qualcomm terminating the Nuvia agreements dated February 1, 2022. Arm admits that the

  termination of NVIDIA’s proposed acquisition of Arm was announced on February 7, 2022,

  and that Arm had been seeking regulatory approval for NVIDIA to acquire Arm while

  Qualcomm refused to respect Arm’s licenses during the preceding year, the timing of which

  suggests that Qualcomm was acting in bad faith to take advantage of Arm’s prioritization of

  this regulatory approval process. Arm denies the remaining allegations in this paragraph.




                                                 14
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page15
                                                          104
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 506
                                                                            #: 196




         35.    In answer to paragraph 35, Arm admits that Qualcomm sent Arm a letter

  dated May 23, 2022, asserting that Qualcomm’s own Arm licenses would permit it to

  incorporate Nuvia technologies “that are not subject to any removal or quarantine

  obligations” into Qualcomm products, without specifying what, if any, Nuvia technology fit

  that description. Arm admits that Qualcomm asserted that Nuvia had developed

  technologies that were not subject to the termination requirements without explaining

  whether these technologies were derived from Arm Technology delivered under the Nuvia

  licenses. Arm admits that Qualcomm’s letter indicated that Qualcomm would comply with

  the termination obligations to the same extent as would Nuvia, without objecting to Arm’s

  termination of the Nuvia licenses. Arm denies the remaining allegations in this paragraph.

         36.    In answer to paragraph 36, Arm admits that Nuvia’s Phoenix core embodied

  and was derived from version      of the Arm architecture, and that the Initial Arm     EAC

  release was added to the Arm Architecture Reference Manual for download on Arm’s

  website in or around January 2021. Arm admits that Section 3.9 of the Nuvia ALA excludes

  information that

                  from the confidentiality obligations in Section 3 of the ALA, which are

  distinct from the termination obligations in Section 15.1 of the ALA. The remaining

  allegations in this paragraph contain legal conclusions to which no response is required. To

  the extent a response is required, Arm denies the remaining allegations in this paragraph.

         37.    In answer to paragraph 37, Arm admits that by letter dated April 1, 2022,

  Nuvia certified that it had destroyed and quarantined all “ARM Confidential Information

  including ARM technology or derivatives,” but Arm denies that Nuvia suggested, contrary




                                               15
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page16
                                                          105
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 507
                                                                            #: 197




  to the requirements of the Nuvia ALA, that its certification was limited only to

  “Nuvia-acquired” information, technology, or derivatives.

         38.    In answer to paragraph 38, Arm admits that, in reliance on Qualcomm’s

  statement that Arm’s assistance to Qualcomm would not waive any of Arm’s rights, Arm

  released a Compliance Waiver dated April 12, 2022, which stated: “This compliance waiver

  forms the acceptance from Arm that Qualcomm Global Trading Pte Ltd has validated their

  CPU Core in accordance with the Verification requirements set out in the Architecture

  agreement.” In the same month, Arm specifically reinforced Qualcomm’s obligation to

  destroy the unlicensed materials. Arm denies the remaining allegations in this paragraph.

         39.    In answer to paragraph 39, Arm denies that its ALAs provide licensees an

  ownership interest in their implementations of Arm technology that would affect a

  licensee’s destruction obligations upon termination, with Nuvia’s ALA instead stating



                                              Arm denies the remaining allegations in this

  paragraph.

         40.    In answer to paragraph 40, Arm admits that as part of efforts to seek

  regulatory approval for NVIDIA to acquire Arm, Arm and NVIDIA submitted to a United

  Kingdom regulator the cited document, to which Arm refers for a complete statement of its

  contents. Arm denies the remaining allegations in this paragraph.

         41.    Paragraph 41 contains legal conclusions to which no response is required. To

  the extent a response is required, Arm admits that Qualcomm and Nuvia must stop using

  and destroy any Arm-based technology developed under Nuvia’s ALA, and that neither




                                               16
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page17
                                                          106
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 508
                                                                            #: 198




  Qualcomm nor Nuvia is licensed to continue developing this technology. Arm denies the

  remaining allegations in this paragraph.

         42.    Paragraph 42 contains legal conclusions to which no response is required. To

  the extent a response is required, Arm admits that Qualcomm is licensed to develop certain

  Arm-based technology based on Arm technology delivered to Qualcomm under its ALA and

  licensed according to the terms of that ALA. The Qualcomm ALA expressly excludes a

  license to any other Arm technology, such as the Nuvia technology. Arm denies the

  remaining allegations in this paragraph.

         43.    Paragraph 43 contains legal conclusions to which no response is required. To

  the extent a response is required, Arm denies the allegations in this paragraph.

         44.    The first and second sentences of paragraph 44 contain legal conclusions to

  which no response is required. To the extent a response to the first sentence is required,

  Arm denies the allegations. To the extent a response to the second sentence is required,

  Arm respectfully refers the Court to the Complaint for Arm’s allegations and denies the

  allegations contained in this sentence. Arm denies that Qualcomm’s license agreements

  give Qualcomm the right to use Arm trademarks in connection with products developed in

  whole or in part under Nuvia’s ALA because those products are not covered by the relevant

  licenses in the Qualcomm ALA. Arm admits that Section 2.9 of the Qualcomm ALA states

  that



                                                                 Arm admits that Arm’s

  website publicly grants third parties the right to “use Arm’s word trademarks, product

  names, service names, technology names and other names in text to refer to Arm’s products




                                                17
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page18
                                                          107
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 509
                                                                            #: 199




  and services and related technology if [they] follow [Arm’s] guidelines and [such] use is

  accurate, fair and not misleading.” Arm denies the remaining allegations in this paragraph.

         45.     The first sentence of paragraph 45 contains legal conclusions to which no

  response is required. To the extent a response is required, Arm denies the allegations in the

  first sentence of this paragraph. Arm lacks sufficient knowledge or information to form a

  belief about the remaining allegations in this paragraph and on that basis denies them.

         46.     In answer to paragraph 46, Arm admits that, like Qualcomm, it has

  communicated with press regarding this action. Arm denies the remaining allegations in

  this paragraph.

         47.     Paragraph 47 contains legal conclusions to which no response is required. To

  the extent a response is required, Arm denies the allegations in this paragraph.

         175.    Paragraph 175 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in the first sentence of this

  paragraph. In answer to the second sentence of this paragraph, Arm sets forth its responses

  below and repeats, re-alleges, and incorporates by reference its answers to paragraphs 1-47

  as if fully set forth herein.

         176.    In answer to paragraph 176, Arm admits that Qualcomm Incorporated is a

  Delaware corporation with its principal place of business in San Diego, California. Arm

  admits that Qualcomm has developed and commercialized products related to wireless

  technologies and has been involved in 3G, 4G, and 5G mobile communication standards.

  Arm lacks sufficient knowledge or information to form a belief about the remaining

  allegations in this paragraph and on that basis denies them.




                                                18
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page19
                                                          108
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 510
                                                                            #: 200




         177.   In answer to paragraph 177, Arm admits that Qualcomm Technologies, Inc. is

  a wholly owned subsidiary of Qualcomm Incorporated and a Delaware corporation with a

  principal place of business in San Diego, California. Arm lacks sufficient knowledge or

  information to form a belief about the remaining allegations in this paragraph and on that

  basis denies them.

         178.   In answer to paragraph 178, Arm admits that Nuvia was founded in 2019, but

  lacks knowledge as to the reason for its founding, and on that basis denies the relevant

  allegations. Arm lacks sufficient knowledge or information to form a belief about the truth

  of the allegations in the second sentence of this paragraph and on that basis denies them.

  Arm admits the allegations in the third sentence of this paragraph.

         179.   In answer to paragraph 179, Arm admits that it is a corporation headquartered

  in Cambridge, United Kingdom and was founded in 1990. Arm admits that it is planning to

  issue an IPO in the future. Arm denies the remaining allegations in this paragraph.

         180.   Paragraph 180 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm admits this Court has subject matter jurisdiction

  pursuant to 28 U.S.C. § 1332 because there is complete diversity between the parties and the

  amount in controversy exceeds $75,000.

         181.   Paragraph 181 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm admits that venue is proper in this Judicial

  District.

         182.   In answer to paragraph 182, Arm admits that Qualcomm and Arm entered into

  an Amended and Restated Architecture License Agreement, No. LES-TLA-20039, and

  Annex 1 to that agreement, effective May 31, 2013. Arm admits that Qualcomm and Arm




                                                19
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page20
                                                          109
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 511
                                                                            #: 201




  entered into a Technology License Agreement, No. LEC-TLA00550 and Annex 1 to that

  agreement, effective May 31, 2013. Arm admits that Qualcomm and Arm entered into an

  updated Annex 1 to the ALA, effective June 23, 2020, and an updated Annex 1 to the

  Qualcomm TLA, effective June 26, 2020. Arm denies the remaining allegations in this

  paragraph.

         183.     Arm admits the allegations in the first sentence of paragraph 183. In answer

  to the second sentence of this paragraph, Arm admits that Qualcomm’s ALA allows it to

                                            that is, technology

                  under the Qualcomm ALA and in accordance with the Qualcomm ALA

  license terms



                         as set forth in Section B. In answer to the third sentence of this

  paragraph, Arm admits that Qualcomm’s ALA provides this license to Qualcomm and its

  subsidiaries, but

  Arm denies the remaining allegations in this paragraph.

         184.     In answer to paragraph 184, Arm admits that under Qualcomm’s TLA, Arm

  licenses the use of specific “off-the-shelf” Arm processor core designs with only minor

  modifications. In answer to the third sentence of this paragraph, Arm admits that

  Qualcomm’s TLA provides this license to Qualcomm and its subsidiaries, but

                                                             . Arm denies the remaining

  allegations in this paragraph.

         185.     Arm admits the allegations in paragraph 185.




                                                 20
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page21
                                                          110
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 512
                                                                            #: 202




         186.   Paragraph 186 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm admits that prior to termination of the Nuvia

  ALA, Nuvia and Qualcomm had separate license agreements with Arm, each of which

  licensed separately defined Arm technology delivered to the relevant party. Arm denies the

  remaining allegations in this paragraph.

         187.   Arm admits the allegations in paragraph 187.

         188.   In answer to paragraph 188, Arm repeats, re-alleges, and incorporates by

  reference its answers to paragraphs 1-47 as if fully set forth herein, and admits the

  remaining allegations in this paragraph.

         189.   In answer to paragraph 189, Arm admits that Qualcomm sent Arm a letter

  dated January 27, 2021, stating that Qualcomm had “entered into a definitive agreement to

  acquire Nuvia, Inc.” and “wr[o]te to address a potential overlap in licensing agreements.”

  Arm admits the allegations in the second and third sentences of this paragraph. Arm admits

  that after waiting nearly two weeks since publicly announcing its planned acquisition before

  contacting Arm, Qualcomm asked that Arm respond with “any concerns” within five

  business days. Arm denies the remaining allegations in this paragraph.

         190.   In answer to paragraph 190, Arm admits that it responded to Qualcomm on

  February 2, 2021, stating it expected Qualcomm and Nuvia “have followed and will

  continue to follow the confidentiality obligations.” Arm admits that the letter stated “any

  transfer of designs, rights, or licenses under NUVIA’s agreements with Arm to Qualcomm

  will require and be subject to Arm’s prior consent (such consent, among other terms, is

  customarily documented in a three-way agreement between Arm, transferor, and transferee)

  and a separate commercial agreement between Arm and Qualcomm.” Arm admits that it




                                                21
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page22
                                                          111
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 513
                                                                            #: 203




  stated it would “aim to get in touch” by February 17, 2021. Arm denies the remaining

  allegations in this paragraph.

         191.   Arm admits the allegations in paragraph 191.

         192.   In answer to the first sentence of paragraph 192, Arm admits that it did not

  provide Qualcomm a formal draft of the “three-way agreement,” because Qualcomm

  rejected the substance of Arm’s proposal for the transfer of the designs, rights, and licenses

  under Nuvia’s agreements with Arm. The second and third sentences of this paragraph

  contain legal conclusions to which no response is required. To the extent that a response is

  required, Arm denies the remaining allegations in this paragraph.

         193.   In answer to paragraph 193, Arm admits that it sent Qualcomm a letter dated

  February 16, 2021, with proposed terms to permit the transfer of Nuvia’s designs to

  Qualcomm. Arm further repeats, re-alleges, and incorporates by reference its answer to

  paragraph 23 as if fully set forth herein. Arm denies the remaining allegations in this

  paragraph.

         194.   Arm denies the allegations in paragraph 194, and denies the suggestion that

  Arm was somehow responsible for Qualcomm and Nuvia’s failure to contact Arm as

  required by Nuvia’s licenses until less than seven weeks before Qualcomm’s closing on the

  planned $1.4 billion acquisition, even though Qualcomm had publicly announced the

  planned acquisition weeks earlier and, as discovery is likely to show, began its due

  diligence months earlier.

         195.   In answer to paragraph 195, Arm admits that Qualcomm sent Arm a letter

  dated February 18, 2021, rejecting the terms proposed by Arm to facilitate the transfer of

  Nuvia’s design to Qualcomm, offering no proposal of its own, and erroneously asserting the




                                                22
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page23
                                                          112
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 514
                                                                            #: 204




  quoted statement even though Nuvia could not transfer Arm-based technology developed

  under the Nuvia ALA—which was based on Arm technology delivered to Nuvia, subject to

  the Nuvia ALA license terms—and Qualcomm was licensed to use only technology created

  by Qualcomm engineers using the Arm technology delivered to Qualcomm, subject to the

  Qualcomm ALA license terms. Arm admits that Qualcomm sent Arm a letter dated

  February 25, 2021 falsely asserting that there was no contractual support for the imposition

  of Nuvia’s royalty rates on Qualcomm, when Qualcomm would share Nuvia’s obligations

  under the Nuvia ALA in its capacity as Nuvia’s acquirer and thus would be subject to

  Nuvia’s royalty rates for any licensed activity under the Nuvia ALA. Arm denies the

  remaining allegations in this paragraph.

         196.   In answer to paragraph 196, Arm admits that Qualcomm’s February 18, 2021

  letter asserted that Arm’s proposed confidentiality safeguards “would make it impossible to

  develop products incorporating both a CPU designed under the ALA and a CPU licensed

  under the TLA, which would have an adverse impact on both ARM and Qualcomm.” Arm

  admits that Qualcomm’s February 25, 2021 letter asserted that “[t]his new 36 month

  restriction would only prevent product development and impede innovation.” Arm denies

  the remaining allegations in this paragraph.

         197.   In answer to paragraph 197, Arm admits that Arm promptly informed

  Qualcomm on February 2, 2021, that “any transfer of designs, rights, or licenses under

  NUVIA’s agreements with Arm to Qualcomm will require and be subject to Arm’s prior

  consent,” consistent with the Nuvia ALA’s and TLA’s assignment provisions and

  Qualcomm’s prior experience acquiring other companies that had their own TLAs. Arm

  denies the remaining allegations in this paragraph.




                                                 23
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page24
                                                          113
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 515
                                                                            #: 205




           198.   Arm admits the allegations in paragraph 198.

           199.   Arm admits the allegations in paragraph 199.

           200.   The first sentence of paragraph 200 contains legal conclusions to which no

  response is required. To the extent a response is required, Arm admits that Qualcomm has

  its own ALA and TLA, but Arm denies that anything in Qualcomm’s licenses with Arm

  authorized Qualcomm’s use of Arm-based technology developed under the Nuvia ALA

  based on Arm technology delivered to Nuvia, subject to the license of the Nuvia ALA, or

  displaced or amended in any way the obligations of the Nuvia ALA’s assignment and

  termination provisions. In answer to the second sentence of paragraph 200, Arm admits that

  Section 1.15 of Qualcomm’s ALA and TLA define                      as

                                                                                            In

  answer to the third sentence of paragraph 202, Arm admits that Qualcomm’s ALA and TLA

  define                as




                    Arm denies the remaining allegations in this paragraph.

           201.   In answer to the first sentence of paragraph 201, Arm admits that

  Qualcomm’s ALA provides the right to design Arm-based cores, but denies the suggestion

  that the ALA provides the right to continue designing Arm-based cores obtained from third

  parties based on Arm technology delivered to third parties, subject to licenses in a different

  ALA. In answer to the second sentence of this paragraph, Arm admits that Section B.1.1 of

  Annex 1 to Qualcomm’s ALA licenses Qualcomm to




                                                24
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page25
                                                          114
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 516
                                                                            #: 206




                                                            as set forth in Section B.1.1.

         202.   Paragraph 202 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         203.   In answer to paragraph 203, Arm admits that on February 25, 2021,

  one-and-a-half months after publicly announcing its acquisition of Nuvia, Qualcomm

  requested that Arm consent to the assignment of Nuvia’s license agreements with Arm by

  March 2, 2021, confirming Arm’s consent was required, to authorize “the transfer of certain

  information . . . from NUVIA to Qualcomm.” Arm denies that Qualcomm’s demand for

  Arm’s consent, while rejecting the terms Arm had offered, represented an effort by

  Qualcomm to compromise, instead reflecting the express terms of the Nuvia ALA requiring

  consent to any assignment of the Nuvia ALA, including assignment via acquisition.

         204.   In answer to paragraph 204, Arm admits that it sent Qualcomm a letter dated

  March 2, 2021. Arm denies the remaining allegations in this paragraph.

         205.   In answer to paragraph 205, Arm admits that Qualcomm rejected Arm’s

  proposal for consenting to Qualcomm’s acquisition of Nuvia’s Arm-based designs and made

  no counteroffer, but Qualcomm nevertheless proceeded with the acquisition as scheduled on

  or around March 16, 2021 without Arm’s consent.

         206.   In answer to paragraph 206, Arm admits that, before Arm sent its

  February 1, 2022 letter terminating the Nuvia ALA, Arm and Qualcomm discussed the

  assignment dispute from January 27, 2021, when Qualcomm first brought the issue to Arm’s

  attention, through at least October 18, 2021. Arm denies that it went silent in September

  2021; even though Qualcomm did not respond to or otherwise acknowledge Arm’s August




                                               25
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page26
                                                          115
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 517
                                                                            #: 207




  31, 2021 proposal prior to its expiration, Arm nonetheless followed up on October 18, 2021,

  requesting that Qualcomm put forward a proposal for Arm to consider, and Qualcomm

  failed to do so. Arm denies the remaining allegations in this paragraph.

         207.   In answer to paragraph 207, Arm admits that, as discovery is likely to show,

  and as the Counterclaim admits, Qualcomm continued developing the Arm Technology and

  using the Arm Confidential Information that had been developed by engineers at Nuvia

  before the acquisition and Qualcomm’s improper transfer. Arm lacks sufficient knowledge

  or information to form a belief about the truth of the remaining allegations in this paragraph

  and on that basis denies them.

         208.   In answer to paragraph 208, Arm admits, as discovery is likely to show, that

  Qualcomm continued to develop Nuvia’s Phoenix core and Server SoC. Arm lacks

  sufficient knowledge or information to form a belief about the truth of the remaining

  allegations in paragraph 208 and on that basis denies them.

         209.   Arm lacks sufficient knowledge or information to form a belief about the

  truth of the allegations in paragraph 209 and on that basis denies them.

         210.   In answer to paragraph 210, Arm admits that in 2021 and 2022—before the

  Nuvia ALA’s termination—Arm provided support to the Nuvia team under the Nuvia ALA.

  Arm denies any suggestion that this support waived Arm’s rights, prejudiced Qualcomm, or

  otherwise constituted an acknowledgment of or conferred on Qualcomm any rights to

  technology developed under the Nuvia ALA, since Qualcomm agreed in March 2021 to

  Arm’s condition that “such interaction and/or assistance does not expressly or impliedly

  waive any of Arm’s rights with respect to the novation.” Arm denies the remaining

  allegations in this paragraph.




                                                26
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page27
                                                          116
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 518
                                                                            #: 208




         211.   In answer to paragraph 211, Arm admits that shortly after Qualcomm acquired

  Nuvia—i.e., before the Nuvia ALA was terminated—Arm engineers began having weekly

  discussions with Qualcomm’s Nuvia team members related to verification testing of the

  Phoenix core in reliance on Qualcomm’s statement that Arm’s assistance to Qualcomm

  would not waive any of Arm’s rights. Arm denies the remaining allegations in this

  paragraph.

         212.   In answer to paragraph 212, Arm admits that its engineers had discussions

  with Nuvia team members following Qualcomm’s acquisition of Nuvia in reliance on

  Qualcomm’s statement that Arm’s assistance to Qualcomm would not waive any of Arm’s

  rights. Arm denies the remaining allegations in this paragraph.

         213.   In answer to paragraph 213, Arm admits that it has licensed technology to

  Qualcomm, unrelated to Qualcomm’s development of the relevant Nuvia technology, for

  which Qualcomm does not have an applicable license, and Qualcomm has paid Arm for

  those licenses, since March 16, 2021.

         214.   Arm admits the first, second, and third sentences of paragraph 214. Arm

  admits that Qualcomm has paid for the licenses described in the first three sentences of

  paragraph 214 and other licenses Arm granted Qualcomm.

         215.   In answer to paragraph 215, Arm admits that in or around late 2021—i.e.,

  before the Nuvia ALA’s termination—Arm engineers continued having weekly discussions

  with Qualcomm’s Nuvia team members related to verification testing of the Phoenix core in

  reliance on Qualcomm’s statement that Arm’s assistance to Qualcomm would not waive any

  of Arm’s rights. Arm denies the remaining allegations in this paragraph.




                                               27
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page28
                                                          117
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 519
                                                                            #: 209




         216.     In answer to paragraph 216, Arm admits that in 2021, Qualcomm’s Nuvia

  team submitted an interim compliance report to Arm for the Phoenix core. Arm admits that

  the Arm Architecture Reference Manual that was publicly available on Arm’s website in

  December 2021 included version        . Arm admits that Qualcomm was licensed to

  version       of the Arm architecture, but denies that Qualcomm’s ALA licensed the Nuvia

  team’s Server SoC, which was developed under Nuvia’s ALA. Arm denies the remaining

  allegations in this paragraph.

         217.     In answer to paragraph 217, Arm repeats, re-alleges, and incorporates by

  reference its answers to paragraphs 31-40 as if fully set forth herein. Arm admits that it sent

  a letter dated February 1, 2022 to Nuvia’s representative (Gerard Williams III, the former

  CEO of Nuvia) and a Qualcomm representative terminating the Nuvia licenses for material

  breach, effective March 1. Arm lacks sufficient knowledge or information to form a belief

  about the truth of the remaining allegations in this paragraph and on that basis denies them.

         218.     Arm admits the allegations in the first sentence of paragraph 218. Arm

  admits that its February 2022 letter stated that Nuvia “also violated the confidentiality

  provisions under Section 3.1 of the Agreements and made unlicensed use of Arm’s

  confidential information in violation of Section 3.8 of the Agreements.” Arm denies the

  remaining allegations in this paragraph.

         219.     Paragraph 219 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph, as the

  Qualcomm ALA expressly excludes a license to                                 such as Nuvia’s

  implementation of Arm architecture—

                                                                                     and the




                                                28
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page29
                                                          118
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 520
                                                                            #: 210




  Nuvia ALA required the                                     before Nuvia could

                                                                                with the Nuvia

  ALA deeming an assignment to include




         220.   Paragraph 220 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         221.   Paragraph 221 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         222.   Paragraph 222 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm admits that the Phoenix core and Server SoC

  embodied and were derived from version         of the Arm architecture. Arm denies the

  remaining allegations in this paragraph.

         223.   Paragraph 223 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         224.   In answer to paragraph 224, Arm admits that termination of the Nuvia

  agreements was effective March 1, 2022. Arm lacks sufficient knowledge or information

  regarding the timing of Qualcomm’s unauthorized development work on the Phoenix core

  for its Server SoC to form a belief about the truth of these allegations and on that basis

  denies them. Arm denies the remaining allegations in this paragraph.

         225.   Arm admits the allegations in paragraph 225.




                                                29
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page30
                                                          119
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 521
                                                                            #: 211




         226.   In answer to the first sentence of paragraph 226, Arm admits that it made the

  quoted statement in Arm’s February 1, 2022 termination letter, to which Arm refers for a

  complete statement of its contents, but denies that this statement was wrong; Qualcomm

  acquired Nuvia even though the Nuvia ALA required Arm’s consent prior to any assignment

  of the Nuvia ALA, which the ALA defined to include any other company’s acquisition of

  Nuvia, and Arm did not consent to the assignment. Arm admits the allegations in the

  second sentence of this paragraph.

         227.   In answer to paragraph 227, Arm admits that its February 1, 2022 letter stated

  “termination” would be “effective as of March 1, 2022,” and reminded Nuvia of its

  obligation to destroy or return Arm Confidential Information within one month of

  termination. Arm denies the remaining allegations in this paragraph.

         228.   Paragraph 228 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         229.   Paragraph 229 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         230.   Arm denies the allegations in paragraph 230.

         231.   Arm lacks sufficient knowledge or information to form a belief about the

  truth of the allegations in paragraph 231 and on that basis denies them.

         232.   Arm lacks sufficient knowledge or information to form a belief about the

  truth of the allegations in paragraph 232 and on that basis denies them.

         233.   In answer to paragraph 233, Arm admits that on April 1, 2022, Nuvia

  provided Arm a certification purporting to certify that “Nuvia is in compliance with its

  obligations under Section 15.1” of the Nuvia ALA, even though Nuvia now admits that it




                                               30
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page31
                                                          120
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 522
                                                                            #: 212




  did not comply with its obligation to stop using and destroy the relevant Nuvia technology.

  Arm denies that it never certified its own compliance with the termination provisions;

  instead, Arm certified its own compliance with the Nuvia ALA and TLA’s termination

  provisions on April 1, 2022, with the certification sent to Nuvia in the manner specified by

  the Nuvia agreements. Arm denies the remaining allegations in this paragraph.

         234.   Arm admits the allegations in the second sentence of paragraph 234. Arm

  denies the remaining allegations in this paragraph.

         235.   Paragraph 235 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm admits that the Nuvia ALA requires upon

  termination that




                                      Arm denies that Qualcomm can tortiously interfere with

  the Nuvia ALA (by assigning the Nuvia ALA to Qualcomm via the acquisition without the

  requisite consent from Arm), obtain the benefits of the Nuvia ALA and the technology

  Nuvia developed under that ALA, and then circumvent the requirements of the Nuvia

  ALA’s termination provision by purporting to limit those obligations to Nuvia alone,

  ignoring that the discontinuance and destruction obligations expressly extend not only to




                                               31
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page32
                                                          121
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 523
                                                                            #: 213




  Arm Confidential Information, but also to products embodying Arm technology and

  derivatives of Arm technology under Nuvia’s ALA. Arm admits that Qualcomm’s ALA

  grants licenses to use Arm Confidential Information and Arm Technology delivered to

  Qualcomm, subject to the terms of Qualcomm’s ALA as those terms are defined in the

  Qualcomm ALA, but expressly excludes a license to any other Arm technology, and limits

  design and manufacture rights to Arm Technology developed by Qualcomm under the

  Qualcomm ALA, and subject to the license terms of the Qualcomm ALA. Arm denies the

  remaining allegations in this paragraph.

         236.   Arm admits the allegations in the first sentence of paragraph 236. The second

  sentence of this paragraph contains legal conclusions to which no response is required. To

  the extent a response is required, Arm denies the remaining allegations in this paragraph.

         237.   In answer to paragraph 237, Arm admits that it sent Qualcomm a letter dated

  August 2, 2022, noting that “[i]n March, Qualcomm and NuVia accepted the termination,”

  and then stating: “after termination, Qualcomm is not authorized to make, use, sell, or

  import a product incorporating designs or derivatives of the NuVia technology.” Arm

  denies that its reference to “the NuVia technology” meant Qualcomm could not use “any”

  Nuvia technology; Arm lacks sufficient knowledge or information to form a belief about

  whether Nuvia has intellectual property, proprietary designs, or confidential information

  that is not based on, derivative of, or embodying Arm technology delivered by Arm under

  the Nuvia ALA, and on that basis denies this allegation. In answer to the fifth and sixth

  sentences of this paragraph, Arm admits that it made the quoted statement in Arm’s

  August 2, 2022 letter, to which Arm refers for a complete statement of its contents. Arm

  denies the remaining allegations in this paragraph.




                                               32
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page33
                                                          122
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 524
                                                                            #: 214




         238.   Paragraph 238 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies that ownership of the CPU or SoC designs

  of licensees is required for Arm to demand compliance with its licenses’ termination

  provisions. Arm denies the allegations in this paragraph.

         239.   Paragraph 239 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm:

         a. denies sub-paragraph (a) because Section 16.3 of the Nuvia ALA required




                                                                     and because Section 2.6 of

         the Qualcomm ALA expressly excludes from Qualcomm’s license



                                                                 ;

         b. denies sub-paragraph (b) because Section 16.3 of the Nuvia ALA, as noted above,

         required




                                               33
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page34
                                                          123
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 525
                                                                            #: 215




                                                                                     and

        because Section 2.6 of the Qualcomm ALA expressly excludes from Qualcomm’s

        license

                                                                                      ;

        c. denies sub-paragraph (c) because Section 15.1 of the Nuvia ALA required




                                    and because Section 2.6 of the Qualcomm ALA expressly

        excludes from Qualcomm’s license



                                     ;

        d. denies sub-paragraph (d) because Section 15.1 of the Nuvia ALA required




                                ;




                                              34
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page35
                                                          124
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 526
                                                                            #: 216




        e. denies sub-paragraph (e) because Section 16.3 of the Nuvia ALA required




        f. denies sub-paragraph (f) because Section 2.8 of the Nuvia ALA states




                                    ;

        g. denies sub-paragraph (g) because Section 15.1 of the Nuvia ALA required




                                  and because Section 2.6 of the Qualcomm ALA expressly




                                             35
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page36
                                                          125
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 527
                                                                            #: 217




         excludes from Qualcomm’s license




         240.   Arm denies the allegations in paragraph 240.

         241.   In answer to paragraph 241, Arm admits that it issued a Compliance Waiver

  dated April 12, 2022 stating: “This compliance waiver forms the acceptance from Arm that

  Qualcomm Global Trading Pte Ltd has validated their CPU Core in accordance with the

  Verification requirements set out in the Architecture agreement.” Arm denies any

  suggestion that this document waived Arm’s rights, prejudiced Qualcomm, or otherwise

  constituted an acknowledgment of or conferred on Qualcomm any rights to technology

  developed under the Nuvia ALA, since Qualcomm agreed in March 2021 to Arm’s

  condition that “such interaction and/or assistance does not expressly or impliedly waive any

  of Arm’s rights with respect to the novation,” and the Compliance Waiver was issued under

  the implementer ID corresponding with Nuvia’s ALA rather than Qualcomm’s ALA. Arm

  denies the remaining allegations in this paragraph.

         242.   Arm denies the allegations in paragraph 242.

         243.   Arm denies the allegations in paragraph 243.

         244.   Arm denies the allegations in paragraph 244.

         245.   Arm denies the allegations in paragraph 245.

         246.   Arm denies the allegations in paragraph 246.

         247.   Arm denies the allegations in paragraph 247.

         248.   Arm denies the allegations in paragraph 248.




                                               36
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page37
                                                          126
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 528
                                                                            #: 218




         249.   Paragraph 249 contains legal conclusions to which no response is required.

  To the extent a response is required, the agreements referenced in this paragraph and the

  contents thereof speak for themselves.

         250.   Paragraph 250 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph because,

  among other things, Qualcomm is materially breaching its ALA, giving Arm the right to

  terminate, and the Qualcomm ALA does not provide a license for or right to continue

  development of the Nuvia technology.

         251.   Paragraph 251 contains legal conclusions to which no response is required.

  To the extent a response is required, Arm denies the allegations in this paragraph.

         252.   Arm denies the allegations in paragraph 252.

         253.   Arm denies the allegations in paragraph 253.

         254.   Arm denies the allegations in paragraph 254.

         255.   In answer to paragraph 255, Defendants appear to be quoting a

  September 13, 2020 NVIDIA press release regarding its planned acquisition of Arm, the

  contents of which speak for themselves. Arm admits that NVIDIA’s planned acquisition of

  Arm led to antitrust regulatory challenges and opposition from Qualcomm, which reportedly

  sought to invest in Arm itself.4 Arm admits that on February 7, 2022, Arm and NVIDIA

  announced that the acquisition would be terminated. Arm denies the remaining allegations

  in this paragraph.




  4
    See, e.g., Anna Gross & Tim Bradshaw, Qualcomm wants to buy a stake in Arm alongside its
  rivals, Financial Times (May 30, 2022), https://www.ft.com/content/eab1d19d-ab4c-45b7-88b4-
  f1f5e115d16e.



                                               37
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page38
                                                          127
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 529
                                                                            #: 219




         256.   In answer to paragraph 256, Arm admits that it sent a letter to Nuvia dated

  February 1, 2022, stating “Arm intends to terminate” both the TLA and ALA “for material

  breach” and requesting immediate discontinuation and destruction of “all Arm Technology,

  Arm Confidential Information and any products embodying such technology or

  information.” Arm denies the remaining allegations in this paragraph.

         257.   Arm denies the allegations in paragraph 257.

                                      COUNTERCLAIM
                                    (Declaratory Judgment)

         258.   In answer to paragraph 258, Arm repeats, re-alleges, and incorporates by

  reference its answers to paragraphs 1-47 and 175-257 as if fully set forth herein.

         259.   In answer to paragraph 259, Arm:

         a. denies sub-paragraph (a) because Defendants breached the Nuvia licenses by

         assigning the licenses to Qualcomm without Arm’s consent and failing to comply

         with the termination provisions requiring discontinuance and destruction of the

         relevant Nuvia technology, as explained in the Complaint and in paragraphs 219 and

         235 above, which Arm expressly incorporates herein;

         b. denies sub-paragraph (b) because after Qualcomm’s acquisition of Nuvia,

         Qualcomm’s architected cores (including all further developments, iterations, or

         instantiations of the relevant technology that Qualcomm acquired from Nuvia),

         Server SoC, and Compute SoC are not fully licensed under Qualcomm’s ALA or

         TLA; instead, they must be discontinued and destroyed (as explained in the

         Complaint and above, including Arm’s answers to paragraphs 5 and 235, which Arm

         expressly incorporates herein), and are not licensed under Qualcomm’s ALA or TLA,

         with those licenses instead expressly excluding any license to other Arm-based



                                                38
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page39
                                                          128
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 530
                                                                            #: 220




         technology, such as Nuvia’s implementation of Arm architecture (as explained

         above, including in Arm’s answer to paragraph 3, which Arm expressly incorporates

         herein);

         c. denies sub-paragraph (c), including because Qualcomm is breaching its ALA by

         improperly seeking to use the Qualcomm ALA to continue development of the

         relevant Nuvia technology, entitling Arm to terminate that ALA based on

         Qualcomm’s material breaches (as explained below in Arm’s First Defense, which

         Arm expressly incorporates herein);

         d. denies sub-paragraph (d), including because Arm is entitled to terminate

         Qualcomm’s ALA based on Qualcomm’s material breaches of the verification,

         delivery, and support and maintenance provisions, as well as the covenant of good

         faith and fair dealing (as explained below in Arm’s First Defense, which Arm

         expressly incorporates herein); and

         e. denies sub-paragraph (e) because Qualcomm has no right to develop, let alone

         ship, products based on unlicensed Nuvia technology and is breaching its ALA by

         seeking to do so (as explained below in Arm’s First Defense, which Arm expressly

         incorporates herein).

         260.   In answer to paragraph 260, Arm denies that Qualcomm can continue to

  develop and sell chips free from challenge that its actions are in violation of the Qualcomm

  ALA, the Qualcomm TLA, the Nuvia ALA, or the Nuvia TLA, including because the

  relevant Nuvia technology is subject to destruction under the termination provisions of

  Nuvia’s ALA (as explained in the Complaint and above, including Arm’s answers to

  paragraphs 5 and 235, which Arm expressly incorporates herein), Qualcomm products




                                               39
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page40
                                                          129
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 531
                                                                            #: 221




  incorporating the same are not licensed under Qualcomm’s ALA or TLA (as explained

  above, including in Arm’s answer to paragraph 3, which Arm expressly incorporates

  herein), and Qualcomm is violating its ALA by seeking to continue its improper

  development of the unlicensed Nuvia technology via the Qualcomm ALA’s provisions and

  procedures, even though the Qualcomm ALA does not apply to the Nuvia technology, which

  is based on Arm technology delivered under the now-terminated Nuvia ALA (as explained

  below in Arm’s First Defense, which Arm expressly incorporates herein).

         261.   In answer to paragraph 261, Arm denies the allegations in this paragraph,

  including because Arm is not preventing Qualcomm from exercising its rights under its

  license agreements with Arm; instead, Arm has no obligations under the Qualcomm ALA to

  provide verification, delivery, or support and maintenance for Qualcomm’s improper

  attempts to continue development of unlicensed Nuvia technology developed under the

  now-terminated Nuvia ALA (as explained below in Arm’s First Defense, which Arm

  expressly incorporates herein).

         262.   Defendants’ Prayer for Relief contains legal conclusions to which no response

  is required. To the extent that a response is required, Arm denies that Defendants are

  entitled to any of the relief they seek in their prayer for relief, including because Defendants

  may not use a claim for declaratory judgment to obtain an order “enjoining” Arm or

  “requiring” Arm to do anything, let alone obtain an injunction imposing an impermissible

  prior restraint on hypothetical speech.




                                                 40
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page41
                                                          130
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 532
                                                                            #: 222




                                  AFFIRMATIVE DEFENSES

         Without admitting or acknowledging that it bears the burden of proof as to any of

  them, Arm asserts the following affirmative and other defenses and reserves the right to

  amend its Answer as additional information becomes available.

                                        FIRST DEFENSE
                                    (Failure to State a Claim)

         Defendants’ Counterclaim fails to state a claim upon which relief can be granted.

         Qualcomm’s allegations that the relevant Nuvia technology is licensed under

  Qualcomm’s ALA fail because the license granted under the Qualcomm ALA in

  Section 2.0, as clarified by Section 2.6, is limited to expressly defined

  delivered by Arm to Qualcomm under the Qualcomm ALA, and expressly excludes a license

  to any other Arm technology, like the Nuvia technology based on Arm technology delivered

  by Arm to Nuvia under the now-terminated Nuvia ALA.

         Qualcomm’s allegations that it is exercising its rights with respect to the relevant

  Nuvia technology under Qualcomm’s license agreements with Arm and is not in violation of

  those agreements fail because Arm has no such obligations with respect to the Nuvia

  technology, and Qualcomm is breaching the Qualcomm ALA by insisting otherwise. Under

  the Qualcomm ALA, Arm has no obligation to provide, and Qualcomm has no right to seek,

  verification, delivery, or support and maintenance in connection with technology developed

  under the now-terminated Nuvia ALA. The “verification” provisions of Section 4 of the

  Qualcomm ALA are limited to products manufactured                                     in the

  ALA. The delivery (Section 5) and support and maintenance (Section 7) obligations of the

  Qualcomm ALA are similarly limited to the defined                           and therefore

  likewise do not extend to the relevant Nuvia technology, which embodies and was derived



                                                 41
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page42
                                                          131
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 533
                                                                            #: 223




  from Arm technology delivered by Arm to Nuvia under Nuvia’s now-terminated ALA.

  Qualcomm’s unreasonable, bad-faith demands that Arm comply with purported obligations

  for verification, delivery, and support and maintenance with respect to technology delivered

  and developed outside the scope of the Qualcomm ALA are contrary to the parties’

  expectations and undermines the benefit to Arm from the Qualcomm ALA, thereby

  materially breaching that agreement’s terms and implied covenant of good faith and fair

  dealing and entitling Arm to terminate the Qualcomm ALA under Section 14.2.

                                    SECOND DEFENSE
                               (Waiver/Estoppel/Acquiescence)

         Defendants’ Counterclaim and affirmative defenses are barred, in whole or in part,

  by the doctrines of waiver, estoppel, and/or acquiescence. Defendants have not previously

  contested Arm’s termination of the Nuvia agreements. Nor have Defendants previously

  objected to Arm’s own compliance with and certification under Section 15.1 of the Nuvia

  ALA. Further, Defendants represented that both Nuvia and Qualcomm were in compliance

  with Section 15.1.

                                      THIRD DEFENSE
                                       (Unclean Hands)

         Defendants’ Counterclaim and affirmative defenses are barred, in whole or in part,

  by the equitable doctrine of unclean hands. Qualcomm tortiously induced Nuvia to breach

  the Nuvia ALA by acquiring Nuvia’s license rights to its implementation of Arm technology

  without Arm’s consent in violation of the Nuvia ALA’s assignment provision, thereby

  materially breaching the Nuvia ALA. Qualcomm continues to attempt to benefit from its

  improper acquisition of Nuvia’s license rights to its implementation of Arm technology by

  wrongly insisting that the unlicensed Nuvia technology is licensed under the Qualcomm




                                               42
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page43
                                                          132
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 534
                                                                            #: 224




  ALA and by seeking to enforce obligations for verification, delivery, and support and

  maintenance that apply only to technology based on defined                          delivered

  by Arm to Qualcomm under the Qualcomm ALA, subject to its license terms, unlike the

  Nuvia technology based on Arm technology delivered by Arm to Nuvia under the now-

  terminated Nuvia ALA, subject to its license terms. Qualcomm has acted in bad faith by

  seeking to reap the benefits from the Nuvia ALA, transferring technology developed under

  the Nuvia ALA to Qualcomm and combining Nuvia and Qualcomm workstreams, while

  avoiding the Nuvia ALA’s obligations.

                                        JURY DEMAND

         Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Arm hereby demands a TRIAL

  BY JURY of all claims and issues presented in Defendants’ Counterclaim that are so triable.




                                                43
Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page44
                                                          133
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 535
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Case
  Case
     1:24-cv-00490-MN
        1:22-cv-01146-MNDocument
                         Document1621 Filed
                                      Filed06/12/24
                                            11/15/22 Page
                                                     Page45
                                                          134
                                                            ofof
                                                               45633
                                                                  PageID
                                                                     PageID
                                                                         #: 536
                                                                            #: 226




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 15, 2022, a copy of the foregoing

  document was served on the persons listed below in the manner indicated:

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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24   Page 135 of 633 PageID #: 227




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Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page1136
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11896
                                                                           #: 228



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  ARM LTD., a U.K. corporation,

  Plaintiff,                                     C.A. No. 22-1146-MN


  v.                                             REDACTED - PUBLIC VERSION
                                                 (Filed March 20, 2024)
  QUALCOMM INC., a Delaware corporation,
  QUALCOMM TECHNOLOGIES, INC., a
  Delaware corporation, and NUVIA, INC., a
  Delaware corporation,

  Defendants.


          PLAINTIFF’S LETTER TO THE HONORABLE LAURA D. HATCHER
       REGARDING REDACTIONS TO THE MARCH 6, 2024 MEMORANDUM ORDER

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   Dated: March 13, 2024
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page2137
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11897
                                                                           #: 229




  Dear Judge Hatcher:

  Arm submits this letter in response to the Court’s March 6, 2024 Memorandum Order (“Order”)
  instructing the parties to advise the Court whether they wish for any portions of the Order to
  remain under seal. (D.I. 295.) Arm seeks to redact certain information in the Order relating to
  Arm’s Architecture License Agreements (“ALAs”) with Qualcomm and Nuvia and Arm’s
  Technology License Agreement (“TLA”) with Nuvia. Arm has proposed a small number of
  narrow redactions highlighted in Exhibit A, which redact only specific confidential, non-public,
  and commercially sensitive competitive information. A proposed public version of the Order
  with redactions applied is attached hereto as Exhibit B. Arm requests that the Court maintain the
  highlighted portions of the Order in Exhibit A under seal, and that the redacted version of the
  Order in Exhibit B be placed on the public docket.

  The parties have met and conferred, and counsel for Defendants Qualcomm, Inc., Qualcomm
  Technologies, Inc. and Nuvia, Inc. (collectively, “Defendants”) have advised Arm that they do
  not oppose Arm’s redactions.

  The public’s access to judicial records is “not absolute.” Nixon v. Warner Comms., Inc., 435
  U.S. 589, 598 (1978); see also In re Avandia Mktg., Sales Practices and Products Liab. Litig.,
  924 F.3d 662, 672 (3d Cir. 2019). A party may overcome the presumption of access to judicial
  records by showing “that the material [proposed to be redacted] is the kind of information that
  courts will protect,” that “disclosure will work a clearly defined and serious injury to the party
  seeking closure,” and that “the interest in secrecy outweighs the presumption [of public access].”
  In re Avandia, 924 F.3d at 672 (quotations and citations omitted). The Court may exercise
  inherent supervisory power to deny access to judicial proceedings and records, for example,
  “where they are sources of business information that might harm a litigant’s competitive
  standing.” Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1988).

  The presumption of public access to Arm’s redactions to the Order is rebutted here because the
  redactions concern confidential, non-public, and proprietary information relating to Arm’s
  license agreements. As set forth in the accompanying Declaration of Robert Calico (“Calico
  Declaration”), Arm’s redactions are to non-public information concerning Arm’s confidential
  ALA with Qualcomm, and Arm’s confidential ALA and TLA with Nuvia. (Calico Declaration
  at ¶¶ 3, 4.) Pages three to five of the Order refer to a specific provision in Qualcomm’s ALA
  that concerns rights specific to Qualcomm, including a direct quote of that provision in the ALA.
  (Id. at ¶ 4.) Page three, as well as pages five to nine, of the Order, refer to a provision in both the
  Nuvia ALA and Nuvia TLA that concerns rights specific to Nuvia. (Id.) Pages five, seven, and
  eight include direct quotes of that provision in the Nuvia ALA and TLA. (Id.) Public disclosure
  of the terms of Arm’s ALA with Qualcomm and Arm’s ALA and TLA with Nuvia could cause
  competitive harm to Arm by providing information about the specific terms of these licenses to
  Arm’s other TLA and ALA partners that they would otherwise not know, putting Arm at a
  disadvantage in subsequent licensing negotiations. (Id.) Public disclosure of the specific
  provisions in Arm’s ALAs and TLA could also allow Arm’s actual or potential competitors to
  use this information to gain a competitive advantage by knowing how Arm structures or
  organizes its license agreements. (Id.)




                                                    1
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page3138
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11898
                                                                           #: 230




  Information relating to Arm’s license agreements is the kind of sensitive information that courts
  will protect. A movant’s interest in the secrecy of confidential, non-public licensing information
  outweighs the presumption of public access. See, e.g., Mosaid Technologies Inc. v. LSI Corp.,
  878 F.Supp.2d 503, 510 (D. Del. 2012) (permitting redaction of information regarding licensing
  agreements between the parties and market share information).

  Arm respectfully requests that the Court maintain the highlighted portions of the Order in Exhibit
  A under seal, and that the redacted version of the Order in Exhibit B be placed on the public
  docket.



  Dated: March 13, 2024                            YOUNG CONAWAY STARGATT &
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                                                  2
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page4139
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11899
                                                                           #: 231




                        Exhibit A
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page5140
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11900
                                                                           #: 232
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page6141
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11901
                                                                           #: 233
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page7142
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11902
                                                                           #: 234
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page8143
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11903
                                                                           #: 235
Case
 Case1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                        Document16
                                 303 Filed
                                     Filed06/12/24
                                           03/20/24 Page
                                                    Page9144
                                                          of 27
                                                             of 633
                                                                PageID
                                                                    PageID
                                                                       #: 11904
                                                                           #: 236
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page10
                                                        145
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11905
                                                                           #: 237
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page11
                                                        146
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11906
                                                                           #: 238
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page12
                                                        147
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11907
                                                                           #: 239
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page13
                                                        148
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11908
                                                                           #: 240
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page14
                                                        149
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11909
                                                                           #: 241
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page15
                                                        150
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11910
                                                                           #: 242




                        Exhibit B
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page16
                                                        151
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11911
                                                                           #: 243
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page17
                                                        152
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
                                                                       #: 11912
                                                                           #: 244
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page18
                                                        153
                                                          of of
                                                             27633
                                                                PageID
                                                                   PageID
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 Case1:24-cv-00490-MN
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                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
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                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
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                                                        156
                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
                                                   Page22
                                                        157
                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
                                16 Filed 06/12/24
                                         03/20/24 Page
                                                   Page23
                                                        158
                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
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                                                        159
                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
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                                                          of of
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                         03/20/24 Page
                                                   Page26
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                                                          of of
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 13, 2024, a copy of the foregoing

  document was served on the counsel listed below in the manner indicated:

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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 303
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                                                        162
                                                          of of
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     1:24-cv-00490-MN
          1:22-cv-01146-MN
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                                            06/12/24
                                              08/31/22 Page
                                                       Page164
                                                            1 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 1#: 256




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  ARM LTD., a U.K. corporation,

                   Plaintiff,

         v.                                            C.A. No. _____________

  QUALCOMM INC., a Delaware corporation,               JURY TRIAL DEMANDED
  QUALCOMM TECHNOLOGIES, INC., a
  Delaware corporation, and NUVIA, INC., a
  Delaware corporation,

                   Defendants.



                                         COMPLAINT

         Plaintiff Arm Ltd. (“Arm”) complains and alleges as follows against Defendants

  Qualcomm Inc., Qualcomm Technologies, Inc. (collectively “Qualcomm”), and NuVia, Inc.

  (“Nuvia”):

                                  NATURE OF THE ACTION

         1.     Arm is the world’s leading provider of microprocessor intellectual property.

  For decades, Arm has developed innovative processor architecture and implementation

  designs that balance performance with energy efficiency. Billions of electronic devices use

  Arm processor technologies pursuant to Arm licenses—from smartphones used to interact

  seamlessly with friends and family around the world to an increasing number of the servers

  that run the essential day-to-day operations of Fortune 500 companies.

         2.     Qualcomm is a major semiconductor manufacturer. To accelerate its

  processor development efforts, Qualcomm spent over $1 billion to acquire Nuvia, a start-up

  led by senior engineers previously from Apple and Google that licensed Arm technologies

  to develop high-performance processor cores for semiconductor chips. In the process,


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Case Case
     1:24-cv-00490-MN
          1:22-cv-01146-MN
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                                              08/31/22 Page
                                                       Page165
                                                            2 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 2#: 257




  Qualcomm caused Nuvia to breach its Arm licenses, leading Arm to terminate those

  licenses, in turn requiring Qualcomm and Nuvia to stop using and destroy any Arm-based

  technology developed under the licenses. Undeterred, Qualcomm and Nuvia have continued

  working on Nuvia’s implementation of Arm architecture in violation of Arm’s rights as the

  creator and licensor of its technology. Further, Qualcomm’s conduct indicates that it has

  already and further intends to use Arm’s trademarks to advertise and sell the resulting

  products in the United States, even though those products are unlicensed.

         3.     Arm now brings suit for specific performance of the Nuvia licenses’

  termination provisions to require Qualcomm and Nuvia to stop using and to destroy the

  relevant Nuvia technology and to stop their improper use of Arm’s trademarks with their

  related products. Arm also seeks declaratory judgment, injunctive relief, and damages for

  the use of Arm’s trademarks in connection with semiconductor chips incorporating the

  relevant Nuvia technology.

                                           PARTIES

         4.     Plaintiff Arm is a corporation organized under the laws of the United

  Kingdom, has its principal place of business in Cambridge, United Kingdom, and is a

  resident or domiciliary of the United Kingdom.

         5.     Defendant Qualcomm Inc. is a Delaware corporation with its principal place

  of business at 5775 Morehouse Drive, San Diego, California 92121.

         6.     Defendant Qualcomm Technologies, Inc. is a subsidiary of Qualcomm Inc.

  and a Delaware corporation with its principal place of business at 5775 Morehouse Drive,

  San Diego, California 92121.




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          1:22-cv-01146-MN
                         Document
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                                            06/12/24
                                              08/31/22 Page
                                                       Page166
                                                            3 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 3#: 258




           7.    Defendant Nuvia is a subsidiary of Qualcomm and a Delaware corporation

  with its principal place of business at 2841 Mission College Blvd., Santa Clara, California

  95054.

                                 JURISDICTION AND VENUE

           8.    The Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

  question), 15 U.S.C. § 1121 (trademarks), and 28 U.S.C. § 1367(a) (supplemental

  jurisdiction). The Court also has subject matter jurisdiction under 28 U.S.C. § 1332 because

  there is complete diversity between the parties, and because the amount in controversy,

  based on the consideration that was anticipated under the Nuvia licenses, the volume of

  products expected under those licenses, and Defendants’ potential loss from complying with

  the equitable relief requested here, exceeds $75,000, exclusive of interest and costs.

           9.    The Court has personal jurisdiction over Qualcomm and Nuvia because they

  are incorporated in Delaware. Qualcomm and Nuvia have purposely availed themselves of

  the privileges and benefits of the laws of Delaware.

           10.   Venue is proper in this judicial district under 28 U.S.C. § 1391 because

  Qualcomm and Nuvia are incorporated in Delaware. Venue is also proper because

  Qualcomm Inc. and Qualcomm Technologies, Inc. have purposefully availed themselves of

  the courts in the State of Delaware and this Judicial District.

                                  FACTUAL ALLEGATIONS

  Arm’s business model

           11.   For decades, Arm has been a world leader in developing processor

  architectures, including instruction set architectures, and processor core designs




                                                 3
Case Case
     1:24-cv-00490-MN
          1:22-cv-01146-MN
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                                  16 1Filed
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                                            06/12/24
                                              08/31/22 Page
                                                       Page167
                                                            4 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 4#: 259




  implementing those architectures, all of which are covered by an extensive intellectual

  property portfolio.

         12.        Processor cores are the parts of a computer’s Central Processing Unit or

  “CPU” that read and execute program instructions to perform specific actions. Modern

  CPUs often integrate multiple processor cores on a single semiconductor chip or integrated

  circuit (“IC”).

         13.        Arm owns intellectual property relating to its processor architectures and

  designs, including, among other things, trademarks.

         14.        Arm does not manufacture or sell chips. Instead, Arm licenses its

  technologies to hundreds of companies to use in developing their own chips or in their own

  electronic devices and works with these companies to ensure the success of Arm-based

  products.

         15.        Arm’s customers manufacture (or have manufactured for them) chips based

  on Arm’s technologies. The chips may then be used in the customer’s own devices or sold

  to other device manufacturers. Arm earns revenue from licensing fees and royalties based

  on the number of Arm-based chips its customers sell.

         16.        Arm’s business model relies on Arm’s ability to monetize its research and

  intellectual property by receiving both licensing fees and royalties for products

  incorporating Arm’s technology and intellectual property. Arm therefore grows its revenues

  by increasing both the number of customers and the number of Arm-based products sold.

         17.        There are two main types of Arm licenses for Arm’s technologies:

  Technology License Agreements (“TLAs”), which allow the use of specific “off-the-shelf”

  Arm processor core designs with only minor modifications, and Architecture License




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Case Case
     1:24-cv-00490-MN
          1:22-cv-01146-MN
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                                            06/12/24
                                              08/31/22 Page
                                                       Page168
                                                            5 ofof
                                                                 29633
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                                                                       PageID
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  Agreements (“ALAs”), which allow for the design of custom processor cores that are based

  on particular architectures provided by Arm.

         18.    Arm grants few ALAs. Custom processor cores can take years to design, at

  great expense and requiring significant support from Arm, with no certainty of success. If

  successful, ALA licensees can sell custom processor cores for use in other companies’

  products.

         19.    Arm ALAs typically authorize licensees only to develop processor cores

  based on specific Arm technology provided by Arm under the licenses, rather than granting

  broader licenses to use Arm-based technology generally.

  Nuvia obtains Arm licenses

         20.    Nuvia was founded as a start-up in 2019 by chip engineers who left Apple and

  Google. Nuvia planned to design energy-efficient CPUs for data center servers based on a

  custom processor implementing the Arm architecture, which would have expanded the

  market for Arm’s technology. Nuvia’s business model was thus reliant on customizing

  processor core designs based on Arm’s technology. As one of the founders explained to the

  press when launching Nuvia, the start-up’s premise (and one of its attractions to investors)

  was that Nuvia intended to build “a custom clean sheet designed from the ground up” using

  Arm’s architecture. 1

         21.    In September 2019, Arm granted Nuvia an ALA and TLA, providing rights to

  design custom processor cores based on an Arm architecture and to modify certain off-the-



  1
    Danny Crichton, Three of Apple and Google’s former star chip designers launch NUVIA with
  $53M in series A funding, TechCrunch (Nov. 15, 2019), https://techcrunch.com/2019/11/15/
  three-of-apple-and-googles-former-star-chip-designers-launch-nuvia-with-53m-in-series-a-
  funding/.



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                                            06/12/24
                                              08/31/22 Page
                                                       Page169
                                                            6 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 6#: 261




  shelf designs. The licenses granted in the ALA and TLA are necessary to use Arm’s

  extensive intellectual property portfolio covering the Arm architecture. The ALA and TLA

  included rights to use Arm trademarks in connection with products developed by Nuvia

  under the licenses. Arm also provided substantial, crucial, and individualized support from

  Arm employees to assist Nuvia in its development of Arm-based processors for data center

  servers.

         22.    The licenses provided Nuvia access to specific Arm architecture, designs,

  intellectual property, and support in exchange for payment of licensing fees and royalties on

  future server products that include processor cores based on Arm’s architecture, designs, or

  related intellectual property. Nuvia’s licensing fees and royalty rates reflected the

  anticipated scope and nature of Nuvia’s use of the Arm architecture. The licenses

  safeguarded Arm’s rights and expectations by prohibiting assignment without Arm’s

  consent, regardless of whether a contemplated assignee had its own Arm licenses.

         23.    From September 2019 to early 2021, Nuvia used the technology it licensed

  from Arm to design and develop processor cores. Arm provided preferential support for

  Nuvia’s development efforts, with Arm seeking to accelerate research and development in

  next-generation processors for data center servers to support that sector’s transition to Arm

  technology.

         24.    In August 2020, Nuvia announced that its “first-generation CPU, code-named

  ‘Phoenix’” would be “a custom core based on the ARM architecture.” 2 It also publicized

  benchmark tests showing that Phoenix could double the performance of rival products from



  2
   John Bruno & Sriram Dixit, Performance Delivered a New Way, Silicon Reimagined (Aug. 11,
  2020), https://medium.com/silicon-reimagined/performance-delivered-a-new-way-8f0f5ed283d5.



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          1:22-cv-01146-MN
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                                              08/31/22 Page
                                                       Page170
                                                            7 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 7#: 262




  Apple, Intel, AMD, and Qualcomm. Based on these results, Nuvia claimed that the

  “Phoenix CPU core has the potential to reset the bar for the market.” 3

  Qualcomm relies on designs created by Arm

            25.   Qualcomm is one of the world’s largest semiconductor companies, with a

  portfolio of intellectual property and products directed to wireless technologies, including

  cellular, Bluetooth, and Wi-Fi; CPUs and ICs; networking; mobile computers; cell phones;

  wearables; cameras; automobiles; and other electronic devices.

            26.   Even though Qualcomm has an Arm ALA, its prior attempts to design custom

  processors have failed. Qualcomm invested in the development of a custom Arm-based

  processor for data center servers until 2018, when it cancelled the project and laid off

  hundreds of employees. 4

            27.   Qualcomm’s commercial products thus have relied on processor designs

  prepared by Arm’s engineers and licensed to Qualcomm under Arm TLAs. Discovery is

  likely to show that as of early 2021, Qualcomm had no custom processors in its

  development pipeline for the foreseeable future. To fill this gap, Qualcomm sought

  improperly to purchase and use Nuvia’s custom designs without obtaining Arm’s consent.

  Qualcomm acquires Nuvia

            28.   On January 13, 2021, Qualcomm announced that Qualcomm Technologies,

  Inc. was acquiring Nuvia for $1.4 billion. Neither Qualcomm nor Nuvia provided prior


  3
      Id.
  4
   See, e.g., Andrei Frumusanu, Qualcomm to Acquire NUVIA: A CPU Magnitude Shift,
  AnandTech (Jan. 13, 2021), https://www.anandtech.com/show/16416/qualcomm-to-acquire-
  nuvia-a-cpu-magnitude-shift; Andy Patrizio, Qualcomm makes it official; no more data center
  chip, Network World (Dec. 12, 2018), https://www.networkworld.com/article/3327214/
  qualcomm-makes-it-official-no-more-data-center-chip.html.



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Case Case
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          1:22-cv-01146-MN
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                                            06/12/24
                                              08/31/22 Page
                                                       Page171
                                                            8 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 8#: 263




  notice of this transaction to Arm. Nor did they obtain Arm’s consent to the transfer or

  assignment of the Nuvia licenses.

         29.    Qualcomm indicated in its announcement that “NUVIA CPUs”—that is,

  Nuvia’s implementations of Arm technology developed under the Nuvia licenses with

  Arm—would be incorporated into a range of Qualcomm products. Qualcomm’s press

  release declared its grand ambitions for Nuvia’s implementation of Arm technology:

  “NUVIA CPUs are expected to be integrated across Qualcomm Technologies’ broad

  portfolio of products, powering flagship smartphones, next-generation laptops, and digital

  cockpits, as well as Advanced Driver Assistance Systems, extended reality and

  infrastructure networking solutions.” 5 The press release also indicated that Qualcomm’s

  first target would be “integrating NUVIA CPUs with Snapdragon,” its flagship suite of

  system on a chip (“SoC”) semiconductor products for mobile devices.

         30.    As Qualcomm’s CEO, Cristiano Amon, noted in a Reuters interview shortly

  after the acquisition closed in the first half of 2021, “Qualcomm will start selling Nuvia-

  based laptop chips next year.” 6 Amon confirmed the negative impact this might have on

  Arm, saying: “If Arm . . . eventually develops a CPU that’s better than what we can build

  ourselves, then we always have the option to license from Arm.”

         31.    Qualcomm also confirmed its prior deficiencies in core design, reportedly

  promoting the Nuvia acquisition as “filling a gap” because “for several years now” the



  5
   Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 13, 2021),
  https://www.qualcomm.com/news/releases/2021/01/13/qualcomm-acquire-nuvia.
  6
   Stephen Nellis, Qualcomm’s new CEO eyes dominance in the laptop markets, Reuters (July 2,
  2021), https://www.reuters.com/technology/qualcomms-new-ceo-eyes-dominance-laptop-
  markets-2021-07-01/.



                                                 8
Case Case
     1:24-cv-00490-MN
          1:22-cv-01146-MN
                         Document
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                                            06/12/24
                                              08/31/22 Page
                                                       Page172
                                                            9 ofof
                                                                 29633
                                                                    PageID
                                                                       PageID
                                                                           #: 9#: 264




  company “had been relying on external IP such as Arm’s Cortex cores.” 7 Qualcomm further

  explained that “the immediate goals for the NUVIA team will be implementing custom CPU

  cores” designed for laptops. 8

            32.   Analysts confirmed that the “Qualcomm acquisition [of] NUVIA is a huge

  move to scale up dramatically. It can reinvigorate current lines in smartphone, Windows PC

  and automotive SoCs, and make them more competitive with the competition. They have

  been lagging.” 9

            33.   Providing further confirmation of the acquisition’s importance to Qualcomm

  in filling the “gap” in its “lagging” IP design, analysts noted that the Nuvia acquisition was

  “extremely speedy in terms of timeline,” and Qualcomm “went as far as [to] put out a

  concrete roadmap for . . . using the newly acquired IP from Nuvia,” announcing that

  Nuvia’s processors would be finalized for use in high-end laptops “in the second half of

  2022.” 10




  7
   Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on Laptops
  (Updated), AnandTech (Mar. 16, 2021), https://www.anandtech.com/show/16553/qualcomm-
  completes-acquisition-of-nuvia.
  8
      Id.
  9
    Trading Places Research, Qualcomm’s Acquisition of NUVIA is a Huge Move, Seeking Alpha
  (Jan. 13, 2021), https://seekingalpha.com/article/4398808-qualcomms-acquisition-of-nuvia-is-
  huge-move.
  10
    Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on Laptops
  (Updated), AnandTech (Mar. 16, 2021), https://www.anandtech.com/show/16553/qualcomm-
  completes-acquisition-of-nuvia (quoting Qualcomm Completes Acquisition of NUVIA,
  Qualcomm Inc. (Mar. 15, 2021), https://www.qualcomm.com/news/releases/2021/03/16/
  qualcomm-completes-acquisition-nuvia).



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         1:22-cv-01146-MN
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                                 16 1 Filed
                                      Filed06/12/24
                                            08/31/22 Page
                                                     Page10
                                                          173
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 10
                                                                            #: 265




             34.   Based on standard industry scheduling, that timeline indicated a design for

  data center processors would be completed “essentially as soon as possible following the

  acquisition” of Nuvia. 11

             35.   This timing indicates that the Arm-based cores that Nuvia designed using

  Arm’s technology and intellectual property were, as of the acquisition date, effectively

  ready for the final stages of design for Qualcomm chips, leading promptly to product

  integration and manufacturing. Qualcomm’s November 2021 10-K filing disclosed that the

  $1.4 billion acquisition encompassed Nuvia’s team and “certain in-process technologies,”

  reflecting the availability of existing cores such as the Phoenix CPU core developed under

  Nuvia’s ALA. 12

             36.   By entering into the acquisition of Nuvia and transferring the rights and

  technology developed under the Nuvia licenses without Arm’s consent, Qualcomm thus

  greatly accelerated its ability to bring to market custom-designed processor cores—a head

  start that Qualcomm was willing to pay over $1 billion to obtain.

  Arm terminates the Nuvia licenses

             37.   Soon after the announcement of the merger, Arm informed Qualcomm in

  writing that Nuvia could not assign its licenses and that Qualcomm could not use Nuvia’s

  in-process designs developed under the Nuvia ALA without Arm’s consent. For more than

  a year, Arm negotiated with Qualcomm, through Qualcomm Inc. and Qualcomm




  11
       Id.
  12
     Qualcomm Inc., Annual Report (Form 10-K) (Nov. 3, 2021), https://investor.qualcomm.com/
  financial-information/sec-filings/content/0001728949-21-000076/0001728949-21-000076.pdf.



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         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page11
                                                          174
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 11
                                                                            #: 266




  Technologies, Inc., in an effort to reach an agreement regarding Qualcomm’s unauthorized

  acquisition of Nuvia’s “in-process technologies” and license.

         38.    All the while, Qualcomm continued to broadcast its intentions to rush Nuvia

  products to market. In November 2021, Qualcomm’s Chief Technology Officer told

  investors that Qualcomm was “pretty far along at this point” in developing its first chip with

  Nuvia’s implementation of Arm technology and would “sample a product at, let’s say nine

  months from now”—which would be August 2022. 13 Then in January 2022, Qualcomm

  issued a press release touting the “broad support from ecosystem partners for the PC

  industry’s transition to Arm®-based computing,” with Qualcomm’s CEO confirming that

  “[t]he future of the PC industry is modern Arm-based architectures” and boasting that “the

  recent acquisition of NUVIA uniquely positions Qualcomm Technologies to drive this

  industry wide transition.” 14 Elsewhere, Qualcomm’s CEO reiterated that Qualcomm is

  “definitely in a hurry” to launch Nuvia’s Arm-based chips “as fast as we can.” 15 Based on

  these statements, discovery is likely to show that Qualcomm and Nuvia continued to use the

  relevant technology developed under Nuvia’s Arm licenses.



  13
     Qualcomm Investor Day 2021 Livestream: CEO Cristiano Amon looks ahead, YouTube (Nov.
  16, 2021), https://www.youtube.com/watch?v=rUWPzROYn2E; see also Mark Hachman,
  Qualcomm Prophesizes 2023 as the Rebirth of PC Snapdragon Chips, PCWorld (Nov. 16,
  2021), https://www.pcworld.com/article/552285/qualcomm-prophesies-2023-as-the-rebirth-of-
  its-snapdragon-chips.html.
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     Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
  PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
  https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
  partners-build-industry-momentum-windows-arm.
  15
     Nilay Patel, What Comes After the Smartphone, With Qualcomm CEO Cristiano Amon, The
  Verge (Jan. 11, 2022), https://www.theverge.com/22876511/qualcomm-ceo-cristiano-amon-
  interview-decoder-podcast.



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                                            08/31/22 Page
                                                     Page12
                                                          175
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 12
                                                                            #: 267




         39.    On February 1, 2022, Arm sent a letter to Nuvia and Qualcomm terminating

  the Nuvia licenses effective March 1, 2022. The letter terminated the licenses based on

  Nuvia’s material breach of the assignment provisions of the Nuvia licenses by entering into

  the acquisition of Nuvia without Arm’s consent. The letter also reminded Nuvia and

  Qualcomm of their obligations upon termination to stop using and destroy the Nuvia

  technology developed under the now-terminated licenses.

         40.    In February 2022, pending termination of the Nuvia licenses, Nuvia sought

  Arm’s verification that a Nuvia processor design satisfied the Arm architecture’s

  specifications. On February 23, 2022, Qualcomm confirmed that it was still developing the

  relevant Nuvia technology by stating in a court filing that certain Nuvia documents were

  based on “years of research and work” and would “reveal secret design components of

  Qualcomm chips that are still in development.” Qualcomm Technologies, Inc. v. Hoang,

  No. 3:22-cv-00248-CAB-BLM (S.D. Cal. Feb. 23, 2022), ECF No. 1 at 5-6.

         41.    On March 1, 2022, the Nuvia licenses terminated, along with the

  corresponding rights to use or sell products based on or incorporating Nuvia technology

  developed under those licenses.

         42.    On April 1, 2022, Qualcomm’s General Counsel sent Arm a letter enclosing a

  Nuvia representative’s termination certification. The certification acknowledged—without

  objection—that the Nuvia licenses had been terminated. The certification recognized the

  obligations upon termination, and asserted that Nuvia was in compliance. Qualcomm and

  Nuvia thereby conceded that termination of the Nuvia licenses was appropriate, and that the

  termination provisions had been triggered, are binding, and are enforceable.




                                               12
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                                            08/31/22 Page
                                                     Page13
                                                          176
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 13
                                                                            #: 268




  Qualcomm keeps using Arm-based technology developed under the Nuvia licenses

         43.    Qualcomm is subject to Nuvia’s termination requirements as the acquirer of

  Nuvia. Qualcomm has publicly described Nuvia as a Qualcomm “team” that has been “very

  tight[ly] integrat[ed]” with and is “not separate” from Qualcomm. 16 Qualcomm has also

  acted on behalf of Nuvia publicly and in correspondence with Arm since the acquisition.

  Qualcomm further told Arm that it planned to “redeploy NUVIA employees” and “transfer

  NUVIA’s work” to Qualcomm and, consistent with that plan, Qualcomm has on-boarded

  Nuvia’s leadership and employees as Qualcomm employees. 17

         44.    On April 29, 2022, Arm wrote Qualcomm clarifying that neither Nuvia nor

  Qualcomm was authorized to continue working on technology that was developed under the

  Nuvia licenses.

         45.    Two weeks later, on May 13, 2022, Qualcomm sought Arm’s verification that

  a new Qualcomm processor core complied with Arm architecture so that it could be verified

  and incorporated into a product. Qualcomm did not explain whether this processor core

  design was based on Nuvia’s designs under the terminated licenses.

         46.    Based on the timing and circumstances surrounding Qualcomm’s request,

  discovery is likely to show that Qualcomm’s processor core design is based on or


  16
    Ian Cutress, Interview with Alex Katouzian, Qualcomm SVP: Talking Snapdragon, Microsoft,
  Nuvia, and Discrete Graphics, AnandTech (Jan. 31, 2022), https://www.anandtech.com/show/
  17233/interview-with-alex-katouzian-qualcomm-svp-talking-snapdragon-microsoft-nuvia-and-
  discrete-graphics; Ian Cutress, AnandTech Interview with Miguel Nunes: VP for Windows and
  Chrome PCs, Qualcomm, AnandTech (Feb. 14, 2022), https://www.anandtech.com/show/17253/
  anandtech-interview-with-miguel-nunes-senior-director-for-pcs-qualcomm.
  17
     See, e.g., Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 16, 2021),
  https://investor.qualcomm.com/news-events/press-releases/detail/1304/qualcomm-completes-
  acquisition-of-nuvia; Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
  https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.



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                                            08/31/22 Page
                                                     Page14
                                                          177
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 14
                                                                            #: 269




  incorporates in whole or in part the processor core design developed under the prior Nuvia

  licenses.

         47.    Qualcomm’s Arm licenses do not cover products based on or incorporating

  Arm-based technologies developed by third parties under different Arm licenses, such as the

  now-terminated Nuvia licenses.

         48.    Despite Arm’s termination of the Nuvia licenses, Qualcomm has continued to

  tell the public that its Nuvia chips will soon be joining the industry-wide “ecosystem

  transition to Arm.” 18 Like Qualcomm’s prior statements, this announcement was directed to

  readers throughout the United States, including to readers physically located in the State of

  Delaware and this Judicial District.

         49.    In June 2022, Qualcomm’s CEO reiterated that it would soon begin

  “sampling” Nuvia chips to companies, allowing them to design electronic devices

  incorporating the chips in the “next year.” 19 Based on that timeline, he explained, “[i]n late

  next year, beginning 2024, you’re going to see Windows PCs powered by Snapdragon with

  a Nuvia-designed CPU.” 20




  18
     Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
  https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
  apple/id1091374076?i=1000565773375.
  19
     Id.; see also Mark Tyson, Qualcomm CEO Admits Nuvia Chip OEM Sampling is Delayed
  (Update), Tom’s Hardware (June 10, 2022), https://www.tomshardware.com/news/qualcomm-
  nuvia-chip-sampling-delays (Qualcomm spokesperson clarifying: “We are on track to sample the
  first products with our next generation CPUs this year.”).
  20
     Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
  https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
  apple/id1091374076?i=1000565773375.



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                                            08/31/22 Page
                                                     Page15
                                                          178
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 15
                                                                            #: 270




         50.    In the microprocessor industry, “sampling” means providing pre-production

  processors to original equipment manufacturers (“OEMs”), original device manufacturers

  (“ODMs”), or independent software vendors (“ISVs”) for use in the product design cycle

  before product launch.

         51.    Based on Qualcomm’s statements that Nuvia processors took “years” to

  develop and “are still in development,” and Qualcomm’s consistent statements that it is

  developing Nuvia’s Arm chips, discovery is likely to show that the chips that Qualcomm

  intends to sample in the coming months will contain Nuvia technology that Qualcomm

  cannot use and instead must destroy.

         52.    Further, based on Qualcomm’s public announcements of its plans to use

  Nuvia technology, discovery is likely to show that Qualcomm has continued to retain and

  use Nuvia technology developed pursuant to the Nuvia licenses, thereby materially

  breaching the termination provisions of those licenses.

         53.    News reports indicate that Qualcomm is also developing Nuvia processors for

  data center servers, and “already has working silicon to at least demonstrate to potential

  customers,” 21 which discovery is likely to show is based on or incorporates Nuvia

  technology developed under the now-terminated Nuvia ALA.

         54.    The failure of Nuvia and Qualcomm to comply with the post-termination

  obligations under the Nuvia ALA is causing, and will continue to cause, irreparable harm to

  Arm. Qualcomm effectively seeks to circumvent Arm’s licensing model, which allocates


  21
     Dan Robinson, Qualcomm readying new Arm server chip based on Nuvia acquisition, The
  Register (Aug. 19, 2022), https://www.theregister.com/2022/08/19/qualcomm_arm_server_chip/
  (citing Ian King, Qualcomm Is Plotting a Return to Server Market With New Chip, Bloomberg
  (Aug. 18, 2022), https://www.bloomberg.com/news/articles/2022-08-18/qualcomm-is-plotting-a-
  return-to-server-market-with-new-chip).



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                                                     Page16
                                                          179
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 16
                                                                            #: 271




  use of the technology developed pursuant to a particular Arm license to a particular

  licensee.

         55.     These breaches thus interfere with Arm’s ability and right to control the use

  of its technology, negatively affecting Arm’s relationships with existing and prospective

  licensees.

         56.     The prospective monetary damages from Qualcomm’s circumvention and

  interference with Arm’s control over its technology are not readily ascertainable or

  calculable, given the resulting future impact on Arm’s relationships with existing and

  prospective customers.

         57.     Qualcomm’s improper acquisition of the relevant Nuvia technology in

  violation of Arm’s standard provisions threatens to harm Arm’s position in the ecosystem of

  Arm-based devices, harm Arm’s reputation as an intellectual property owner and technology

  developer whose licenses must be respected, and embolden other companies to likewise

  harm Arm’s reasonable business expectations in issuing its licenses.

              COUNT I: BREACH OF CONTRACT – SPECIFIC PERFORMANCE
                               (ALL DEFENDANTS)

         58.     Arm hereby restates and re-alleges the allegations set forth above and

  incorporates them by reference.

         59.     The termination obligations of the ALA between Nuvia and Arm survive

  termination and remain valid and enforceable contract provisions, as Qualcomm’s

  correspondence and Nuvia’s termination certification confirm.

         60.     Arm complied with and fulfilled all relevant duties, conditions, covenants,

  and obligations under the Nuvia ALA, including ceasing use of Nuvia confidential

  information in its possession.



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                                                     Page17
                                                          180
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                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 17
                                                                            #: 272




         61.    The Nuvia ALA terms were just and reasonable, involving adequate

  consideration and reasonable obligations for Nuvia in the event of Arm’s termination based

  on Nuvia’s material breach. Those obligations served to restore the license holder to its

  position ex ante, protect Arm’s business model and reasonable business expectations in

  issuing its licenses, and prevent the unjust enrichment of Qualcomm, the party that induced

  Nuvia’s breach.

         62.    Upon termination, the Nuvia ALA requires Nuvia to cease using and destroy

  any technology developed under the Nuvia ALA, as well as cease using Arm’s trademarks

  in connection with any technology developed under the Nuvia ALA.

         63.    Qualcomm shares Nuvia’s obligations under the Nuvia ALA in its capacity as

  Nuvia’s acquirer, and thus Qualcomm is likewise subject to the requirements of the Nuvia

  licenses’ termination provisions.

         64.    Based on Defendants’ correspondence with Arm, public statements, and

  processor verification requests, discovery is likely to show that Defendants are still using

  and developing Nuvia technology developed under the now-terminated licenses, along with

  Arm trademarks, and intend to continue to do so.

         65.    Defendants therefore have breached and are breaching the Nuvia ALA’s

  termination provisions.

         66.    As a direct and proximate result of Nuvia and Qualcomm’s past and ongoing

  breaches, Arm has been irreparably injured and damaged in amounts not capable of

  determination, including, but not limited to, injury to Arm’s global licensing program and

  misuse of Arm’s technology.




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                                                     Page18
                                                          181
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 18
                                                                            #: 273




         67.    Unless Defendants’ breaches of the Nuvia ALA’s termination provisions are

  enjoined and specific performance is granted, Arm will continue to suffer irreparable harm.

  As such, Arm has the right to enforcement of Nuvia and Qualcomm’s compliance with the

  ALA’s termination provisions, including via injunctive relief, specific performance, or any

  other measures necessary to avoid irreparable harm to Arm or to mitigate damages that have

  been caused by, and will continue to be caused by, Defendants’ breach.

         68.    Arm is entitled to specific performance requiring Defendants to comply with

  the Nuvia ALA’s termination provisions, including ceasing all use of and destroying any

  technology developed under the Nuvia ALA, and ceasing all use of Arm trademarks in

  connection with any technology developed under the Nuvia ALA—including the relevant

  Nuvia technology.

         69.    Arm is also entitled to monetary compensation incidental to specific

  performance of the Nuvia ALA’s termination provisions to compensate Arm for the delay in

  Defendants’ performance of their contractual obligations.

                   COUNT II: DECLARATORY JUDGMENT AND
                TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114
                              (ALL DEFENDANTS)

         70.    Arm hereby restates and re-alleges the allegations set forth above and

  incorporates them by reference.

         71.    Arm owns U.S. Registration Nos. 5,692,669 and 5,692,670 for the ARM word

  mark in standard characters and the stylized ARM mark featuring the word “arm” in all

  lower case letters (collectively, the “ARM Marks”), true and correct copies of which are

  attached as Exhibits A and B. These marks are registered for “[e]lectronic data processing

  equipment,” “integrated circuits,” “semiconductors,” “microprocessors,” “RISC-based

  instruction set architectures, namely, software instructions designed to function with


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     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page19
                                                          182
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 19
                                                                            #: 274




  particular microprocessors,” “data processors,” “printed circuit boards,” “electronic circuit

  boards,” and related “[r]esearch, development and design,” among numerous other goods

  and services. The applications to register the marks were filed on July 31, 2017 and were

  issued on March 5, 2019. The application for Registration No. 5,692,669 has a claimed first

  use and first use-in-commerce date of November 30, 1990, while the application for

  Registration No. 5,692,670 has a claimed first use and first use-in-commerce date of August

  1, 2017.

         72.    The ARM Marks have come to signify the highest standards of quality and

  excellence associated with licensed Arm products and services and have incalculable

  reputation and goodwill, which belong to Arm.

         73.    Arm has had valid and protectable rights in the ARM Marks since

  substantially before Qualcomm and Nuvia’s first uses of those marks in connection with

  integrated circuit and microprocessor technologies.

         74.    Qualcomm and Nuvia, as current or former Arm licensees under agreements

  that permitted the use of the ARM Marks, have had actual knowledge of Arm’s ownership

  and use of the ARM Marks for years.

         75.    Arm has not authorized Qualcomm or Nuvia to use the ARM Marks in

  connection with semiconductor chips incorporating the relevant Nuvia technology

  developed under the now-terminated licenses, instead terminating those licenses.

         76.    Qualcomm and Nuvia have engaged in substantial preparation and taken

  concrete steps with the intent to infringe Arm’s trademarks in violation of Section 32 of the

  Lanham Act, 15 U.S.C. § 1114. Arm’s customers—including Qualcomm and Nuvia, as

  discovery is likely to show—often use the ARM Marks in their die encapsulation (die




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     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                                     Page20
                                                          183
                                                            ofof
                                                               29633
                                                                  PageID
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                                                                         #: 20
                                                                            #: 275




  packages), end user product packaging, advertising and promotional materials, technical

  documentation, and websites directed to users throughout the United States, including users

  physically located in the State of Delaware and this Judicial District. Qualcomm promotes

  Snapdragon products as incorporating Arm technology, such as by saying on its website that

  “Snapdragon 855 is equipped with the cutting-edge Qualcomm® Kryo™ 485 CPU built on

  ARM Cortex Technology.” 22 In January 2022, Qualcomm issued a press release touting the

  “broad support from ecosystem partners for the PC industry’s transition to Arm®-based

  computing,” with Qualcomm’s CEO boasting that “the recent acquisition of NUVIA

  uniquely positions Qualcomm Technologies to drive this industry wide transition.” 23 This

  press release remains online. Also, Qualcomm and Nuvia’s plans to begin sampling chips

  with the relevant Nuvia technology as soon as August 2022 would require manufacturing a

  limited run of the chips in advance, and news reports indicate that Qualcomm already has

  some working chips to demonstrate to potential customers. Qualcomm and Nuvia have thus

  used the ARM Marks in connection with the advertising, distribution, offering for sale, or

  sale of the chips, and Arm believes discovery will show that their further use is imminent if

  it has not happened already.

         77.    Qualcomm and Nuvia’s unauthorized use of the ARM Marks in connection

  with semiconductor chips incorporating the relevant Nuvia technology is likely to cause

  confusion, mistake, or deception on the part of consumers as to the affiliation, connection,


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     Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
  finder/smartphones/samsung-galaxy-note10-5g.
  23
     Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
  PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
  https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
  partners-build-industry-momentum-windows-arm.



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                                            08/31/22 Page
                                                     Page21
                                                          184
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 21
                                                                            #: 276




  or association of Defendants with Arm, or as to the origin, sponsorship, or approval of

  Defendants’ semiconductor chips using the relevant Nuvia technology, constituting

  trademark infringement in violation of 15 U.S.C. § 1114. Given Arm’s close relationships

  with its customers and individualized support for their products, there is and is likely to be

  confusion in the marketplace because consumers encountering the ARM Marks in

  connection with semiconductor chips incorporating the relevant Nuvia technology do and

  will likely believe that the products are endorsed by, licensed by, or otherwise associated

  with Arm. Semiconductor chips incorporating the relevant Nuvia technology are also

  readily identifiable without the use of the ARM Marks, such as by not mentioning the

  processor architecture or by using the generic term “RISC” (for reduced instruction set

  computer).

         78.    An actual and justiciable controversy exists between Defendants and Arm

  regarding infringement of Arm’s trademarks. Although Arm repeatedly notified Qualcomm

  and Nuvia that their development of the relevant Nuvia technology is unlicensed following

  termination of the Nuvia licenses, Qualcomm has continued to tell reporters that the

  technology is on track to be sampled to customers this year, and news reports indicate that

  Qualcomm already has some working chips to demonstrate to potential customers.

         79.    Arm is entitled to a declaratory judgment that Qualcomm and Nuvia’s

  advertising, distribution, offering for sale, or sale of semiconductor chips with the relevant

  Nuvia technology and the ARM Marks do and will infringe Arm’s trademarks, directly and

  indirectly.




                                                21
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                                            08/31/22 Page
                                                     Page22
                                                          185
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 22
                                                                            #: 277




         80.    Defendants’ acts of infringement have injured Arm in an amount as yet

  unknown. Arm is entitled to recover from Defendants the damages sustained as a result of

  Defendants’ wrongful acts in an amount subject to proof at trial.

         81.    Based on Qualcomm and Nuvia’s continued development of the relevant

  Nuvia technology after repeated notifications that the technology is unlicensed following

  termination of the Nuvia licenses, discovery is likely to show that Qualcomm and Nuvia are

  acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’ fees

  pursuant to 15 U.S.C. § 1117(a).

         82.    Arm will suffer and is suffering irreparable harm to its name, reputation, and

  goodwill from Defendants’ trademark infringement. Arm has no adequate remedy at law

  and is entitled to a permanent injunction against Defendants’ continuing infringement,

  including requiring Defendants, pursuant to 15 U.S.C. § 1118, to deliver up for destruction,

  or to show proof of said destruction or sufficient modification to eliminate the infringing

  matter, all semiconductor chips, die encapsulation (die packages), end user product

  packaging, advertising and promotional materials, technical documentation, websites, and

  other matter in Defendants’ possession, custody, or control that bears or displays the ARM

  Marks in any manner in connection with the relevant Nuvia technology. Unless enjoined,

  Defendants will continue their infringing conduct.

                   COUNT III: DECLARATORY JUDGMENT AND
               FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. § 1125
                               (ALL DEFENDANTS)

         83.    Arm hereby restates and re-alleges the allegations set forth above and

  incorporates them by reference.

         84.    The acts of Qualcomm and Nuvia described above constitute false designation

  of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).


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         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page23
                                                          186
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 23
                                                                            #: 278




         85.    Arm has had valid and protectable rights in the ARM Marks since

  substantially before Qualcomm and Nuvia’s first uses of those marks in connection with

  integrated circuit and microprocessor technologies.

         86.    Qualcomm and Nuvia, as current or former Arm licensees under agreements

  that permitted the use of the ARM Marks, have had actual knowledge of Arm’s ownership

  and use of the ARM Marks for years.

         87.    Arm has not authorized Qualcomm or Nuvia to use the ARM Marks in

  connection with semiconductor chips incorporating the relevant Nuvia technology

  developed under the now-terminated licenses, instead terminating those licenses.

         88.    Qualcomm and Nuvia have engaged in substantial preparation and taken

  concrete steps with the intent to falsely designate the origin of their products in violation of

  Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Arm’s customers—including

  Qualcomm and Nuvia, as discovery is likely to show—often use the ARM Marks in their die

  encapsulation (die packages), end user product packaging, advertising and promotional

  materials, technical documentation, and websites directed to users throughout the United

  States, including users physically located in the State of Delaware and this Judicial District.

  Qualcomm promotes Snapdragon products as incorporating Arm technology, such as by

  saying on its website that “Snapdragon 855 is equipped with the cutting-edge Qualcomm®

  Kryo™ 485 CPU built on ARM Cortex Technology.” 24 In January 2022, Qualcomm issued

  a press release touting the “broad support from ecosystem partners for the PC industry’s

  transition to Arm®-based computing,” with Qualcomm’s CEO boasting that “the recent



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     Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
  finder/smartphones/samsung-galaxy-note10-5g.



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         1:22-cv-01146-MN
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                                                     Page24
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                                                            ofof
                                                               29633
                                                                  PageID
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                                                                         #: 24
                                                                            #: 279




  acquisition of NUVIA uniquely positions Qualcomm Technologies to drive this industry

  wide transition.” 25 This press release remains online. Also, Qualcomm and Nuvia’s plans

  to begin sampling chips with the relevant Nuvia technology as soon as August 2022 would

  require manufacturing a limited run of the chips in advance, and news reports indicate that

  Qualcomm already has some working chips to demonstrate to potential customers.

  Qualcomm and Nuvia have thus used the ARM Marks in connection with the advertising,

  distribution, offering for sale, or sale of the chips, and Arm believes discovery will show

  that their further use is imminent if it has not happened already.

         89.    Qualcomm and Nuvia’s unauthorized use of the ARM Marks in connection

  with semiconductor chips incorporating the relevant Nuvia technology is likely to cause

  confusion, mistake, or deception on the part of consumers as to the affiliation, connection,

  or association of Defendants with Arm, or as to the origin, sponsorship, or approval of

  Defendants’ semiconductor chips using the relevant Nuvia technology, constituting false

  designation of origin in violation of 15 U.S.C. § 1125(a)(1)(A). Given Arm’s close

  relationships with its customers and individualized support for their products, there is and is

  likely to be confusion in the marketplace because consumers encountering the ARM Marks

  in connection with semiconductor chips incorporating the relevant Nuvia technology do and

  will likely believe that the products are endorsed by, licensed by, or otherwise associated

  with Arm. Semiconductor chips incorporating the relevant Nuvia technology are also

  readily identifiable without the use of the ARM Marks, such as by not mentioning the



  25
     Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
  PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
  https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
  partners-build-industry-momentum-windows-arm.



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     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page25
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                                                            ofof
                                                               29633
                                                                  PageID
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                                                                         #: 25
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  processor architecture or by using the generic term “RISC” (for reduced instruction set

  computer).

         90.    An actual and justiciable controversy exists regarding Defendants’ false

  designation of origin. Although Arm repeatedly notified Qualcomm and Nuvia that their

  development of the relevant Nuvia technology is unlicensed following termination of the

  Nuvia licenses, Qualcomm has continued to tell reporters that the technology is on track to

  be sampled to customers this year, and news reports indicate that Qualcomm already has

  some working chips to demonstrate to potential customers.

         91.    Arm is entitled to a declaratory judgment that Qualcomm and Nuvia’s

  advertising, distribution, offering for sale, or sale of semiconductor chips with the relevant

  Nuvia technology and the ARM Marks do and will falsely designate the origin of their

  products, directly and indirectly.

         92.    Defendants’ acts of false designation of origin have injured Arm in an amount

  as yet unknown. Arm is entitled to recover from Defendants the damages sustained as a

  result of Defendants’ wrongful acts in an amount subject to proof at trial.

         93.    Based on Qualcomm and Nuvia’s continued development of the relevant

  Nuvia technology after repeated notifications that the technology is unlicensed following

  termination of the Nuvia licenses, discovery is likely to show that Qualcomm and Nuvia are

  acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’ fees

  pursuant to 15 U.S.C. § 1117(a).

         94.    Arm will suffer and is suffering irreparable harm to its name, reputation, and

  goodwill from Defendants’ false designation of origin. Arm has no adequate remedy at law

  and is entitled to a permanent injunction against Defendants’ continuing false designation of




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     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page26
                                                          189
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 26
                                                                            #: 281




  origin, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to deliver up for

  destruction, or to show proof of said destruction or sufficient modification to eliminate the

  falsely designated matter, all semiconductor chips, die encapsulation (die packages), end

  user product packaging, advertising and promotional materials, technical documentation,

  websites, and other matter in Defendants’ possession, custody, or control that bears or

  displays the ARM Marks in any manner in connection with the relevant Nuvia technology.

  Unless enjoined, Defendants will continue their wrongful conduct.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Arm Ltd. requests that the Court grant the following relief:

         a.     A judgment in Arm’s favor on all claims against Defendants;

         b.     An order requiring specific performance by Defendants of the Nuvia licenses’

  termination provisions;

         c.     An award of damages incidental to specific performance as a result of

  Defendants’ breach of contract, in amounts to be proven at trial, including all pre-judgment

  and post-judgment interest at the maximum rate permitted by law;

         d.     A judgment and a declaration that advertising, distributing, offering for sale,

  or selling semiconductor chips with the relevant Nuvia technology and the ARM Marks

  infringes Arm’s trademarks, directly and indirectly;

         e.     An order and judgment permanently enjoining Defendants and their officers,

  directors, agents, servants, employees, and all others acting in privity or in concert with

  them, and their parents, subsidiaries, divisions, successors, and assigns from (1) using in

  any manner in connection with the relevant Nuvia technology the ARM Marks, or any mark

  or logo that is confusingly similar to or a colorable imitation of the ARM Marks owned by




                                                26
CaseCase
     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page27
                                                          190
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 27
                                                                            #: 282




  Arm; (2) doing any act or thing calculated or likely to cause confusion or mistake in the

  minds of the members of the public or prospective customers as to the affiliation,

  connection, or association of Defendants with Arm, or as to the origin, sponsorship, or

  approval of Defendants’ semiconductor chips using the relevant Nuvia technology; or (3)

  assisting, aiding, or abetting any other person or business entity in performing any of the

  aforementioned activities;

         f.     An order and judgment directing Defendants, pursuant to 15 U.S.C.

  § 1116(a), to file with this Court and serve upon Arm within thirty (30) days after entry of

  the injunction a report in writing under oath setting forth in detail the manner and form in

  which Defendants have complied with the injunction and ceased all offering of products

  with the relevant Nuvia technology under the ARM Marks, as set forth above;

         g.     An order and judgment directing Defendants and their officers, directors,

  agents, servants, employees, and all others acting in privity or in concert with them, and

  their parents, subsidiaries, divisions, successors, and assigns to deliver up for destruction, or

  to show proof of said destruction or sufficient modification to eliminate the infringing

  matter, all semiconductor chips, die encapsulation (die packages), end user product

  packaging, advertising and promotional materials, technical documentation, websites, and

  other matter in Defendants’ possession, custody, or control that bears or displays in any

  manner in connection with the relevant Nuvia technology the ARM Marks or any other

  mark that is confusingly similar to or a colorable imitation of the ARM Marks;

         h.     A judgment in the aggregate amount of (1) Defendants’ profits, (2) Arm’s

  actual damages, (3) the costs of this action pursuant to 15 U.S.C. § 1117, and (4) restitution

  and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may




                                                 27
CaseCase
     1:24-cv-00490-MN
         1:22-cv-01146-MN
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                                            08/31/22 Page
                                                     Page28
                                                          191
                                                            ofof
                                                               29633
                                                                  PageID
                                                                     PageID
                                                                         #: 28
                                                                            #: 283




  have been obtained by Defendants in connection with their semiconductor chips using the

  relevant Nuvia technology and the ARM Marks, including all pre-judgment and post-

  judgment interest at the maximum rate permitted by law;

         i.       A judgment trebling any damages to the extent permitted by law, including

  under 15 U.S.C. § 1117;

         j.       Exemplary or punitive damages to the extent permitted by law;

         k.       Costs, expenses, and reasonable attorney fees under all applicable rules,

  statutes, and rules in common law that would be appropriate, with pre-judgment and post-

  judgment interest thereon at the maximum rate permitted by law;

         l.       Equitable relief addressing any infringement occurring after entry of

  judgment; and

         m.       Such other relief as the Court deems just and proper.

                                         JURY DEMAND

         Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Arm hereby demands a TRIAL

  BY JURY of all claims and issues presented in this Complaint that are so triable.




                                                 28
CaseCase
     1:24-cv-00490-MN
         1:22-cv-01146-MN
                        Document
                          Document
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                                      Filed06/12/24
                                            08/31/22 Page
                                                     Page29
                                                          192
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                                                               29633
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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24   Page 193 of 633 PageID #: 285




                             Exhibit 5
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
                                16 Filed 06/12/24
                                         03/06/24 Page
                                                   Page1194
                                                         of 101
                                                             of 633
                                                                 PageID
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                                                                        #: 11582
                                                                            #: 286




                                            REDACTED - PUBLIC VERSION
                                            (Filed March 6, 2024)
Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
                                16 Filed 06/12/24
                                         03/06/24 Page
                                                   Page2195
                                                         of 101
                                                             of 633
                                                                 PageID
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Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
                                16 Filed 06/12/24
                                         03/06/24 Page
                                                   Page3196
                                                         of 101
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Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
                                16 Filed 06/12/24
                                         03/06/24 Page
                                                   Page4197
                                                         of 101
                                                             of 633
                                                                 PageID
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                                                                        #: 11585
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Case
 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
                                16 Filed 06/12/24
                                         03/06/24 Page
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                                                         of 101
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 Case1:24-cv-00490-MN
      1:22-cv-01146-MN Document 296
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                                         03/06/24 Page
                                                   Page6199
                                                         of 101
                                                             of 633
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                                                                        #: 11587
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                         EXHIBIT 1
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 Case
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     1:20-cv-01787-RGA-SRF
      1:24-cv-00490-MN
       1:22-cv-01146-MN Document
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                                                             of 101
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 Case1:20-cv-01787-RGA-SRF
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 Case1:20-cv-01787-RGA-SRF
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Case
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 Case1:20-cv-01787-RGA-SRF
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                                                 03/20/23
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Case
 Case
 Case1:20-cv-01787-RGA-SRF
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       1:22-cv-01146-MN Document
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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                                        06/12/24 Page
                                                  Page27220
                                                         of 101
                                                            of 633
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                         EXHIBIT 2
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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                                        06/12/24 Page
                                                  Page28221
                                                         of 101
                                                            of 633
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Case
Case1:24-cv-00490-MN
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                                                  Page29222
                                                         of 101
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                                                                          #: 314
Case
Case1:20-cv-01787-RGA-SRF
     1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document
                           Document
                               296
                                16 Filed
                                    263
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                                               05/03/23
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                                                        30223
                                                           of 101
                                                              3ofof633
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                                                                               #:8197
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
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                                        06/12/24 Page
                                                  Page31224
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11612
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                         EXHIBIT 3
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page32225
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11613
                                                                          #: 317
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
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                                        06/12/24 Page
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                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11614
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                         EXHIBIT 4
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page34227
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11615
                                                                          #: 319
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page35228
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11616
                                                                          #: 320
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page36229
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                                                                       #: 11617
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page37230
                                                         of 101
                                                            of 633
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                                                                       #: 11618
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                         EXHIBIT 5
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page38231
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                                                            of 633
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                                                                   PageID
                                                                       #: 11619
                                                                          #: 323
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
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                                                  Page39232
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                                                            of 633
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page40233
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                                                            of 633
                                                                PageID
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                         EXHIBIT 6
      Case
      Case1:24-cv-00490-MN
           1:22-cv-01146-MN Document
                            Document296
                                     16 Filed
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                                              06/12/24 Page
                                                        Page41234
                                                               of 101
                                                                  of 633
                                                                      PageID
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                                                                             #: 11622
                                                                                #: 326




From:                Morgan, Erin J <ejmorgan@paulweiss.com>
Sent:                Monday, January 8, 2024 4:26 PM
To:                  Fung, Nicholas Rylan; Vaughn, Madalyn; Olson, Erik J. (Palo Alto); Jacobs, Michael A.; Llewellyn, Scott
                     F.; Muino, Daniel P.; Mooney, Kyle W.; Liou, Joyce; Patel, Fahd H.; Li, Jack; Brickey, Sarah E.; Davenport,
                     Lydia; rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
Cc:                  GRP-QC; Dunn, Karen L; Isaacson, William A; Nyarady, Catherine; Zappala, Melissa Felder; Gressel,
                     Anna R; Braly, Jacob; jying@morrisnichols.com; Blumenfeld, Jack
Subject:             RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN
Attachments:         Proposed revised schedule(18888039.2).docx

Categories:          DM, #146330034 : 77822 : 0000011 : MXM80, #145068479 : 77822 : 0000011 : EKN1, #145070268 :
                     77822 : 0000011 : ZBQ1, #145059291 : 77822 : 0000011 : CMM9, #145055833 : 77822 : 0000011 :
                     CDF1



External Email




Counsel—

Thank you for speaking Friday about a proposed extension of the schedule and Qualcomm’s intention to amend its
counterclaims. As discussed, we are writing to provide further details on both issues.

On the schedule, as discussed, Qualcomm proposes asking the Court to move the trial date to the week of December
9. This modest extension will allow the parties to create space in the schedule to wind up fact discovery disputes,
depose the significant number of experts in this case, and brief Daubert and dispositive motions without cutting into the
Court’s time to decide those motions. A proposed schedule is attached.

As to the amended counterclaims, Qualcomm intends to assert three counterclaims, which are summarized below, with
references to the bases for each claim.

Please let us know when you are available to meet and confer further on these issues.

Best,
Erin
                          *                 *                 *                 *                 *
      1.




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Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
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                                        06/12/24 Page
                                                  Page42235
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11623
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
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                                        06/12/24 Page
                                                  Page43236
                                                         of 101
                                                            of 633
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                                       3
     Case
     Case1:24-cv-00490-MN
          1:22-cv-01146-MN Document
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                                                              of 101
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From: Fung, Nicholas Rylan <NFung@mofo.com>
Sent: Thursday, January 4, 2024 1:12 PM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A.
<MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney,
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     Case
     Case1:24-cv-00490-MN
          1:22-cv-01146-MN Document
                           Document296
                                    16 Filed
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                                             06/12/24 Page
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                                                                 of 633
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                                                                               #: 330

Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Li, Jack
<JackLi@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP‐QC <GRP‐QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>; Zappala, Melissa Felder <mzappala@paulweiss.com>; Gressel, Anna R
<agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>; jying@morrisnichols.com; Blumenfeld, Jack
<JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22‐1146‐MN

Madalyn,

We are available to meet and confer tomorrow at noon or 1 pm ET.

Best,

NICHOLAS FUNG
Partner | Morrison & Foerster LLP
707 Wilshire Boulevard | Los Angeles, CA 90017-3543
P: +1 (213) 892-5348
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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Wednesday, January 3, 2024 12:36 PM
To: Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F.
<SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou,
Joyce <JLiou@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Li, Jack
<JackLi@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST Arm Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo Arm QCOM@mofo.com>
Cc: GRP‐QC <GRP‐QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>; Zappala, Melissa Felder <mzappala@paulweiss.com>; Gressel, Anna R
<agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>; jying@morrisnichols.com; Blumenfeld, Jack
<JBlumenfeld@morrisnichols.com>
Subject: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22‐1146‐MN


External Email




Counsel:



We would like to meet and confer at your earliest convenience regarding (a) seeking an extension to the case
schedule, including by moving the trial date, and (b) Qualcomm’s intention to amend its counterclaims in this
case. Please let us know your availability tomorrow (Thursday, January 4) and Friday (January 5) for that
discussion.
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     Case
     Case1:24-cv-00490-MN
          1:22-cv-01146-MN Document
                           Document296
                                    16 Filed
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                                             06/12/24 Page
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                                                              of 101
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                                                                               #: 331



Best,

Madalyn



Madalyn Vaughn | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3974 (Direct Phone) | +1 212 492 0974 (Direct Fax)
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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                                                         of 101
                                                            of 633
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                                                                       #: 11628
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                         EXHIBIT 7
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page48241
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11629
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page49242
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11630
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page50243
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11631
                                                                          #: 335
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page51244
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11632
                                                                          #: 336
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page52245
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11633
                                                                          #: 337
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page53246
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11634
                                                                          #: 338
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page54247
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11635
                                                                          #: 339
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page55248
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11636
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                         EXHIBIT 8
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page56249
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11637
                                                                          #: 341
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page57250
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11638
                                                                          #: 342
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page58251
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11639
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                         EXHIBIT 9
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page59252
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11640
                                                                          #: 344
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page60253
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11641
                                                                          #: 345




                       EXHIBIT 10
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page61254
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11642
                                                                          #: 346
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page62255
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11643
                                                                          #: 347
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page63256
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11644
                                                                          #: 348
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page64257
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11645
                                                                          #: 349
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page65258
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11646
                                                                          #: 350
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page66259
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11647
                                                                          #: 351
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page67260
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11648
                                                                          #: 352
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page68261
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11649
                                                                          #: 353
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page69262
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11650
                                                                          #: 354
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page70263
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11651
                                                                          #: 355
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page71264
                                                         of 101
                                                            of 633
                                                                PageID
                                                                   PageID
                                                                       #: 11652
                                                                          #: 356
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page72265
                                                         of 101
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                                                                       #: 11653
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page73266
                                                         of 101
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                                                                       #: 11654
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
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                                  Filed03/06/24
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                                                  Page74267
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                                                            of 633
                                                                PageID
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                                                                       #: 11655
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
                                        06/12/24 Page
                                                  Page75268
                                                         of 101
                                                            of 633
                                                                PageID
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                                                                       #: 11656
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page76269
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                                                                       #: 11657
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page77270
                                                         of 101
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                                                                PageID
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                                                                       #: 11658
                                                                          #: 362
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
                               16 Filed
                                  Filed03/06/24
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                                                  Page78271
                                                         of 101
                                                            of 633
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                                                                       #: 11659
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                       EXHIBIT 11
Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
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                                  Filed03/06/24
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                                                  Page79272
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                                                                PageID
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                                                                       #: 11660
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                      Document296
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Case1:24-cv-00490-MN
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Case1:24-cv-00490-MN
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Case1:24-cv-00490-MN
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     1:22-cv-01146-MN Document
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Case1:24-cv-00490-MN
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     1:22-cv-01146-MN Document
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Case1:24-cv-00490-MN
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Case1:24-cv-00490-MN
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Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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Case1:24-cv-00490-MN
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Case
Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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Case1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on February 28, 2024, a copy of the foregoing

  document was served on the counsel listed below in the manner indicated:

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     1:24-cv-00490-MN Document
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Case 1:24-cv-00490-MN   Document 16   Filed 06/12/24   Page 295 of 633 PageID #: 387




                             Exhibit 6
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  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
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                                  279 Filed
                                       Filed06/12/24
                                             02/29/24 Page 296
                                                           1 of of
                                                                5 PageID
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                                                                         #: 11144
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  ARM LTD.,                                  )
                                             )
                     Plaintiff,              )
                                             )
        v.                                   )   C.A. No. 22-1146 (MN) (LDH)
                                             )
  QUALCOMM INC., QUALCOMM                    )   REDACTED -
  TECHNOLOGIES, INC. and NUVIA, INC.,        )   PUBLIC VERSION
                                             )
                     Defendants.             )


        DEFENDANTS’ LETTER TO THE HONORABLE LAURA D. HATCHER
         REQUESTING LEAVE TO AMEND ANSWER AND COUNTERCLAIM


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  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
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                                             02/29/24 Page 297
                                                           2 of of
                                                                5 PageID
                                                                   633 PageID
                                                                         #: 11145
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  Dear Judge Hatcher:

  Defendants (collectively, “Qualcomm”) respectfully move for leave to amend their Answer and
  Counterclaims (D.I. 18) to allege additional counterclaims based on information recently
  uncovered through discovery. (See Ex. 1 (Qualcomm’s proposed amendment); Ex. 2 (redline).)

  Background. The deadline to amend pleadings in this case was April 28, 2023. (D.I. 87.) ARM
  produced the vast majority of its documents—roughly 46,000 of the 60,000 total documents—the
  week of, or after, the August 18 substantial completion deadline. Additionally, due to scheduling
  conflicts—and by agreement of the parties (see D.I 254 at 2)—the depositions of certain key ARM
  witnesses did not occur until November and December 2023, including: Richard Grisenthwaite
  (Chief Architect, on November 15), Mark Werkheiser (“Distinguished Engineer” and Fellow, on
  December 7), and Vivek Agrawal (Senior Principal Engineer, on December 14). (See Exs. 3-5.)

  In those depositions, Qualcomm learned that ARM committed multiple, serious breaches of its
  agreements with Qualcomm and NUVIA—and that ARM had intentionally concealed or
  misrepresented facts related to those violations, which include breaches of (1)                of the
  NUVIA ALA and TLA by
                                                              ; and (2)              of the Qualcomm
  ALA by
                  (See Ex. 1 ¶¶ 234-245, 255-59, 271-294, 302-315.) Qualcomm promptly informed
  ARM on January 3, 2024 that it intended to amend its counterclaims and asked to meet and confer.
  (Ex. 6 at 18.) Qualcomm conveyed that the new counterclaims would require limited additional
  discovery and that they could be tried with the current claims in the case, provided that the trial
  date is moved to December 9, 2024, as requested in Qualcomm’s January 23, 2024 motion to move
  the trial. (D.I. 254.) Qualcomm also provided a proposed schedule, a description of the basis for
  the counterclaims with citations to relevant evidence, and a proposed redline of the counterclaims.
  (Ex. 6 at 8, 14-17.) On January 19, 2024, ARM indicated it would oppose Qualcomm’s motion
  because it did not understand how the amendments would impact the case schedule or be “treated
  procedurally” and because it believed Qualcomm lacked diligence with respect to its claim that
  ARM breached                   of the NUVIA ALA. (Id. at 4, 6.) ARM indicated that it “may” have
  additional arguments regarding diligence and futility, but refused to articulate them. (Id. at 4.)

  Legal Standard. “The Third Circuit has adopted a liberal policy favoring the amendment of
  pleadings to ensure that claims are decided on the merits rather than on technicalities.”
  WebXchange Inc. v. Dell Inc., 2010 WL 256547, at *2 (D. Del. Jan. 20, 2010). Absent a showing
  of “undue delay, bad faith or dilatory motives” or where the amendment would be futile or
  prejudice another party, leave should be granted. WiTricity Corp. v. Momentum Dynamics Corp.,
  563 F.Supp.3d 309, 326 (D. Del. 2021) (citation omitted); see also Fed. R. Civ. P. 15(a)(2). Where,
  as here, a party seeks to amend the pleadings after a deadline imposed by a scheduling order,
  Rule 16(b)(4) provides that the schedule “may be modified only for good cause and with the
  judge’s consent.” “The good cause element requires the movant to demonstrate that, despite
  diligence, the proposed claims could not have been reasonably sought in a timely manner.”
  Chemours Co. FC, LLC v. Daikin Indus. Ltd., 2022 WL 855518, at *2 (D. Del. Mar. 23, 2022).

  Qualcomm Has Good Cause to Amend. Under Rule 16(b)(4), Qualcomm has good cause to
  amend its counterclaims because Qualcomm did not learn the information on which it now relies


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     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  279 Filed
                                       Filed06/12/24
                                             02/29/24 Page 298
                                                           3 of of
                                                                5 PageID
                                                                   633 PageID
                                                                         #: 11146
                                                                              #: 390




  until the November and December 2023 depositions. Chemours, 2022 WL 855518, at *2. The
  bases for Qualcomm’s amended counterclaims are as follows:

  First, under                  of the NUVIA ALA and TLA, ARM was obligated, upon termination
  of these agreements effective March 1, 2022, to
                                              and, at NUVIA’s option, to
  any such information in its possession. (Ex. 7; Ex. 8.) ARM never certified compliance with this
  obligation, but wrote to Qualcomm in April 2022 stating
                                                                       (Ex. 9.) ARM reiterated in its
  Complaint that it had fulfilled those obligations. (D.I. 1, ¶ 60.) But on December 14, 2023
  Mr. Agrawal testified                                                          (Ex. 5 at 95:22-99:8)
  and on December 7, Mr. Werkheiser testified                                                 (Ex. 4 at
  60:22-25) and
                                                                                                (id. at
  52:4-54:17; 55:18-56:20). To date, ARM’s only argument is that Qualcomm’s Answer stated that
  “ARM never certified its own compliance with the termination provisions” (D.I. 18, ¶ 233 n.31),
  but prior to the depositions, Qualcomm had no concrete evidence that ARM failed to comply with
  its                   obligations (as opposed to only failing to provide a certification).

  Second, under              of the Qualcomm ALA, ARM must
  the ARM Technology to which Qualcomm is entitled under that contract
                                                        (Ex. 10 at 11.) Qualcomm first suspected
  ARM was withholding ARM Technology—
                            —in November 2022, at which time it gave ARM written notice of non-
  compliance in accordance with                of the Qualcomm ALA. (Ex. 11.) ARM’s counsel
  responded on December 6, 2022,
                                                          (Ex. 12.) Prior to discovery, Qualcomm
  had no reason to dispute that representation. But through discovery, Qualcomm learned that
  ARM’s December 6, 2022 letter misrepresented the facts. On November 2, 2023, ARM produced
  a document
           (see Ex. 13; see also Ex. 3 at 211:16-212:12; Ex. 5 at 154:12-156:16, 163:6-164:1), and
  at his December 12, 2023 deposition, Mr. Agrawal testified

                                                  . (See id. at 157:13-159:22; see also Ex. 13.)
  It was not until Mr. Agrawal’s deposition that Qualcomm was able to confirm

                                      .

  Qualcomm has been diligent in seeking its proposed amendment. Less than three weeks after
  Mr. Agrawal’s deposition, Qualcomm asked ARM to meet and confer. ARM would not
  meaningfully engage until January 16. After the parties’ third meet and confer on January 19, the
  parties promptly contacted the Court the next business day, January 22, pursuant to the dispute
  process set forth in the Scheduling Order. Courts have consistently found diligence when a party
  has sought leave to amend pleadings within three months of learning new information.1


  1
      See, e.g., Compagnie des Grands Hotels d’Afrique SA v. Starwood Capital Grp. Glob. I LLC,


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  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
                         Document16
                                  279 Filed
                                       Filed06/12/24
                                             02/29/24 Page 299
                                                           4 of of
                                                                5 PageID
                                                                   633 PageID
                                                                         #: 11147
                                                                              #: 391




  Qualcomm’s Amendments Are Not Futile, Nor Do They Prejudice ARM. An amendment is
  futile only if it fails to satisfy the standard set forth in FRCP 12(b)(6). In re Burlington Coat
  Factory Sec. Litig., 114 F.3d 1410, 1434 (3d Cir. 1997). “The elements of a breach-of-contract
  claim under California law are: (1) the existence of a contract, (2) the plaintiff’s performance or
  excuse of nonperformance, (3) defendant’s breach, and (4) resulting damages to the plaintiff.”
  Jackson v. Meta Platforms, Inc., 2023 WL 2537003, at *2 (D. Del. Mar. 16, 2023). Qualcomm
  has plausibly alleged the elements of its proposed amended counterclaims, laying out in non-
  conclusory fashion ARM’s breaches (see Ex. 1 ¶¶ 234-45, 255-59, 271-94, 302-315) and
  Qualcomm’s resulting damages (see id. ¶¶ 245, 291-94, 307, 311, 315); see also Ashcroft v. Iqbal,
  556 U.S. 662, 679 (2009). ARM has articulated no argument to the contrary. Neither has ARM
  articulated any prejudice. Qualcomm’s new counterclaims would not “fundamentally alter[] the
  proceedings,” nor “could [they] have been asserted earlier.” Spartan Concrete Prods., LLC v.
  Argos USVI, Corp., 929 F.3d 107, 116 (3d Cir. 2019). Moreover, this is not a case where there
  has been a “protracted and unjustified” delay that would prejudice ARM. Id. at 115. Any delay
  resulted solely from ARM’s concealment of and delay in producing necessary facts. ARM “may
  use the legitimate litigation strategies at hand to delay disclosure of [a] document until absolutely
  necessary, but that delay cannot thereafter form [ARM’s] argument for prejudice if it leads to a
  belated request to amend.” Mullin v. Balicki, 875 F.3d 140, 157 (3d Cir. 2017).

  In the Alternative, the Court Should Amend the Protective Order. To the extent the Court
  does not grant Qualcomm’s motion to amend, Qualcomm respectfully requests that the Court
  amend Paragraph 34 of the Protective Order (PO) so Qualcomm can use discovery from this
  litigation to pursue the above-described claims in a separate action.2 ARM has not responded to
  Qualcomm’s request for such relief. (See Ex. 6 at 1-2.) Courts have discretion to modify the terms
  of a PO upon a showing of good cause. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 790
  (3d Cir. 1994). To establish good cause, the party seeking to modify the protective order “must
  come forward with a reason to modify the order.” Arnold v. Pa., Dep’t of Transp., 477 F.3d 105,
  108 (3d Cir. 2007). The court then conducts a multifactor balancing test, including whether the
  information is sought for a legitimate purpose and whether sharing it will promote fairness and
  efficiency. See id.; INVISTA N. Am. S.à.r.l. v. M & G USA Corp., 2014 WL 1908286, at *9 n.14
  (D. Del. Apr. 25, 2014). Qualcomm’s desire to vindicate its rights upon discovering additional
  claims against ARM is a legitimate reason to modify the PO.3 Modifying the PO also promotes
  fairness and efficiency because ARM should not be permitted to use the PO as a shield against
  Qualcomm’s claims. The remaining balancing test factors are neutral or do not apply. See
  INVISTA, 2014 WL 1908286, at *9 n.14.




  2021 WL 6883231, at *4 (D. Del. Feb. 10, 2021) (amendment within 3 months); Home
  Semiconductor Corp. v. Samsung Electronics Co., 2019 WL 2135858, at *5 (D. Del. May 16,
  2019) (amendment 3 months after M&C) (“[O]ther courts in the Third Circuit have found diligence
  when a party has sought leave to amend within three months of learning new information.”).
  2
    The PO in this case permits parties to use “Confidential” and “Highly Confidential – Attorneys’
  Eyes Only” discovery materials “only for purposes of this Litigation.” (D.I. 38 ¶¶ 19, 34.)
  3
    See, e.g., VLSI Tech. LLC v. Intel Corp., No. 18-966-CFC-CJB, D.I. 693 (D. Del. Feb. 3, 2021);
  Eddystone Rail Co. v. Bridger Logistics, LLC, 2022 WL 704206, at *2-3 (E.D. Pa. Mar. 9, 2022).


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  Case
     1:24-cv-00490-MN
       1:22-cv-01146-MN Document
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                                             02/29/24 Page 300
                                                           5 of of
                                                                5 PageID
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                                                                         #: 11148
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                                              Respectfully,

                                              /s/ Jack B. Blumenfeld

                                              Jack B. Blumenfeld (#1014)

  JBB:lo
  Enclosures
  cc:    Clerk of the Court (via hand delivery)
         All Counsel of Record (via e-mail)




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Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
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                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 1301
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11149
                                                                            #: 393




                      EXHIBIT 1
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Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
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                                           02/29/24 Page
                                                    Page 2302
                                                           of 332
                                                              of 633
                                                                  PageID
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                                                                         #: 11150
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  ARM LTD.,                                           )
                                                      )
                         Plaintiff,                   )
                                                      )
         v.                                           )   C.A. No. 22-1146 (MN)
                                                      )
  QUALCOMM INC., QUALCOMM                             )   CONFIDENTIAL – FILED UNDER
  TECHNOLOGIES, INC. and NUVIA, INC.,                 )   SEAL
                                                      )
                         Defendants.                  )


    DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT AND
    JURY DEMAND AND DEFENDANTS’ SECOND AMENDED COUNTERCLAIMS

         1.      Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively,

  “Qualcomm”) are poised to release to the market several innovative products enabled by custom-

  designed high-performance, low-power central processing units (“CPUs”) containing a novel

  microarchitecture and related technologies that will deliver the next era of computing

  innovation. While many in the industry see in this pivotal moment the opportunity for

  technological advancement, ARM sees an opportunity to strongarm Qualcomm into renegotiating

  the financial terms of the parties’ longstanding license agreements, using this baseless lawsuit as

  leverage. With this lawsuit, ARM makes clear to the marketplace that it will act recklessly and

  opportunistically, threatening the development of new and innovative products as a negotiating

  tactic, not because it has valid license and trademark claims.

         2.      ARM claims, with no legal or contractual basis, that following Qualcomm’s

  acquisition of NUVIA Inc. (“NUVIA”) for $1.4 billion, Qualcomm’s use of any technology

  acquired from NUVIA—including NUVIA technology that was further developed by Qualcomm
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 3303
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11151
                                                                            #: 395




  and has nothing to do with ARM—violates a previously-terminated license agreement between

  ARM and NUVIA.

         3.      Qualcomm has its own license agreements with ARM, under which Qualcomm has

  licensed and paid for the same intellectual property that NUVIA licensed under its own separate

  agreements with ARM. Therefore, even though ARM terminated the NUVIA licenses, Qualcomm

  owns independent licenses for the same ARM technology and information that allow it to provide

  ARM-compliant products to its customers for many years to come—a fact ARM glaringly omitted

  from its complaint, and which ARM has attempted to obfuscate through an aggressive

  misinformation campaign. Thus, ARM has no right to demand any destruction of Qualcomm’s

  CPU technology because Qualcomm’s use of ARM technology and information is licensed under

  its overlapping license agreements.

         4.      The notion that ARM has the right to control technology that is not ARM’s—and

  worse yet, to ask Defendants to destroy their innovation and inventions unless substantial monetary

  tribute is paid to ARM—offends customary norms of technology ownership, as well as NUVIA’s

  and Qualcomm’s rights under their agreements with ARM.

         5.      Even putting aside Qualcomm’s broad license rights, ARM’s reading of the

  termination obligations in the NUVIA Architecture License Agreement (“ALA”) is wrong. To the

  extent any destruction obligation exists, it explicitly applies only to ARM Confidential

  Information.1 But ARM again omits important facts: (1) under the NUVIA ALA, information in

  the public domain is not subject to confidentiality obligations, and (2) ARM publishes its

  instruction set without confidentiality restrictions. Anyone is free to go to the ARM website and



  1
      Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
      relevant license agreements.


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Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 4304
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11152
                                                                            #: 396
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 5305
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11153
                                                                            #: 397




         10.     Although Qualcomm and NUVIA were focused on different market segments, the

  NUVIA CPU and SoC technologies comprised promising, innovative technology. Because the

  NUVIA CPU cores were being designed to be ARM architecture-compatible, this technology was

  (and is) compatible with Qualcomm’s existing computer and mobile device chipset technologies.

         11.     Qualcomm’s plan was to complete the development of the Phoenix Core after the

  acquisition and ultimately drive this technology into various SoCs, particularly for use in the

  “compute” (e.g., laptops/PCs), “mobile” (e.g., smartphones), and “automotive” (e.g., digital

  cockpit) markets. Qualcomm also planned to continue the development of a SoC for use in data

  centers and servers (“Server SoC”). This would allow Qualcomm’s custom CPUs to compete

  more effectively against CPUs designed not only by rival ARM licensees and ARM, but also rival

  suppliers of CPUs compliant with other instruction set architectures (notably, Intel’s x86).

         12.     Major industry participants—including Microsoft, Google, Samsung, GM, HP, and

  many others—praised the acquisition as benefitting their products and end-customers.3 News of

  this acquisition appeared in Forbes and in newspapers around the world.

                            Qualcomm And NUVIA Had Individual
                   License Agreements With ARM With Common Provisions

         13.     At the time of the acquisition, NUVIA and Qualcomm had separate, but broadly

  overlapping, license agreements with ARM. Qualcomm’s ALA included all the rights granted to

  NUVIA, as well as additional rights. Both ALAs granted rights to use version 8 of the ARM

  instruction set architecture, including the ARM         instruction set architecture (“ISA”) with




  3
      See Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
      https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                                   4
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 6306
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11154
                                                                            #: 398




  which the Phoenix Core was compatible. Qualcomm’s ALA is also broader, granting Qualcomm

  rights to the next generation v9 ISA.

         14.     ALAs grant licensees the right to design their own custom CPUs that can execute

  ARM’s ISA, as well as the right to design and distribute products incorporating such CPUs. An

  ISA lists the instructions that a software program will see, but an ISA does not tell a designer about

  the logic to implement it, nor how to build a CPU core, nor any of the features that make a CPU

  competitive. Application and software developers create their products to be compatible with

  particular ISAs. Applications and software that are compatible with a specific ISA can be run on

  any CPU that is compatible with the ISA, regardless of who has designed or manufactured the

  hardware. The ARM ISA allows for compatibility, as all ARM-compatible products can receive

  the same inputs (instructions) and, for each of those inputs, determine and output the proper result.

         15.     To make a CPU that then can execute the ARM ISA and therefore run compatible

  applications and other software, the CPU developer must design and build a complicated integrated

  circuit consisting of billions of transistors wired together into arrays that form larger,

  interconnected blocks. Building a CPU requires detailed micro-architectural know-how and

  expertise that is not related to the ISA, and requires expertise in cache design, branch prediction

  techniques, prefetchers, memory coherency/consistency paradigms, dependency resolution logic,

  schedulers, power delivery, power measurement and management, clocking methodology, and

  many other areas.

         16.     A CPU developer developing a custom CPU designs how the core is built, how it

  performs, and how it executes the CPU’s instructions. There are virtually infinite number of ways

  to design and build CPUs that can run the ARM instruction set. Companies that compete against

  each other to make better products utilizing ARM instruction sets employ armies of engineers who




                                                    5
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 7307
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11155
                                                                            #: 399




  make countless design choices and tradeoffs to improve the size, computing performance, power

  consumption, heat dissipation, and other important features of CPUs.

         17.     Under an ALA license, ARM does not deliver any specific ARM design or tell the

  licensee how to make the CPU. That technological development—and the resulting product that

  may meet or fail the performance benchmarks necessary to succeed in the market—is left to the

  licensee. If the licensee is willing to put in the extraordinary effort and investment to develop a

  custom CPU, the ALA structure can and does allow for product differentiation, even from ARM’s

  own CPUs.

         18.     ARM competes against licensees designing custom cores under ALAs by offering

  its own “off-the-shelf” CPU designs that customers may license through a Technology License

  Agreement (“TLA”). When a licensee seeks to sell products licensed under a TLA—rather than

  under an ALA—ARM delivers complete processor core designs that a licensee can effectively

  drop into a larger SoC design. ARM’s off-the-shelf processor cores licensed under TLAs do not

  allow for the same kind of product differentiation among different TLA licensees because all

  classes of TLA-licensed processor cores are effectively the same. However, there can still be

  considerable variety and differentiation among SoCs that incorporate TLA-licensed processor

  cores along with other functional blocks and circuits. For example, Qualcomm’s Snapdragon chip

  products that use stock ARM cores are very successful in large part because of Qualcomm’s

  innovation in designing many of the other functional blocks and integrating them into the SoC as

  a whole. Such functional blocks include graphic processing units (GPU), digital signal processors

  (DSP), artificial intelligence (AI) processors, image processors, modems, and other technologies.

         19.     Some companies make use of both custom-designed ALA processor cores and off-

  the-shelf TLA-licensed cores in their products. Royalty rates are generally lower under ALAs and




                                                  6
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 8308
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11156
                                                                            #: 400




  higher under TLAs, because the TLA royalties account for ARM’s work in developing complete

  CPUs, whereas the licensees under an ALA make the significant investment to develop their own

  CPUs.

          20.    With the Phoenix Core, Qualcomm will begin incorporating more of its own custom

  CPUs in its products. Qualcomm is making this change because it believes its own innovation

  will generate better performing cores than ARM’s cores. This paradigm change will mean

  Qualcomm will in the future pay to ARM the lower royalty rate under its ALA for these custom

  CPUs, rather than the higher royalty rates under Qualcomm’s TLA.

                     After ARM Learned Of The NUVIA Acquisition, ARM
                         Demanded Higher Royalties From Qualcomm

          21.    Shortly after announcing the proposed acquisition of NUVIA in January 2021,

  Qualcomm informed ARM that the NUVIA engineers would be transferred to a Qualcomm

  subsidiary and would work under Qualcomm’s set of license agreements with ARM. Qualcomm

  also notified ARM that, to the extent NUVIA was utilizing any ARM Technology not currently

  covered under Qualcomm’s then-current ALA and TLA, Qualcomm would work with the ARM

  team to complete any necessary license annexes to cover such items.

          22.    Qualcomm believed that ARM would embrace the acquisition. Even though

  Qualcomm would now be working on its own custom CPUs, the fact that Qualcomm is developing

  SoCs compatible with the ARM ISA for markets where ARM-based processors have traditionally

  struggled, such as the “compute” market (i.e., the market for personal computers such as laptops),

  represents a tremendous opportunity for ARM. The combination of NUVIA’s innovative CPU

  technology with Qualcomm’s scale and engineering prowess provides the best opportunity for

  ARM to significantly increase its reach and associated royalty payments.




                                                  7
Case
Case 1:24-cv-00490-MN
     1:22-cv-01146-MN Document
                       Document279-1
                                16 Filed
                                     Filed06/12/24
                                           02/29/24 Page
                                                    Page 9309
                                                           of 332
                                                              of 633
                                                                  PageID
                                                                     PageID
                                                                         #: 11157
                                                                            #: 401




          23.   ARM, however, acted opportunistically. In February 2021, ARM contended that

  “any transfer of designs, rights, or licenses under NUVIA’s agreements with Arm to Qualcomm

  will require and be subject to Arm’s prior consent.” ARM insisted, without basis, that Qualcomm

  needed ARM’s consent to “any transfer of designs, rights or licenses under NUVIA’s agreements”

  to Qualcomm. Later that month, ARM wrote that to secure its consent for the transfer of NUVIA’s

  CPU design to Qualcomm, Qualcomm must: (i) incorporate the much higher royalty rates from

  NUVIA’s licenses into Qualcomm’s pre-existing licenses; (ii) restrict the ability of Qualcomm

  employees from working on Qualcomm’s custom CPU designs such that “at a minimum” any

  individual with access to ARM Confidential Information wait three years before working on “any

  architecture CPU design” at Qualcomm; (iii) “discuss and decide on the design transfer fee

  associated with such CPU design transfer”; and (iv) enter into a separate license for

  implementation IP and software tools, which would include another undisclosed “design transfer

  fee.”

          24.   ARM’s demands were outrageous. First, it was attempting to secure supplemental

  payments and royalties for rights for which Qualcomm had already paid or was continuing to pay

  under its own license agreements. Qualcomm’s license agreements, on their face, make clear that

  Qualcomm’s use of ARM Technology in connection with the further development of the

  technology it acquired from NUVIA would be covered by Qualcomm’s pre-existing license

  agreements. For example,

                                                       Therefore, Qualcomm’s use of any ARM

  Technology utilized in NUVIA’s technology was fully licensed under Qualcomm’s license

  agreements as soon as Qualcomm acquired NUVIA. Nonetheless, and although not necessary,

  Qualcomm sought ARM’s consent to assign NUVIA’s ARM licenses to Qualcomm, even though




                                                8
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page10
                                                          310
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11158
                                                                                 402




  Qualcomm’s position was that NUVIA’s technology was licensed under Qualcomm’s license

  agreements as soon as the acquisition closed.

         25.        Second, ARM was claiming a right to control the transfer of NUVIA technology

  when NUVIA’s ALA provided no such rights to ARM.

         26.        Third, ARM was trying to interfere with Qualcomm’s business by preventing

  Qualcomm engineers from working for three years with absolutely no basis for such a demand in

  NUVIA’s or Qualcomm’s license agreements. ARM’s demands for additional payments from

  Qualcomm made little sense and were inconsistent with Qualcomm’s long-standing agreements.

  As ARM acknowledges in its complaint, NUVIA was focused on developing a CPU for use in

  low-volume, high-cost SoCs for the server market, whereas Qualcomm intended to use the

  technology NUVIA had started developing to build high-volume, lower cost SoCs for Qualcomm’s

  traditional markets, such as the “mobile” and “compute” markets. For its data center and server

  products—which would be of a lower volume and higher per-unit cost than, for example,

  Qualcomm’s higher volume and lower cost mobile products—NUVIA and ARM had negotiated

  a royalty rate that was many multiples higher than Qualcomm’s rate. ARM’s strategy, in light of

  Qualcomm’s more favorable terms, has been to ignore Qualcomm’s license rights and royalty rates

  and attempt to force upon Qualcomm NUVIA’s substantially higher royalty rate established for its

  server product.

         27.        If ARM could not get the benefit of forcing NUVIA’s royalty rate on Qualcomm’s

  custom CPU across Qualcomm’s broad SoC portfolio, its alternative strategy was to seek to

  preclude Qualcomm from proceeding with developing its custom CPU and, in doing so, force the

  purchase of ARM’s off-the-shelf CPU. This is beneficial for ARM because the TLA has a higher




                                                   9
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page11
                                                          311
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11159
                                                                                 403




  royalty rate than Qualcomm’s ALA. When Qualcomm successfully replaces ARM-designed

  CPUs with its own designs, Qualcomm will pay ARM lower royalties under the ALA.

         28.     Given ARM’s unreasonable positions, which conflict with the terms of the parties’

  licenses, ARM and Qualcomm were unable to resolve this dispute prior to the close of the NUVIA

  acquisition on March 15, 2021. Even so, given the parties’ long-standing relationship, Qualcomm

  reaffirmed its interest in finding a productive path forward in its discussions with ARM after the

  acquisition was complete.

         29.     After the acquisition closed, ARM doubled down, asserting that Qualcomm needed

  to destroy NUVIA’s engineering work and start over unless it agreed to ARM’s demands,

  including tens of millions of dollars in both additional “transfer” payments and increased royalties.

  Qualcomm continued to try and reach a resolution with ARM even though ARM’s attempt to

  control NUVIA’s technology was unjustified.

         30.     While the parties had intermittent discussions to resolve the dispute, in or about

  September 2021, ARM stopped communicating with Qualcomm about the dispute. Meanwhile,

  throughout 2021 to the present day and with full knowledge by ARM, Qualcomm continued

  development work on the Phoenix Core and SoCs incorporating the Phoenix Core, as was its right

  under Qualcomm’s own license agreements with ARM.

    ARM Unexpectedly Terminated The NUVIA License Agreements And Qualcomm Went
         To Great Lengths To Insulate Itself From ARM’s Unreasonable Positions

         31.     Without warning, in a letter dated February 1, 2022 (but not received by Qualcomm

  until February 4, 2022), ARM terminated, effective March 1, 2022, the NUVIA ALA and TLA

  license agreements and demanded that NUVIA and Qualcomm destroy all ARM Confidential

  Information, and certify by April 1, 2022 that they had complied with ARM’s demands. Prior to

  the February 2022 letter, it had been over six months since ARM last suggested that NUVIA or



                                                   10
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page12
                                                          312
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11160
                                                                                 404




  Qualcomm violated NUVIA’s license agreements.          ARM’s demand came out of nowhere,

  especially as ARM had continued to support Qualcomm in the development of the technology

  acquired from NUVIA.

         32.    The timing of ARM’s demand is telling on two fronts.

         33.    First, ARM waited until Qualcomm had expended a year of engineering effort and

  hundreds of millions of dollars to further develop and integrate Phoenix Core technology into

  multiple SoCs, in addition to the $1.4 billion Qualcomm spent to acquire NUVIA. ARM was

  seeking to maximize whatever leverage it had to threaten Qualcomm’s investment and

  Qualcomm’s SoC roadmap and extract exorbitant fees and royalty payments.

         34.    Second, ARM terminated the NUVIA agreements just three days before ARM

  publicly announced the failure of its merger transaction with NVIDIA—a deal that Qualcomm and

  many others in the industry had opposed. This timing suggests that, in part, ARM was seeking

  payback for Qualcomm’s public opposition to the NVIDIA deal.

         35.    Qualcomm disagreed that it was required to stop any of its work—or that

  destruction was appropriate—because Qualcomm holds valid licenses to all relevant ARM

  Technology and ARM’s interpretation of the termination obligations in the NUVIA agreement

  were inconsistent with the plain language of the license agreements.

         36.    Moreover, even though ARM demanded destruction of Confidential Information

  obtained under NUVIA’s ALA, NUVIA had implemented ARM Architecture                , which had

  been publicly available on ARM’s website for anyone to download since at least around January

  2021—over a year before the destruction request.



                                                                     Therefore, ARM Architecture




                                                 11
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page13
                                                          313
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11161
                                                                                 405




       was not Confidential Information, not subject to any restrictions, and not subject to any

  destruction obligation. For the same reasons, the NUVIA core design did not contain ARM

  Confidential Information.

         37.     Nonetheless, on April 1, 2022, NUVIA certified that it had destroyed and

  quarantined all NUVIA-acquired ARM Confidential Information. ARM, on the other hand, failed

  to fulfill its own termination obligations, which were also triggered by its termination of the

  NUVIA agreements.

         38.     Then, on April 12, 2022, just a few weeks after NUVIA made its certification, ARM

  accepted test results verifying that the implementation of the Phoenix Core in the Server SoC

  complied with the requirements necessary to execute the ARM instruction set. ARM confirmed

  that “Qualcomm . . . has validated their CPU core in accordance with the Verification

  requirements set out in the Architecture agreement.” ARM explicitly confirmed that the validation

  testing was conducted under Qualcomm’s ALA. Therefore, ARM was not only well aware that

  Qualcomm was working on the Phoenix Core under Qualcomm’s license agreements, but ARM

  also affirmed this work and understood that Qualcomm had implemented             of the ISA.

         39.     ARM’s position in this litigation is not just unsupported by its verification in April

  2022 and by the language of the license agreements, it is antithetical to the very nature of ARM’s

  ALAs, which allow a licensee to design its own, proprietary ARM-compatible technology that

  belongs to the licensee and that can be used by the licensee to compete against other ARM-

  compatible products, including those designed by ARM itself.

         40.     Licensees depend on this, as do regulators. ARM explicitly told regulators in

  December 2021, in connection with the proposed NVIDIA acquisition, that technology created by

  its ALA licensees belongs to the licensees, not ARM, stating: “architectural licensees do not use




                                                  12
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page14
                                                          314
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11162
                                                                                 406




  ARM’s CPU designs. Arm architectural licensees create their own proprietary CPU designs using

  their own engineering teams.” ARM specifically referred regulators to Qualcomm’s acquisition

  of NUVIA as an example of Qualcomm’s efforts to create its own proprietary CPU.

                                   ARM’s Claims Are Baseless

         41.    In this lawsuit, ARM takes its baseless and extreme arguments public, claiming that

  technology that is not its own belongs to ARM, and that it is ARM’s prerogative to decide whether

  Qualcomm can use or continue to develop NUVIA’s technology. The termination provisions in

  the NUVIA ALA do not require such a result.

         42.    ARM ignores the broad license rights ARM has granted Qualcomm under its ALA

  and other license agreements. Qualcomm is licensed to use ARM Technology in connection with

  Qualcomm’s CPU core technology, even if any aspects trace back to NUVIA’s work. Moreover,

  ARM attempts to misappropriate NUVIA technologies that contain no ARM information, but it

  makes no sense to require Qualcomm to stop using its own intellectual property.

         43.    Additionally, ARM’s position effectively guts its own ALA, which is intended to

  encourage licensees to develop their own CPU core technology with their own innovations, at their

  own risk and expense and for their own benefit. ARM’s arguments would allow ARM to claim

  ownership over its licensees’ innovations and inventions. That is not what ARM licensees pay for

  under the ALA.

         44.    ARM’s trademark infringement and false-origin claims are also meritless. ARM

  contends that Qualcomm and NUVIA’s use of ARM’s trademarks in connection with any products

  related to NUVIA technology—including, but not limited to the Phoenix Core and the upcoming

  SoCs—is improper. But Qualcomm’s license agreements with ARM give Qualcomm the right to

  utilize ARM’s trademarks.




                                                 13
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page15
                                                          315
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11163
                                                                                 407




                                 ARM’s website also publicly grants “any . . . third party” the right

  to use ARM’s trademarks pursuant to various guidelines.

         45.     In any event, Defendants’ use of ARM’s trademarks constitutes fair use and

  therefore is permissible. Qualcomm engages in limited use of the ARM Marks, such as in

  marketing materials, product specifications, and technical documentations, to convey accurately

  that Qualcomm’s products are compatible with the ARM architecture. These references are

  limited and truthful.

         46.     Rather than litigate its case in court, ARM attempted to maximize the negative

  impact of its filing this lawsuit by campaigning with members of the media and customers to

  generate additional publicity for ARM’s positions.

         47.     This Court should reject ARM’s claims and instead declare that Qualcomm and

  NUVIA’s conduct—including use of Qualcomm-developed technology—was fully licensed.

         Defendants, through their undersigned counsel, upon personal knowledge and/or upon

  information and belief, answer the Complaint dated August 31, 2022 (the “Complaint”) as follows:

         48.     COMPLAINT PARAGRAPH 1: Arm is the world’s leading provider of

  microprocessor intellectual property. For decades, Arm has developed innovative processor

  architecture and implementation designs that balance performance with energy efficiency. Billions

  of electronic devices use Arm processor technologies pursuant to Arm licenses—from

  smartphones used to interact seamlessly with friends and family around the world to an increasing

  number of the servers that run the essential day-to-day operations of Fortune 500 companies.




                                                 14
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page16
                                                          316
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11164
                                                                                 408




         ANSWER: Defendants admit that ARM licenses microprocessor intellectual

  property, and that a significant number of electronic devices use processors that are based

  on ARM architecture and designs, such as smartphones and to a far more limited extent

  computers. Defendants deny knowledge or information sufficient to form a belief as to the

  truth of the remainder of the allegations set forth in Complaint Paragraph 1, and on that

  basis deny them.

         49.     COMPLAINT PARAGRAPH 2: Qualcomm is a major semiconductor

  manufacturer. To accelerate its processor development efforts, Qualcomm spent over $1 billion to

  acquire Nuvia, a start-up led by senior engineers previously from Apple and Google that licensed

  Arm technologies to develop high-performance processor cores for semiconductor chips. In the

  process, Qualcomm caused Nuvia to breach its Arm licenses, leading Arm to terminate those

  licenses, in turn requiring Qualcomm and Nuvia to stop using and destroy any Arm-based

  technology developed under the licenses. Undeterred, Qualcomm and Nuvia have continued

  working on Nuvia’s implementation of Arm architecture in violation of Arm’s rights as the creator

  and licensor of its technology. Further, Qualcomm’s conduct indicates that it has already and

  further intends to use Arm’s trademarks to advertise and sell the resulting products in the United

  States, even though those products are unlicensed.

         ANSWER: Defendants admit that Qualcomm is a leading wireless technology

  innovator that designs numerous products, including semiconductors. Qualcomm further

  admits that, in 2021, Qualcomm Technologies, Inc. acquired NUVIA for approximately $1.4

  billion before working capital and other adjustments. Defendants also admit that NUVIA

  had license agreements with ARM LTD., such as an ALA and TLA, and that, prior to

  Qualcomm’s acquisition, NUVIA worked on CPUs and SoCs. Defendants further admit that




                                                 15
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page17
                                                          317
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11165
                                                                                 409




  in a letter dated February 1, 2022, ARM stated that it intended to terminate its ALA and

  TLA with NUVIA effective March 1, 2022, and requested that NUVIA destroy or return to

  ARM any ARM Confidential Information, including any copies thereof in its possession and

  any ARM Technology or derivatives.            Defendants otherwise deny the allegations in

  Complaint Paragraph 2, except to the extent they purport to state legal conclusions as to

  which no response is required.

         50.     COMPLAINT PARAGRAPH 3: Arm now brings suit for specific performance

  of the Nuvia licenses’ termination provisions to require Qualcomm and Nuvia to stop using and to

  destroy the relevant Nuvia technology and to stop their improper use of Arm’s trademarks with

  their related products. Arm also seeks declaratory judgment, injunctive relief, and damages for the

  use of Arm’s trademarks in connection with semiconductor chips incorporating the relevant Nuvia

  technology.

         ANSWER: Complaint Paragraph 3 purports to state legal conclusions as to which no

  response is required. To the extent a response is required, Defendants deny the allegations

  in Complaint Paragraph 3, except admit that Plaintiff purports to assert the claims and seek

  the relief described in Complaint Paragraph 3.

                                             PARTIES

         51.     COMPLAINT PARAGRAPH 4: Plaintiff Arm is a corporation organized under

  the laws of the United Kingdom, has its principal place of business in Cambridge, United

  Kingdom, and is a resident or domiciliary of the United Kingdom.

         ANSWER: Defendants deny knowledge or information sufficient to form a belief as

  to the truth of the allegations in Complaint Paragraph 4, and on that basis deny them.




                                                  16
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page18
                                                          318
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11166
                                                                                 410




           52.   COMPLAINT PARAGRAPH 5: Defendant Qualcomm Inc. is a Delaware

  corporation with its principal place of business at 5775 Morehouse Drive, San Diego, California

  92121.

           ANSWER: Defendants admit the allegations of Complaint Paragraph 5.

           53.   COMPLAINT PARAGRAPH 6: Defendant Qualcomm Technologies, Inc. is a

  subsidiary of Qualcomm Inc. and a Delaware corporation with its principal place of business at

  5775 Morehouse Drive, San Diego, California 92121.

           ANSWER: Defendants admit the allegations of Complaint Paragraph 6.

           54.   COMPLAINT PARAGRAPH 7: Defendant Nuvia is a subsidiary of Qualcomm

  and a Delaware corporation with its principal place of business at 2841 Mission College Blvd.,

  Santa Clara, California 95054.

           ANSWER: Defendants admit the allegations of Complaint Paragraph 7.

                                   JURISDICTION AND VENUE

           55.   COMPLAINT PARAGRAPH 8: The Court has subject matter jurisdiction under

  28 U.S.C. § 1331 (federal question), 15 U.S.C. § 1121 (trademarks), and 28 U.S.C. § 1367(a)

  (supplemental jurisdiction). The Court also has subject matter jurisdiction under 28 U.S.C. § 1332

  because there is complete diversity between the parties, and because the amount in controversy,

  based on the consideration that was anticipated under the Nuvia licenses, the volume of products

  expected under those licenses, and Defendants’ potential loss from complying with the equitable

  relief requested here, exceeds $75,000, exclusive of interest and costs.

           ANSWER: Complaint Paragraph 8 purports to state legal conclusions as to which no

  response is required. To the extent a response is required, Defendants deny the allegations

  in Complaint Paragraph 8.




                                                  17
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page19
                                                          319
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11167
                                                                                 411




         56.     COMPLAINT PARAGRAPH 9: The Court has personal jurisdiction over

  Qualcomm and Nuvia because they are incorporated in Delaware. Qualcomm and Nuvia have

  purposely availed themselves of the privileges and benefits of the laws of Delaware.

         ANSWER: Complaint Paragraph 9 purports to state legal conclusions as to which no

  response is required. To the extent a response is required, Defendants admit that Qualcomm

  Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in Delaware.

         57.     COMPLAINT PARAGRAPH 10: Venue is proper in this judicial district under

  28 U.S.C. § 1391 because Qualcomm and Nuvia are incorporated in Delaware. Venue is also

  proper because Qualcomm Inc. and Qualcomm Technologies, Inc. have purposefully availed

  themselves of the courts in the State of Delaware and this Judicial District.

         ANSWER: Complaint Paragraph 10 purports to state legal conclusions as to which

  no response is required. To the extent a response is required, Defendants admit that

  Qualcomm Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in

  Delaware.

                                    FACTUAL ALLEGATIONS

  Arm’s business model4

         58.     COMPLAINT PARAGRAPH 11: For decades, Arm has been a world leader in

  developing processor architectures, including instruction set architectures, and processor core

  designs implementing those architectures, all of which are covered by an extensive intellectual

  property portfolio.




  4
      Defendants have not specifically responded to the headings interspersed between the numbered
      paragraphs in ARM’s complaint. For the avoidance of doubt, and to the extent they require a
      response, Defendants deny any allegations made therein.


                                                  18
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page20
                                                          320
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11168
                                                                                 412




         ANSWER: Defendants admit that ARM develops instruction set architectures for

  CPUs, and also designs CPUs that implement ARM’s instruction set architecture.

  Defendants further admit that ARM owns some intellectual property. Defendants otherwise

  deny the allegations in Complaint Paragraph 11 except to the extent they purport to state

  legal conclusions as to which no response is required.

         59.     COMPLAINT PARAGRAPH 12: Processor cores are the parts of a computer’s

  Central Processing Unit or “CPU” that read and execute program instructions to perform specific

  actions. Modern CPUs often integrate multiple processor cores on a single semiconductor chip or

  integrated circuit (“IC”).

         ANSWER: Defendants admit the allegations in Complaint Paragraph 12.

         60.     COMPLAINT PARAGRAPH 13: Arm owns intellectual property relating to its

  processor architectures and designs, including, among other things, trademarks.

         ANSWER: Defendants admit that ARM may own some intellectual property,

  including trademarks. Defendants otherwise deny the allegations in Complaint Paragraph

  13 except to the extent they purport to state legal conclusions as to which no response is

  required.

         61.     COMPLAINT PARAGRAPH 14: Arm does not manufacture or sell chips.

  Instead, Arm licenses its technologies to hundreds of companies to use in developing their own

  chips or in their own electronic devices and works with these companies to ensure the success of

  Arm-based products.

         ANSWER: Defendants admit that ARM does not manufacture or sell semiconductor

  chips, and that ARM licenses intellectual property to various licensees.            Defendants




                                                 19
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page21
                                                          321
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11169
                                                                                 413




  otherwise deny knowledge or information sufficient to form a belief as to the truth of the

  allegations in Complaint Paragraph 14, and on that basis deny them.

         62.     COMPLAINT PARAGRAPH 15: Arm’s customers manufacture (or have

  manufactured for them) chips based on Arm’s technologies. The chips may then be used in the

  customer’s own devices or sold to other device manufacturers. Arm earns revenue from licensing

  fees and royalties based on the number of Arm-based chips its customers sell.

         ANSWER: Defendants admit that ARM receives licensing fees and royalties from

  licensees, and that various licensees manufacture products that may include ARM

  Technology. Defendants otherwise deny the allegations in Complaint Paragraph 15.

         63.     COMPLAINT PARAGRAPH 16: Arm’s business model relies on Arm’s ability

  to monetize its research and intellectual property by receiving both licensing fees and royalties for

  products incorporating Arm’s technology and intellectual property. Arm therefore grows its

  revenues by increasing both the number of customers and the number of Arm-based products sold.

         ANSWER: Defendants deny knowledge or information sufficient to form a belief as

  to the truth of the allegations in Complaint Paragraph 16, and on that basis deny them.

         64.     COMPLAINT PARAGRAPH 17: There are two main types of Arm licenses for

  Arm’s technologies: Technology License Agreements (“TLAs”), which allow the use of specific

  “off-the-shelf” Arm processor core designs with only minor modifications, and Architecture

  License Agreements (“ALAs”), which allow for the design of custom processor cores that are

  based on particular architectures provided by Arm.

         ANSWER:         Defendants admit that ARM enters into license agreements with

  licensees, including Technology License Agreements (“TLAs”) and Architecture License

  Agreements (“ALAs”). Defendants otherwise deny the allegations in Paragraph 17.




                                                   20
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page22
                                                          322
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11170
                                                                                 414




         65.     COMPLAINT PARAGRAPH 18: Arm grants few ALAs. Custom processor

  cores can take years to design, at great expense and requiring significant support from Arm, with

  no certainty of success. If successful, ALA licensees can sell custom processor cores for use in

  other companies’ products.

         ANSWER: Defendants admit that it requires significant expense and commitment to

  design custom CPUs. Defendants respectfully refer the Court to the Qualcomm and NUVIA

  ALAs for their complete language and content. Defendants otherwise deny the allegations

  in Complaint Paragraph 18.

         66.     COMPLAINT PARAGRAPH 19: Arm ALAs typically authorize licensees only

  to develop processor cores based on specific Arm technology provided by Arm under the licenses,

  rather than granting broader licenses to use Arm-based technology generally.

         ANSWER: Defendants respectfully refer the Court to the Qualcomm and NUVIA

  ALAs for their complete language and content. Defendants deny knowledge or information

  sufficient to form a belief as to the truth of the remaining allegations in Complaint Paragraph

  19, and on that basis deny them.

  Nuvia obtains Arm licenses

         67.     COMPLAINT PARAGRAPH 20: Nuvia was founded as a start-up in 2019 by

  chip engineers who left Apple and Google. Nuvia planned to design energy-efficient CPUs for

  data center servers based on a custom processor implementing the Arm architecture, which would

  have expanded the market for Arm’s technology. Nuvia’s business model was thus reliant on

  customizing processor core designs based on Arm’s technology. As one of the founders explained

  to the press when launching Nuvia, the start-up’s premise (and one of its attractions to investors)




                                                  21
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page23
                                                          323
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11171
                                                                                 415




  was that Nuvia intended to build “a custom clean sheet designed from the ground up” using Arm’s

  architecture.5

         ANSWER: Defendants admit that NUVIA worked on custom CPUs that could be

  used in data center servers, that the custom CPU designs would expand the market for ARM

  technology, and that the custom CPUs that NUVIA worked on, prior to NUVIA’s acquisition

  by Qualcomm, were intended to be compatible with ARM architecture.                 Defendants

  respectfully refer the Court to the cited publication for its complete language and content.

  Defendants otherwise deny the allegations in Complaint Paragraph 20.

         68.       COMPLAINT PARAGRAPH 21: In September 2019, Arm granted Nuvia an

  ALA and TLA, providing rights to design custom processor cores based on an Arm architecture

  and to modify certain off-the-shelf designs. The licenses granted in the ALA and TLA are

  necessary to use Arm’s extensive intellectual property portfolio covering the Arm architecture.

  The ALA and TLA included rights to use Arm trademarks in connection with products developed

  by Nuvia under the licenses. Arm also provided substantial, crucial, and individualized support

  from Arm employees to assist Nuvia in its development of Arm-based processors for data center

  servers.

         ANSWER: Defendants admit that NUVIA had a TLA and ALA with ARM, and

  respectfully refer the Court to the referenced agreements for their complete language and

  content. Defendants otherwise deny the allegations of Complaint Paragraph 21, except to

  the extent they purport to state legal conclusions as to which no response is required.



  5
      Danny Crichton, Three of Apple and Google’s former star chip designers launch NUVIA with
      $53M in series A funding, TechCrunch (Nov. 15, 2019),
      https://techcrunch.com/2019/11/15/three-of-apple-and-googles-former-star-chip-designers-
      launch-nuvia-with-53m-in-series-a-funding/.


                                                22
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page24
                                                          324
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11172
                                                                                 416




         69.     COMPLAINT PARAGRAPH 22: The licenses provided Nuvia access to specific

  Arm architecture, designs, intellectual property, and support in exchange for payment of licensing

  fees and royalties on future server products that include processor cores based on Arm’s

  architecture, designs, or related intellectual property. Nuvia’s licensing fees and royalty rates

  reflected the anticipated scope and nature of Nuvia’s use of the Arm architecture. The licenses

  safeguarded Arm’s rights and expectations by prohibiting assignment without Arm’s consent,

  regardless of whether a contemplated assignee had its own Arm licenses.

         ANSWER: Defendants admit that NUVIA’s TLA and ALA provided NUVIA with a

  license to certain ARM Technology. Defendants further admit that NUVIA and ARM

  intended the licensing fees and royalties set forth in the NUVIA ALA to apply to future server

  products, not products for other markets. Defendants respectfully refer the Court to the

  referenced agreements for their complete language and content. Defendants otherwise deny

  the allegations of Complaint Paragraph 22.

         70.     COMPLAINT PARAGRAPH 23: From September 2019 to early 2021, Nuvia

  used the technology it licensed from Arm to design and develop processor cores. Arm provided

  preferential support for Nuvia’s development efforts, with Arm seeking to accelerate research and

  development in next-generation processors for data center servers to support that sector’s transition

  to Arm technology.

         ANSWER: Defendants deny knowledge or information sufficient to form a belief as

  to the truth of the allegations in the second sentence of Complaint Paragraph 23, and on that

  basis deny them. Defendants otherwise deny the allegations of Complaint Paragraph 23.

         71.     COMPLAINT PARAGRAPH 24: In August 2020, Nuvia announced that its

  “first-generation CPU, code-named ‘Phoenix’” would be “a custom core based on the ARM




                                                   23
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page25
                                                          325
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11173
                                                                                 417




  architecture.”6 It also publicized benchmark tests showing that Phoenix could double the

  performance of rival products from Apple, Intel, AMD, and Qualcomm. Based on these results,

  Nuvia claimed that the “Phoenix CPU core has the potential to reset the bar for the market.”7

            ANSWER: Defendants respectfully refer the Court to the cited publication for its

  complete language and content. Defendants otherwise admit the allegations in Complaint

  Paragraph 24.

  Qualcomm relies on designs created by Arm

            72.   COMPLAINT PARAGRAPH 25: Qualcomm is one of the world’s largest

  semiconductor companies, with a portfolio of intellectual property and products directed to

  wireless technologies, including cellular, Bluetooth, and Wi-Fi; CPUs and ICs; networking;

  mobile computers; cell phones; wearables; cameras; automobiles; and other electronic devices.

            ANSWER: Defendants admit the allegations of Complaint Paragraph 25.

            73.   COMPLAINT PARAGRAPH 26: Even though Qualcomm has an Arm ALA, its

  prior attempts to design custom processors have failed. Qualcomm invested in the development of

  a custom Arm-based processor for data center servers until 2018, when it cancelled the project and

  laid off hundreds of employees.8




  6
      John Bruno & Sriram Dixit, Performance Delivered a New Way, Silicon Reimagined (Aug.
      11,    2020),   https://medium.com/silicon-reimagined/performance-delivered-a-new-way-
      8f0f5ed283d5.
  7
      Id.
  8
      See, e.g., Andrei Frumusanu, Qualcomm to Acquire NUVIA: A CPU Magnitude Shift,
      AnandTech (Jan. 13, 2021), https://www.anandtech.com/show/16416/qualcomm-to-acquire-
      nuvia-a-cpu-magnitude-shift; Andy Patrizio, Qualcomm makes it official; no more data
      center chip, Network World (Dec. 12, 2018),
      https://www.networkworld.com/article/3327214/qualcomm-makes-it-official-no-more-data-
      center-chip.html.


                                                 24
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page26
                                                          326
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11174
                                                                                 418




         ANSWER: Defendants respectfully refer the Court to the cited publications for their

  complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 26. The allegation that Qualcomm’s “prior attempts to design custom processors

  have failed” is patently false. Qualcomm has had great success in developing custom

  processors, to ARM’s significant benefit.

         74.     COMPLAINT PARAGRAPH 27: Qualcomm’s commercial products thus have

  relied on processor designs prepared by Arm’s engineers and licensed to Qualcomm under Arm

  TLAs. Discovery is likely to show that as of early 2021, Qualcomm had no custom processors in

  its development pipeline for the foreseeable future. To fill this gap, Qualcomm sought improperly

  to purchase and use Nuvia’s custom designs without obtaining Arm’s consent.

         ANSWER: Defendants deny the allegations of Complaint Paragraph 27.

  Qualcomm acquires Nuvia

         75.     COMPLAINT PARAGRAPH 28: On January 13, 2021, Qualcomm announced

  that Qualcomm Technologies, Inc. was acquiring Nuvia for $1.4 billion. Neither Qualcomm nor

  Nuvia provided prior notice of this transaction to Arm. Nor did they obtain Arm’s consent to the

  transfer or assignment of the Nuvia licenses.

         ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

  announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

  agreement to acquire NUVIA for approximately $1.4 billion before working capital and

  other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 28,

  except to the extent they purport to state legal conclusions as to which no response is

  required.

         76.     COMPLAINT PARAGRAPH 29: Qualcomm indicated in its announcement that

  “NUVIA CPUs”—that is, Nuvia’s implementations of Arm technology developed under the Nuvia


                                                  25
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page27
                                                          327
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11175
                                                                                 419




  licenses with Arm—would be incorporated into a range of Qualcomm products. Qualcomm’s press

  release declared its grand ambitions for Nuvia’s implementation of Arm technology: “NUVIA

  CPUs are expected to be integrated across Qualcomm Technologies’ broad portfolio of products,

  powering flagship smartphones, next-generation laptops, and digital cockpits, as well as Advanced

  Driver Assistance Systems, extended reality and infrastructure networking solutions.”9 The press

  release also indicated that Qualcomm’s first target would be “integrating NUVIA CPUs with

  Snapdragon,” its flagship suite of system on a chip (“SoC”) semiconductor products for mobile

  devices.

          ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 29.

          77.    COMPLAINT PARAGRAPH 30: As Qualcomm’s CEO, Cristiano Amon, noted

  in a Reuters interview shortly after the acquisition closed in the first half of 2021, “Qualcomm will

  start selling Nuvia-based laptop chips next year.”10 Amon confirmed the negative impact this

  might have on Arm, saying: “If Arm . . . eventually develops a CPU that’s better than what we can

  build ourselves, then we always have the option to license from Arm.”

          ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 30.




  9
       Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 13, 2021),
       https://www.qualcomm.com/news/releases/2021/01/13/qualcomm-acquire-nuvia.
  10
       Stephen Nellis, Qualcomm’s new CEO eyes dominance in the laptop markets, Reuters (July 2,
       2021),    https://www.reuters.com/technology/qualcomms-new-ceo-eyes-dominance-laptop-
       markets-2021-07-01/.


                                                   26
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page28
                                                          328
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11176
                                                                                 420




             78.   COMPLAINT PARAGRAPH 31: Qualcomm also confirmed its prior

  deficiencies in core design, reportedly promoting the Nuvia acquisition as “filling a gap” because

  “for several years now” the company “had been relying on external IP such as Arm’s Cortex

  cores.”11 Qualcomm further explained that “the immediate goals for the NUVIA team will be

  implementing custom CPU cores” designed for laptops.12

             ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 31.

             79.   COMPLAINT PARAGRAPH 32: Analysts confirmed that the “Qualcomm

  acquisition [of] NUVIA is a huge move to scale up dramatically. It can reinvigorate current lines

  in smartphone, Windows PC and automotive SoCs, and make them more competitive with the

  competition. They have been lagging.”13

             ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 32.

             80.   COMPLAINT PARAGRAPH 33: Providing further confirmation of the

  acquisition’s importance to Qualcomm in filling the “gap” in its “lagging” IP design, analysts

  noted that the Nuvia acquisition was “extremely speedy in terms of timeline,” and Qualcomm



  11
       Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
       Laptops (Updated), AnandTech (Mar. 16, 2021),
       https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia.
  12
       Id.
  13
       Trading Places Research, Qualcomm’s Acquisition of NUVIA is a Huge Move, Seeking Alpha
       (Jan. 13, 2021), https://seekingalpha.com/article/4398808-qualcomms-acquisition-of-nuvia-
       is-huge-move.


                                                 27
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page29
                                                          329
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11177
                                                                                 421




  “went as far as [to] put out a concrete roadmap for . . . using the newly acquired IP from Nuvia,”

  announcing that Nuvia’s processors would be finalized for use in high-end laptops “in the second

  half of 2022.”14

             ANSWER: Defendants respectfully refer the Court to the referenced publications for

  their complete language and content.          Defendants otherwise deny the allegations of

  Complaint Paragraph 33.

             81.   COMPLAINT PARAGRAPH 34: Based on standard industry scheduling, that

  timeline indicated a design for data center processors would be completed “essentially as soon as

  possible following the acquisition” of Nuvia.15

             ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 34.

             82.   COMPLAINT PARAGRAPH 35: This timing indicates that the Arm-based cores

  that Nuvia designed using Arm’s technology and intellectual property were, as of the acquisition

  date, effectively ready for the final stages of design for Qualcomm chips, leading promptly to

  product integration and manufacturing. Qualcomm’s November 2021 10-K filing disclosed that

  the $1.4 billion acquisition encompassed Nuvia’s team and “certain in-process technologies,”




  14
       Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
       Laptops (Updated), AnandTech (Mar. 16, 2021),
       https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia (quoting
       Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 15, 2021),
       https://www.qualcomm.com/news/releases/2021/03/16/qualcomm-completes-acquisition-
       nuvia).
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       Id.


                                                    28
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page30
                                                          330
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11178
                                                                                 422




  reflecting the availability of existing cores such as the Phoenix CPU core developed under Nuvia’s

  ALA.16

           ANSWER: Defendants respectfully refer the Court to the referenced publication for

  its complete language and content. Defendants otherwise deny the allegations of Complaint

  Paragraph 35, except to the extent they purport to state legal conclusions as to which no

  response is required.

           83.   COMPLAINT PARAGRAPH 36: By entering into the acquisition of Nuvia and

  transferring the rights and technology developed under the Nuvia licenses without Arm’s consent,

  Qualcomm thus greatly accelerated its ability to bring to market custom-designed processor

  cores—a head start that Qualcomm was willing to pay over $1 billion to obtain.

           ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

  announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

  agreement to acquire NUVIA for approximately $1.4 billion before working capital and

  other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 36.

  Arm terminates the Nuvia licenses

           84.   COMPLAINT PARAGRAPH 37: Soon after the announcement of the merger,

  Arm informed Qualcomm in writing that Nuvia could not assign its licenses and that Qualcomm

  could not use Nuvia’s in-process designs developed under the Nuvia ALA without Arm’s consent.

  For more than a year, Arm negotiated with Qualcomm, through Qualcomm Inc. and Qualcomm




  16
       Qualcomm Inc., Annual Report (Form 10-K) (Nov. 3, 2021), https://investor.qualcomm.com/
       financial-information/sec-filings/content/0001728949-21-000076/0001728949-21-
       000076.pdf.


                                                 29
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page31
                                                          331
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11179
                                                                                 423




  Technologies, Inc., in an effort to reach an agreement regarding Qualcomm’s unauthorized

  acquisition of Nuvia’s “in-process technologies” and license.

          ANSWER: Defendants admit that in a letter dated February 2, 2021, ARM wrote to

  Qualcomm Technologies, Inc. that “any transfer of designs, rights, or licenses under

  NUVIA’s agreements with Arm to Qualcomm will require and be subject to Arm’s prior

  consent.” Defendants otherwise deny the allegations of Complaint Paragraph 37, except to

  the extent they purport to state legal conclusions as to which no response is required.

          85.    COMPLAINT PARAGRAPH 38: All the while, Qualcomm continued to

  broadcast its intentions to rush Nuvia products to market. In November 2021, Qualcomm’s Chief

  Technology Officer told investors that Qualcomm was “pretty far along at this point” in developing

  its first chip with Nuvia’s implementation of Arm technology and would “sample a product at,

  let’s say nine months from now”—which would be August 2022.17 Then in January 2022,

  Qualcomm issued a press release touting the “broad support from ecosystem partners for the PC

  industry’s transition to Arm®-based computing,” with Qualcomm’s CEO confirming that “[t]he

  future of the PC industry is modern Arm-based architectures” and boasting that “the recent

  acquisition of NUVIA uniquely positions Qualcomm Technologies to drive this industry wide

  transition.”18 Elsewhere, Qualcomm’s CEO reiterated that Qualcomm is “definitely in a hurry” to




  17
       Qualcomm Investor Day 2021 Livestream: CEO Cristiano Amon looks ahead, YouTube (Nov.
       16, 2021), https://www.youtube.com/watch?v=rUWPzROYn2E; see also Mark Hachman,
       Qualcomm Prophesizes 2023 as the Rebirth of PC Snapdragon Chips, PCWorld (Nov. 16,
       2021), https://www.pcworld.com/article/552285/qualcomm-prophesies-2023-as-the-rebirth-
       of-its-snapdragon-chips.html.
  18
       Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
       PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
       https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
       partners-build-industry-momentum-windows-arm.


                                                 30
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page32
                                                          332
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11180
                                                                                 424




  launch Nuvia’s Arm-based chips “as fast as we can.”19 Based on these statements, discovery is

  likely to show that Qualcomm and Nuvia continued to use the relevant technology developed under

  Nuvia’s Arm licenses.

          ANSWER: Defendants respectfully refer the Court to the referenced publications for

  their complete language and content.         Defendants otherwise deny the allegations of

  Complaint Paragraph 38.

          86.    COMPLAINT PARAGRAPH 39: On February 1, 2022, Arm sent a letter to

  Nuvia and Qualcomm terminating the Nuvia licenses effective March 1, 2022. The letter

  terminated the licenses based on Nuvia’s material breach of the assignment provisions of the Nuvia

  licenses by entering into the acquisition of Nuvia without Arm’s consent. The letter also reminded

  Nuvia and Qualcomm of their obligations upon termination to stop using and destroy the Nuvia

  technology developed under the now-terminated licenses.

          ANSWER: Defendants admit that, on February 4, 2022, Qualcomm and Gerard

  Williams, NUVIA’s former Chief Executive Officer, received a letter purporting to terminate

  NUVIA’s ALA and TLA, with the termination effective as of March 1, 2022. Defendants

  otherwise deny the allegations of Complaint Paragraph 39, except to the extent they purport

  to state legal conclusions as to which no response is required.

          87.    COMPLAINT PARAGRAPH 40: In February 2022, pending termination of the

  Nuvia licenses, Nuvia sought Arm’s verification that a Nuvia processor design satisfied the Arm

  architecture’s specifications. On February 23, 2022, Qualcomm confirmed that it was still




  19
       Nilay Patel, What Comes After the Smartphone, With Qualcomm CEO Cristiano Amon, The
       Verge (Jan. 11, 2022), https://www.theverge.com/22876511/qualcomm-ceo-cristiano-amon-
       interview-decoder-podcast.


                                                 31
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page33
                                                          333
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11181
                                                                                 425




  developing the relevant Nuvia technology by stating in a court filing that certain Nuvia documents

  were based on “years of research and work” and would “reveal secret design components of

  Qualcomm chips that are still in development.” Qualcomm Technologies, Inc. v. Hoang, No. 3:22-

  cv-00248-CAB-BLM (S.D. Cal. Feb. 23, 2022), ECF No. 1 at 5-6.

         ANSWER: Defendants respectfully refer the Court to the cited court filing for its

  complete language and content. Defendants admit that Qualcomm began verification of a

  Qualcomm processor design in December 2021, that Qualcomm continued developing

  processor technology that it acquired from NUVIA beginning in March 2021 (doing so with

  ARM’s knowledge that Qualcomm's design work was ongoing), and that ARM verified that

  the Qualcomm design satisfied ARM’s architecture specification. Defendants otherwise

  deny the allegations of Complaint Paragraph 40.

         88.     COMPLAINT PARAGRAPH 41: On March 1, 2022, the Nuvia licenses

  terminated, along with the corresponding rights to use or sell products based on or incorporating

  Nuvia technology developed under those licenses.

         ANSWER: Defendants deny the allegations of Complaint Paragraph 41, except to the

  extent they purport to state legal conclusions as to which no response is required.

         89.     COMPLAINT PARAGRAPH 42: On April 1, 2022, Qualcomm’s General

  Counsel sent Arm a letter enclosing a Nuvia representative’s termination certification. The

  certification acknowledged—without objection—that the Nuvia licenses had been terminated. The

  certification recognized the obligations upon termination, and asserted that Nuvia was in

  compliance. Qualcomm and Nuvia thereby conceded that termination of the Nuvia licenses was

  appropriate, and that the termination provisions had been triggered, are binding, and are

  enforceable.




                                                 32
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page34
                                                          334
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11182
                                                                                 426




          ANSWER: Defendants admit that, on April 1, 2022, Qualcomm Incorporated’s

  General Counsel and Corporate Secretary transmitted a Certification from Gerard Williams

  stating that to the best of his knowledge, information and belief after due inquiry, NUVIA

  was in compliance with its obligations under                      with respect to any ARM

  Confidential Information.       Defendants otherwise deny the allegations of Complaint

  Paragraph 42, except to the extent they purport to state legal conclusions as to which no

  response is required.

  Qualcomm keeps using Arm-based technology developed under the Nuvia licenses

          90.    COMPLAINT PARAGRAPH 43: Qualcomm is subject to Nuvia’s termination

  requirements as the acquirer of Nuvia. Qualcomm has publicly described Nuvia as a Qualcomm

  “team” that has been “very tight[ly] integrat[ed]” with and is “not separate” from Qualcomm.20

  Qualcomm has also acted on behalf of Nuvia publicly and in correspondence with Arm since the

  acquisition. Qualcomm further told Arm that it planned to “redeploy NUVIA employees” and

  “transfer NUVIA’s work” to Qualcomm and, consistent with that plan, Qualcomm has on-boarded

  Nuvia’s leadership and employees as Qualcomm employees.21




  20
       Ian Cutress, Interview with Alex Katouzian, Qualcomm SVP: Talking Snapdragon, Microsoft,
       Nuvia,      and       Discrete     Graphics,      AnandTech       (Jan.     31,     2022),
       https://www.anandtech.com/show/17233/interview-with-alex-katouzian-qualcomm-svp-
       talking-snapdragon-microsoft-nuvia-and-discrete-graphics; Ian Cutress, AnandTech Interview
       with Miguel Nunes: VP for Windows and Chrome PCs, Qualcomm, AnandTech (Feb. 14,
       2022),     https://www.anandtech.com/show/17253/anandtech-interview-with-miguel-nunes-
       senior-director-for-pcs-qualcomm.
  21
       See, e.g., Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 16, 2021),
       https://investor.qualcomm.com/news-events/press-releases/detail/1304/qualcomm-completes-
       acquisition-of-nuvia; Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
       https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                                33
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page35
                                                          335
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11183
                                                                                 427




         ANSWER: Defendants respectfully refer the Court to the cited publications for their

  complete language and content. Defendants admit that, on January 27, 2021, Qualcomm

  wrote to ARM that Qualcomm had entered into a definitive agreement to acquire NUVIA

  and stating: “Following the closing of the acquisition, for ease of operation and structure,

  QTI intends to transfer NUVIA’s work and employees to QTI and other current Qualcomm

  subsidiaries and have the then former NUVIA employees continue their activities under the

  Qualcomm ALA and TLA, as that will be their current employer.” Defendants further

  admit that, on February 3, 2021, Qualcomm stated in a letter to ARM that, after the NUVIA

  acquisition, NUVIA would “become a wholly owned subsidiary of Qualcomm and, post-

  closing, our plan is to redeploy NUVIA employees to currently existing Qualcomm entities.”

  Defendants otherwise deny the allegations in Complaint Paragraph 43, except to the extent

  they purport to state legal conclusions as to which no response is required.

         91.    COMPLAINT PARAGRAPH 44: On April 29, 2022, Arm wrote Qualcomm

  clarifying that neither Nuvia nor Qualcomm was authorized to continue working on technology

  that was developed under the Nuvia licenses.

         ANSWER: Defendants admit that ARM wrote a letter to Qualcomm dated April 29,

  2022. Defendants otherwise deny the allegations in Complaint Paragraph 44 except to the

  extent they purport to state legal conclusions as to which no response is required.

         92.    COMPLAINT PARAGRAPH 45: Two weeks later, on May 13, 2022, Qualcomm

  sought Arm’s verification that a new Qualcomm processor core complied with Arm architecture

  so that it could be verified and incorporated into a product. Qualcomm did not explain whether

  this processor core design was based on Nuvia’s designs under the terminated licenses.




                                                 34
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page36
                                                          336
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11184
                                                                                 428




          ANSWER: Defendants admit that, on May 13, 2022, Qualcomm submitted to ARM

  a compliance report for a new Qualcomm CPU. Defendants otherwise deny the allegations

  in Complaint Paragraph 45.

          93.    COMPLAINT PARAGRAPH 46: Based on the timing and circumstances

  surrounding Qualcomm’s request, discovery is likely to show that Qualcomm’s processor core

  design is based on or incorporates in whole or in part the processor core design developed under

  the prior Nuvia licenses.

          ANSWER: Defendants admit that Qualcomm’s Phoenix Core design incorporates

  intellectual property acquired from NUVIA, which is wholly independent of ARM.

  Defendants otherwise deny the allegations in Complaint Paragraph 46, except to the extent

  they purport to state legal conclusions to which no response is required.

          94.    COMPLAINT PARAGRAPH 47: Qualcomm’s Arm licenses do not cover

  products based on or incorporating Arm-based technologies developed by third parties under

  different Arm licenses, such as the now-terminated Nuvia licenses.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 47.

          95.    COMPLAINT PARAGRAPH 48: Despite Arm’s termination of the Nuvia

  licenses, Qualcomm has continued to tell the public that its Nuvia chips will soon be joining the

  industry-wide “ecosystem transition to Arm.”22 Like Qualcomm’s prior statements, this

  announcement was directed to readers throughout the United States, including to readers

  physically located in the State of Delaware and this Judicial District.




  22
       Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
       https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
       apple/id1091374076?i=1000565773375.


                                                   35
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page37
                                                          337
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11185
                                                                                 429




          ANSWER: Defendants respectfully refer the Court to the cited publications for their

  complete language and content. Defendants otherwise deny the allegations in Complaint

  Paragraph 48, except to the extent they purport to state legal conclusions to which no

  response is required.

          96.     COMPLAINT PARAGRAPH 49: In June 2022, Qualcomm’s CEO reiterated that

  it would soon begin “sampling” Nuvia chips to companies, allowing them to design electronic

  devices incorporating the chips in the “next year.”23 Based on that timeline, he explained, “[i]n

  late next year, beginning 2024, you’re going to see Windows PCs powered by Snapdragon with a

  Nuvia-designed CPU.”24

          ANSWER: Defendants respectfully refer the Court to the cited publications for their

  complete language and content. Defendants otherwise deny the allegations in Complaint

  Paragraph 49.

          97.     COMPLAINT PARAGRAPH 50: In the microprocessor industry, “sampling”

  means providing pre-production processors to original equipment manufacturers (“OEMs”),

  original device manufacturers (“ODMs”), or independent software vendors (“ISVs”) for use in the

  product design cycle before product launch.




  23
       Id.; see also Mark Tyson, Qualcomm CEO Admits Nuvia Chip OEM Sampling is Delayed
       (Update),           Tom’s            Hardware             (June            10,          2022),
       https://www.tomshardware.com/news/qualcomm-nuvia-chip-sampling-delays              (Qualcomm
       spokesperson clarifying: “We are on track to sample the first products with our next generation
       CPUs this year.”).
  24
       Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
       https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-
       apple/id1091374076?i=1000565773375.


                                                   36
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page38
                                                          338
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11186
                                                                                 430




          ANSWER: Defendants admit the allegations in Complaint Paragraph 50 generally

  describe sampling, but note that they fail to distinguish between precommercial engineering

  samples and commercial samples.

          98.    COMPLAINT PARAGRAPH 51: Based on Qualcomm’s statements that Nuvia

  processors took “years” to develop and “are still in development,” and Qualcomm’s consistent

  statements that it is developing Nuvia’s Arm chips, discovery is likely to show that the chips that

  Qualcomm intends to sample in the coming months will contain Nuvia technology that Qualcomm

  cannot use and instead must destroy.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 51, except to

  the extent they purport to state legal conclusions to which no response is required.

          99.    COMPLAINT PARAGRAPH 52: Further, based on Qualcomm’s public

  announcements of its plans to use Nuvia technology, discovery is likely to show that Qualcomm

  has continued to retain and use Nuvia technology developed pursuant to the Nuvia licenses,

  thereby materially breaching the termination provisions of those licenses.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 52, except to

  the extent they purport to state legal conclusions to which no response is required.

          100.   COMPLAINT PARAGRAPH 53: News reports indicate that Qualcomm is also

  developing Nuvia processors for data center servers, and “already has working silicon to at least

  demonstrate to potential customers,”25 which discovery is likely to show is based on or

  incorporates Nuvia technology developed under the now-terminated Nuvia ALA.




  25
       Dan Robinson, Qualcomm readying new Arm server chip based on Nuvia acquisition, The
       Register                      (Aug.                    19,                   2022),
       https://www.theregister.com/2022/08/19/qualcomm_arm_server_chip/ (citing Ian King,



                                                  37
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page39
                                                          339
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11187
                                                                                 431




         ANSWER: Defendants respectfully refer the Court to the cited publications for their

  complete language and content. Defendants otherwise deny the allegations in Complaint

  Paragraph 53, except to the extent they purport to state legal conclusions for which no

  response is required.

         101.    COMPLAINT PARAGRAPH 54: The failure of Nuvia and Qualcomm to comply

  with the post-termination obligations under the Nuvia ALA is causing, and will continue to cause,

  irreparable harm to Arm. Qualcomm effectively seeks to circumvent Arm’s licensing model,

  which allocates use of the technology developed pursuant to a particular Arm license to a particular

  licensee.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 54, except to

  the extent they purport to state legal conclusions to which no response is required.

         102.    COMPLAINT PARAGRAPH 55: These breaches thus interfere with Arm’s

  ability and right to control the use of its technology, negatively affecting Arm’s relationships with

  existing and prospective licensees.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 55, except to

  the extent they purport to state legal conclusions to which no response is required.

         103.    COMPLAINT PARAGRAPH 56: The prospective monetary damages from

  Qualcomm’s circumvention and interference with Arm’s control over its technology are not

  readily ascertainable or calculable, given the resulting future impact on Arm’s relationships with

  existing and prospective customers.




     Qualcomm Is Plotting a Return to Server Market With New Chip, Bloomberg (Aug. 18, 2022),
     https://www.bloomberg.com/news/articles/2022-08-18/qualcomm-is-plotting-a-return-to-
     server-market-with-new-chip).


                                                   38
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page40
                                                          340
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11188
                                                                                 432




         ANSWER: Defendants deny the allegations in Complaint Paragraph 56, except to

  the extent they purport to state legal conclusions to which no response is required.

         104.    COMPLAINT PARAGRAPH 57: Qualcomm’s improper acquisition of the

  relevant Nuvia technology in violation of Arm’s standard provisions threatens to harm Arm’s

  position in the ecosystem of Arm-based devices, harm Arm’s reputation as an intellectual property

  owner and technology developer whose licenses must be respected, and embolden other companies

  to likewise harm Arm’s reasonable business expectations in issuing its licenses.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 57, except to

  the extent they purport to state legal conclusions to which no response is required.

            COUNT I: BREACH OF CONTRACT – SPECIFIC PERFORMANCE
                             (ALL DEFENDANTS)

         105.    COMPLAINT PARAGRAPH 58: Arm hereby restates and re-alleges the

  allegations set forth above and incorporates them by reference.

         ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

  Paragraphs 1-57 as if fully set forth herein.

         106.    COMPLAINT PARAGRAPH 59: The termination obligations of the ALA

  between Nuvia and Arm survive termination and remain valid and enforceable contract provisions,

  as Qualcomm’s correspondence and Nuvia’s termination certification confirm.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 59, except to

  the extent they purport to state legal conclusions to which no response is required.

         107.    COMPLAINT PARAGRAPH 60: Arm complied with and fulfilled all relevant

  duties, conditions, covenants, and obligations under the Nuvia ALA, including ceasing use of

  Nuvia confidential information in its possession.




                                                  39
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page41
                                                          341
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11189
                                                                                 433




         ANSWER: Defendants deny the allegations in Complaint Paragraph 60, except to

  the extent they purport to state legal conclusions to which no response is required.

         108.    COMPLAINT PARAGRAPH 61: The Nuvia ALA terms were just and

  reasonable, involving adequate consideration and reasonable obligations for Nuvia in the event of

  Arm’s termination based on Nuvia’s material breach. Those obligations served to restore the

  license holder to its position ex ante, protect Arm’s business model and reasonable business

  expectations in issuing its licenses, and prevent the unjust enrichment of Qualcomm, the party that

  induced Nuvia’s breach.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 61, except to

  the extent they purport to state legal conclusions to which no response is required.

         109.    COMPLAINT PARAGRAPH 62: Upon termination, the Nuvia ALA requires

  Nuvia to cease using and destroy any technology developed under the Nuvia ALA, as well as cease

  using Arm’s trademarks in connection with any technology developed under the Nuvia ALA.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 62, except to

  the extent they purport to state legal conclusions to which no response is required.

         110.    COMPLAINT PARAGRAPH 63: Qualcomm shares Nuvia’s obligations under

  the Nuvia ALA in its capacity as Nuvia’s acquirer, and thus Qualcomm is likewise subject to the

  requirements of the Nuvia licenses’ termination provisions.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 63, except to

  the extent they purport to state legal conclusions to which no response is required.

         111.    COMPLAINT PARAGRAPH 64: Based on Defendants’ correspondence with

  Arm, public statements, and processor verification requests, discovery is likely to show that




                                                  40
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page42
                                                          342
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11190
                                                                                 434




  Defendants are still using and developing Nuvia technology developed under the now-terminated

  licenses, along with Arm trademarks, and intend to continue to do so.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 64, except to

  the extent they purport to state legal conclusions to which no response is required.

         112.   COMPLAINT PARAGRAPH 65: Defendants therefore have breached and are

  breaching the Nuvia ALA’s termination provisions.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 65, except to

  the extent they purport to state legal conclusions to which no response is required.

         113.   COMPLAINT PARAGRAPH 66: As a direct and proximate result of Nuvia and

  Qualcomm’s past and ongoing breaches, Arm has been irreparably injured and damaged in

  amounts not capable of determination, including, but not limited to, injury to Arm’s global

  licensing program and misuse of Arm’s technology.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 66, except to

  the extent they purport to state legal conclusions to which no response is required.

         114.   COMPLAINT PARAGRAPH 67: Unless Defendants’ breaches of the Nuvia

  ALA’s termination provisions are enjoined and specific performance is granted, Arm will continue

  to suffer irreparable harm. As such, Arm has the right to enforcement of Nuvia and Qualcomm’s

  compliance with the ALA’s termination provisions, including via injunctive relief, specific

  performance, or any other measures necessary to avoid irreparable harm to Arm or to mitigate

  damages that have been caused by, and will continue to be caused by, Defendants’ breach.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 67, except to

  the extent they purport to state legal conclusions to which no response is required.




                                                 41
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page43
                                                          343
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11191
                                                                                 435




         115.    COMPLAINT PARAGRAPH 68: Arm is entitled to specific performance

  requiring Defendants to comply with the Nuvia ALA’s termination provisions, including ceasing

  all use of and destroying any technology developed under the Nuvia ALA, and ceasing all use of

  Arm trademarks in connection with any technology developed under the Nuvia ALA—including

  the relevant Nuvia technology.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 68, except to

  the extent they purport to state legal conclusions to which no response is required.

         116.    COMPLAINT PARAGRAPH 69: Arm is also entitled to monetary compensation

  incidental to specific performance of the Nuvia ALA’s termination provisions to compensate Arm

  for the delay in Defendants’ performance of their contractual obligations.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 69, except to

  the extent they purport to state legal conclusions to which no response is required.

                     COUNT II: DECLARATORY JUDGMENT AND
                  TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114
                                (ALL DEFENDANTS)

         117.    COMPLAINT PARAGRAPH 70: Arm hereby restates and re-alleges the

  allegations set forth above and incorporates them by reference.

         ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

  Paragraphs 1-69 as if fully set forth herein.

         118.    COMPLAINT PARAGRAPH 71: Arm owns U.S. Registration Nos. 5,692,669

  and 5,692,670 for the ARM word mark in standard characters and the stylized ARM mark featuring

  the word “arm” in all lower case letters (collectively, the “ARM Marks”), true and correct copies

  of which are attached as Exhibits A and B. These marks are registered for “[e]lectronic data

  processing equipment,” “integrated circuits,” “semiconductors,” “microprocessors,” “RISC-based

  instruction set architectures, namely, software instructions designed to function with particular


                                                  42
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page44
                                                          344
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11192
                                                                                 436




  microprocessors,” “data processors,” “printed circuit boards,” “electronic circuit boards,” and

  related “[r]esearch, development and design,” among numerous other goods and services. The

  applications to register the marks were filed on July 31, 2017 and were issued on March 5, 2019.

  The application for Registration No. 5,692,669 has a claimed first use and first use-in-commerce

  date of November 30, 1990, while the application for Registration No. 5,692,670 has a claimed

  first use and first use-in-commerce date of August 1, 2017.

         ANSWER: Defendants refer the Court to Exhibits A and B of the Complaint for their

  complete language and content. Defendants otherwise deny the allegations in Complaint

  Paragraph 71, except to the extent they purport to state legal conclusions to which no

  response is required.

         119.    COMPLAINT PARAGRAPH 72: The ARM Marks have come to signify the

  highest standards of quality and excellence associated with licensed Arm products and services

  and have incalculable reputation and goodwill, which belong to Arm.

         ANSWER: To the extent the allegations in Complaint Paragraph 72 purport to state

  legal conclusions, no response is required.         Defendants otherwise deny knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in Complaint

  Paragraph 72, and on that basis deny them.

         120.    COMPLAINT PARAGRAPH 73: Arm has had valid and protectable rights in the

  ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

  connection with integrated circuit and microprocessor technologies.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 73, except to

  the extent they purport to state legal conclusions to which no response is required.




                                                 43
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page45
                                                          345
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11193
                                                                                 437




          121.   COMPLAINT PARAGRAPH 74: Qualcomm and Nuvia, as current or former

  Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

  knowledge of Arm’s ownership and use of the ARM Marks for years.

          ANSWER: Qualcomm admits that its ALA and TLA with ARM permit the use of

  ARM Marks. Defendants otherwise deny the allegations in Complaint Paragraph 74, except

  to the extent they purport to state legal conclusions to which no response is required.

          122.   COMPLAINT PARAGRAPH 75: Arm has not authorized Qualcomm or Nuvia

  to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

  technology developed under the now-terminated licenses, instead terminating those licenses.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 75, except to the

  extent they purport to state legal conclusions to which no response is required.

          123.   COMPLAINT PARAGRAPH 76: Qualcomm and Nuvia have engaged in

  substantial preparation and taken concrete steps with the intent to infringe Arm’s trademarks in

  violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114. Arm’s customers—including

  Qualcomm and Nuvia, as discovery is likely to show—often use the ARM Marks in their die

  encapsulation (die packages), end user product packaging, advertising and promotional materials,

  technical documentation, and websites directed to users throughout the United States, including

  users physically located in the State of Delaware and this Judicial District. Qualcomm promotes

  Snapdragon products as incorporating Arm technology, such as by saying on its website that

  “Snapdragon 855 is equipped with the cutting-edge Qualcomm® KryoTM 485 CPU built on ARM

  Cortex Technology.”26 In January 2022, Qualcomm issued a press release touting the “broad



  26
       Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
       finder/smartphones/samsung-galaxy-note10-5g.


                                                44
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page46
                                                          346
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11194
                                                                                 438




  support from ecosystem partners for the PC industry’s transition to Arm®-based computing,” with

  Qualcomm’s CEO boasting that “the recent acquisition of NUVIA uniquely positions Qualcomm

  Technologies to drive this industry wide transition.”27 This press release remains online. Also,

  Qualcomm and Nuvia’s plans to begin sampling chips with the relevant Nuvia technology as soon

  as August 2022 would require manufacturing a limited run of the chips in advance, and news

  reports indicate that Qualcomm already has some working chips to demonstrate to potential

  customers. Qualcomm and Nuvia have thus used the ARM Marks in connection with the

  advertising, distribution, offering for sale, or sale of the chips, and Arm believes discovery will

  show that their further use is imminent if it has not happened already.

          ANSWER: Qualcomm admits to using certain ARM Marks as permitted by its

  licenses to accurately refer to ARM’s technology, including, but not limited to, in marketing

  materials, product specifications, and technical documents. Defendants deny knowledge or

  information sufficient to form a belief as to how ARM’s other licensees use ARM Marks.

  Defendants otherwise respectfully refer the Court to the cited publications for their complete

  language and content. Defendants otherwise deny the allegations in Complaint Paragraph

  76, except to the extent they purport to state legal conclusions to which no response is

  required.

          124.   COMPLAINT PARAGRAPH 77: Qualcomm and Nuvia’s unauthorized use of

  the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

  technology is likely to cause confusion, mistake, or deception on the part of consumers as to the



  27
       Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
       PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
       https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
       partners-build-industry-momentum-windows-arm.


                                                  45
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page47
                                                          347
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11195
                                                                                 439




  affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship, or

  approval of Defendants’ semiconductor chips using the relevant Nuvia technology, constituting

  trademark infringement in violation of 15 U.S.C. § 1114. Given Arm’s close relationships with its

  customers and individualized support for their products, there is and is likely to be confusion in

  the marketplace because consumers encountering the ARM Marks in connection with

  semiconductor chips incorporating the relevant Nuvia technology do and will likely believe that

  the products are endorsed by, licensed by, or otherwise associated with Arm. Semiconductor chips

  incorporating the relevant Nuvia technology are also readily identifiable without the use of the

  ARM Marks, such as by not mentioning the processor architecture or by using the generic term

  “RISC” (for reduced instruction set computer).

         ANSWER: Defendants deny the allegations in Complaint Paragraph 77, except to the

  extent they purport to state legal conclusions to which no response is required.

         125.    COMPLAINT PARAGRAPH 78: An actual and justiciable controversy exists

  between Defendants and Arm regarding infringement of Arm’s trademarks. Although Arm

  repeatedly notified Qualcomm and Nuvia that their development of the relevant Nuvia technology

  is unlicensed following termination of the Nuvia licenses, Qualcomm has continued to tell

  reporters that the technology is on track to be sampled to customers this year, and news reports

  indicate that Qualcomm already has some working chips to demonstrate to potential customers.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 78, except to

  the extent they purport to state legal conclusions to which no response is required.

         126.    COMPLAINT PARAGRAPH 79: Arm is entitled to a declaratory judgment that

  Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor chips




                                                   46
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page48
                                                          348
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11196
                                                                                 440




  with the relevant Nuvia technology and the ARM Marks do and will infringe Arm’s trademarks,

  directly and indirectly.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 79, except to the

  extent they purport to state legal conclusions to which no response is required.

         127.    COMPLAINT PARAGRAPH 80: Defendants’ acts of infringement have injured

  Arm in an amount as yet unknown. Arm is entitled to recover from Defendants the damages

  sustained as a result of Defendants’ wrongful acts in an amount subject to proof at trial.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 80, except to the

  extent they purport to state legal conclusions to which no response is required.

         128.    COMPLAINT PARAGRAPH 81: Based on Qualcomm and Nuvia’s continued

  development of the relevant Nuvia technology after repeated notifications that the technology is

  unlicensed following termination of the Nuvia licenses, discovery is likely to show that Qualcomm

  and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’

  fees pursuant to 15 U.S.C. § 1117(a).

         ANSWER: Defendants deny the allegations in Complaint Paragraph 81, except to

  the extent they purport to state legal conclusions to which no response is required.

         129.    COMPLAINT PARAGRAPH 82: Arm will suffer and is suffering irreparable

  harm to its name, reputation, and goodwill from Defendants’ trademark infringement. Arm has no

  adequate remedy at law and is entitled to a permanent injunction against Defendants’ continuing

  infringement, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to deliver up for

  destruction, or to show proof of said destruction or sufficient modification to eliminate the

  infringing matter, all semiconductor chips, die encapsulation (die packages), end user product

  packaging, advertising and promotional materials, technical documentation, websites, and other




                                                  47
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page49
                                                          349
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11197
                                                                                 441




  matter in Defendants’ possession, custody, or control that bears or displays the ARM Marks in any

  manner in connection with the relevant Nuvia technology. Unless enjoined, Defendants will

  continue their infringing conduct.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 82, except to the

  extent they purport to state legal conclusions to which no response is required.

                    COUNT III: DECLARATORY JUDGMENT AND
                FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. § 1125
                                (ALL DEFENDANTS)

         130.    COMPLAINT PARAGRAPH 83: Arm hereby restates and re-alleges the

  allegations set forth above and incorporates them by reference.

         ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

  Paragraphs 1-82 as if fully set forth herein.

         131.    COMPLAINT PARAGRAPH 84: The acts of Qualcomm and Nuvia described

  above constitute false designation of origin in violation of Section 43(a) of the Lanham Act, 15

  U.S.C. § 1125(a).

         ANSWER: Defendants deny the allegations in Complaint Paragraph 84, except to

  the extent they purport to state legal conclusions to which no response is required.

         132.    COMPLAINT PARAGRAPH 85: Arm has had valid and protectable rights in the

  ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

  connection with integrated circuit and microprocessor technologies.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 85, except to

  the extent they purport to state legal conclusions to which no response is required.

         133.    COMPLAINT PARAGRAPH 86: Qualcomm and Nuvia, as current or former

  Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

  knowledge of Arm’s ownership and use of the ARM Marks for years.


                                                  48
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page50
                                                          350
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11198
                                                                                 442




          ANSWER: Qualcomm admits that its ALA and TLA permit use of the ARM Marks.

  Defendants otherwise deny the allegations in Complaint Paragraph 86, except to the extent

  they purport to state legal conclusions to which no response is required.

          134.   COMPLAINT PARAGRAPH 87: Arm has not authorized Qualcomm or Nuvia

  to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

  technology developed under the now-terminated licenses, instead terminating those licenses.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 87, except to

  the extent they purport to state legal conclusions to which no response is required.

          135.   COMPLAINT PARAGRAPH 88: Qualcomm and Nuvia have engaged in

  substantial preparation and taken concrete steps with the intent to falsely designate the origin of

  their products in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Arm’s

  customers—including Qualcomm and Nuvia, as discovery is likely to show—often use the ARM

  Marks in their die encapsulation (die packages), end user product packaging, advertising and

  promotional materials, technical documentation, and websites directed to users throughout the

  United States, including users physically located in the State of Delaware and this Judicial District.

  Qualcomm promotes Snapdragon products as incorporating Arm technology, such as by saying on

  its website that “Snapdragon 855 is equipped with the cutting-edge Qualcomm® KryoTM 485

  CPU built on ARM Cortex Technology.”28 In January 2022, Qualcomm issued a press release

  touting the “broad support from ecosystem partners for the PC industry’s transition to Arm®-based

  computing,” with Qualcomm’s CEO boasting that “the recent acquisition of NUVIA uniquely




  28
       Samsung Galaxy Note10+, Qualcomm Inc., https://www.qualcomm.com/snapdragon/device-
       finder/smartphones/samsung-galaxy-note10-5g.


                                                   49
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page51
                                                          351
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11199
                                                                                 443




  positions Qualcomm Technologies to drive this industry wide transition.”29 This press release

  remains online. Also, Qualcomm and Nuvia’s plans to begin sampling chips with the relevant

  Nuvia technology as soon as August 2022 would require manufacturing a limited run of the chips

  in advance, and news reports indicate that Qualcomm already has some working chips to

  demonstrate to potential customers. Qualcomm and Nuvia have thus used the ARM Marks in

  connection with the advertising, distribution, offering for sale, or sale of the chips, and Arm

  believes discovery will show that their further use is imminent if it has not happened already.

          ANSWER: Qualcomm admits to using certain ARM Marks pursuant to its licenses

  to accurately refer to ARM’s technology, including, but not limited to, in marketing

  materials, product specifications, and technical documents. Defendants deny knowledge or

  information sufficient to form a belief as to how ARM’s other customers use ARM Marks.

  Defendants respectfully refer the Court to the cited publications for their complete language

  and content. Defendants otherwise deny the allegations in Complaint Paragraph 88, except

  to the extent they purport to state legal conclusions to which no response is required.

          136.   COMPLAINT PARAGRAPH 89: Qualcomm and Nuvia’s unauthorized use of

  the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

  technology is likely to cause confusion, mistake, or deception on the part of consumers as to the

  affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship, or

  approval of Defendants’ semiconductor chips using the relevant Nuvia technology, constituting

  false designation of origin in violation of 15 U.S.C. § 1125(a)(1)(A). Given Arm’s close



  29
       Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
       PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
       https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-
       partners-build-industry-momentum-windows-arm.


                                                  50
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page52
                                                          352
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11200
                                                                                 444




  relationships with its customers and individualized support for their products, there is and is likely

  to be confusion in the marketplace because consumers encountering the ARM Marks in connection

  with semiconductor chips incorporating the relevant Nuvia technology do and will likely believe

  that the products are endorsed by, licensed by, or otherwise associated with Arm. Semiconductor

  chips incorporating the relevant Nuvia technology are also readily identifiable without the use of

  the ARM Marks, such as by not mentioning the processor architecture or by using the generic term

  “RISC” (for reduced instruction set computer).

         ANSWER: Defendants deny the allegations in Complaint Paragraph 89, except to

  the extent they purport to state legal conclusions to which no response is required.

         137.    COMPLAINT PARAGRAPH 90: An actual and justiciable controversy exists

  regarding Defendants’ false designation of origin. Although Arm repeatedly notified Qualcomm

  and Nuvia that their development of the relevant Nuvia technology is unlicensed following

  termination of the Nuvia licenses, Qualcomm has continued to tell reporters that the technology is

  on track to be sampled to customers this year, and news reports indicate that Qualcomm already

  has some working chips to demonstrate to potential customers.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 90, except to

  the extent they purport to state legal conclusions to which no response is required.

         138.    COMPLAINT PARAGRAPH 91: Arm is entitled to a declaratory judgment that

  Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor chips

  with the relevant Nuvia technology and the ARM Marks do and will falsely designate the origin

  of their products, directly and indirectly.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 91, except to the

  extent they purport to state legal conclusions to which no response is required.




                                                   51
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page53
                                                          353
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11201
                                                                                 445




         139.    COMPLAINT PARAGRAPH 92: Defendants’ acts of false designation of origin

  have injured Arm in an amount as yet unknown. Arm is entitled to recover from Defendants the

  damages sustained as a result of Defendants’ wrongful acts in an amount subject to proof at trial.

         ANSWER: Defendants deny the allegations in Complaint Paragraph 92, except to the

  extent they purport to state legal conclusions to which no response is required.

         140.    COMPLAINT PARAGRAPH 93: Based on Qualcomm and Nuvia’s continued

  development of the relevant Nuvia technology after repeated notifications that the technology is

  unlicensed following termination of the Nuvia licenses, discovery is likely to show that Qualcomm

  and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and attorneys’

  fees pursuant to 15 U.S.C. § 1117(a).

         ANSWER: Defendants deny the allegations in Complaint Paragraph 93, except to

  the extent they purport to state legal conclusions to which no response is required.

         141.    COMPLAINT PARAGRAPH 94: Arm will suffer and is suffering irreparable

  harm to its name, reputation, and goodwill from Defendants’ false designation of origin. Arm has

  no adequate remedy at law and is entitled to a permanent injunction against Defendants’ continuing

  false designation of origin, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to

  deliver up for destruction, or to show proof of said destruction or sufficient modification to

  eliminate the falsely designated matter, all semiconductor chips, die encapsulation (die packages),

  end user product packaging, advertising and promotional materials, technical documentation,

  websites, and other matter in Defendants’ possession, custody, or control that bears or displays the

  ARM Marks in any manner in connection with the relevant Nuvia technology. Unless enjoined,

  Defendants will continue their wrongful conduct.




                                                  52
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page54
                                                          354
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11202
                                                                                 446




         ANSWER: Defendants deny the allegations in Complaint Paragraph 94, except to

  the extent they purport to state legal conclusions to which no response is required.

                                  ARM’S PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Arm Ltd. requests that the Court grant the following relief:

         a.      A judgment in Arm’s favor on all claims against Defendants;

         b.      An order requiring specific performance by Defendants of the Nuvia licenses’

  termination provisions;

         c.      An award of damages incidental to specific performance as a result of Defendants’

  breach of contract, in amounts to be proven at trial, including all pre-judgment and post-judgment

  interest at the maximum rate permitted by law;

         d.      A judgment and a declaration that advertising, distributing, offering for sale, or

  selling semiconductor chips with the relevant Nuvia technology and the ARM Marks infringes

  Arm’s trademarks, directly and indirectly;

         e.      An order and judgment permanently enjoining Defendants and their officers,

  directors, agents, servants, employees, and all others acting in privity or in concert with them, and

  their parents, subsidiaries, divisions, successors, and assigns from (1) using in any manner in

  connection with the relevant Nuvia technology the ARM Marks, or any mark or logo that is

  confusingly similar to or a colorable imitation of the ARM Marks owned by Arm; (2) doing any

  act or thing calculated or likely to cause confusion or mistake in the minds of the members of the

  public or prospective customers as to the affiliation, connection, or association of Defendants with

  Arm, or as to the origin, sponsorship, or approval of Defendants’ semiconductor chips using the

  relevant Nuvia technology; or (3) assisting, aiding, or abetting any other person or business entity

  in performing any of the aforementioned activities;




                                                   53
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page55
                                                          355
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11203
                                                                                 447




         f.      An order and judgment directing Defendants, pursuant to 15 U.S.C. § 1116(a), to

  file with this Court and serve upon Arm within thirty (30) days after entry of the injunction a report

  in writing under oath setting forth in detail the manner and form in which Defendants have

  complied with the injunction and ceased all offering of products with the relevant Nuvia

  technology under the ARM Marks, as set forth above;

         g.      An order and judgment directing Defendants and their officers, directors, agents,

  servants, employees, and all others acting in privity or in concert with them, and their parents,

  subsidiaries, divisions, successors, and assigns to deliver up for destruction, or to show proof of

  said destruction or sufficient modification to eliminate the infringing matter, all semiconductor

  chips, die encapsulation (die packages), end user product packaging, advertising and promotional

  materials, technical documentation, websites, and other matter in Defendants’ possession, custody,

  or control that bears or displays in any manner in connection with the relevant Nuvia technology

  the ARM Marks or any other mark that is confusingly similar to or a colorable imitation of the

  ARM Marks;

         h.      A judgment in the aggregate amount of (1) Defendants’ profits, (2) Arm’s actual

  damages, (3) the costs of this action pursuant to 15 U.S.C. § 1117, and (4) restitution and/or

  disgorgement of all revenues, earnings, profits, compensation, and benefits that may have been

  obtained by Defendants in connection with their semiconductor chips using the relevant Nuvia

  technology and the ARM Marks, including all pre-judgment and post-judgment interest at the

  maximum rate permitted by law;

         i.      A judgment trebling any damages to the extent permitted by law, including under

  15 U.S.C. § 1117;

         j.      Exemplary or punitive damages to the extent permitted by law;




                                                   54
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page56
                                                          356
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11204
                                                                                 448




         k.      Costs, expenses, and reasonable attorney fees under all applicable rules, statutes,

  and rules in common law that would be appropriate, with pre-judgment and post-judgment interest

  thereon at the maximum rate permitted by law;

         l.      Equitable relief addressing any infringement occurring after entry of judgment; and

         m.      Such other relief as the Court deems just and proper.

         ANSWER TO PLEA FOR RELIEF: ARM’s characterization of the relief it seeks

  does not require a response. To the extent a response is required, Defendants deny the

  allegations in the prayer for relief and further deny that ARM is entitled to the requested

  relief, or any relief, against the Defendants, and the Defendants request that the Court

  dismiss all claims against them with prejudice and order such further relief as the Court

  deems just and proper.

                                          JURY DEMAND

         Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Arm hereby demands a TRIAL BY

  JURY of all claims and issues presented in this Complaint that are so triable.

         ANSWER TO JURY DEMAND: ARM’s jury demand states a legal conclusion to

  which no response is required, and Defendants otherwise reserve their right to contest

  ARM’s jury demand.

                                            DEFENSES

         142.    Without admitting that the Defendants engaged in the acts and conduct set forth in

  ARM’s Complaint or that such acts or conduct would entitle ARM to the relief it seeks or that the

  allegation of an affirmative or other defense requires Defendants to prove affirmatively the

  circumstances as alleged, the Defendants assert the following defenses with respect to the claims

  alleged in the Complaint, without assuming the burden of proof or persuasion where the burden

  rests on ARM. By designating the following defenses, the Defendants do not in any way waive or


                                                  55
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page57
                                                          357
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11205
                                                                                 449




  limit any defenses which are or may be raised by their denials, allegations and averments set forth

  herein, and do not assume the burden of proof for any element of a claim to which the applicable

  law places the burden of proof on the Plaintiff. The defenses are pleaded in the alternative, are

  raised to preserve the Defendants’ rights to assert such defenses, and are without prejudice to their

  ability to raise other and further defenses. The Defendants hereby give notice that they intend to

  rely upon such other and further defenses as may become available or apparent at any time and

  hereby reserve all rights to amend and/or supplement any and all defenses set forth herein.

                                          FIRST DEFENSE

                                     (Failure To State A Claim)

         143.    The Complaint fails to state a claim against the Defendants upon which relief can

  be granted.

                                        SECOND DEFENSE

                          (Defendants Did Not Breach The NUVIA ALA)

         144.    Defendants did not breach the termination provisions of NUVIA’s ALA because

  Defendants complied with the termination provision.

         145.    Defendants did not breach the NUVIA ALA. Defendants’ use of ARM technology

  and information was fully licensed under the Qualcomm ALA.

                                         THIRD DEFENSE

                  (Defendants’ Use Of ARM Marks Is Licensed And Therefore
                      Permitted Under Qualcomm’s License Agreements)

         146.    Defendants are licensed to use the ARM Marks at issue and therefore they are not

  in violation of 15 U.S.C. §§ 1114 and 1125.

         147.    For example, under                  of Qualcomm’s ARM ALA, ARM




                                                   56
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page58
                                                          358
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11206
                                                                                 450




         148.     The Qualcomm products at issue in ARM’s complaint were

                       Qualcomm’s license agreements. Accordingly, Defendants are permitted to

  use ARM’s Marks licensed under that agreement.

                                        FOURTH DEFENSE

                                              (Fair Use)

         149.     Defendants are not subject to liability for alleged trademark infringement because

  Defendants’ use of ARM Marks constitutes fair use.

         150.     Defendants use the ARM Marks in marketing materials, product specifications and

  technical documents to truthfully refer to ARM’s technology and its relationship with Qualcomm’s

  products.     For example, Qualcomm’s website describes the Kryo CPU as follows: “The

  Qualcomm® Kryo™ CPU (built on ARM Cortex Technology) available in certain Snapdragon

  processors is optimized for high-performance mobile computing.”

         151.     Use of the ARM Marks in this manner is necessary to accurately describe that

  Qualcomm’s products are compatible with ARM’s technology.

         152.     This use of the ARM Marks indicates that Qualcomm’s products use an ARM ISA.

  This is a true and accurate representation of the relationship between ARM and Qualcomm’s

  products.

         153.     Defendants use only so much of the ARM Marks as necessary to describe ARM’s

  products.




                                                  57
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page59
                                                          359
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11207
                                                                                 451




                                           FIFTH DEFENSE

                                              (Ripeness)

          154.     ARM’s claims under 15 U.S.C. §§ 1114 and 1125 are premature and not ripe for

  adjudication.

                                           SIXTH DEFENSE

                         (Plaintiff’s Breach Of The NUVIA ALA Prevents It
                                 From Seeking To Enforce The ALA)

          155.     ARM is barred from bringing or maintaining its breach of contract claim based on

  the NUVIA ALA, or recovering any remedy against the Defendants based on this claim, because

  ARM breached the NUVIA ALA, and such breach excuses any nonperformance by the answering

  Defendants.

          156.     ARM’s refusal to fulfill its responsibilities under the NUVIA ALA bars its own

  claims of breach of contract against the Defendants.

          157.     Moreover, pursuant to            of the ALA, ARM’s ability to recover damages

  is limited.

                                        SEVENTH DEFENSE

                                            (Unclean Hands)

          158.     ARM is barred from bringing or maintaining its claims by virtue of the equitable

  doctrine of unclean hands, including because ARM has refused to fulfill its contractual obligations

  to Defendants.

                                           EIGHTH DEFENSE

                                               (Waiver)

          159.     By the statements, conduct, acts, or omissions attributable to ARM alone, ARM has

  waived all claims and causes of action and any recovery or remedy alleged in the complaint. ARM



                                                  58
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page60
                                                          360
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11208
                                                                                 452




  has been aware of Qualcomm’s development of technology it acquired from NUVIA for over a

  year, and only now seeks to preclude Qualcomm from proceeding with its development.

                                         NINTH DEFENSE

                                              (Estoppel)

         160.    By the statements, conduct, acts, or omissions attributable to ARM alone, ARM is

  estopped from seeking any recovery or remedy as alleged in the complaint. ARM has been aware

  of Qualcomm’s development of technology it acquired from NUVIA for over a year, and only now

  seeks to preclude Qualcomm from proceeding with its development.

                                         TENTH DEFENSE

                                            (No Damages)

         161.    ARM’s claims cannot be maintained because ARM cannot prove any cognizable

  loss, damage, or injury as a result of the conduct alleged in the Complaint.

         162.    Moreover, to the extent ARM seeks damages, ARM’s damages are limited pursuant

  to            of the ALA.

                                      ELEVENTH DEFENSE

                                   (Failure To Mitigate Damages)

         163.    ARM’s claim for damages is barred in whole or in part due to ARM’s failure to

  mitigate the alleged damages resulting from its claims.

         164.    ARM knew in March of 2021 that Qualcomm had acquired NUVIA and that it

  intended to continue developing technology acquired from NUVIA.

         165.    ARM waited until February 2022 to terminate the NUVIA ALA, allegedly because

  NUVIA violated assignments provisions in the NUVIA agreements.

         166.    ARM’s actions worked to maximize its alleged damages.




                                                  59
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page61
                                                          361
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11209
                                                                                 453




                                        TWELFTH DEFENSE

                                         (Equitable Defenses)

           167.   The claims alleged and the relief sought in this action are barred in whole or in part

  by the equitable doctrines of laches, acquiescence, consent, ratification, and/or similar doctrines.

                                       THIRTEENTH DEFENSE

                                (No Entitlement To Equitable Relief)

           168.   To the extent the Complaint seeks equitable relief, such relief is barred because

  there is an adequate remedy at law.

                                       FOURTEENTH DEFENSE

                                         (Trademark Misuse)

           169.   ARM has misused its marks inequitably, in order to harm Defendants.

           170.   ARM has falsely claimed that Defendants are not entitled to utilize the ARM

  Marks.

           171.   ARM falsely told customers, the media, and the public that Qualcomm cannot

  manufacture or sell products compatible with ARM’s ISA that contain NUVIA technology.

           172.   In so doing, ARM is indicating that Defendants are not entitled to utilize the ARM

  Marks.

           173.   This is incorrect.    Defendants are fully licensed to the ARM Marks under

  Qualcomm’s license agreements with ARM.




                                                   60
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page62
                                                          362
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11210
                                                                                 454




                                      FIFTEENTH DEFENSE

                                           (Other Defenses)

         174.    Defendants hereby adopt and incorporate by reference any and all other defenses

  asserted, or that may hereafter be asserted, by any other defendant not expressly set forth herein to

  the extent such defense may be applicable to Defendants.

                                         COUNTERCLAIM

         175.    Defendants, for their Counterclaim against ARM, seek a declaration that

  Defendants have not breached NUVIA’s license agreements with ARM, and that Defendants’

  design, activities, and work on the Phoenix Core and associated SoCs are fully licensed pursuant

  to Qualcomm’s license agreements with ARM. Defendants set forth their counterclaim below,

  and incorporate by reference their introduction, set forth in paragraphs 1-47 above, as though set

  forth in full below.

                                           THE PARTIES

         176.    Qualcomm Incorporated is a Delaware corporation with its principal place of

  business in San Diego, California. Qualcomm is the world’s leading wireless technology

  innovator and the driving force behind the development, launch, and expansion of 5G technology.

  Qualcomm’s foundational technologies enable the mobile ecosystem and are found in every 3G,

  4G, and 5G smartphone. Qualcomm brings the benefits of mobile to new industries, including

  automotive, the internet of things, and computing, where Qualcomm has driven the convergence

  of PC and mobile technology to increase productivity, connectivity, and security in portable

  laptops.

         177.    Qualcomm Technologies, Inc. is a Delaware corporation with a principal place of

  business in San Diego, California. Qualcomm Technologies is a wholly-owned subsidiary of



                                                   61
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page63
                                                          363
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11211
                                                                                 455




  Qualcomm Incorporated and operates, along with its subsidiaries, substantially all of Qualcomm’s

  engineering, research and development functions, and substantially all of its products and services

  businesses, including its QCT semiconductor business.

         178.    NUVIA, Inc. was founded in February 2019 to design and develop ARM-

  compatible cores for use in server products. NUVIA comprised a proven world-class CPU and

  technology design team, with industry-leading expertise in high-performance processors, SoCs,

  and power management for compute-intensive devices and applications. Qualcomm acquired

  NUVIA in March 2021 for approximately $1.4 billion, before working capital and other

  adjustments.

         179.    ARM is a corporation headquartered in Cambridge, United Kingdom and was

  founded in 1990. ARM is planning to issue an IPO in the future, and ARM’s positions will have

  a detrimental impact on this IPO unless this action is resolved beforehand.

                                  JURISDICTION AND VENUE

         180.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  § 1332 as there is complete diversity between the parties and the amount in controversy exceeds

  $75,000.

         181.    Venue is proper in the District of Delaware under 28 U.S.C. § 1391 because ARM,

  through its Complaint dated August 31, 2022, has consented to jurisdiction and venue in the State

  of Delaware and this Judicial District.




                                                  62
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page64
                                                          364
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11212
                                                                                 456
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page65
                                                          365
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11213
                                                                                 457




         186.    Prior to ARM’s termination of the NUVIA ALA and TLA, Qualcomm’s and

  NUVIA’s license agreements with ARM broadly overlapped. At the time of termination of the

  NUVIA agreements, Qualcomm’s ALA and TLA provided Qualcomm a license to the same

  technologies that were licensed under the NUVIA agreements.

         187.    However, as discussed above, the royalty rates under NUVIA’s license agreements

  were higher than those under Qualcomm’s.

         II.     ARM TRIES TO TAKE ADVANTAGE OF QUALCOMM’S ACQUISITION
                 OF NUVIA

         a.        Qualcomm Alerts ARM To Its Pending Acquisition Of NUVIA

         188.    As discussed above in paragraphs 1-47, on January 13, 2021, Qualcomm

  announced its intent to acquire—for $1.4 billion before working capital and other adjustments—

  NUVIA, a start-up focused on developing a promising custom CPU compliant with the ARM ISA

  designed for data center servers.

         189.    On January 27, 2021, Qualcomm wrote ARM a letter stating that it had entered into

  a definitive agreement to acquire NUVIA, and noting that Qualcomm and NUVIA had overlapping

  license agreements. As Qualcomm notified ARM, “[f]ollowing the closing of the acquisition, for

  ease of operation and structure, QTI intends to transfer NUVIA’s work and employees to QTI and

  other current Qualcomm subsidiaries and have the then former NUVIA employees continue their

  activities under the Qualcomm ALA and TLA, as that will be their current employer.” In its letter,

  Qualcomm told ARM that it would be willing to “work with the ARM team to complete any

  necessary annexes” to Qualcomm’s ALA and TLA “to the extent NUVIA was utilizing any ARM

  technology not currently covered under the current QTI ALA and TLA.” Given the timing of the

  acquisition, which was scheduled to close in March, Qualcomm requested that ARM respond by

  February 3, 2021.



                                                 64
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page66
                                                          366
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11214
                                                                                 458




         190.    ARM did not respond until February 2, 2021, and said it would start reviewing

  “NUVIA’s contracts with ARM” and would “aim to get in touch” regarding additional materials

  required to facilitate the review by February 17, 2021. ARM further stated that it expected

  Qualcomm and NUVIA to “continue to follow the confidentiality obligations” in the parties’

  agreements and that the transfer of “designs, rights, or licenses” would be subject to “Arm’s prior

  consent,” which is “customarily documented in a three-way agreement between Arm, transferor,

  and transferee.”

         191.    Qualcomm replied the following day. Qualcomm confirmed that both “NUVIA

  and Qualcomm’s existing agreements with ARM provide for the protection of ARM’s confidential

  information,” and that they “would abide by the confidentiality terms of those agreements.”

  Qualcomm further requested that ARM provide its proposed “three-way agreement” for review.

         192.    ARM never provided a draft of the “three-way agreement” or explained its concerns

  regarding protection of its confidential information. Nor was any such “three-way agreement”

  necessary to transfer any designs or rights to the NUVIA technology that Qualcomm had acquired.

  Rather, by its terms, Qualcomm’s agreements provided any rights necessary to continue the

  development of custom cores for the uses Qualcomm contemplated.

         b.      ARM’s Baseless Threats

         193.    ARM waited nearly two weeks after Qualcomm’s letter to provide any meaningful

  response. On February 16, 2021, ARM gave Qualcomm a broad list of demands, claiming that

  ARM could only consent to the assignment of NUVIA’s agreements to Qualcomm if Qualcomm

  agreed to several outrageous demands, set forth in Paragraph 23 above.

         194.    Although assignment of the NUVIA agreement was unnecessary because of

  Qualcomm’s own license agreements and nothing in the NUVIA agreement precluded Qualcomm

  from acquiring NUVIA or its technology, ARM’s ploy in tying its consent to these demands was


                                                  65
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page67
                                                          367
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11215
                                                                                 459




  to try and leverage the swiftly approaching closing date in a misguided attempt to disrupt

  Qualcomm’s acquisition.

         195.   In correspondence sent February 18 and February 25, 2021, Qualcomm explained

  that ARM’s demand that Qualcomm pay the NUVIA licensing rates was not appropriate because

  “ARM has not proposed giving Qualcomm any additional rights or benefits in exchange for” its

  demand for additional payments and because there was no contractual support for ARM’s

  imposition of NUVIA’s royalty rates on Qualcomm.

         196.   Qualcomm also explained that ARM’s proposed restrictions on Qualcomm’s

  engineers were inappropriate, as the proposed three-year restriction period would make it nearly

  impossible to develop products, thus endangering Qualcomm development work and would

  adversely impact ARM through the loss of licensing revenue.

         197.   During Qualcomm’s February 2021 discussions with ARM, it became apparent that

  ARM’s position was that NUVIA needed to assign its license agreements to Qualcomm, and that

  assignment could only be made with ARM’s consent under



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         199.




                                                66
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page68
                                                          368
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11216
                                                                                 460




         200.   These assignment provisions are inapplicable to Qualcomm’s acquisition of

  NUVIA because Qualcomm has its own separate license agreements with ARM, which covered

  NUVIA and its technology as soon as the acquisition closed.




         201.   In addition, the ALA gave Qualcomm broad license rights to design architecture

  compatible cores at all stages of implementation.




         202.   Therefore, NUVIA’s technology would be covered by Qualcomm’s ALA upon its

  acquisition. It was not necessary to transfer NUVIA’s licenses to effectuate the acquisition of

  NUVIA or its technology.

         203.   Regardless, in an effort to compromise, on February 25, 2021, Qualcomm asked

  that ARM consent to the transfer of the NUVIA licenses to Qualcomm by March 2, 2021.

         204.   By a letter dated March 2, 2021, ARM refused to consent. Instead, ARM reiterated

  its demand that Qualcomm agree to the higher royalties of the NUVIA license agreement,

  including for what it alleged to be “derivative[]” products developed by Qualcomm. ARM

  conditioned its consent to the assignment of the agreements by NUVIA to Qualcomm on

  Qualcomm agreeing to these demands.




                                                 67
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page69
                                                          369
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11217
                                                                                 461




         205.    Qualcomm did not agree to these demands and Qualcomm’s acquisition of NUVIA

  was completed as scheduled on March 16, 2021.

         206.    Although the parties had intermittent discussions to resolve the dispute, they were

  unable to resolve these issues, and in September 2021, ARM went silent.

         d.      With ARM’s Knowledge And Assistance Owed To Qualcomm Under Its ALA,
                 Qualcomm Continued Its Work Developing CPU Cores After The Acquisition
                 Closed

         207.    From March 16, 2021 through the present, Qualcomm engineers (including former

  NUVIA employees), operating under the Qualcomm license agreements, worked diligently to

  develop market-leading CPU cores and SoCs improving and further developing the technology it

  acquired from NUVIA.

         208.    When Qualcomm acquired NUVIA, NUVIA had certain technology for a CPU core

  (i.e., the Phoenix Core) and the Server SoC that would use the Phoenix Core, but this technology

  was not fully developed. Qualcomm continued to develop the Phoenix Core and Server SoC.

         209.    Qualcomm also designed a SoC for use in the “compute” space (the “Compute

  SoC”), which would include aspects of the Phoenix Core. Unlike the Server SoC, the Compute

  SoC was initially conceived of and innovated at Qualcomm after the NUVIA acquisition, including

  modifications of the Phoenix Core for this application.

         210.    Throughout 2021 and 2022, Qualcomm received limited support from ARM as it

  developed the Phoenix Core and the two SoCs under Qualcomm’s agreements, largely related to

  certain verification processes ARM is obligated to provide to ensure that the core design meets the

  architectural guidelines. During the verification process, ARM knew that it was interacting with

  former NUVIA employees, and knew that Qualcomm was seeking to verify core designs that

  included technologies Qualcomm had acquired from NUVIA.




                                                  68
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page70
                                                          370
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11218
                                                                                 462




         211.   Beginning immediately after the acquisition, Qualcomm—including many

  Qualcomm team members who had previously worked at NUVIA—began having weekly calls

  with ARM engineers related to verification testing of the in-development Phoenix Core and the

  Server SoC.

         212.   The discussion between ARM and Qualcomm (which included the former NUVIA

  engineers) was open and transparent. ARM was aware that the discussions included Qualcomm

  engineers formerly at NUVIA related to Qualcomm’s ongoing development of the technologies it

  had acquired from NUVIA.

         213.   ARM has also continued to license technology to Qualcomm, and Qualcomm has

  continued to pay ARM for those licenses.

         214.   For example, in July 2021, ARM delivered to Qualcomm four design-only licenses

  for Qualcomm internal testing. It also delivered to Qualcomm twelve single-use licenses, allowing

  the development of a single chipset design using the licensed ARM Technology. Subsequently,

  in October 2021, ARM delivered three perpetual licenses allowing for use of some of that same

  ARM Technology in unlimited designs. Like other licenses from ARM, Qualcomm paid for these

  licenses.

         215.   In or around late 2021, Qualcomm also introduced the Compute SoC into the

  parties’ weekly discussions. Like the parties’ discussions concerning the in-development Phoenix

  Core for the Server SoC, these discussions were transparent, and ARM was aware that these

  discussions included Qualcomm engineers formerly at NUVIA and related to Qualcomm’s

  ongoing development of the technologies it had acquired from NUVIA.

         216.   Also in December 2021, Qualcomm submitted an interim compliance report to

  ARM for the Server SoC it had been developing since the NUVIA acquisition. This compliance




                                                 69
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page71
                                                          371
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11219
                                                                                 463




  report stated that the Server SoC implemented          of the ARM ISA, which was, at that time,

  publicly available on ARM’s website and licensed under Qualcomm’s ALA.

            III.   ARM WAITED OVER A YEAR TO TERMINATE THE NUVIA LICENSES
                   AND DEMAND QUALCOMM DESTROY TECHNOLOGY

            a.     On February 1, 2022, ARM Claimed NUVIA And Qualcomm Breached The
                   NUVIA License Agreements And Terminated The Agreements

            217.   As discussed above in paragraphs 31-40, in a letter dated February 1, 2022, after

  ARM had been interfacing with Qualcomm and its development efforts for months, ARM notified

  Gerard Williams III, the former CEO and President of NUVIA, that it intended to terminate both

  NUVIA’s ALA and TLA for “material breach.”

            218.   ARM’s February 2022 letter alleged that NUVIA had violated the assignment

  provisions in               of both the NUVIA ALA and TLA when it was acquired by Qualcomm

  without ARM’s consent. ARM also alleged that NUVIA violated the confidentiality provisions

  of               of both of the NUVIA license agreements by making unlicensed use of ARM’s

  confidential information. ARM’s letter did not explain its assertions or define the purported

  breach.

            219.   But NUVIA was not required to obtain consent from ARM to “transfer” its licenses

  or technology. There are no provisions in the NUVIA-ARM agreements or the Qualcomm-ARM

  agreements that prohibited Qualcomm from purchasing NUVIA, nor are there any such provisions

  that required ARM’s consent to purchase NUVIA.

            220.   As a Qualcomm subsidiary, NUVIA was licensed under the Qualcomm ALA and

  TLA to use ARM Technology and Confidential Information. And Qualcomm’s licenses covered

  the further development of the technology acquired from NUVIA by Qualcomm.




                                                  70
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page72
                                                          372
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11220
                                                                                 464




         221.    ARM’s argument under                  fails for the same reasons. At the time of the

  termination, both NUVIA and Qualcomm were licensed to use the ARM information in the

  Phoenix Core and related SoCs under the Qualcomm ALA and TLA, and any use of that

  information was fully authorized.

         222.    In addition, the Phoenix Core and the Server SoC implemented           of the ARM

  ISA, and did not utilize any ARM Confidential Information because ARM has published this

  specification and placed it in the public domain. ARM was well aware of this fact by the time it

  sent the February 1, 2022 termination letter.

         223.    Thus, contrary to ARM’s assertions, neither NUVIA nor Qualcomm “committed a

  material breach of” the NUVIA ALA.

         224.    Moreover, ARM waited to terminate the NUVIA agreement until Qualcomm had

  already completed the design of the Phoenix Core for its Server SoC—and even after ARM had

  accepted Qualcomm’s core design as ISA compatible.

         225.    ARM demanded, upon termination, that NUVIA:

                         a.     “discontinue any use and distribution of all Arm Technology, Arm
                                Confidential Information and any products embodying such
                                technology or information”;

                         b.     “[a]t Arm’s option, either destroy or return to Arm any Arm
                                Confidential Information, including any copies thereof in its
                                possession and any Arm Technology or derivatives . . . thereof in its
                                possession”; and

                         c.     “[w]ithin one month after termination, furnish to Arm a certificate
                                signed by a duly authorized representative that to the best of his or
                                her knowledge, information and belief, after due enquiry, NUVIA
                                has complied with these provisions.”

         226.    ARM further claimed (wrongly) that these “obligations extend to Qualcomm and

  its widely publicized use of NUVIA’s technology developed under NUVIA’s ALA and TLA.”




                                                  71
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page73
                                                          373
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11221
                                                                                 465




  ARM contended in its termination notice that certification of the return or destruction of ARM

  Confidential Information should “extend to Qualcomm as well.”

         227.   ARM informed NUVIA that its unilateral termination would be effective as of

  March 1, 2022 and demanded the return or destruction of any ARM Confidential Information

  delivered to NUVIA by April 1, 2022.

         228.   ARM’s demand that NUVIA discontinue using and distributing ARM Technology,

  ARM Confidential Information, and any products embodying such technology or information was

  baseless. NUVIA and the technology Qualcomm acquired from NUVIA was licensed under

  Qualcomm’s license agreements.

         229.   Likewise, ARM’s demand that NUVIA destroy ARM Confidential Information

  was baseless because NUVIA was licensed to this information under Qualcomm’s license

  agreements and Qualcomm’s further development of this technology was also licensed under

  Qualcomm’s license agreements.

         230.   Nonetheless, Qualcomm and NUVIA acted swiftly, at great time and expense, to

  take additional measures to satisfy ARM’s unreasonable demand to comply with the termination

  provisions in NUVIA’s license agreements.

         231.   Qualcomm and NUVIA removed NUVIA-acquired ARM Confidential Information

  from its designs and redesigned its products to replace it with information acquired under

  Qualcomm’s license—even though it was the exact same information—then quarantined a copy.

  Qualcomm also removed NUVIA-acquired ARM Confidential Information from its design

  environment and systems and quarantined it.




                                                72
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page74
                                                          374
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11222
                                                                                 466
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page75
                                                          375
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11223
                                                                                 467
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page76
                                                          376
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11224
                                                                                 468




          241.     When asked about this email in his December 13, 2023 deposition, Mr. Agrawal

  testified that




          242.     Mark Werkheiser, a “Distinguished Engineer” and Fellow at ARM, also confirmed

  at his December 7, 2023 deposition that




          243.     Mr. Werkheiser further testified that




          244.     The NUVIA code and/or NUVIA identified features for the CMN is NUVIA

  Confidential Information (1) under ARM’s                                            as applied

  to Qualcomm’s CPUs                                                            (2) as a NUVIA

  trade secret disclosed to ARM, and (3) as NUVIA marked Confidential Information disclosed to

  ARM. ARM is actively using NUVIA Confidential Information, including derivatives of NUVIA

  Technology —and directly profiting from that use.

          245.     Defendants have been harmed by ARM’s breach, which allowed ARM to access,

  use and profit from NUVIA Technology and Confidential Information, which belongs to the

  Defendants. ARM is providing the NUVIA Confidential Information to third parties that are in




                                                 75
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page77
                                                          377
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11225
                                                                                 469




  direct competition with Qualcomm. Further discovery is required to determine the precise scope

  of harm Defendants have suffered—and the precise benefits ARM has wrongfully incurred—as a

  result of ARM’s breach.

         c.     ARM Continued to Threaten Qualcomm

         246.   After NUVIA’s certification, ARM responded by purporting to impose even more

  onerous demands than required by the termination provisions. In an April 29, 2022 letter, ARM

  wrote to confirm that: “both Qualcomm and NUVIA . . . will not proceed with any further

  development of NUVIA technology that embodies or is derivative of Arm confidential information

  or technology.”

         247.   The termination provisions do not, by their plain language, require any such thing.

  They require only that NUVIA



  These provisions apply only to NUVIA, not Qualcomm. And, of course, Qualcomm owns its own

  licenses to ARM Confidential Information and Technology.

         248.       Moreover, in this April letter, ARM stated that “Arm does not believe that the

  NuVia [sic] technology discussed above constitutes or can form the basis of an Arm Compliant

  Product or Architecture Compliant Product for purposes of the relevant Qualcomm agreements

  with Arm.” This assertion was incorrect because of Qualcomm’s own licenses, which do not

  restrict Qualcomm’s ability to develop CPU cores using Qualcomm’s technology, including

  technology it acquired from NUVIA.

         249.   Then, on August 2, 2022, ARM told Qualcomm that “Qualcomm is not authorized

  to make, use, sell, or import a product incorporating designs or derivatives of the NUVIA

  technology.” In other words, ARM contended—with absolutely no basis—that Qualcomm cannot




                                                  76
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page78
                                                          378
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11226
                                                                                 470




  use any of NUVIA’s intellectual property, proprietary designs, or confidential information, which

  include technology that ARM did not own or develop. ARM’s demands go far afield of ARM

  Confidential Information or ARM Technology. ARM is pretending that it has rights over NUVIA

  Technology and NUVIA Confidential Information, a position that is baseless in light of the actual

  provisions of the NUVIA agreements. ARM also threatened Qualcomm’s customers, asserting

  that “[n]either Qualcomm nor its customers are licensed to use any part of Arm’s broad intellectual

  property portfolio with respect to such products. Arm will use all necessary means to protect its

  legal rights.”

          250.     ARM’s threats are baseless. ARM apparently contends that it has rights over all

  technology, proprietary designs, and confidential information developed by NUVIA, including

  technology that had absolutely nothing to do with ARM. But ARM has no right to demand

  destruction of that technology. ARM does not own CPU and/or SoC designs of its licensees, as

  ARM’s license agreements and its statements to regulators make clear.

          251.     There are no provisions in either the NUVIA-ARM agreements or the Qualcomm-

  ARM agreements that:

          a.       prohibited Qualcomm from purchasing NUVIA or acquiring NUVIA’s
                   technology;

          b.       required Qualcomm to obtain ARM’s consent to purchase NUVIA or access
                   NUVIA’s technology;

          c.       mandate that Qualcomm stop using any NUVIA technology it acquired;

          d.       mandate that Qualcomm destroy NUVIA’s technology;

          e.       prohibit the transfer or disclosure of NUVIA’s technology or confidential
                   information to Qualcomm;

          f.       limit the use of NUVIA technology only to NUVIA; or

          g.       require Qualcomm to obtain ARM’s consent to further develop any in-process
                   designs or technology that Qualcomm acquired from NUVIA.


                                                   77
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page79
                                                          379
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11227
                                                                                 471




         IV.    ARM CONTINUED TO SUPPORT QUALCOMM’S DEVELOPMENT
                WORK

         252.   Despite ARM’s demands that Qualcomm destroy and stop using NUVIA

  technology, for approximately one year, ARM engineers continued to provide verification support

  to Qualcomm in developing the Phoenix Core and related SoCs, and also continued to

  acknowledge the Defendants’ rights under the Qualcomm ALA and TLA to that technology.

         253.   For example, on April 12, 2022—after Qualcomm certified that it had destroyed all

  NUVIA-acquired ARM Confidential Information—ARM accepted test results verifying that the

  implementation of the Phoenix Core in the Server SoC complied with the requirements necessary

  to execute ARM’s instruction set. ARM explicitly validated this testing under the Qualcomm

  ALA.

         254.   Similarly, in May of 2022, Qualcomm received an email from ARM stating that

  the Compute SoC—which integrated technology acquired from NUVIA and was first developed

  after Qualcomm’s acquisition of NUVIA—had passed all relevant tests and was ARM-compatible.

  Yet, ARM’s engineering team noted that it could not yet send a formal compliance waiver because

  ARM’s legal team was withholding it.

         V.     ARM UNFAIRLY AND UNLAWFULLY ATTEMPTED TO PREVENT
                QUALCOMM’S CUSTOM CORES FROM COMPETING WITH ARM’S
                OWN CORES.

         255.   Discovery has revealed that ARM views Qualcomm as a competitor against ARM’s

  own CPU designs—and an impediment to ARM’s business strategy.

         256.   ARM stated explicitly to regulators in connection with review of the proposed

  acquisition of ARM by NVIDIA that Qualcomm competes “head-to-head with the licensees that




                                                78
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page80
                                                          380
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11228
                                                                                 472




  use ARM’s own CPU designs, such as MediaTek,”34 and, in internal documents,




          257.   At the same time, ARM employees acknowledged in internal emails and chat

  communications that




          258.   In an effort to limit competition posed by Qualcomm’s custom CPU, ARM

  systematically and persistently used its access to information about Qualcomm’s products and

  relationships with Qualcomm’s customers to unfairly, unlawfully, and fraudulently attack

  Qualcomm and its custom CPU.

          259.   ARM used a variety of tactics to accomplish this, including by misrepresenting

  Qualcomm’s license agreements with ARM, threatening Qualcomm customers, and violating its

  contractual obligations to make reasonable efforts to provide Qualcomm with deliverables paid for

  under the Qualcomm license agreements.

          a.     ARM Misrepresented Qualcomm’s Licenses And Threatened Qualcomm
                 Customers In An Effort To Thwart Competition From Qualcomm

          260.   ARM has persistently and wrongfully attempted to disrupt Qualcomm’s business

  and customer relationships by spreading misinformation about the nature of Qualcomm’s ARM

  licenses to customers that purchase Qualcomm’s ARM-compatible cores and chipsets.




  34
       Dec. 20, 2021 “Initial Submission” re: “Anticipated Acquisition By NVIDIA Corporation Of
       ARM Limited ME/6906/20” at 6.


                                                 79
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page81
                                                          381
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11229
                                                                                 473




          261.    ARM has engaged in this misinformation campaign directly through its leadership

  and through the leadership of its owner, SoftBank, acting on ARM’s behalf, in an attempt to

  damage Qualcomm, disparage its products, disrupt Qualcomm’s relationships with its customers,

  and create uncertainty where there is none. At least as early as October 2022, ARM falsely stated

  to one or more of Qualcomm’s longstanding original equipment manufacturer (“OEM”) customers

  that unless they accept a new direct license from ARM on which they pay royalties based on the

  sales of the OEM’s products, they will be unable to obtain ARM-compliant chips from 2025

  forward. ARM has also threatened at least one OEM that, if the OEM does not do so, ARM will

  go on to license the OEM’s large competitors instead—the implication being that the OEM would

  be excluded from the market and could not obtain any ARM-compliant chips from Qualcomm or

  any other supplier, including “off-the-shelf” chips from ARM under a TLA. ARM has done this

  despite already having approached the OEM’s competitors with a direct licensing offer, while

  acting as if ARM would only approach the competing OEMs if the threatened OEM declined the

  license in the first instance.

          262.    ARM also told one or more Qualcomm customers that, when the existing TLA

  agreements expire, ARM will cease licensing CPUs to all semiconductor companies—including

  Qualcomm—under an ARM TLA. ARM claimed that it is changing its business model and will

  only provide licenses to the device-makers themselves. ARM has explained to the OEMs that a

  direct OEM license will be the only way for device-makers to get access to ARM-compliant chips.

          263.    ARM is trying to coerce such customers into accepting its direct license by falsely

  asserting that Qualcomm will not be able to provide them with ARM-compliant chips beginning

  in 2025 because Qualcomm’s ARM license agreements terminate in 2024, that ARM will not




                                                  80
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page82
                                                          382
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11230
                                                                                 474
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page83
                                                          383
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11231
                                                                                 475




         268.    ARM’s coercion efforts did not stop with these false statements about Qualcomm’s

  license agreements. To apply more pressure, ARM further stated that Qualcomm and other

  semiconductor manufacturers will also not be able to provide OEM customers with other

  components of SoCs (such as graphics processing units (“GPU”), neural processing units (“NPU”),

  and image signal processor (“ISP”)), because ARM plans to tie licensing of those components to

  the device-maker CPU license.

         269.    ARM also claimed that it had already informed Qualcomm about its new business

  model that requires a direct license with the OEMs. That statement is false. ARM has not notified

  Qualcomm that it will be requiring direct licenses from device-makers. ARM did not tell

  Qualcomm that it intends to stop licensing CPU technology as a standalone license, that it will no

  longer license CPU technology to semiconductor companies, or that it will require licensees to

  obtain other technologies (notably ARM’s GPU and NPU technology) only from ARM. As noted

  above, these attempted or threatened changes in ARM’s business model do not account for

  Qualcomm’s existing agreements with ARM.

         270.    While ARM’s statements about Qualcomm have no basis in fact, they cause

  significant reputational damage and harm Qualcomm’s customer relationships. Moreover, while

  ARM’s goal may be to harm Qualcomm—and to coerce contracts with Qualcomm’s customers

  that are unnecessary in view of the fully exhaustive rights it has granted Qualcomm under its

  contracts—its tactics will result in harm to ARM’s customers and licensees throughout the

  industry.

         b.      ARM Attempted to Disrupt Qualcomm’s Development of Custom Cores By
                 Failing to Provide Deliverables To Which Qualcomm Is Entitled




                                                 82
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page84
                                                          384
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11232
                                                                                 476




         271.       After filing its Complaint in this case, ARM attempted to disrupt Qualcomm’s

  development of custom cores under its ALA by refusing to provide deliverables to which

  Qualcomm is contractually entitled.

         272.                  of the Qualcomm ALA requires ARM to



            and to




         273.       Under             of the Qualcomm ALA, where ARM

                                                                  any breach of           of the

  Qualcomm ALA,




         274.       Qualcomm first discovered that ARM was withholding ARM Technology under

  the Qualcomm ALA in the fall of 2022. At this time, Qualcomm was embarking on its verification

  process for its              . As is the customary practice between an ALA licensee and ARM,




                                                       the ALA.




                                                 83
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page85
                                                          385
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11233
                                                                                 477




           275.     On November 3, 2022, Qualcomm notified ARM in writing of its failure to

                                                , stating explicitly that ARM should take the letter as

  “Qualcomm’s required notice under                    that



                        Qualcomm’s letter otherwise complied with the notice requirements set forth in

  the Qualcomm ALA.

           276.     After not hearing from ARM, Qualcomm sent a follow-up letter on December 5,

  2022.

           277.     ARM responded on December 6, 2022. In its response, ARM stated that it

  disagreed that                was at issue                                                        ARM

  additionally asserted that                          are governed by               of the Qualcomm ALA,

  not               and that remedies for a breach of that section do not include



           278.     ARM additionally claimed that                                                  stating

  explicitly that

                                                                                , ARM claimed that



                  ARM was definitive in its factual assertions, stating that



           279.     ARM’s letter additionally threatened Qualcomm that if it did not drop its invocation

  of                , ARM would take steps to harm Qualcomm. ARM claimed that Qualcomm’s

  invocation of                 was                                                       and that, to the

  extent                                                                               , ARM would




                                                      84
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page86
                                                          386
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11234
                                                                                 478




                                           . ARM further stated that Qualcomm’s letter was

                                                        which ARM purported was

                                                                                      .”

        280.   More than a year later, discovery has revealed that ARM’s December 6, 2022 letter

  misrepresented the facts—and concealed ARM’s strategy of

                                                                seemingly in an effort to create

  leverage by causing Qualcomm legal and economic duress.

        281.   In response to Qualcomm’s requests for production, ARM produced an October

  2022 email chain in which Richard Grisenthwaite




        282.   Later in the email chain, on October 10, 2022, ARM engineer Vivek Agrawal



        283.

        284.   Mr. Agrawal’s documents and testimony additionally revealed that ARM



        285.   Mr. Agrawal stated at his December 13, 2023 deposition that



                        In his deposition, Mr. Grisenthwaite



          Neither Mr. Agrawal, nor Mr. Grisenthwaite,




                                              85
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page87
                                                          387
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11235
                                                                                 479




          286.   The applicable           to the Qualcomm ALA includes the



          287.   Accordingly, when it was revealed through document and deposition testimony

  that, contrary to ARM’s December 6, 2022 letter, ARM had

                                                     , it became clear that ARM breached its obligations

  under              of the Qualcomm ALA.

          288.   Qualcomm was unable to ascertain this information prior to document discovery

  and depositions of Mr. Grisenthwaite and Mr. Agrawal.

          289.   ARM’s in-house counsel concealed the facts, explicitly (and definitively) stating in

  ARM’s December 6, 2022 letter that

                                               Qualcomm did not have a valid basis to dispute that

  factual representation without discovery.

          290.   This is particularly true for the

                                                                             . Accordingly, Qualcomm

  has no way of knowing definitively whether ARM had



                      Mr. Agrawal’s recent deposition testimony was the first time Qualcomm was

  able to confirm                                                                           .35



  35
       Even today, Qualcomm’s team is not aware that
                                   ARM designated its documents and testimony on this issue as
       highly confidential and attorneys’ eyes only, ensuring that Qualcomm’s business and
       engineering teams could not learn these facts.


                                                      86
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page88
                                                          388
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11236
                                                                                 480




         291.    ARM’s failure to                                          increased Qualcomm’s

  burden in verification.

         292.    By failing to                  , ARM forced Qualcomm to expend time and

  resources to ensure that Qualcomm could verify its products, even in the absence of



         293.    Similarly, by failing to                 , ARM forced Qualcomm to use its own

  engineers to address issues that would have been addressed by

                                                     . Qualcomm was damaged as a result.

         294.    Additionally, because Qualcomm notified ARM of its failure to

                                                                                          and

                                                             , Qualcomm was entitled to



                                                                   as a result of ARM’s continued

  concealment of its breach.

         VI.     ARM’S WELL-ESTABLISHED EFFORTS TO LIMIT INNOVATION ARE
                 HARMFUL TO THE INDUSTRY AND TO ARM ITSELF

         295.    ARM’s mercenary desire to thwart innovation is nothing new.               Prior to

  Qualcomm’s acquisition of NUVIA, in September 2020, NVIDIA announced that it was going to

  acquire ARM to “bring[] together NVIDIA’s leading AI computing platform with Arm’s vast

  ecosystem to create the premier computing company for the age of artificial intelligence.” The

  announcement led to immediate antitrust concerns, regulatory challenges, and public opposition

  from many companies, including Qualcomm. The near universal concern was that an NVIDIA-

  controlled ARM would impede innovation and lead to higher prices. On February 7, 2022, ARM

  and NVIDIA announced that the acquisition would be terminated.



                                                87
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page89
                                                          389
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11237
                                                                                 481




         296.    Only three days before that announcement—when it was no doubt clear to ARM

  that the acquisition would not close—ARM sent its termination letter to the Defendants,

  terminating NUVIA’s license agreements and demanding that Qualcomm stop working on any of

  the NUVIA technology. As Qualcomm was one of the more public opponents of the acquisition,

  ARM’s actions appear to be retributive.

         297.    Although ARM’s efforts to destroy Qualcomm’s innovation and prevent

  Qualcomm from expanding and advancing technology may in the short term, create the illusion of

  ARM achieving greater profitability—either by effectively strongarming Qualcomm into paying

  additional, unjustified royalties or through eliminating Qualcomm as a competitor in the custom

  CPU and server SoC space—in the long term it only harms ARM’s interest and weakens the place

  in the market ARM hopes for after its IPO because it is injurious to ARM customers and

  licensees. ARM’s positions are directly contrary to the purpose of the ALA, which will have little

  value if licensees are not assured that they can use it to develop their own CPU core technology,

  at their own risk and expense and for their own benefit.

                                       COUNTERCLAIMS

                                             COUNT I

                                      (Declaratory Judgment)

         298.    Defendants incorporate by reference all allegations set forth in the preceding

  paragraphs 1-47 and 175-257 as though fully set forth herein.

         299.    Defendants are entitled to declaratory judgment that:

         a.      Defendants did not breach the NUVIA ALA and NUVIA TLA;

         b.      After Qualcomm’s acquisition of NUVIA, Qualcomm’s architected cores
                 (including all further developments, iterations, or instantiations of the technology
                 acquired from NUVIA), Server SoC, and Compute SoC, are fully licensed under
                 Qualcomm’s ALA and TLA for the full terms of those licenses;



                                                  88
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page90
                                                          390
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11238
                                                                                 482
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page91
                                                          391
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11239
                                                                                 483




            303.    The Qualcomm ALA is a valid, binding contract.

            304.    ARM failed to fulfill its obligation under                  of the Qualcomm ALA

  because it



            305.    Accordingly, ARM did not

                                                                                 and to



            as is required by                of the agreement.

            306.    Qualcomm

                    , as is required under the contract.

            307.    As a proximate result of ARM’s breach of contract, Qualcomm has been damaged

  by delay that could have been avoided had ARM fulfilled its obligations and



                                                                                                .

                                                  COUNT III

                                (Breach of                  of the NUVIA ALA)

            308.    Defendants repeat and reallege all of the preceding allegations as if set forth fully

  herein.

            309.    The NUVIA ALA was a valid, binding contract.

            310.    ARM failed to fulfill its termination obligations to NUVIA, as set forth in

                   of the NUVIA ALA, by

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                                                       90
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page92
                                                          392
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11240
                                                                                 484




            311.    As a proximate result of ARM’s breach of contract, Defendants have been damaged

  in an amount to be proven at trial.

                                                COUNT IV

                              (Breach of                  of the NUVIA TLA)

            312.    Defendants repeat and reallege all of the preceding allegations as if set forth fully

  herein.

            313.    The NUVIA TLA was a valid, binding contract.

            314.    ARM failed to fulfill its termination obligations to NUVIA, as set forth in

                   of the NUVIA ALA, by

                                                                    .

            315.    As a proximate result of ARM’s breach of contract, Defendants have been damaged

  in an amount to be proven at trial.

                                         PRAYER FOR RELIEF

            WHEREFORE, Defendants request judgment and relief as follows:

            a.      For the declaratory judgments set forth in Defendants’ counterclaims;

            b.      For an Order enjoining ARM from:

                    (i)     making any claim that Qualcomm’s CPU products, including products that
                            contain technology acquired from NUVIA, are not licensed under
                            Qualcomm’s agreements with ARM, are not ARM-compatible, cannot be
                            commercialized as ARM-compliant, or that Qualcomm is prohibited from
                            using ARM’s marks in the marketing of any such products;

                    (ii)    misrepresenting the scope, terms, or rights granted to Qualcomm under its
                            agreements with ARM; and

                    (iii)   making false statements about Qualcomm’s ability to sell its CPU
                            products to its customers, the media, analysts, or others;

            c.      For an Order requiring ARM to comply with its obligations under Qualcomm’s

  license agreements without discrimination or retaliation;


                                                     91
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page93
                                                          393
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11241
                                                                                 485




        d.     For damages in an amount deemed appropriate by the Court;

        e.     For an award of attorney’s fees and costs as allowed by law; and

        f.     For such other and further relief as the Court may deem just and proper.

                                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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                                               92
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page94
                                                          394
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11242
                                                                                 486




                      EXHIBIT 2
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page95
                                                          395
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11243
                                                                                 487




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  ARM LTD.,                                           )
                                                      )
                         Plaintiff,                   )
                                                      )
         v.                                           )    C.A. No. 22-1146 (MN)
                                                      )
  QUALCOMM INC., QUALCOMM                             )    CONFIDENTIAL – FILED UNDER
  TECHNOLOGIES, INC. and NUVIA, INC.,                 )    SEAL
                                                      )
                         Defendants.                  )


     DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT AND
            JURY DEMAND AND DEFENDANTS’ SECOND AMENDED
                    COUNTERCLAIMCOUNTERCLAIMS

         1.       Qualcomm Incorporated and Qualcomm Technologies, Inc. (collectively,

  “Qualcomm”) are poised to release to the market several innovative products enabled by

  custom-designed high-performance, low-power central processing units (“CPUs”) containing a

  novel microarchitecture and related technologies that will deliver the next era of computing

  innovation. While many in the industry see in this pivotal moment the opportunity for

  technological   advancement, ARM sees an opportunity to strongarm Qualcomm into

  renegotiating the financial terms of the parties’ longstanding license agreements, using this

  baseless lawsuit as leverage. With this lawsuit, ARM makes clear to the marketplace that it will

  act recklessly and opportunistically, threatening the development of new and innovative products

  as a negotiating tactic, not because it has valid license and trademark claims.

         2.       ARM claims, with no legal or contractual basis, that following Qualcomm’s

  acquisition of NUVIA Inc. (“NUVIA”) for $1.4 billion, Qualcomm’s use of any technology

  acquired from NUVIA—including NUVIA technology that was further developed by Qualcomm
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page96
                                                          396
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11244
                                                                                 488




  and has nothing to do with ARM—violates a previously-terminated license agreement between

  ARM and NUVIA.

         3.      Qualcomm has its own license agreements with ARM, under which Qualcomm

  has licensed and paid for the same intellectual property that NUVIA licensed under its own

  separate agreements with ARM. Therefore, even though ARM terminated the NUVIA licenses,

  Qualcomm owns independent licenses for the same ARM technology and information that allow

  it to provide ARM-compliant products to its customers for many years to come—a fact ARM

  glaringly omitted from its complaint, and which ARM has attempted to obfuscate through an

  aggressive misinformation campaign. Thus, ARM has no right to demand any destruction of

  Qualcomm’s CPU technology because Qualcomm’s use of ARM technology and information is

  licensed under its overlapping license agreements.

         4.      The notion that ARM has the right to control technology that is not ARM’s—and

  worse yet, to ask Defendants to destroy their innovation and inventions unless substantial

  monetary tribute is paid to ARM—offends customary norms of technology ownership, as well as

  NUVIA’s and Qualcomm’s rights under their agreements with ARM.

         5.      Even putting aside Qualcomm’s broad license rights, ARM’s reading of the

  termination obligations in the NUVIA Architecture License Agreement (“ALA”) is wrong. To

  the extent any destruction obligation exists, it explicitly applies only to ARM Confidential

  Information.1 But ARM again omits important facts: (1) under the NUVIA ALA, information in

  the public domain is not subject to confidentiality obligations, and (2) ARM publishes its

  instruction set without confidentiality restrictions. Anyone is free to go to the ARM website and



  1
      Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in
      the relevant license agreements.


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Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page97
                                                          397
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11245
                                                                                 489
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page98
                                                          398
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11246
                                                                                 490




         10.      Although Qualcomm and NUVIA were focused on different market segments, the

  NUVIA CPU and SoC technologies comprised promising, innovative technology. Because the

  NUVIA CPU cores were being designed to be ARM architecture-compatible, this technology

  was (and is) compatible with Qualcomm’s existing computer and mobile device chipset

  technologies.

         11.      Qualcomm’s plan was to complete the development of the Phoenix Core after the

  acquisition and ultimately drive this technology into various SoCs, particularly for use in the

  “compute” (e.g., laptops/PCs), “mobile” (e.g., smartphones), and “automotive” (e.g., digital

  cockpit) markets. Qualcomm also planned to continue the development of a SoC for use in data

  centers and servers (“Server SoC”). This would allow Qualcomm’s custom CPUs to compete

  more effectively against CPUs designed not only by rival ARM licensees and ARM, but also

  rival suppliers of CPUs compliant with other instruction set architectures (notably, Intel’s x86).

         12.      Major industry participants—including Microsoft, Google, Samsung, GM, HP,

  and many others—praised the acquisition as benefitting their products and end-customers.3

  News of this acquisition appeared in Forbes and in newspapers around the world.

                             Qualcomm And NUVIA Had Individual
                    License Agreements With ARM With Common Provisions

         13.      At the time of the acquisition, NUVIA and Qualcomm had separate, but broadly

  overlapping, license agreements with ARM. Qualcomm’s ALA included all the rights granted to

  NUVIA, as well as additional rights. Both ALAs granted rights to use version 8 of the ARM

  instruction set architecture, including the ARM         instruction set architecture (“ISA”) with




  3
      See Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
      https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                                   4
Case
Case 1:22-cv-01146-MN
     1:24-cv-00490-MN Document
                       Document279-1
                                16 Filed
                                     Filed 06/12/24
                                           02/29/24 Page
                                                     Page99
                                                          399
                                                            of of
                                                               332633
                                                                    PageID
                                                                      PageID
                                                                           #: #:
                                                                              11247
                                                                                 491




  which the Phoenix Core was compatible. Qualcomm’s ALA is also broader, granting Qualcomm

  rights to the next generation v9 ISA.

         14.     ALAs grant licensees the right to design their own custom CPUs that can execute

  ARM’s ISA, as well as the right to design and distribute products incorporating such CPUs. An

  ISA lists the instructions that a software program will see, but an ISA does not tell a designer

  about the logic to implement it, nor how to build a CPU core, nor any of the features that make a

  CPU competitive. Application and software developers create their products to be compatible

  with particular ISAs. Applications and software that are compatible with a specific ISA can be

  run on any CPU that is compatible with the ISA, regardless of who has designed or

  manufactured the hardware. The ARM ISA allows for compatibility, as all ARM-compatible

  products can receive the same inputs (instructions) and, for each of those inputs, determine and

  output the proper result.

         15.     To make a CPU that then can execute the ARM ISA and therefore run compatible

  applications and other software, the CPU developer must design and build a complicated

  integrated circuit consisting of billions of transistors wired together into arrays that form larger,

  interconnected blocks. Building a CPU requires detailed micro-architectural know-how and

  expertise that is not related to the ISA, and requires expertise in cache design, branch prediction

  techniques, prefetchers, memory coherency/consistency paradigms, dependency resolution logic,

  schedulers, power delivery, power measurement and management, clocking methodology, and

  many other areas.

         16.     A CPU developer developing a custom CPU designs how the core is built, how it

  performs, and how it executes the CPU’s instructions. There are virtually infinite number of

  ways to design and build CPUs that can run the ARM instruction set. Companies that compete




                                                    5
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page100
                                                           400ofof332
                                                                   633PageID
                                                                       PageID#:#:11248
                                                                                  492




   against each other to make better products utilizing ARM instruction sets employ armies of

   engineers who make countless design choices and tradeoffs to improve the size, computing

   performance, power consumption, heat dissipation, and other important features of CPUs.

          17.      Under an ALA license, ARM does not deliver any specific ARM design or tell the

   licensee how to make the CPU. That technological development—and the resulting product that

   may meet or fail the performance benchmarks necessary to succeed in the market—is left to the

   licensee. If the licensee is willing to put in the extraordinary effort and investment to develop a

   custom CPU, the ALA structure can and does allow for product differentiation, even from

   ARM’s own CPUs.

          18.      ARM competes against licensees designing custom cores under ALAs by offering

   its own “off-the-shelf” CPU designs that customers may license through a Technology License

   Agreement (“TLA”). When a licensee seeks to sell products licensed under a TLA—rather than

   under an ALA—ARM delivers complete processor core designs that a licensee can effectively

   drop into a larger SoC design. ARM’s off-the-shelf processor cores licensed under TLAs do not

   allow for the same kind of product differentiation among different TLA licensees because all

   classes of TLA-licensed processor cores are effectively the same. However, there can still be

   considerable variety and differentiation among SoCs that incorporate TLA-licensed processor

   cores along with other functional blocks and circuits. For example, Qualcomm’s Snapdragon

   chip products that use stock ARM cores are very successful in large part because of Qualcomm’s

   innovation in designing many of the other functional blocks and integrating them into the SoC as

   a whole.     Such functional blocks include graphic processing units (GPU), digital signal

   processors (DSP), artificial intelligence (AI) processors, image processors, modems, and other

   technologies.




                                                    6
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page101
                                                           401ofof332
                                                                   633PageID
                                                                       PageID#:#:11249
                                                                                  493




          19.    Some companies make use of both custom-designed ALA processor cores and

   off-the-shelf TLA-licensed cores in their products. Royalty rates are generally lower under

   ALAs and higher under TLAs, because the TLA royalties account for ARM’s work in

   developing complete CPUs, whereas the licensees under an ALA make the significant

   investment to develop their own CPUs.

          20.    With the Phoenix Core, Qualcomm will begin incorporating more of its own

   custom CPUs in its products. Qualcomm is making this change because it believes its own

   innovation will generate better performing cores than ARM’s cores. This paradigm change will

   mean Qualcomm will in the future pay to ARM the lower royalty rate under its ALA for these

   custom CPUs, rather than the higher royalty rates under Qualcomm’s TLA.

                     After ARM Learned Of The NUVIA Acquisition, ARM
                         Demanded Higher Royalties From Qualcomm

          21.    Shortly after announcing the proposed acquisition of NUVIA in January 2021,

   Qualcomm informed ARM that the NUVIA engineers would be transferred to a Qualcomm

   subsidiary and would work under Qualcomm’s set of license agreements with ARM. Qualcomm

   also notified ARM that, to the extent NUVIA was utilizing any ARM Technology not currently

   covered under Qualcomm’s then-current ALA and TLA, Qualcomm would work with the ARM

   team to complete any necessary license annexes to cover such items.

          22.    Qualcomm believed that ARM would embrace the acquisition. Even though

   Qualcomm would now be working on its own custom CPUs, the fact that Qualcomm is

   developing SoCs compatible with the ARM ISA for markets where ARM-based processors have

   traditionally struggled, such as the “compute” market (i.e., the market for personal computers

   such as laptops), represents a tremendous opportunity for ARM. The combination of NUVIA’s




                                                  7
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page102
                                                           402ofof332
                                                                   633PageID
                                                                       PageID#:#:11250
                                                                                  494




   innovative CPU technology with Qualcomm’s scale and engineering prowess provides the best

   opportunity for ARM to significantly increase its reach and associated royalty payments.

          23.     ARM, however, acted opportunistically. In February 2021, ARM contended that

   “any transfer of designs, rights, or licenses under NUVIA’s agreements with Arm to Qualcomm

   will require and be subject to Arm’s prior consent.”        ARM insisted, without basis, that

   Qualcomm needed ARM’s consent to “any transfer of designs, rights or licenses under NUVIA’s

   agreements” to Qualcomm. Later that month, ARM wrote that to secure its consent for the

   transfer of NUVIA’s CPU design to Qualcomm, Qualcomm must: (i) incorporate the much

   higher royalty rates from NUVIA’s licenses into Qualcomm’s pre-existing licenses; (ii) restrict

   the ability of Qualcomm employees from working on Qualcomm’s custom CPU designs such

   that “at a minimum” any individual with access to ARM Confidential Information wait three

   years before working on “any architecture CPU design” at Qualcomm; (iii) “discuss and decide

   on the design transfer fee associated with such CPU design transfer”; and (iv) enter into a

   separate license for implementation IP and software tools, which would include another

   undisclosed “design transfer fee.”

          24.     ARM’s demands were outrageous.            First, it was attempting to secure

   supplemental payments and royalties for rights for which Qualcomm had already paid or was

   continuing to pay under its own license agreements. Qualcomm’s license agreements, on their

   face, make clear that Qualcomm’s use of ARM Technology in connection with the further

   development of the technology it acquired from NUVIA would be covered by Qualcomm’s

   pre-existing license agreements. For example,

                                                                                       Therefore,

   Qualcomm’s use of any ARM Technology utilized in NUVIA’s technology was fully licensed




                                                   8
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page103
                                                           403ofof332
                                                                   633PageID
                                                                       PageID#:#:11251
                                                                                  495




   under Qualcomm’s license agreements as soon as Qualcomm acquired NUVIA. Nonetheless,

   and although not necessary, Qualcomm sought ARM’s consent to assign NUVIA’s ARM

   licenses to Qualcomm, even though Qualcomm’s position was that NUVIA’s technology was

   licensed under Qualcomm’s license agreements as soon as the acquisition closed.

          25.     Second, ARM was claiming a right to control the transfer of NUVIA technology

   when NUVIA’s ALA provided no such rights to ARM.

          26.     Third, ARM was trying to interfere with Qualcomm’s business by preventing

   Qualcomm engineers from working for three years with absolutely no basis for such a demand in

   NUVIA’s or Qualcomm’s license agreements. ARM’s demands for additional payments from

   Qualcomm made little sense and were inconsistent with Qualcomm’s long-standing agreements.

   As ARM acknowledges in its complaint, NUVIA was focused on developing a CPU for use in

   low-volume, high-cost SoCs for the server market, whereas Qualcomm intended to use the

   technology NUVIA had started developing to build high-volume, lower cost SoCs for

   Qualcomm’s traditional markets, such as the “mobile” and “compute” markets. For its data

   center and server products—which would be of a lower volume and higher per-unit cost than, for

   example, Qualcomm’s higher volume and lower cost mobile products—NUVIA and ARM had

   negotiated a royalty rate that was many multiples higher than Qualcomm’s rate. ARM’s strategy,

   in light of Qualcomm’s more favorable terms, has been to ignore Qualcomm’s license rights and

   royalty rates and attempt to force upon Qualcomm NUVIA’s substantially higher royalty rate

   established for its server product.

          27.     If ARM could not get the benefit of forcing NUVIA’s royalty rate on Qualcomm’s

   custom CPU across Qualcomm’s broad SoC portfolio, its alternative strategy was to seek to

   preclude Qualcomm from proceeding with developing its custom CPU and, in doing so, force the




                                                 9
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page104
                                                           404ofof332
                                                                   633PageID
                                                                       PageID#:#:11252
                                                                                  496




   purchase of ARM’s off-the-shelf CPU. This is beneficial for ARM because the TLA has a

   higher royalty rate than Qualcomm’s ALA.            When Qualcomm successfully replaces

   ARM-designed CPUs with its own designs, Qualcomm will pay ARM lower royalties under the

   ALA.

          28.    Given ARM’s unreasonable positions, which conflict with the terms of the

   parties’ licenses, ARM and Qualcomm were unable to resolve this dispute prior to the close of

   the NUVIA acquisition on March 15, 2021. Even so, given the parties’ long-standing

   relationship, Qualcomm reaffirmed its interest in finding a productive path forward in its

   discussions with ARM after the acquisition was complete.

          29.    After the acquisition closed, ARM doubled down, asserting that Qualcomm

   needed to destroy NUVIA’s engineering work and start over unless it agreed to ARM’s demands,

   including tens of millions of dollars in both additional “transfer” payments and increased

   royalties. Qualcomm continued to try and reach a resolution with ARM even though ARM’s

   attempt to control NUVIA’s technology was unjustified.

          30.    While the parties had intermittent discussions to resolve the dispute, in or about

   September 2021, ARM stopped communicating with Qualcomm about the dispute. Meanwhile,

   throughout 2021 to the present day and with full knowledge by ARM, Qualcomm continued

   development work on the Phoenix Core and SoCs incorporating the Phoenix Core, as was its

   right under Qualcomm’s own license agreements with ARM.

    ARM Unexpectedly Terminated The NUVIA License Agreements And Qualcomm Went
         To Great Lengths To Insulate Itself From ARM’s Unreasonable Positions

          31.    Without warning, in a letter dated February 1, 2022 (but not received by

   Qualcomm until February 4, 2022), ARM terminated, effective March 1, 2022, the NUVIA ALA

   and TLA license agreements and demanded that NUVIA and Qualcomm destroy all ARM



                                                 10
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page105
                                                           405ofof332
                                                                   633PageID
                                                                       PageID#:#:11253
                                                                                  497




   Confidential Information, and certify by April 1, 2022 that they had complied with ARM’s

   demands. Prior to the February 2022 letter, it had been over six months since ARM last

   suggested that NUVIA or Qualcomm violated NUVIA’s license agreements. ARM’s demand

   came out of nowhere, especially as ARM had continued to support Qualcomm in the

   development of the technology acquired from NUVIA.

          32.     The timing of ARM’s demand is telling on two fronts.

          33.     First, ARM waited until Qualcomm had expended a year of engineering effort and

   hundreds of millions of dollars to further develop and integrate Phoenix Core technology into

   multiple SoCs, in addition to the $1.4 billion Qualcomm spent to acquire NUVIA. ARM was

   seeking to maximize whatever leverage it had to threaten Qualcomm’s investment and

   Qualcomm’s SoC roadmap and extract exorbitant fees and royalty payments.

          34.     Second, ARM terminated the NUVIA agreements just three days before ARM

   publicly announced the failure of its merger transaction with NVIDIA—a deal that Qualcomm

   and many others in the industry had opposed. This timing suggests that, in part, ARM was

   seeking payback for Qualcomm’s public opposition to the NVIDIA deal.

          35.     Qualcomm disagreed that it was required to stop any of its work—or that

   destruction was appropriate—because Qualcomm holds valid licenses to all relevant ARM

   Technology and ARM’s interpretation of the termination obligations in the NUVIA agreement

   were inconsistent with the plain language of the license agreements.

          36.     Moreover, even though ARM demanded destruction of Confidential Information

   obtained under NUVIA’s ALA, NUVIA had implemented ARM Architecture               , which had

   been publicly available on ARM’s website for anyone to download since at least around January

   2021—over a year before the destruction request.




                                                  11
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page106
                                                           406ofof332
                                                                   633PageID
                                                                       PageID#:#:11254
                                                                                  498




                                                                                   Therefore, ARM

   Architecture       was not Confidential Information, not subject to any restrictions, and not

   subject to any destruction obligation. For the same reasons, the NUVIA core design did not

   contain ARM Confidential Information.

          37.     Nonetheless, on April 1, 2022, NUVIA certified that it had destroyed and

   quarantined all NUVIA-acquired ARM Confidential Information. ARM, on the other hand,

   failed to fulfill its own termination obligations, which were also triggered by its

   termination of the NUVIA agreements.

          38.     Then, on April 12, 2022, just a few weeks after NUVIA made its certification,

   ARM accepted test results verifying that the implementation of the Phoenix Core in the Server

   SoC complied with the requirements necessary to execute the ARM instruction set. ARM

   confirmed that “Qualcomm . . . has validated their CPU core in accordance with the Verification

   requirements set out in the Architecture agreement.”        ARM explicitly confirmed that the

   validation testing was conducted under Qualcomm’s ALA. Therefore, ARM was not only well

   aware that Qualcomm was working on the Phoenix Core under Qualcomm’s license agreements,

   but ARM also affirmed this work and understood that Qualcomm had implemented                of the

   ISA.

          39.     ARM’s position in this litigation is not just unsupported by its verification in

   April 2022 and by the language of the license agreements, it is antithetical to the very nature of

   ARM’s ALAs, which allow a licensee to design its own, proprietary ARM-compatible

   technology that belongs to the licensee and that can be used by the licensee to compete against

   other ARM-compatible products, including those designed by ARM itself.




                                                   12
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page107
                                                           407ofof332
                                                                   633PageID
                                                                       PageID#:#:11255
                                                                                  499




          40.    Licensees depend on this, as do regulators. ARM explicitly told regulators in

   December 2021, in connection with the proposed NVIDIA acquisition, that technology created

   by its ALA licensees belongs to the licensees, not ARM, stating: “architectural licensees do not

   use ARM’s CPU designs. Arm architectural licensees create their own proprietary CPU designs

   using their own engineering teams.” ARM specifically referred regulators to Qualcomm’s

   acquisition of NUVIA as an example of Qualcomm’s efforts to create its own proprietary CPU.

                                    ARM’s Claims Are Baseless

          41.    In this lawsuit, ARM takes its baseless and extreme arguments public, claiming

   that technology that is not its own belongs to ARM, and that it is ARM’s prerogative to decide

   whether Qualcomm can use or continue to develop NUVIA’s technology. The termination

   provisions in the NUVIA ALA do not require such a result.

          42.    ARM ignores the broad license rights ARM has granted Qualcomm under its

   ALA and other license agreements.       Qualcomm is licensed to use ARM Technology in

   connection with Qualcomm’s CPU core technology, even if any aspects trace back to NUVIA’s

   work. Moreover, ARM attempts to misappropriate NUVIA technologies that contain no ARM

   information, but it makes no sense to require Qualcomm to stop using its own intellectual

   property.

          43.    Additionally, ARM’s position effectively guts its own ALA, which is intended to

   encourage licensees to develop their own CPU core technology with their own innovations, at

   their own risk and expense and for their own benefit. ARM’s arguments would allow ARM to

   claim ownership over its licensees’ innovations and inventions. That is not what ARM licensees

   pay for under the ALA.




                                                  13
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page108
                                                           408ofof332
                                                                   633PageID
                                                                       PageID#:#:11256
                                                                                  500




          44.     ARM’s trademark infringement and false-origin claims are also meritless. ARM

   contends that Qualcomm and NUVIA’s use of ARM’s trademarks in connection with any

   products related to NUVIA technology—including, but not limited to the Phoenix Core and the

   upcoming SoCs—is improper. But Qualcomm’s license agreements with ARM give Qualcomm

   the right to utilize ARM’s trademarks.




                                                        ARM’s website also publicly grants “any . . .

   third party” the right to use ARM’s trademarks pursuant to various guidelines.

          45.     In any event, Defendants’ use of ARM’s trademarks constitutes fair use and

   therefore is permissible. Qualcomm engages in limited use of the ARM Marks, such as in

   marketing materials, product specifications, and technical documentations, to convey accurately

   that Qualcomm’s products are compatible with the ARM architecture. These references are

   limited and truthful.

          46.     Rather than litigate its case in court, ARM attempted to maximize the negative

   impact of its filing this lawsuit by campaigning with members of the media and customers to

   generate additional publicity for ARM’s positions.

          47.     This Court should reject ARM’s claims and instead declare that Qualcomm and

   NUVIA’s conduct—including use of Qualcomm-developed technology—was fully licensed.

          Defendants, through their undersigned counsel, upon personal knowledge and/or upon

   information and belief, answer the Complaint dated August 31, 2022 (the “Complaint”) as

   follows:




                                                  14
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page109
                                                           409ofof332
                                                                   633PageID
                                                                       PageID#:#:11257
                                                                                  501




          48.    COMPLAINT PARAGRAPH 1: Arm is the world’s leading provider of

   microprocessor intellectual property. For decades, Arm has developed innovative processor

   architecture and implementation designs that balance performance with energy efficiency.

   Billions of electronic devices use Arm processor technologies pursuant to Arm licenses—from

   smartphones used to interact seamlessly with friends and family around the world to an

   increasing number of the servers that run the essential day-to-day operations of Fortune 500

   companies.

          ANSWER: Defendants admit that ARM licenses microprocessor intellectual

   property, and that a significant number of electronic devices use processors that are based

   on ARM architecture and designs, such as smartphones and to a far more limited extent

   computers. Defendants deny knowledge or information sufficient to form a belief as to the

   truth of the remainder of the allegations set forth in Complaint Paragraph 1, and on that

   basis deny them.

          49.    COMPLAINT PARAGRAPH 2: Qualcomm is a major semiconductor

   manufacturer. To accelerate its processor development efforts, Qualcomm spent over $1 billion

   to acquire Nuvia, a start-up led by senior engineers previously from Apple and Google that

   licensed Arm technologies to develop high-performance processor cores for semiconductor

   chips. In the process, Qualcomm caused Nuvia to breach its Arm licenses, leading Arm to

   terminate those licenses, in turn requiring Qualcomm and Nuvia to stop using and destroy any

   Arm-based technology developed under the licenses. Undeterred, Qualcomm and Nuvia have

   continued working on Nuvia’s implementation of Arm architecture in violation of Arm’s rights

   as the creator and licensor of its technology. Further, Qualcomm’s conduct indicates that it has




                                                  15
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page110
                                                           410ofof332
                                                                   633PageID
                                                                       PageID#:#:11258
                                                                                  502




   already and further intends to use Arm’s trademarks to advertise and sell the resulting products

   in the United States, even though those products are unlicensed.

          ANSWER: Defendants admit that Qualcomm is a leading wireless technology

   innovator that designs numerous products, including semiconductors. Qualcomm further

   admits that, in 2021, Qualcomm Technologies, Inc. acquired NUVIA for approximately

   $1.4 billion before working capital and other adjustments. Defendants also admit that

   NUVIA had license agreements with ARM LTD., such as an ALA and TLA, and that,

   prior to Qualcomm’s acquisition, NUVIA worked on CPUs and SoCs. Defendants further

   admit that in a letter dated February 1, 2022, ARM stated that it intended to terminate its

   ALA and TLA with NUVIA effective March 1, 2022, and requested that NUVIA destroy or

   return to ARM any ARM Confidential Information, including any copies thereof in its

   possession and any ARM Technology or derivatives. Defendants otherwise deny the

   allegations in Complaint Paragraph 2, except to the extent they purport to state legal

   conclusions as to which no response is required.

          50.     COMPLAINT PARAGRAPH 3: Arm now brings suit for specific performance

   of the Nuvia licenses’ termination provisions to require Qualcomm and Nuvia to stop using and

   to destroy the relevant Nuvia technology and to stop their improper use of Arm’s trademarks

   with their related products. Arm also seeks declaratory judgment, injunctive relief, and damages

   for the use of Arm’s trademarks in connection with semiconductor chips incorporating the

   relevant Nuvia technology.

          ANSWER: Complaint Paragraph 3 purports to state legal conclusions as to which

   no response is required.     To the extent a response is required, Defendants deny the




                                                  16
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page111
                                                           411ofof332
                                                                   633PageID
                                                                       PageID#:#:11259
                                                                                  503




   allegations in Complaint Paragraph 3, except admit that Plaintiff purports to assert the

   claims and seek the relief described in Complaint Paragraph 3.

                                             PARTIES

            51.   COMPLAINT PARAGRAPH 4: Plaintiff Arm is a corporation organized under

   the laws of the United Kingdom, has its principal place of business in Cambridge, United

   Kingdom, and is a resident or domiciliary of the United Kingdom.

            ANSWER: Defendants deny knowledge or information sufficient to form a belief as

   to the truth of the allegations in Complaint Paragraph 4, and on that basis deny them.

            52.   COMPLAINT PARAGRAPH 5: Defendant Qualcomm Inc. is a Delaware

   corporation with its principal place of business at 5775 Morehouse Drive, San Diego, California

   92121.

            ANSWER: Defendants admit the allegations of Complaint Paragraph 5.

            53.   COMPLAINT PARAGRAPH 6: Defendant Qualcomm Technologies, Inc. is a

   subsidiary of Qualcomm Inc. and a Delaware corporation with its principal place of business at

   5775 Morehouse Drive, San Diego, California 92121.

            ANSWER: Defendants admit the allegations of Complaint Paragraph 6.

            54.   COMPLAINT PARAGRAPH 7: Defendant Nuvia is a subsidiary of Qualcomm

   and a Delaware corporation with its principal place of business at 2841 Mission College Blvd.,

   Santa Clara, California 95054.

            ANSWER: Defendants admit the allegations of Complaint Paragraph 7.

                                    JURISDICTION AND VENUE

            55.   COMPLAINT PARAGRAPH 8: The Court has subject matter jurisdiction

   under 28 U.S.C. § 1331 (federal question), 15 U.S.C. § 1121 (trademarks), and 28 U.S.C. §




                                                 17
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page112
                                                           412ofof332
                                                                   633PageID
                                                                       PageID#:#:11260
                                                                                  504




   1367(a) (supplemental jurisdiction). The Court also has subject matter jurisdiction under 28

   U.S.C. § 1332 because there is complete diversity between the parties, and because the amount

   in controversy, based on the consideration that was anticipated under the Nuvia licenses, the

   volume of products expected under those licenses, and Defendants’ potential loss from

   complying with the equitable relief requested here, exceeds $75,000, exclusive of interest and

   costs.

            ANSWER: Complaint Paragraph 8 purports to state legal conclusions as to which

   no response is required.      To the extent a response is required, Defendants deny the

   allegations in Complaint Paragraph 8.

            56.   COMPLAINT PARAGRAPH 9: The Court has personal jurisdiction over

   Qualcomm and Nuvia because they are incorporated in Delaware. Qualcomm and Nuvia have

   purposely availed themselves of the privileges and benefits of the laws of Delaware.

            ANSWER: Complaint Paragraph 9 purports to state legal conclusions as to which

   no response is required. To the extent a response is required, Defendants admit that

   Qualcomm Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in

   Delaware.

            57.   COMPLAINT PARAGRAPH 10: Venue is proper in this judicial district under

   28 U.S.C. § 1391 because Qualcomm and Nuvia are incorporated in Delaware. Venue is also

   proper because Qualcomm Inc. and Qualcomm Technologies, Inc. have purposefully availed

   themselves of the courts in the State of Delaware and this Judicial District.

            ANSWER: Complaint Paragraph 10 purports to state legal conclusions as to which

   no response is required. To the extent a response is required, Defendants admit that




                                                    18
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page113
                                                           413ofof332
                                                                   633PageID
                                                                       PageID#:#:11261
                                                                                  505




   Qualcomm Inc., Qualcomm Technologies, Inc., and NUVIA, Inc. are incorporated in

   Delaware.

                                    FACTUAL ALLEGATIONS

   Arm’s business model4

          58.     COMPLAINT PARAGRAPH 11: For decades, Arm has been a world leader in

   developing processor architectures, including instruction set architectures, and processor core

   designs implementing those architectures, all of which are covered by an extensive intellectual

   property portfolio.

          ANSWER: Defendants admit that ARM develops instruction set architectures for

   CPUs, and also designs CPUs that implement ARM’s instruction set architecture.

   Defendants further admit that ARM owns some intellectual property.                 Defendants

   otherwise deny the allegations in Complaint Paragraph 11 except to the extent they

   purport to state legal conclusions as to which no response is required.

          59.     COMPLAINT PARAGRAPH 12: Processor cores are the parts of a computer’s

   Central Processing Unit or “CPU” that read and execute program instructions to perform specific

   actions. Modern CPUs often integrate multiple processor cores on a single semiconductor chip or

   integrated circuit (“IC”).

          ANSWER: Defendants admit the allegations in Complaint Paragraph 12.

          60.     COMPLAINT PARAGRAPH 13: Arm owns intellectual property relating to its

   processor architectures and designs, including, among other things, trademarks.




   4
       Defendants have not specifically responded to the headings interspersed between the
       numbered paragraphs in ARM’s complaint. For the avoidance of doubt, and to the extent
       they require a response, Defendants deny any allegations made therein.


                                                  19
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page114
                                                           414ofof332
                                                                   633PageID
                                                                       PageID#:#:11262
                                                                                  506




          ANSWER: Defendants admit that ARM may own some intellectual property,

   including trademarks. Defendants otherwise deny the allegations in Complaint Paragraph

   13 except to the extent they purport to state legal conclusions as to which no response is

   required.

          61.     COMPLAINT PARAGRAPH 14: Arm does not manufacture or sell chips.

   Instead, Arm licenses its technologies to hundreds of companies to use in developing their own

   chips or in their own electronic devices and works with these companies to ensure the success of

   Arm-based products.

          ANSWER: Defendants admit that ARM does not manufacture or sell

   semiconductor chips, and that ARM licenses intellectual property to various licensees.

   Defendants otherwise deny knowledge or information sufficient to form a belief as to the

   truth of the allegations in Complaint Paragraph 14, and on that basis deny them.

          62.     COMPLAINT PARAGRAPH 15: Arm’s customers manufacture (or have

   manufactured for them) chips based on Arm’s technologies. The chips may then be used in the

   customer’s own devices or sold to other device manufacturers. Arm earns revenue from licensing

   fees and royalties based on the number of Arm-based chips its customers sell.

          ANSWER: Defendants admit that ARM receives licensing fees and royalties from

   licensees, and that various licensees manufacture products that may include ARM

   Technology. Defendants otherwise deny the allegations in Complaint Paragraph 15.

          63.     COMPLAINT PARAGRAPH 16: Arm’s business model relies on Arm’s ability

   to monetize its research and intellectual property by receiving both licensing fees and royalties

   for products incorporating Arm’s technology and intellectual property. Arm therefore grows its




                                                  20
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page115
                                                           415ofof332
                                                                   633PageID
                                                                       PageID#:#:11263
                                                                                  507




   revenues by increasing both the number of customers and the number of Arm-based products

   sold.

           ANSWER: Defendants deny knowledge or information sufficient to form a belief as

   to the truth of the allegations in Complaint Paragraph 16, and on that basis deny them.

           64.    COMPLAINT PARAGRAPH 17: There are two main types of Arm licenses for

   Arm’s technologies: Technology License Agreements (“TLAs”), which allow the use of specific

   “off-the-shelf” Arm processor core designs with only minor modifications, and Architecture

   License Agreements (“ALAs”), which allow for the design of custom processor cores that are

   based on particular architectures provided by Arm.

           ANSWER:       Defendants admit that ARM enters into license agreements with

   licensees, including Technology License Agreements (“TLAs”) and Architecture License

   Agreements (“ALAs”). Defendants otherwise deny the allegations in Paragraph 17.

           65.    COMPLAINT PARAGRAPH 18: Arm grants few ALAs. Custom processor

   cores can take years to design, at great expense and requiring significant support from Arm, with

   no certainty of success. If successful, ALA licensees can sell custom processor cores for use in

   other companies’ products.

           ANSWER: Defendants admit that it requires significant expense and commitment

   to design custom CPUs. Defendants respectfully refer the Court to the Qualcomm and

   NUVIA ALAs for their complete language and content. Defendants otherwise deny the

   allegations in Complaint Paragraph 18.

           66.    COMPLAINT PARAGRAPH 19: Arm ALAs typically authorize licensees only

   to develop processor cores based on specific Arm technology provided by Arm under the

   licenses, rather than granting broader licenses to use Arm-based technology generally.




                                                  21
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page116
                                                           416ofof332
                                                                   633PageID
                                                                       PageID#:#:11264
                                                                                  508




          ANSWER: Defendants respectfully refer the Court to the Qualcomm and NUVIA

   ALAs for their complete language and content.                Defendants deny knowledge or

   information sufficient to form a belief as to the truth of the remaining allegations in

   Complaint Paragraph 19, and on that basis deny them.

   Nuvia obtains Arm licenses

          67.     COMPLAINT PARAGRAPH 20: Nuvia was founded as a start-up in 2019 by

   chip engineers who left Apple and Google. Nuvia planned to design energy-efficient CPUs for

   data center servers based on a custom processor implementing the Arm architecture, which

   would have expanded the market for Arm’s technology. Nuvia’s business model was thus reliant

   on customizing processor core designs based on Arm’s technology. As one of the founders

   explained to the press when launching Nuvia, the start-up’s premise (and one of its attractions to

   investors) was that Nuvia intended to build “a custom clean sheet designed from the ground up”

   using Arm’s architecture.5

          ANSWER: Defendants admit that NUVIA worked on custom CPUs that could be

   used in data center servers, that the custom CPU designs would expand the market for

   ARM technology, and that the custom CPUs that NUVIA worked on, prior to NUVIA’s

   acquisition by Qualcomm, were intended to be compatible with ARM architecture.

   Defendants respectfully refer the Court to the cited publication for its complete language

   and content. Defendants otherwise deny the allegations in Complaint Paragraph 20.




   5
       Danny Crichton, Three of Apple and Google’s former star chip designers launch NUVIA
       with $53M in series A funding, TechCrunch (Nov. 15, 2019),
       https://techcrunch.com/2019/11/15/three-of-apple-and-googles-former-star-chip-designers-la
       unch-nuvia-with-53m-in-series-a-funding/.


                                                   22
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page117
                                                           417ofof332
                                                                   633PageID
                                                                       PageID#:#:11265
                                                                                  509




          68.     COMPLAINT PARAGRAPH 21: In September 2019, Arm granted Nuvia an

   ALA and TLA, providing rights to design custom processor cores based on an Arm architecture

   and to modify certain off-the-shelf designs. The licenses granted in the ALA and TLA are

   necessary to use Arm’s extensive intellectual property portfolio covering the Arm architecture.

   The ALA and TLA included rights to use Arm trademarks in connection with products

   developed by Nuvia under the licenses. Arm also provided substantial, crucial, and

   individualized support from Arm employees to assist Nuvia in its development of Arm-based

   processors for data center servers.

          ANSWER: Defendants admit that NUVIA had a TLA and ALA with ARM, and

   respectfully refer the Court to the referenced agreements for their complete language and

   content. Defendants otherwise deny the allegations of Complaint Paragraph 21, except to

   the extent they purport to state legal conclusions as to which no response is required.

          69.     COMPLAINT PARAGRAPH 22: The licenses provided Nuvia access to

   specific Arm architecture, designs, intellectual property, and support in exchange for payment of

   licensing fees and royalties on future server products that include processor cores based on

   Arm’s architecture, designs, or related intellectual property. Nuvia’s licensing fees and royalty

   rates reflected the anticipated scope and nature of Nuvia’s use of the Arm architecture. The

   licenses safeguarded Arm’s rights and expectations by prohibiting assignment without Arm’s

   consent, regardless of whether a contemplated assignee had its own Arm licenses.

          ANSWER: Defendants admit that NUVIA’s TLA and ALA provided NUVIA with a

   license to certain ARM Technology. Defendants further admit that NUVIA and ARM

   intended the licensing fees and royalties set forth in the NUVIA ALA to apply to future

   server products, not products for other markets. Defendants respectfully refer the Court




                                                  23
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page118
                                                           418ofof332
                                                                   633PageID
                                                                       PageID#:#:11266
                                                                                  510




   to the referenced agreements for their complete language and content.               Defendants

   otherwise deny the allegations of Complaint Paragraph 22.

               70.   COMPLAINT PARAGRAPH 23: From September 2019 to early 2021, Nuvia

   used the technology it licensed from Arm to design and develop processor cores. Arm provided

   preferential support for Nuvia’s development efforts, with Arm seeking to accelerate research

   and development in next-generation processors for data center servers to support that sector’s

   transition to Arm technology.

               ANSWER: Defendants deny knowledge or information sufficient to form a belief as

   to the truth of the allegations in the second sentence of Complaint Paragraph 23, and on

   that basis deny them. Defendants otherwise deny the allegations of Complaint Paragraph

   23.

               71.   COMPLAINT PARAGRAPH 24: In August 2020, Nuvia announced that its

   “first-generation CPU, code-named ‘Phoenix’” would be “a custom core based on the ARM

   architecture.”6 It also publicized benchmark tests showing that Phoenix could double the

   performance of rival products from Apple, Intel, AMD, and Qualcomm. Based on these results,

   Nuvia claimed that the “Phoenix CPU core has the potential to reset the bar for the market.”7

               ANSWER: Defendants respectfully refer the Court to the cited publication for its

   complete language and content. Defendants otherwise admit the allegations in Complaint

   Paragraph 24.




   6
         John Bruno & Sriram Dixit, Performance Delivered a New Way, Silicon Reimagined (Aug.
         11,                                                                             2020),
         https://medium.com/silicon-reimagined/performance-delivered-a-new-way-8f0f5ed283d5.
   7
         Id.


                                                  24
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page119
                                                           419ofof332
                                                                   633PageID
                                                                       PageID#:#:11267
                                                                                  511




   Qualcomm relies on designs created by Arm

          72.     COMPLAINT PARAGRAPH 25: Qualcomm is one of the world’s largest

   semiconductor companies, with a portfolio of intellectual property and products directed to

   wireless technologies, including cellular, Bluetooth, and Wi-Fi; CPUs and ICs; networking;

   mobile computers; cell phones; wearables; cameras; automobiles; and other electronic devices.

          ANSWER: Defendants admit the allegations of Complaint Paragraph 25.

          73.     COMPLAINT PARAGRAPH 26: Even though Qualcomm has an Arm ALA,

   its prior attempts to design custom processors have failed. Qualcomm invested in the

   development of a custom Arm-based processor for data center servers until 2018, when it

   cancelled the project and laid off hundreds of employees.8

          ANSWER: Defendants respectfully refer the Court to the cited publications for

   their complete language and content.         Defendants otherwise deny the allegations of

   Complaint Paragraph 26. The allegation that Qualcomm’s “prior attempts to design

   custom processors have failed” is patently false. Qualcomm has had great success in

   developing custom processors, to ARM’s significant benefit.

          74.     COMPLAINT PARAGRAPH 27: Qualcomm’s commercial products thus have

   relied on processor designs prepared by Arm’s engineers and licensed to Qualcomm under Arm

   TLAs. Discovery is likely to show that as of early 2021, Qualcomm had no custom processors in




   8
       See, e.g., Andrei Frumusanu, Qualcomm to Acquire NUVIA: A CPU Magnitude Shift,
       AnandTech (Jan. 13, 2021),
       https://www.anandtech.com/show/16416/qualcomm-to-acquire-nuvia-a-cpu-magnitude-shift;
       Andy Patrizio, Qualcomm makes it official; no more data center chip, Network World (Dec.
       12, 2018),
       https://www.networkworld.com/article/3327214/qualcomm-makes-it-official-no-more-data-c
       enter-chip.html.


                                                  25
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page120
                                                           420ofof332
                                                                   633PageID
                                                                       PageID#:#:11268
                                                                                  512




   its development pipeline for the foreseeable future. To fill this gap, Qualcomm sought

   improperly to purchase and use Nuvia’s custom designs without obtaining Arm’s consent.

          ANSWER: Defendants deny the allegations of Complaint Paragraph 27.

   Qualcomm acquires Nuvia

          75.     COMPLAINT PARAGRAPH 28: On January 13, 2021, Qualcomm announced

   that Qualcomm Technologies, Inc. was acquiring Nuvia for $1.4 billion. Neither Qualcomm nor

   Nuvia provided prior notice of this transaction to Arm. Nor did they obtain Arm’s consent to the

   transfer or assignment of the Nuvia licenses.

          ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

   announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

   agreement to acquire NUVIA for approximately $1.4 billion before working capital and

   other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 28,

   except to the extent they purport to state legal conclusions as to which no response is

   required.

          76.     COMPLAINT PARAGRAPH 29: Qualcomm indicated in its announcement

   that “NUVIA CPUs”—that is, Nuvia’s implementations of Arm technology developed under the

   Nuvia licenses with Arm—would be incorporated into a range of Qualcomm products.

   Qualcomm’s press release declared its grand ambitions for Nuvia’s implementation of Arm

   technology: “NUVIA CPUs are expected to be integrated across Qualcomm Technologies’ broad

   portfolio of products, powering flagship smartphones, next-generation laptops, and digital

   cockpits, as well as Advanced Driver Assistance Systems, extended reality and infrastructure




                                                   26
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page121
                                                           421ofof332
                                                                   633PageID
                                                                       PageID#:#:11269
                                                                                  513




   networking solutions.”9 The press release also indicated that Qualcomm’s first target would be

   “integrating NUVIA CPUs with Snapdragon,” its flagship suite of system on a chip (“SoC”)

   semiconductor products for mobile devices.

           ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.           Defendants otherwise deny the allegations of

   Complaint Paragraph 29.

           77.    COMPLAINT PARAGRAPH 30: As Qualcomm’s CEO, Cristiano Amon,

   noted in a Reuters interview shortly after the acquisition closed in the first half of 2021,

   “Qualcomm will start selling Nuvia-based laptop chips next year.”10 Amon confirmed the

   negative impact this might have on Arm, saying: “If Arm . . . eventually develops a CPU that’s

   better than what we can build ourselves, then we always have the option to license from Arm.”

           ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.           Defendants otherwise deny the allegations of

   Complaint Paragraph 30.

           78.    COMPLAINT PARAGRAPH 31: Qualcomm also confirmed its prior

   deficiencies in core design, reportedly promoting the Nuvia acquisition as “filling a gap” because

   “for several years now” the company “had been relying on external IP such as Arm’s Cortex




   9
        Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 13, 2021),
        https://www.qualcomm.com/news/releases/2021/01/13/qualcomm-acquire-nuvia.
   10
        Stephen Nellis, Qualcomm’s new CEO eyes dominance in the laptop markets, Reuters (July
        2,                                                                             2021),
        https://www.reuters.com/technology/qualcomms-new-ceo-eyes-dominance-laptop-markets-2
        021-07-01/.


                                                  27
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page122
                                                           422ofof332
                                                                   633PageID
                                                                       PageID#:#:11270
                                                                                  514




   cores.”11 Qualcomm further explained that “the immediate goals for the NUVIA team will be

   implementing custom CPU cores” designed for laptops.12

              ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.          Defendants otherwise deny the allegations of

   Complaint Paragraph 31.

              79.   COMPLAINT PARAGRAPH 32: Analysts confirmed that the “Qualcomm

   acquisition [of] NUVIA is a huge move to scale up dramatically. It can reinvigorate current lines

   in smartphone, Windows PC and automotive SoCs, and make them more competitive with the

   competition. They have been lagging.”13

              ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.          Defendants otherwise deny the allegations of

   Complaint Paragraph 32.

              80.   COMPLAINT PARAGRAPH 33: Providing further confirmation of the

   acquisition’s importance to Qualcomm in filling the “gap” in its “lagging” IP design, analysts

   noted that the Nuvia acquisition was “extremely speedy in terms of timeline,” and Qualcomm

   “went as far as [to] put out a concrete roadmap for . . . using the newly acquired IP from Nuvia,”

   announcing that Nuvia’s processors would be finalized for use in high-end laptops “in the second

   half of 2022.”14

   11
        Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
        Laptops (Updated), AnandTech (Mar. 16, 2021),
        https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia.
   12
        Id.
   13
        Trading Places Research, Qualcomm’s Acquisition of NUVIA is a Huge Move, Seeking
        Alpha                         (Jan.                    13,                        2021),
        https://seekingalpha.com/article/4398808-qualcomms-acquisition-of-nuvia-is-huge-move.
   14
        Andrei Frumusanu, Qualcomm Completes Acquisition of NUVIA: Immediate focus on
        Laptops (Updated), AnandTech (Mar. 16, 2021),


                                                   28
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page123
                                                           423ofof332
                                                                   633PageID
                                                                       PageID#:#:11271
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              ANSWER: Defendants respectfully refer the Court to the referenced publications

   for their complete language and content. Defendants otherwise deny the allegations of

   Complaint Paragraph 33.

              81.   COMPLAINT PARAGRAPH 34: Based on standard industry scheduling, that

   timeline indicated a design for data center processors would be completed “essentially as soon as

   possible following the acquisition” of Nuvia.15

              ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.          Defendants otherwise deny the allegations of

   Complaint Paragraph 34.

              82.   COMPLAINT PARAGRAPH 35: This timing indicates that the Arm-based

   cores that Nuvia designed using Arm’s technology and intellectual property were, as of the

   acquisition date, effectively ready for the final stages of design for Qualcomm chips, leading

   promptly to product integration and manufacturing. Qualcomm’s November 2021 10-K filing

   disclosed that the $1.4 billion acquisition encompassed Nuvia’s team and “certain in-process

   technologies,” reflecting the availability of existing cores such as the Phoenix CPU core

   developed under Nuvia’s ALA.16




        Laptops (Updated), AnandTech (Mar. 16, 2021),
        https://www.anandtech.com/show/16553/qualcomm-completes-acquisition-of-nuvia (quoting
        Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 15, 2021),
        https://www.qualcomm.com/news/releases/2021/03/16/qualcomm-completes-acquisition-nu
        via).
   15
        Id.
   16
        Qualcomm Inc., Annual Report (Form 10-K) (Nov. 3, 2021), https://investor.qualcomm.com/
        financial-information/sec-filings/content/0001728949-21-000076/0001728949-21-000076.pd
        f.


                                                     29
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page124
                                                           424ofof332
                                                                   633PageID
                                                                       PageID#:#:11272
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          ANSWER: Defendants respectfully refer the Court to the referenced publication for

   its complete language and content.         Defendants otherwise deny the allegations of

   Complaint Paragraph 35, except to the extent they purport to state legal conclusions as to

   which no response is required.

          83.    COMPLAINT PARAGRAPH 36: By entering into the acquisition of Nuvia and

   transferring the rights and technology developed under the Nuvia licenses without Arm’s

   consent, Qualcomm thus greatly accelerated its ability to bring to market custom-designed

   processor cores—a head start that Qualcomm was willing to pay over $1 billion to obtain.

          ANSWER: Defendants admit that on January 12, 2021, Qualcomm Incorporated

   announced that its subsidiary, Qualcomm Technologies, Inc., entered into a definitive

   agreement to acquire NUVIA for approximately $1.4 billion before working capital and

   other adjustments. Defendants otherwise deny the allegations of Complaint Paragraph 36.

   Arm terminates the Nuvia licenses

          84.    COMPLAINT PARAGRAPH 37: Soon after the announcement of the merger,

   Arm informed Qualcomm in writing that Nuvia could not assign its licenses and that Qualcomm

   could not use Nuvia’s in-process designs developed under the Nuvia ALA without Arm’s

   consent. For more than a year, Arm negotiated with Qualcomm, through Qualcomm Inc. and

   Qualcomm Technologies, Inc., in an effort to reach an agreement regarding Qualcomm’s

   unauthorized acquisition of Nuvia’s “in-process technologies” and license.

          ANSWER: Defendants admit that in a letter dated February 2, 2021, ARM wrote to

   Qualcomm Technologies, Inc. that “any transfer of designs, rights, or licenses under

   NUVIA’s agreements with Arm to Qualcomm will require and be subject to Arm’s prior




                                                  30
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page125
                                                           425ofof332
                                                                   633PageID
                                                                       PageID#:#:11273
                                                                                  517




   consent.” Defendants otherwise deny the allegations of Complaint Paragraph 37, except to

   the extent they purport to state legal conclusions as to which no response is required.

           85.    COMPLAINT PARAGRAPH 38: All the while, Qualcomm continued to

   broadcast its intentions to rush Nuvia products to market. In November 2021, Qualcomm’s Chief

   Technology Officer told investors that Qualcomm was “pretty far along at this point” in

   developing its first chip with Nuvia’s implementation of Arm technology and would “sample a

   product at, let’s say nine months from now”—which would be August 2022.17 Then in January

   2022, Qualcomm issued a press release touting the “broad support from ecosystem partners for

   the PC industry’s transition to Arm®-based computing,” with Qualcomm’s CEO confirming that

   “[t]he future of the PC industry is modern Arm-based architectures” and boasting that “the recent

   acquisition of NUVIA uniquely positions Qualcomm Technologies to drive this industry wide

   transition.”18 Elsewhere, Qualcomm’s CEO reiterated that Qualcomm is “definitely in a hurry” to

   launch Nuvia’s Arm-based chips “as fast as we can.”19 Based on these statements, discovery is

   likely to show that Qualcomm and Nuvia continued to use the relevant technology developed

   under Nuvia’s Arm licenses.


   17
        Qualcomm Investor Day 2021 Livestream: CEO Cristiano Amon looks ahead, YouTube
        (Nov. 16, 2021), https://www.youtube.com/watch?v=rUWPzROYn2E; see also Mark
        Hachman, Qualcomm Prophesizes 2023 as the Rebirth of PC Snapdragon Chips, PCWorld
        (Nov.                                    16,                                     2021),
        https://www.pcworld.com/article/552285/qualcomm-prophesies-2023-as-the-rebirth-of-its-sn
        apdragon-chips.html.
   18
        Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
        PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
        https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-part
        ners-build-industry-momentum-windows-arm.
   19
        Nilay Patel, What Comes After the Smartphone, With Qualcomm CEO Cristiano Amon, The
        Verge (Jan. 11, 2022),
        https://www.theverge.com/22876511/qualcomm-ceo-cristiano-amon-interview-decoder-podc
        ast.


                                                  31
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page126
                                                           426ofof332
                                                                   633PageID
                                                                       PageID#:#:11274
                                                                                  518




          ANSWER: Defendants respectfully refer the Court to the referenced publications

   for their complete language and content. Defendants otherwise deny the allegations of

   Complaint Paragraph 38.

          86.    COMPLAINT PARAGRAPH 39: On February 1, 2022, Arm sent a letter to

   Nuvia and Qualcomm terminating the Nuvia licenses effective March 1, 2022. The letter

   terminated the licenses based on Nuvia’s material breach of the assignment provisions of the

   Nuvia licenses by entering into the acquisition of Nuvia without Arm’s consent. The letter also

   reminded Nuvia and Qualcomm of their obligations upon termination to stop using and destroy

   the Nuvia technology developed under the now-terminated licenses.

          ANSWER: Defendants admit that, on February 4, 2022, Qualcomm and Gerard

   Williams, NUVIA’s former Chief Executive Officer, received a letter purporting to

   terminate NUVIA’s ALA and TLA, with the termination effective as of March 1, 2022.

   Defendants otherwise deny the allegations of Complaint Paragraph 39, except to the extent

   they purport to state legal conclusions as to which no response is required.

          87.    COMPLAINT PARAGRAPH 40: In February 2022, pending termination of the

   Nuvia licenses, Nuvia sought Arm’s verification that a Nuvia processor design satisfied the Arm

   architecture’s specifications. On February 23, 2022, Qualcomm confirmed that it was still

   developing the relevant Nuvia technology by stating in a court filing that certain Nuvia

   documents were based on “years of research and work” and would “reveal secret design

   components of Qualcomm chips that are still in development.” Qualcomm Technologies, Inc. v.

   Hoang, No. 3:22-cv-00248-CAB-BLM (S.D. Cal. Feb. 23, 2022), ECF No. 1 at 5-6.

          ANSWER: Defendants respectfully refer the Court to the cited court filing for its

   complete language and content. Defendants admit that Qualcomm began verification of a




                                                 32
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page127
                                                           427ofof332
                                                                   633PageID
                                                                       PageID#:#:11275
                                                                                  519




   Qualcomm processor design in December 2021, that Qualcomm continued developing

   processor technology that it acquired from NUVIA beginning in March 2021 (doing so with

   ARM’s knowledge that Qualcomm's design work was ongoing), and that ARM verified

   that the Qualcomm design satisfied ARM’s architecture specification.                Defendants

   otherwise deny the allegations of Complaint Paragraph 40.

          88.     COMPLAINT PARAGRAPH 41: On March 1, 2022, the Nuvia licenses

   terminated, along with the corresponding rights to use or sell products based on or incorporating

   Nuvia technology developed under those licenses.

          ANSWER: Defendants deny the allegations of Complaint Paragraph 41, except to

   the extent they purport to state legal conclusions as to which no response is required.

          89.     COMPLAINT PARAGRAPH 42: On April 1, 2022, Qualcomm’s General

   Counsel sent Arm a letter enclosing a Nuvia representative’s termination certification. The

   certification acknowledged—without objection—that the Nuvia licenses had been terminated.

   The certification recognized the obligations upon termination, and asserted that Nuvia was in

   compliance. Qualcomm and Nuvia thereby conceded that termination of the Nuvia licenses was

   appropriate, and that the termination provisions had been triggered, are binding, and are

   enforceable.

          ANSWER: Defendants admit that, on April 1, 2022, Qualcomm Incorporated’s

   General Counsel and Corporate Secretary transmitted a Certification from Gerard

   Williams stating that to the best of his knowledge, information and belief after due inquiry,

   NUVIA was in compliance with its obligations under                    with respect to any ARM

   Confidential Information.      Defendants otherwise deny the allegations of Complaint




                                                  33
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page128
                                                           428ofof332
                                                                   633PageID
                                                                       PageID#:#:11276
                                                                                  520




   Paragraph 42, except to the extent they purport to state legal conclusions as to which no

   response is required.

   Qualcomm keeps using Arm-based technology developed under the Nuvia licenses

           90.    COMPLAINT PARAGRAPH 43: Qualcomm is subject to Nuvia’s termination

   requirements as the acquirer of Nuvia. Qualcomm has publicly described Nuvia as a Qualcomm

   “team” that has been “very tight[ly] integrat[ed]” with and is “not separate” from Qualcomm.20

   Qualcomm has also acted on behalf of Nuvia publicly and in correspondence with Arm since the

   acquisition. Qualcomm further told Arm that it planned to “redeploy NUVIA employees” and

   “transfer NUVIA’s work” to Qualcomm and, consistent with that plan, Qualcomm has

   on-boarded Nuvia’s leadership and employees as Qualcomm employees.21

           ANSWER: Defendants respectfully refer the Court to the cited publications for

   their complete language and content.       Defendants admit that, on January 27, 2021,

   Qualcomm wrote to ARM that Qualcomm had entered into a definitive agreement to

   acquire NUVIA and stating: “Following the closing of the acquisition, for ease of operation

   and structure, QTI intends to transfer NUVIA’s work and employees to QTI and other

   current Qualcomm subsidiaries and have the then former NUVIA employees continue



   20
        Ian Cutress, Interview with Alex Katouzian, Qualcomm SVP: Talking Snapdragon, Microsoft,
        Nuvia,      and       Discrete     Graphics,     AnandTech      (Jan.    31,     2022),
        https://www.anandtech.com/show/17233/interview-with-alex-katouzian-qualcomm-svp-talki
        ng-snapdragon-microsoft-nuvia-and-discrete-graphics; Ian Cutress, AnandTech Interview
        with Miguel Nunes: VP for Windows and Chrome PCs, Qualcomm, AnandTech (Feb. 14,
        2022),
        https://www.anandtech.com/show/17253/anandtech-interview-with-miguel-nunes-senior-dire
        ctor-for-pcs-qualcomm.
   21
        See, e.g., Qualcomm Completes Acquisition of NUVIA, Qualcomm Inc. (Mar. 16, 2021),
        https://investor.qualcomm.com/news-events/press-releases/detail/1304/qualcomm-completes
        -acquisition-of-nuvia; Qualcomm to Acquire NUVIA, Qualcomm Inc. (Jan. 12, 2021),
        https://www.qualcomm.com/news/releases/2021/01/qualcomm-acquire-nuvia.


                                                 34
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page129
                                                           429ofof332
                                                                   633PageID
                                                                       PageID#:#:11277
                                                                                  521




   their activities under the Qualcomm ALA and TLA, as that will be their current

   employer.” Defendants further admit that, on February 3, 2021, Qualcomm stated in a

   letter to ARM that, after the NUVIA acquisition, NUVIA would “become a wholly owned

   subsidiary of Qualcomm and, post-closing, our plan is to redeploy NUVIA employees to

   currently existing Qualcomm entities.”         Defendants otherwise deny the allegations in

   Complaint Paragraph 43, except to the extent they purport to state legal conclusions as to

   which no response is required.

          91.    COMPLAINT PARAGRAPH 44: On April 29, 2022, Arm wrote Qualcomm

   clarifying that neither Nuvia nor Qualcomm was authorized to continue working on technology

   that was developed under the Nuvia licenses.

          ANSWER: Defendants admit that ARM wrote a letter to Qualcomm dated April

   29, 2022. Defendants otherwise deny the allegations in Complaint Paragraph 44 except to

   the extent they purport to state legal conclusions as to which no response is required.

          92.    COMPLAINT PARAGRAPH 45: Two weeks later, on May 13, 2022,

   Qualcomm sought Arm’s verification that a new Qualcomm processor core complied with Arm

   architecture so that it could be verified and incorporated into a product. Qualcomm did not

   explain whether this processor core design was based on Nuvia’s designs under the terminated

   licenses.

          ANSWER: Defendants admit that, on May 13, 2022, Qualcomm submitted to ARM

   a compliance report for a new Qualcomm CPU. Defendants otherwise deny the allegations

   in Complaint Paragraph 45.

          93.    COMPLAINT PARAGRAPH 46: Based on the timing and circumstances

   surrounding Qualcomm’s request, discovery is likely to show that Qualcomm’s processor core




                                                   35
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page130
                                                           430ofof332
                                                                   633PageID
                                                                       PageID#:#:11278
                                                                                  522




   design is based on or incorporates in whole or in part the processor core design developed under

   the prior Nuvia licenses.

           ANSWER: Defendants admit that Qualcomm’s Phoenix Core design incorporates

   intellectual property acquired from NUVIA, which is wholly independent of ARM.

   Defendants otherwise deny the allegations in Complaint Paragraph 46, except to the extent

   they purport to state legal conclusions to which no response is required.

           94.    COMPLAINT PARAGRAPH 47: Qualcomm’s Arm licenses do not cover

   products based on or incorporating Arm-based technologies developed by third parties under

   different Arm licenses, such as the now-terminated Nuvia licenses.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 47.

           95.    COMPLAINT PARAGRAPH 48: Despite Arm’s termination of the Nuvia

   licenses, Qualcomm has continued to tell the public that its Nuvia chips will soon be joining the

   industry-wide “ecosystem transition to Arm.”22 Like Qualcomm’s prior statements, this

   announcement was directed to readers throughout the United States, including to readers

   physically located in the State of Delaware and this Judicial District.

           ANSWER: Defendants respectfully refer the Court to the cited publications for

   their complete language and content.           Defendants otherwise deny the allegations in

   Complaint Paragraph 48, except to the extent they purport to state legal conclusions to

   which no response is required.

           96.    COMPLAINT PARAGRAPH 49: In June 2022, Qualcomm’s CEO reiterated

   that it would soon begin “sampling” Nuvia chips to companies, allowing them to design




   22
        Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
        https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-apple/id10


                                                    36
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page131
                                                           431ofof332
                                                                   633PageID
                                                                       PageID#:#:11279
                                                                                  523




   electronic devices incorporating the chips in the “next year.”23 Based on that timeline, he

   explained, “[i]n late next year, beginning 2024, you’re going to see Windows PCs powered by

   Snapdragon with a Nuvia-designed CPU.”24

           ANSWER: Defendants respectfully refer the Court to the cited publications for

   their complete language and content.          Defendants otherwise deny the allegations in

   Complaint Paragraph 49.

           97.    COMPLAINT PARAGRAPH 50: In the microprocessor industry, “sampling”

   means providing pre-production processors to original equipment manufacturers (“OEMs”),

   original device manufacturers (“ODMs”), or independent software vendors (“ISVs”) for use in

   the product design cycle before product launch.

           ANSWER: Defendants admit the allegations in Complaint Paragraph 50 generally

   describe sampling, but note that they fail to distinguish between precommercial

   engineering samples and commercial samples.

           98.    COMPLAINT PARAGRAPH 51: Based on Qualcomm’s statements that Nuvia

   processors took “years” to develop and “are still in development,” and Qualcomm’s consistent

   statements that it is developing Nuvia’s Arm chips, discovery is likely to show that the chips that




        https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-apple/id10
        91374076?i=1000565773375.
   23
        Id.; see also Mark Tyson, Qualcomm CEO Admits Nuvia Chip OEM Sampling is Delayed
        (Update),          Tom’s         Hardware          (June          10,         2022),
        https://www.tomshardware.com/news/qualcomm-nuvia-chip-sampling-delays (Qualcomm
        spokesperson clarifying: “We are on track to sample the first products with our next
        generation CPUs this year.”).
   24
        Qualcomm CEO on What He Really Thinks of Apple, The Daily Charge (June 9, 2022),
        https://podcasts.apple.com/us/podcast/qualcomm-ceo-on-what-he-really-thinks-of-apple/id10
        91374076?i=1000565773375.


                                                     37
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page132
                                                           432ofof332
                                                                   633PageID
                                                                       PageID#:#:11280
                                                                                  524




   Qualcomm intends to sample in the coming months will contain Nuvia technology that

   Qualcomm cannot use and instead must destroy.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 51, except to

   the extent they purport to state legal conclusions to which no response is required.

           99.    COMPLAINT PARAGRAPH 52: Further, based on Qualcomm’s public

   announcements of its plans to use Nuvia technology, discovery is likely to show that Qualcomm

   has continued to retain and use Nuvia technology developed pursuant to the Nuvia licenses,

   thereby materially breaching the termination provisions of those licenses.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 52, except to

   the extent they purport to state legal conclusions to which no response is required.

           100.   COMPLAINT PARAGRAPH 53: News reports indicate that Qualcomm is also

   developing Nuvia processors for data center servers, and “already has working silicon to at least

   demonstrate to potential customers,”25 which discovery is likely to show is based on or

   incorporates Nuvia technology developed under the now-terminated Nuvia ALA.

           ANSWER: Defendants respectfully refer the Court to the cited publications for

   their complete language and content.         Defendants otherwise deny the allegations in

   Complaint Paragraph 53, except to the extent they purport to state legal conclusions for

   which no response is required.




   25
        Dan Robinson, Qualcomm readying new Arm server chip based on Nuvia acquisition, The
        Register                      (Aug.                    19,                       2022),
        https://www.theregister.com/2022/08/19/qualcomm_arm_server_chip/ (citing Ian King,
        Qualcomm Is Plotting a Return to Server Market With New Chip, Bloomberg (Aug. 18,
        2022),
        https://www.bloomberg.com/news/articles/2022-08-18/qualcomm-is-plotting-a-return-to-ser
        ver-market-with-new-chip).


                                                   38
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page133
                                                           433ofof332
                                                                   633PageID
                                                                       PageID#:#:11281
                                                                                  525




          101.    COMPLAINT PARAGRAPH 54: The failure of Nuvia and Qualcomm to

   comply with the post-termination obligations under the Nuvia ALA is causing, and will continue

   to cause, irreparable harm to Arm. Qualcomm effectively seeks to circumvent Arm’s licensing

   model, which allocates use of the technology developed pursuant to a particular Arm license to a

   particular licensee.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 54, except to

   the extent they purport to state legal conclusions to which no response is required.

          102.    COMPLAINT PARAGRAPH 55: These breaches thus interfere with Arm’s

   ability and right to control the use of its technology, negatively affecting Arm’s relationships

   with existing and prospective licensees.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 55, except to

   the extent they purport to state legal conclusions to which no response is required.

          103.    COMPLAINT PARAGRAPH 56: The prospective monetary damages from

   Qualcomm’s circumvention and interference with Arm’s control over its technology are not

   readily ascertainable or calculable, given the resulting future impact on Arm’s relationships with

   existing and prospective customers.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 56, except to

   the extent they purport to state legal conclusions to which no response is required.

          104.    COMPLAINT PARAGRAPH 57: Qualcomm’s improper acquisition of the

   relevant Nuvia technology in violation of Arm’s standard provisions threatens to harm Arm’s

   position in the ecosystem of Arm-based devices, harm Arm’s reputation as an intellectual

   property owner and technology developer whose licenses must be respected, and embolden other

   companies to likewise harm Arm’s reasonable business expectations in issuing its licenses.




                                                   39
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page134
                                                           434ofof332
                                                                   633PageID
                                                                       PageID#:#:11282
                                                                                  526




          ANSWER: Defendants deny the allegations in Complaint Paragraph 57, except to

   the extent they purport to state legal conclusions to which no response is required.

             COUNT I: BREACH OF CONTRACT – SPECIFIC PERFORMANCE
                              (ALL DEFENDANTS)

          105.    COMPLAINT PARAGRAPH 58: Arm hereby restates and re-alleges the

   allegations set forth above and incorporates them by reference.

          ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

   Paragraphs 1-57 as if fully set forth herein.

          106.    COMPLAINT PARAGRAPH 59: The termination obligations of the ALA

   between Nuvia and Arm survive termination and remain valid and enforceable contract

   provisions, as Qualcomm’s correspondence and Nuvia’s termination certification confirm.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 59, except to

   the extent they purport to state legal conclusions to which no response is required.

          107.    COMPLAINT PARAGRAPH 60: Arm complied with and fulfilled all relevant

   duties, conditions, covenants, and obligations under the Nuvia ALA, including ceasing use of

   Nuvia confidential information in its possession.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 60, except to

   the extent they purport to state legal conclusions to which no response is required.

          108.    COMPLAINT PARAGRAPH 61: The Nuvia ALA terms were just and

   reasonable, involving adequate consideration and reasonable obligations for Nuvia in the event

   of Arm’s termination based on Nuvia’s material breach. Those obligations served to restore the

   license holder to its position ex ante, protect Arm’s business model and reasonable business

   expectations in issuing its licenses, and prevent the unjust enrichment of Qualcomm, the party

   that induced Nuvia’s breach.



                                                   40
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page135
                                                           435ofof332
                                                                   633PageID
                                                                       PageID#:#:11283
                                                                                  527




          ANSWER: Defendants deny the allegations in Complaint Paragraph 61, except to

   the extent they purport to state legal conclusions to which no response is required.

          109.   COMPLAINT PARAGRAPH 62: Upon termination, the Nuvia ALA requires

   Nuvia to cease using and destroy any technology developed under the Nuvia ALA, as well as

   cease using Arm’s trademarks in connection with any technology developed under the Nuvia

   ALA.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 62, except to

   the extent they purport to state legal conclusions to which no response is required.

          110.   COMPLAINT PARAGRAPH 63: Qualcomm shares Nuvia’s obligations under

   the Nuvia ALA in its capacity as Nuvia’s acquirer, and thus Qualcomm is likewise subject to the

   requirements of the Nuvia licenses’ termination provisions.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 63, except to

   the extent they purport to state legal conclusions to which no response is required.

          111.   COMPLAINT PARAGRAPH 64: Based on Defendants’ correspondence with

   Arm, public statements, and processor verification requests, discovery is likely to show that

   Defendants are still using and developing Nuvia technology developed under the now-terminated

   licenses, along with Arm trademarks, and intend to continue to do so.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 64, except to

   the extent they purport to state legal conclusions to which no response is required.

          112.   COMPLAINT PARAGRAPH 65: Defendants therefore have breached and are

   breaching the Nuvia ALA’s termination provisions.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 65, except to

   the extent they purport to state legal conclusions to which no response is required.




                                                  41
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page136
                                                           436ofof332
                                                                   633PageID
                                                                       PageID#:#:11284
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             113.   COMPLAINT PARAGRAPH 66: As a direct and proximate result of Nuvia and

   Qualcomm’s past and ongoing breaches, Arm has been irreparably injured and damaged in

   amounts not capable of determination, including, but not limited to, injury to Arm’s global

   licensing program and misuse of Arm’s technology.

             ANSWER: Defendants deny the allegations in Complaint Paragraph 66, except to

   the extent they purport to state legal conclusions to which no response is required.

             114.   COMPLAINT PARAGRAPH 67: Unless Defendants’ breaches of the Nuvia

   ALA’s termination provisions are enjoined and specific performance is granted, Arm will

   continue to suffer irreparable harm. As such, Arm has the right to enforcement of Nuvia and

   Qualcomm’s compliance with the ALA’s termination provisions, including via injunctive relief,

   specific performance, or any other measures necessary to avoid irreparable harm to Arm or to

   mitigate damages that have been caused by, and will continue to be caused by, Defendants’

   breach.

             ANSWER: Defendants deny the allegations in Complaint Paragraph 67, except to

   the extent they purport to state legal conclusions to which no response is required.

             115.   COMPLAINT PARAGRAPH 68: Arm is entitled to specific performance

   requiring Defendants to comply with the Nuvia ALA’s termination provisions, including ceasing

   all use of and destroying any technology developed under the Nuvia ALA, and ceasing all use of

   Arm trademarks in connection with any technology developed under the Nuvia ALA—including

   the relevant Nuvia technology.

             ANSWER: Defendants deny the allegations in Complaint Paragraph 68, except to

   the extent they purport to state legal conclusions to which no response is required.




                                                 42
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page137
                                                           437ofof332
                                                                   633PageID
                                                                       PageID#:#:11285
                                                                                  529




          116.     COMPLAINT PARAGRAPH 69: Arm is also entitled to monetary

   compensation incidental to specific performance of the Nuvia ALA’s termination provisions to

   compensate Arm for the delay in Defendants’ performance of their contractual obligations.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 69, except to

   the extent they purport to state legal conclusions to which no response is required.

                       COUNT II: DECLARATORY JUDGMENT AND
                    TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114
                                  (ALL DEFENDANTS)

          117.     COMPLAINT PARAGRAPH 70: Arm hereby restates and re-alleges the

   allegations set forth above and incorporates them by reference.

          ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

   Paragraphs 1-69 as if fully set forth herein.

          118.     COMPLAINT PARAGRAPH 71: Arm owns U.S. Registration Nos. 5,692,669

   and 5,692,670 for the ARM word mark in standard characters and the stylized ARM mark

   featuring the word “arm” in all lower case letters (collectively, the “ARM Marks”), true and

   correct copies of which are attached as Exhibits A and B. These marks are registered for

   “[e]lectronic   data   processing   equipment,”      “integrated   circuits,”   “semiconductors,”

   “microprocessors,” “RISC-based instruction set architectures, namely, software instructions

   designed to function with particular microprocessors,” “data processors,” “printed circuit

   boards,” “electronic circuit boards,” and related “[r]esearch, development and design,” among

   numerous other goods and services. The applications to register the marks were filed on July 31,

   2017 and were issued on March 5, 2019. The application for Registration No. 5,692,669 has a

   claimed first use and first use-in-commerce date of November 30, 1990, while the application for




                                                   43
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page138
                                                           438ofof332
                                                                   633PageID
                                                                       PageID#:#:11286
                                                                                  530




   Registration No. 5,692,670 has a claimed first use and first use-in-commerce date of August 1,

   2017.

           ANSWER: Defendants refer the Court to Exhibits A and B of the Complaint for

   their complete language and content.        Defendants otherwise deny the allegations in

   Complaint Paragraph 71, except to the extent they purport to state legal conclusions to

   which no response is required.

           119.   COMPLAINT PARAGRAPH 72: The ARM Marks have come to signify the

   highest standards of quality and excellence associated with licensed Arm products and services

   and have incalculable reputation and goodwill, which belong to Arm.

           ANSWER: To the extent the allegations in Complaint Paragraph 72 purport to state

   legal conclusions, no response is required.         Defendants otherwise deny knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Complaint Paragraph 72, and on that basis deny them.

           120.   COMPLAINT PARAGRAPH 73: Arm has had valid and protectable rights in

   the ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

   connection with integrated circuit and microprocessor technologies.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 73, except to

   the extent they purport to state legal conclusions to which no response is required.

           121.   COMPLAINT PARAGRAPH 74: Qualcomm and Nuvia, as current or former

   Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

   knowledge of Arm’s ownership and use of the ARM Marks for years.

           ANSWER: Qualcomm admits that its ALA and TLA with ARM permit the use of

   ARM Marks. Defendants otherwise deny the allegations in Complaint Paragraph 74,




                                                  44
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page139
                                                           439ofof332
                                                                   633PageID
                                                                       PageID#:#:11287
                                                                                  531




   except to the extent they purport to state legal conclusions to which no response is

   required.

           122.   COMPLAINT PARAGRAPH 75: Arm has not authorized Qualcomm or Nuvia

   to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

   technology developed under the now-terminated licenses, instead terminating those licenses.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 75, except to

   the extent they purport to state legal conclusions to which no response is required.

           123.   COMPLAINT PARAGRAPH 76: Qualcomm and Nuvia have engaged in

   substantial preparation and taken concrete steps with the intent to infringe Arm’s trademarks in

   violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114. Arm’s customers—including

   Qualcomm and Nuvia, as discovery is likely to show—often use the ARM Marks in their die

   encapsulation (die packages), end user product packaging, advertising and promotional

   materials, technical documentation, and websites directed to users throughout the United States,

   including users physically located in the State of Delaware and this Judicial District. Qualcomm

   promotes Snapdragon products as incorporating Arm technology, such as by saying on its

   website that “Snapdragon 855 is equipped with the cutting-edge Qualcomm® KryoTM 485 CPU

   built on ARM Cortex Technology.”26 In January 2022, Qualcomm issued a press release touting

   the “broad support from ecosystem partners for the PC industry’s transition to Arm®-based

   computing,” with Qualcomm’s CEO boasting that “the recent acquisition of NUVIA uniquely

   positions Qualcomm Technologies to drive this industry wide transition.”27 This press release


   26
        Samsung            Galaxy            Note10+,             Qualcomm              Inc.,
        https://www.qualcomm.com/snapdragon/device-finder/smartphones/samsung-galaxy-note10-
        5g.
   27
        Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
        PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),


                                                  45
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page140
                                                           440ofof332
                                                                   633PageID
                                                                       PageID#:#:11288
                                                                                  532




   remains online. Also, Qualcomm and Nuvia’s plans to begin sampling chips with the relevant

   Nuvia technology as soon as August 2022 would require manufacturing a limited run of the

   chips in advance, and news reports indicate that Qualcomm already has some working chips to

   demonstrate to potential customers. Qualcomm and Nuvia have thus used the ARM Marks in

   connection with the advertising, distribution, offering for sale, or sale of the chips, and Arm

   believes discovery will show that their further use is imminent if it has not happened already.

          ANSWER: Qualcomm admits to using certain ARM Marks as permitted by its

   licenses to accurately refer to ARM’s technology, including, but not limited to, in

   marketing materials, product specifications, and technical documents. Defendants deny

   knowledge or information sufficient to form a belief as to how ARM’s other licensees use

   ARM Marks. Defendants otherwise respectfully refer the Court to the cited publications

   for their complete language and content. Defendants otherwise deny the allegations in

   Complaint Paragraph 76, except to the extent they purport to state legal conclusions to

   which no response is required.

          124.    COMPLAINT PARAGRAPH 77: Qualcomm and Nuvia’s unauthorized use of

   the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

   technology is likely to cause confusion, mistake, or deception on the part of consumers as to the

   affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship,

   or approval of Defendants’ semiconductor chips using the relevant Nuvia technology,

   constituting trademark infringement in violation of 15 U.S.C. § 1114. Given Arm’s close




      PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
      https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-part
      ners-build-industry-momentum-windows-arm.


                                                   46
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page141
                                                           441ofof332
                                                                   633PageID
                                                                       PageID#:#:11289
                                                                                  533




   relationships with its customers and individualized support for their products, there is and is

   likely to be confusion in the marketplace because consumers encountering the ARM Marks in

   connection with semiconductor chips incorporating the relevant Nuvia technology do and will

   likely believe that the products are endorsed by, licensed by, or otherwise associated with Arm.

   Semiconductor chips incorporating the relevant Nuvia technology are also readily identifiable

   without the use of the ARM Marks, such as by not mentioning the processor architecture or by

   using the generic term “RISC” (for reduced instruction set computer).

          ANSWER: Defendants deny the allegations in Complaint Paragraph 77, except to

   the extent they purport to state legal conclusions to which no response is required.

          125.    COMPLAINT PARAGRAPH 78: An actual and justiciable controversy exists

   between Defendants and Arm regarding infringement of Arm’s trademarks. Although Arm

   repeatedly notified Qualcomm and Nuvia that their development of the relevant Nuvia

   technology is unlicensed following termination of the Nuvia licenses, Qualcomm has continued

   to tell reporters that the technology is on track to be sampled to customers this year, and news

   reports indicate that Qualcomm already has some working chips to demonstrate to potential

   customers.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 78, except to

   the extent they purport to state legal conclusions to which no response is required.

          126.    COMPLAINT PARAGRAPH 79: Arm is entitled to a declaratory judgment that

   Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor

   chips with the relevant Nuvia technology and the ARM Marks do and will infringe Arm’s

   trademarks, directly and indirectly.




                                                  47
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page142
                                                           442ofof332
                                                                   633PageID
                                                                       PageID#:#:11290
                                                                                  534




          ANSWER: Defendants deny the allegations in Complaint Paragraph 79, except to

   the extent they purport to state legal conclusions to which no response is required.

          127.    COMPLAINT PARAGRAPH 80: Defendants’ acts of infringement have

   injured Arm in an amount as yet unknown. Arm is entitled to recover from Defendants the

   damages sustained as a result of Defendants’ wrongful acts in an amount subject to proof at trial.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 80, except to

   the extent they purport to state legal conclusions to which no response is required.

          128.    COMPLAINT PARAGRAPH 81: Based on Qualcomm and Nuvia’s continued

   development of the relevant Nuvia technology after repeated notifications that the technology is

   unlicensed following termination of the Nuvia licenses, discovery is likely to show that

   Qualcomm and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and

   attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

          ANSWER: Defendants deny the allegations in Complaint Paragraph 81, except to

   the extent they purport to state legal conclusions to which no response is required.

          129.    COMPLAINT PARAGRAPH 82: Arm will suffer and is suffering irreparable

   harm to its name, reputation, and goodwill from Defendants’ trademark infringement. Arm has

   no adequate remedy at law and is entitled to a permanent injunction against Defendants’

   continuing infringement, including requiring Defendants, pursuant to 15 U.S.C. § 1118, to

   deliver up for destruction, or to show proof of said destruction or sufficient modification to

   eliminate the infringing matter, all semiconductor chips, die encapsulation (die packages), end

   user product packaging, advertising and promotional materials, technical documentation,

   websites, and other matter in Defendants’ possession, custody, or control that bears or displays




                                                   48
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page143
                                                           443ofof332
                                                                   633PageID
                                                                       PageID#:#:11291
                                                                                  535




   the ARM Marks in any manner in connection with the relevant Nuvia technology. Unless

   enjoined, Defendants will continue their infringing conduct.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 82, except to

   the extent they purport to state legal conclusions to which no response is required.

                     COUNT III: DECLARATORY JUDGMENT AND
                 FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. § 1125
                                 (ALL DEFENDANTS)

          130.    COMPLAINT PARAGRAPH 83: Arm hereby restates and re-alleges the

   allegations set forth above and incorporates them by reference.

          ANSWER: Defendants repeat and reiterate their responses to ARM’s Complaint

   Paragraphs 1-82 as if fully set forth herein.

          131.    COMPLAINT PARAGRAPH 84: The acts of Qualcomm and Nuvia described

   above constitute false designation of origin in violation of Section 43(a) of the Lanham Act, 15

   U.S.C. § 1125(a).

          ANSWER: Defendants deny the allegations in Complaint Paragraph 84, except to

   the extent they purport to state legal conclusions to which no response is required.

          132.    COMPLAINT PARAGRAPH 85: Arm has had valid and protectable rights in

   the ARM Marks since substantially before Qualcomm and Nuvia’s first uses of those marks in

   connection with integrated circuit and microprocessor technologies.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 85, except to

   the extent they purport to state legal conclusions to which no response is required.

          133.    COMPLAINT PARAGRAPH 86: Qualcomm and Nuvia, as current or former

   Arm licensees under agreements that permitted the use of the ARM Marks, have had actual

   knowledge of Arm’s ownership and use of the ARM Marks for years.




                                                   49
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page144
                                                           444ofof332
                                                                   633PageID
                                                                       PageID#:#:11292
                                                                                  536




           ANSWER: Qualcomm admits that its ALA and TLA permit use of the ARM

   Marks. Defendants otherwise deny the allegations in Complaint Paragraph 86, except to

   the extent they purport to state legal conclusions to which no response is required.

           134.   COMPLAINT PARAGRAPH 87: Arm has not authorized Qualcomm or Nuvia

   to use the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

   technology developed under the now-terminated licenses, instead terminating those licenses.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 87, except to

   the extent they purport to state legal conclusions to which no response is required.

           135.   COMPLAINT PARAGRAPH 88: Qualcomm and Nuvia have engaged in

   substantial preparation and taken concrete steps with the intent to falsely designate the origin of

   their products in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Arm’s

   customers—including Qualcomm and Nuvia, as discovery is likely to show—often use the ARM

   Marks in their die encapsulation (die packages), end user product packaging, advertising and

   promotional materials, technical documentation, and websites directed to users throughout the

   United States, including users physically located in the State of Delaware and this Judicial

   District. Qualcomm promotes Snapdragon products as incorporating Arm technology, such as by

   saying on its website that “Snapdragon 855 is equipped with the cutting-edge Qualcomm®

   KryoTM 485 CPU built on ARM Cortex Technology.”28 In January 2022, Qualcomm issued a

   press release touting the “broad support from ecosystem partners for the PC industry’s transition

   to Arm®-based computing,” with Qualcomm’s CEO boasting that “the recent acquisition of




   28
        Samsung            Galaxy            Note10+,             Qualcomm              Inc.,
        https://www.qualcomm.com/snapdragon/device-finder/smartphones/samsung-galaxy-note10-
        5g.


                                                   50
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page145
                                                           445ofof332
                                                                   633PageID
                                                                       PageID#:#:11293
                                                                                  537




   NUVIA uniquely positions Qualcomm Technologies to drive this industry wide transition.”29

   This press release remains online. Also, Qualcomm and Nuvia’s plans to begin sampling chips

   with the relevant Nuvia technology as soon as August 2022 would require manufacturing a

   limited run of the chips in advance, and news reports indicate that Qualcomm already has some

   working chips to demonstrate to potential customers. Qualcomm and Nuvia have thus used the

   ARM Marks in connection with the advertising, distribution, offering for sale, or sale of the

   chips, and Arm believes discovery will show that their further use is imminent if it has not

   happened already.

           ANSWER: Qualcomm admits to using certain ARM Marks pursuant to its licenses

   to accurately refer to ARM’s technology, including, but not limited to, in marketing

   materials, product specifications, and technical documents. Defendants deny knowledge or

   information sufficient to form a belief as to how ARM’s other customers use ARM Marks.

   Defendants respectfully refer the Court to the cited publications for their complete

   language and content. Defendants otherwise deny the allegations in Complaint Paragraph

   88, except to the extent they purport to state legal conclusions to which no response is

   required.

           136.   COMPLAINT PARAGRAPH 89: Qualcomm and Nuvia’s unauthorized use of

   the ARM Marks in connection with semiconductor chips incorporating the relevant Nuvia

   technology is likely to cause confusion, mistake, or deception on the part of consumers as to the

   affiliation, connection, or association of Defendants with Arm, or as to the origin, sponsorship,



   29
        Qualcomm and Leading Compute Partners Build Industry Momentum for Windows on Arm
        PCs Powered by Snapdragon Compute Platforms, Qualcomm Inc. (Jan. 3, 2022),
        https://www.qualcomm.com/news/releases/2022/01/04/qualcomm-and-leading-compute-part
        ners-build-industry-momentum-windows-arm.


                                                  51
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page146
                                                           446ofof332
                                                                   633PageID
                                                                       PageID#:#:11294
                                                                                  538




   or approval of Defendants’ semiconductor chips using the relevant Nuvia technology,

   constituting false designation of origin in violation of 15 U.S.C. § 1125(a)(1)(A). Given Arm’s

   close relationships with its customers and individualized support for their products, there is and

   is likely to be confusion in the marketplace because consumers encountering the ARM Marks in

   connection with semiconductor chips incorporating the relevant Nuvia technology do and will

   likely believe that the products are endorsed by, licensed by, or otherwise associated with Arm.

   Semiconductor chips incorporating the relevant Nuvia technology are also readily identifiable

   without the use of the ARM Marks, such as by not mentioning the processor architecture or by

   using the generic term “RISC” (for reduced instruction set computer).

           ANSWER: Defendants deny the allegations in Complaint Paragraph 89, except to

   the extent they purport to state legal conclusions to which no response is required.

           137.    COMPLAINT PARAGRAPH 90: An actual and justiciable controversy exists

   regarding Defendants’ false designation of origin. Although Arm repeatedly notified Qualcomm

   and Nuvia that their development of the relevant Nuvia technology is unlicensed following

   termination of the Nuvia licenses, Qualcomm has continued to tell reporters that the technology

   is on track to be sampled to customers this year, and news reports indicate that Qualcomm

   already has some working chips to demonstrate to potential customers.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 90, except to

   the extent they purport to state legal conclusions to which no response is required.

           138.    COMPLAINT PARAGRAPH 91: Arm is entitled to a declaratory judgment that

   Qualcomm and Nuvia’s advertising, distribution, offering for sale, or sale of semiconductor

   chips with the relevant Nuvia technology and the ARM Marks do and will falsely designate the

   origin of their products, directly and indirectly.




                                                        52
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page147
                                                           447ofof332
                                                                   633PageID
                                                                       PageID#:#:11295
                                                                                  539




           ANSWER: Defendants deny the allegations in Complaint Paragraph 91, except to

   the extent they purport to state legal conclusions to which no response is required.

           139.     COMPLAINT PARAGRAPH 92: Defendants’ acts of false designation of

   origin have injured Arm in an amount as yet unknown. Arm is entitled to recover from

   Defendants the damages sustained as a result of Defendants’ wrongful acts in an amount subject

   to proof at trial.

           ANSWER: Defendants deny the allegations in Complaint Paragraph 92, except to

   the extent they purport to state legal conclusions to which no response is required.

           140.     COMPLAINT PARAGRAPH 93: Based on Qualcomm and Nuvia’s continued

   development of the relevant Nuvia technology after repeated notifications that the technology is

   unlicensed following termination of the Nuvia licenses, discovery is likely to show that

   Qualcomm and Nuvia are acting willfully to usurp Arm’s rights, warranting treble damages and

   attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

           ANSWER: Defendants deny the allegations in Complaint Paragraph 93, except to

   the extent they purport to state legal conclusions to which no response is required.

           141.     COMPLAINT PARAGRAPH 94: Arm will suffer and is suffering irreparable

   harm to its name, reputation, and goodwill from Defendants’ false designation of origin. Arm has

   no adequate remedy at law and is entitled to a permanent injunction against Defendants’

   continuing false designation of origin, including requiring Defendants, pursuant to 15 U.S.C. §

   1118, to deliver up for destruction, or to show proof of said destruction or sufficient modification

   to eliminate the falsely designated matter, all semiconductor chips, die encapsulation (die

   packages), end user product packaging, advertising and promotional materials, technical

   documentation, websites, and other matter in Defendants’ possession, custody, or control that




                                                   53
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page148
                                                           448ofof332
                                                                   633PageID
                                                                       PageID#:#:11296
                                                                                  540




   bears or displays the ARM Marks in any manner in connection with the relevant Nuvia

   technology. Unless enjoined, Defendants will continue their wrongful conduct.

          ANSWER: Defendants deny the allegations in Complaint Paragraph 94, except to

   the extent they purport to state legal conclusions to which no response is required.

                                  ARM’S PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Arm Ltd. requests that the Court grant the following relief:

          a.      A judgment in Arm’s favor on all claims against Defendants;

          b.      An order requiring specific performance by Defendants of the Nuvia licenses’

   termination provisions;

          c.      An award of damages incidental to specific performance as a result of

   Defendants’ breach of contract, in amounts to be proven at trial, including all pre-judgment and

   post-judgment interest at the maximum rate permitted by law;

          d.      A judgment and a declaration that advertising, distributing, offering for sale, or

   selling semiconductor chips with the relevant Nuvia technology and the ARM Marks infringes

   Arm’s trademarks, directly and indirectly;

          e.      An order and judgment permanently enjoining Defendants and their officers,

   directors, agents, servants, employees, and all others acting in privity or in concert with them,

   and their parents, subsidiaries, divisions, successors, and assigns from (1) using in any manner in

   connection with the relevant Nuvia technology the ARM Marks, or any mark or logo that is

   confusingly similar to or a colorable imitation of the ARM Marks owned by Arm; (2) doing any

   act or thing calculated or likely to cause confusion or mistake in the minds of the members of the

   public or prospective customers as to the affiliation, connection, or association of Defendants

   with Arm, or as to the origin, sponsorship, or approval of Defendants’ semiconductor chips using




                                                   54
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page149
                                                           449ofof332
                                                                   633PageID
                                                                       PageID#:#:11297
                                                                                  541




   the relevant Nuvia technology; or (3) assisting, aiding, or abetting any other person or business

   entity in performing any of the aforementioned activities;

          f.      An order and judgment directing Defendants, pursuant to 15 U.S.C. § 1116(a), to

   file with this Court and serve upon Arm within thirty (30) days after entry of the injunction a

   report in writing under oath setting forth in detail the manner and form in which Defendants have

   complied with the injunction and ceased all offering of products with the relevant Nuvia

   technology under the ARM Marks, as set forth above;

          g.      An order and judgment directing Defendants and their officers, directors, agents,

   servants, employees, and all others acting in privity or in concert with them, and their parents,

   subsidiaries, divisions, successors, and assigns to deliver up for destruction, or to show proof of

   said destruction or sufficient modification to eliminate the infringing matter, all semiconductor

   chips, die encapsulation (die packages), end user product packaging, advertising and promotional

   materials, technical documentation, websites, and other matter in Defendants’ possession,

   custody, or control that bears or displays in any manner in connection with the relevant Nuvia

   technology the ARM Marks or any other mark that is confusingly similar to or a colorable

   imitation of the ARM Marks;

          h.      A judgment in the aggregate amount of (1) Defendants’ profits, (2) Arm’s actual

   damages, (3) the costs of this action pursuant to 15 U.S.C. § 1117, and (4) restitution and/or

   disgorgement of all revenues, earnings, profits, compensation, and benefits that may have been

   obtained by Defendants in connection with their semiconductor chips using the relevant Nuvia

   technology and the ARM Marks, including all pre-judgment and post-judgment interest at the

   maximum rate permitted by law;




                                                   55
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page150
                                                           450ofof332
                                                                   633PageID
                                                                       PageID#:#:11298
                                                                                  542




          i.      A judgment trebling any damages to the extent permitted by law, including under

   15 U.S.C. § 1117;

          j.      Exemplary or punitive damages to the extent permitted by law;

          k.      Costs, expenses, and reasonable attorney fees under all applicable rules, statutes,

   and rules in common law that would be appropriate, with pre-judgment and post-judgment

   interest thereon at the maximum rate permitted by law;

          l.      Equitable relief addressing any infringement occurring after entry of judgment;

   and

          m.      Such other relief as the Court deems just and proper.

          ANSWER TO PLEA FOR RELIEF: ARM’s characterization of the relief it seeks

   does not require a response. To the extent a response is required, Defendants deny the

   allegations in the prayer for relief and further deny that ARM is entitled to the requested

   relief, or any relief, against the Defendants, and the Defendants request that the Court

   dismiss all claims against them with prejudice and order such further relief as the Court

   deems just and proper.

                                           JURY DEMAND

          Pursuant to D. Del. LR 38.1 and Fed. R. Civ. P. 38, Arm hereby demands a TRIAL BY

   JURY of all claims and issues presented in this Complaint that are so triable.

          ANSWER TO JURY DEMAND: ARM’s jury demand states a legal conclusion to

   which no response is required, and Defendants otherwise reserve their right to contest

   ARM’s jury demand.




                                                   56
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page151
                                                           451ofof332
                                                                   633PageID
                                                                       PageID#:#:11299
                                                                                  543




                                              DEFENSES

          142.    Without admitting that the Defendants engaged in the acts and conduct set forth in

   ARM’s Complaint or that such acts or conduct would entitle ARM to the relief it seeks or that

   the allegation of an affirmative or other defense requires Defendants to prove affirmatively the

   circumstances as alleged, the Defendants assert the following defenses with respect to the claims

   alleged in the Complaint, without assuming the burden of proof or persuasion where the burden

   rests on ARM. By designating the following defenses, the Defendants do not in any way waive

   or limit any defenses which are or may be raised by their denials, allegations and averments set

   forth herein, and do not assume the burden of proof for any element of a claim to which the

   applicable law places the burden of proof on the Plaintiff. The defenses are pleaded in the

   alternative, are raised to preserve the Defendants’ rights to assert such defenses, and are without

   prejudice to their ability to raise other and further defenses. The Defendants hereby give notice

   that they intend to rely upon such other and further defenses as may become available or

   apparent at any time and hereby reserve all rights to amend and/or supplement any and all

   defenses set forth herein.

                                           FIRST DEFENSE

                                      (Failure To State A Claim)

          143.    The Complaint fails to state a claim against the Defendants upon which relief can

   be granted.

                                         SECOND DEFENSE

                           (Defendants Did Not Breach The NUVIA ALA)

          144.    Defendants did not breach the termination provisions of NUVIA’s ALA because

   Defendants complied with the termination provision.




                                                   57
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page152
                                                           452ofof332
                                                                   633PageID
                                                                       PageID#:#:11300
                                                                                  544




          145.   Defendants did not breach the NUVIA ALA.             Defendants’ use of ARM

   technology and information was fully licensed under the Qualcomm ALA.

                                        THIRD DEFENSE

                  (Defendants’ Use Of ARM Marks Is Licensed And Therefore
                      Permitted Under Qualcomm’s License Agreements)

          146.   Defendants are licensed to use the ARM Marks at issue and therefore they are not

   in violation of 15 U.S.C. §§ 1114 and 1125.

          147.   For example, under                of Qualcomm’s ARM ALA, ARM




          148.   The Qualcomm products at issue in ARM’s complaint were

                       Qualcomm’s license agreements. Accordingly, Defendants are permitted to

   use ARM’s Marks licensed under that agreement.

                                       FOURTH DEFENSE

                                             (Fair Use)

          149.   Defendants are not subject to liability for alleged trademark infringement because

   Defendants’ use of ARM Marks constitutes fair use.

          150.   Defendants use the ARM Marks in marketing materials, product specifications

   and technical documents to truthfully refer to ARM’s technology and its relationship with

   Qualcomm’s products. For example, Qualcomm’s website describes the Kryo CPU as follows:




                                                 58
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page153
                                                           453ofof332
                                                                   633PageID
                                                                       PageID#:#:11301
                                                                                  545




   “The Qualcomm® Kryo™ CPU (built on ARM Cortex Technology) available in certain

   Snapdragon processors is optimized for high-performance mobile computing.”

           151.    Use of the ARM Marks in this manner is necessary to accurately describe that

   Qualcomm’s products are compatible with ARM’s technology.

           152.    This use of the ARM Marks indicates that Qualcomm’s products use an ARM

   ISA.    This is a true and accurate representation of the relationship between ARM and

   Qualcomm’s products.

           153.    Defendants use only so much of the ARM Marks as necessary to describe ARM’s

   products.

                                           FIFTH DEFENSE

                                              (Ripeness)

           154.    ARM’s claims under 15 U.S.C. §§ 1114 and 1125 are premature and not ripe for

   adjudication.

                                           SIXTH DEFENSE

                         (Plaintiff’s Breach Of The NUVIA ALA Prevents It
                                 From Seeking To Enforce The ALA)

           155.    ARM is barred from bringing or maintaining its breach of contract claim based on

   the NUVIA ALA, or recovering any remedy against the Defendants based on this claim, because

   ARM breached the NUVIA ALA, and such breach excuses any nonperformance by the

   answering Defendants.

           156.    ARM’s refusal to fulfill its responsibilities under the NUVIA ALA bars its own

   claims of breach of contract against the Defendants.

           157.    Moreover, pursuant to            of the ALA, ARM’s ability to recover damages

   is limited.



                                                  59
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page154
                                                           454ofof332
                                                                   633PageID
                                                                       PageID#:#:11302
                                                                                  546




                                        SEVENTH DEFENSE

                                           (Unclean Hands)

          158.    ARM is barred from bringing or maintaining its claims by virtue of the equitable

   doctrine of unclean hands, including because ARM has refused to fulfill its contractual

   obligations to Defendants.

                                         EIGHTH DEFENSE

                                                (Waiver)

          159.    By the statements, conduct, acts, or omissions attributable to ARM alone, ARM

   has waived all claims and causes of action and any recovery or remedy alleged in the complaint.

   ARM has been aware of Qualcomm’s development of technology it acquired from NUVIA for

   over a year, and only now seeks to preclude Qualcomm from proceeding with its development.

                                          NINTH DEFENSE

                                               (Estoppel)

          160.    By the statements, conduct, acts, or omissions attributable to ARM alone, ARM is

   estopped from seeking any recovery or remedy as alleged in the complaint. ARM has been

   aware of Qualcomm’s development of technology it acquired from NUVIA for over a year, and

   only now seeks to preclude Qualcomm from proceeding with its development.

                                          TENTH DEFENSE

                                             (No Damages)

          161.    ARM’s claims cannot be maintained because ARM cannot prove any cognizable

   loss, damage, or injury as a result of the conduct alleged in the Complaint.

          162.    Moreover, to the extent ARM seeks damages, ARM’s damages are limited

   pursuant to            of the ALA.




                                                   60
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page155
                                                           455ofof332
                                                                   633PageID
                                                                       PageID#:#:11303
                                                                                  547




                                         ELEVENTH DEFENSE

                                    (Failure To Mitigate Damages)

            163.   ARM’s claim for damages is barred in whole or in part due to ARM’s failure to

   mitigate the alleged damages resulting from its claims.

            164.   ARM knew in March of 2021 that Qualcomm had acquired NUVIA and that it

   intended to continue developing technology acquired from NUVIA.

            165.   ARM waited until February 2022 to terminate the NUVIA ALA, allegedly

   because NUVIA violated assignments provisions in the NUVIA agreements.

            166.   ARM’s actions worked to maximize its alleged damages.

                                         TWELFTH DEFENSE

                                          (Equitable Defenses)

            167.   The claims alleged and the relief sought in this action are barred in whole or in

   part by the equitable doctrines of laches, acquiescence, consent, ratification, and/or similar

   doctrines.

                                      THIRTEENTH DEFENSE

                                (No Entitlement To Equitable Relief)

            168.   To the extent the Complaint seeks equitable relief, such relief is barred because

   there is an adequate remedy at law.

                                     FOURTEENTH DEFENSE

                                          (Trademark Misuse)

            169.   ARM has misused its marks inequitably, in order to harm Defendants.

            170.   ARM has falsely claimed that Defendants are not entitled to utilize the ARM

   Marks.




                                                   61
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page156
                                                           456ofof332
                                                                   633PageID
                                                                       PageID#:#:11304
                                                                                  548




          171.    ARM falsely told customers, the media, and the public that Qualcomm cannot

   manufacture or sell products compatible with ARM’s ISA that contain NUVIA technology.

          172.    In so doing, ARM is indicating that Defendants are not entitled to utilize the

   ARM Marks.

          173.    This is incorrect.   Defendants are fully licensed to the ARM Marks under

   Qualcomm’s license agreements with ARM.

                                       FIFTEENTH DEFENSE

                                           (Other Defenses)

          174.    Defendants hereby adopt and incorporate by reference any and all other defenses

   asserted, or that may hereafter be asserted, by any other defendant not expressly set forth herein

   to the extent such defense may be applicable to Defendants.

                                         COUNTERCLAIM

          175.    Defendants, for their Counterclaim against ARM, seek a declaration that

   Defendants have not breached NUVIA’s license agreements with ARM, and that Defendants’

   design, activities, and work on the Phoenix Core and associated SoCs are fully licensed pursuant

   to Qualcomm’s license agreements with ARM. Defendants set forth their counterclaim below,

   and incorporate by reference their introduction, set forth in paragraphs 1-47 above, as though set

   forth in full below.


                                               THE PARTIES

          176.    Qualcomm Incorporated is a Delaware corporation with its principal place of

   business in San Diego, California. Qualcomm is the world’s leading wireless technology

   innovator and the driving force behind the development, launch, and expansion of 5G

   technology. Qualcomm’s foundational technologies enable the mobile ecosystem and are found



                                                   62
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page157
                                                           457ofof332
                                                                   633PageID
                                                                       PageID#:#:11305
                                                                                  549




   in every 3G, 4G, and 5G smartphone. Qualcomm brings the benefits of mobile to new

   industries, including automotive, the internet of things, and computing, where Qualcomm has

   driven the convergence of PC and mobile technology to increase productivity, connectivity, and

   security in portable laptops.

          177.    Qualcomm Technologies, Inc. is a Delaware corporation with a principal place of

   business in San Diego, California. Qualcomm Technologies is a wholly-owned subsidiary of

   Qualcomm Incorporated and operates, along with its subsidiaries, substantially all of

   Qualcomm’s engineering, research and development functions, and substantially all of its

   products and services businesses, including its QCT semiconductor business.

          178.    NUVIA, Inc. was founded in February 2019 to design and develop

   ARM-compatible cores for use in server products. NUVIA comprised a proven world-class

   CPU and technology design team, with industry-leading expertise in high-performance

   processors, SoCs, and power management for compute-intensive devices and applications.

   Qualcomm acquired NUVIA in March 2021 for approximately $1.4 billion, before working

   capital and other adjustments.

          179.    ARM is a corporation headquartered in Cambridge, United Kingdom and was

   founded in 1990. ARM is planning to issue an IPO in the future, and ARM’s positions will have

   a detrimental impact on this IPO unless this action is resolved beforehand.


                                    JURISDICTION AND VENUE

          180.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

   § 1332 as there is complete diversity between the parties and the amount in controversy exceeds

   $75,000.




                                                   63
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page158
                                                           458ofof332
                                                                   633PageID
                                                                       PageID#:#:11306
                                                                                  550
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page159
                                                           459ofof332
                                                                   633PageID
                                                                       PageID#:#:11307
                                                                                  551




          185.   On September 27, 2019, NUVIA entered into both a TLA and an ALA through

   which it licensed certain ARM Technology. The NUVIA ALA was later amended on October

   17, 2019.

          186.   Prior to ARM’s termination of the NUVIA ALA and TLA, Qualcomm’s and

   NUVIA’s license agreements with ARM broadly overlapped. At the time of termination of the

   NUVIA agreements, Qualcomm’s ALA and TLA provided Qualcomm a license to the same

   technologies that were licensed under the NUVIA agreements.

          187.   However, as discussed above, the royalty rates under NUVIA’s license

   agreements were higher than those under Qualcomm’s.

          II.    ARM TRIES TO TAKE                      ADVANTAGE        OF    QUALCOMM’S
                 ACQUISITION OF NUVIA

          a.       Qualcomm Alerts ARM To Its Pending Acquisition Of NUVIA

          188.   As discussed above in paragraphs 1-47, on January 13, 2021, Qualcomm

   announced its intent to acquire—for $1.4 billion before working capital and other

   adjustments—NUVIA, a start-up focused on developing a promising custom CPU compliant

   with the ARM ISA designed for data center servers.

          189.   On January 27, 2021, Qualcomm wrote ARM a letter stating that it had entered

   into a definitive agreement to acquire NUVIA, and noting that Qualcomm and NUVIA had

   overlapping license agreements. As Qualcomm notified ARM, “[f]ollowing the closing of the

   acquisition, for ease of operation and structure, QTI intends to transfer NUVIA’s work and

   employees to QTI and other current Qualcomm subsidiaries and have the then former NUVIA

   employees continue their activities under the Qualcomm ALA and TLA, as that will be their

   current employer.” In its letter, Qualcomm told ARM that it would be willing to “work with the




                                                 65
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page160
                                                           460ofof332
                                                                   633PageID
                                                                       PageID#:#:11308
                                                                                  552




   ARM team to complete any necessary annexes” to Qualcomm’s ALA and TLA “to the extent

   NUVIA was utilizing any ARM technology not currently covered under the current QTI ALA

   and TLA.” Given the timing of the acquisition, which was scheduled to close in March,

   Qualcomm requested that ARM respond by February 3, 2021.

          190.    ARM did not respond until February 2, 2021, and said it would start reviewing

   “NUVIA’s contracts with ARM” and would “aim to get in touch” regarding additional materials

   required to facilitate the review by February 17, 2021. ARM further stated that it expected

   Qualcomm and NUVIA to “continue to follow the confidentiality obligations” in the parties’

   agreements and that the transfer of “designs, rights, or licenses” would be subject to “Arm’s

   prior consent,” which is “customarily documented in a three-way agreement between Arm,

   transferor, and transferee.”

          191.     Qualcomm replied the following day. Qualcomm confirmed that both “NUVIA

   and Qualcomm’s existing agreements with ARM provide for the protection of ARM’s

   confidential information,” and that they “would abide by the confidentiality terms of those

   agreements.”     Qualcomm further requested that ARM provide its proposed “three-way

   agreement” for review.

          192.    ARM never provided a draft of the “three-way agreement” or explained its

   concerns regarding protection of its confidential information. Nor was any such “three-way

   agreement” necessary to transfer any designs or rights to the NUVIA technology that Qualcomm

   had acquired. Rather, by its terms, Qualcomm’s agreements provided any rights necessary to

   continue the development of custom cores for the uses Qualcomm contemplated.




                                                66
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page161
                                                           461ofof332
                                                                   633PageID
                                                                       PageID#:#:11309
                                                                                  553




          b.     ARM’s Baseless Threats

          193.   ARM waited nearly two weeks after Qualcomm’s letter to provide any

   meaningful response. On February 16, 2021, ARM gave Qualcomm a broad list of demands,

   claiming that ARM could only consent to the assignment of NUVIA’s agreements to Qualcomm

   if Qualcomm agreed to several outrageous demands, set forth in Paragraph 23 above.

          194.   Although assignment of the NUVIA agreement was unnecessary because of

   Qualcomm’s own license agreements and nothing in the NUVIA agreement precluded

   Qualcomm from acquiring NUVIA or its technology, ARM’s ploy in tying its consent to these

   demands was to try and leverage the swiftly approaching closing date in a misguided attempt to

   disrupt Qualcomm’s acquisition.

          195.   In correspondence sent February 18 and February 25, 2021, Qualcomm explained

   that ARM’s demand that Qualcomm pay the NUVIA licensing rates was not appropriate because

   “ARM has not proposed giving Qualcomm any additional rights or benefits in exchange for” its

   demand for additional payments and because there was no contractual support for ARM’s

   imposition of NUVIA’s royalty rates on Qualcomm.

          196.   Qualcomm also explained that ARM’s proposed restrictions on Qualcomm’s

   engineers were inappropriate, as the proposed three-year restriction period would make it nearly

   impossible to develop products, thus endangering Qualcomm development work and would

   adversely impact ARM through the loss of licensing revenue.

          197.   During Qualcomm’s February 2021 discussions with ARM, it became apparent

   that ARM’s position was that NUVIA needed to assign its license agreements to Qualcomm, and

   that assignment could only be made with ARM’s consent under




                                                  67
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page162
                                                           462ofof332
                                                                   633PageID
                                                                       PageID#:#:11310
                                                                                  554




          198.




          199.




          200.   These assignment provisions are inapplicable to Qualcomm’s acquisition of

   NUVIA because Qualcomm has its own separate license agreements with ARM, which covered

   NUVIA and its technology as soon as the acquisition closed.




          201.   In addition, the ALA gave Qualcomm broad license rights to design architecture

   compatible cores at all stages of implementation.




                                                68
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page163
                                                           463ofof332
                                                                   633PageID
                                                                       PageID#:#:11311
                                                                                  555




          202.   Therefore, NUVIA’s technology would be covered by Qualcomm’s ALA upon its

   acquisition. It was not necessary to transfer NUVIA’s licenses to effectuate the acquisition of

   NUVIA or its technology.

          203.   Regardless, in an effort to compromise, on February 25, 2021, Qualcomm asked

   that ARM consent to the transfer of the NUVIA licenses to Qualcomm by March 2, 2021.

          204.   By a letter dated March 2, 2021, ARM refused to consent.           Instead, ARM

   reiterated its demand that Qualcomm agree to the higher royalties of the NUVIA license

   agreement, including for what it alleged to be “derivative[]” products developed by Qualcomm.

   ARM conditioned its consent to the assignment of the agreements by NUVIA to Qualcomm on

   Qualcomm agreeing to these demands.

          205.   Qualcomm did not agree to these demands and Qualcomm’s acquisition of

   NUVIA was completed as scheduled on March 16, 2021.

          206.   Although the parties had intermittent discussions to resolve the dispute, they were

   unable to resolve these issues, and in September 2021, ARM went silent.

          d.     With ARM’s Knowledge And Assistance Owed To Qualcomm Under Its
                 ALA, Qualcomm Continued Its Work Developing CPU Cores After The
                 Acquisition Closed

          207.   From March 16, 2021 through the present, Qualcomm engineers (including

   former NUVIA employees), operating under the Qualcomm license agreements, worked

   diligently to develop market-leading CPU cores and SoCs improving and further developing the

   technology it acquired from NUVIA.

          208.   When Qualcomm acquired NUVIA, NUVIA had certain technology for a CPU

   core (i.e., the Phoenix Core) and the Server SoC that would use the Phoenix Core, but this




                                                 69
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page164
                                                           464ofof332
                                                                   633PageID
                                                                       PageID#:#:11312
                                                                                  556




   technology was not fully developed. Qualcomm continued to develop the Phoenix Core and

   Server SoC.

          209.    Qualcomm also designed a SoC for use in the “compute” space (the “Compute

   SoC”), which would include aspects of the Phoenix Core. Unlike the Server SoC, the Compute

   SoC was initially conceived of and innovated at Qualcomm after the NUVIA acquisition,

   including modifications of the Phoenix Core for this application.

          210.    Throughout 2021 and 2022, Qualcomm received limited support from ARM as it

   developed the Phoenix Core and the two SoCs under Qualcomm’s agreements, largely related to

   certain verification processes ARM is obligated to provide to ensure that the core design meets

   the architectural guidelines. During the verification process, ARM knew that it was interacting

   with former NUVIA employees, and knew that Qualcomm was seeking to verify core designs

   that included technologies Qualcomm had acquired from NUVIA.

          211.    Beginning immediately after the acquisition, Qualcomm—including many

   Qualcomm team members who had previously worked at NUVIA—began having weekly calls

   with ARM engineers related to verification testing of the in-development Phoenix Core and the

   Server SoC.

          212.    The discussion between ARM and Qualcomm (which included the former

   NUVIA engineers) was open and transparent. ARM was aware that the discussions included

   Qualcomm engineers formerly at NUVIA related to Qualcomm’s ongoing development of the

   technologies it had acquired from NUVIA.

          213.    ARM has also continued to license technology to Qualcomm, and Qualcomm has

   continued to pay ARM for those licenses.




                                                  70
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page165
                                                           465ofof332
                                                                   633PageID
                                                                       PageID#:#:11313
                                                                                  557




          214.   For example, in July 2021, ARM delivered to Qualcomm four design-only

   licenses for Qualcomm internal testing.    It also delivered to Qualcomm twelve single-use

   licenses, allowing the development of a single chipset design using the licensed ARM

   Technology. Subsequently, in October 2021, ARM delivered three perpetual licenses allowing

   for use of some of that same ARM Technology in unlimited designs. Like other licenses from

   ARM, Qualcomm paid for these licenses.

          215.   In or around late 2021, Qualcomm also introduced the Compute SoC into the

   parties’ weekly discussions.   Like the parties’ discussions concerning the in-development

   Phoenix Core for the Server SoC, these discussions were transparent, and ARM was aware that

   these discussions included Qualcomm engineers formerly at NUVIA and related to Qualcomm’s

   ongoing development of the technologies it had acquired from NUVIA.

          216.   Also in December 2021, Qualcomm submitted an interim compliance report to

   ARM for the Server SoC it had been developing since the NUVIA acquisition. This compliance

   report stated that the Server SoC implemented        of the ARM ISA, which was, at that time,

   publicly available on ARM’s website and licensed under Qualcomm’s ALA.

          III.   ARM WAITED OVER A YEAR TO TERMINATE THE NUVIA
                 LICENSES AND DEMAND QUALCOMM DESTROY TECHNOLOGY

          a.   On February 1, 2022, ARM Claimed NUVIA And Qualcomm Breached The
          NUVIA License Agreements And Terminated The Agreements

          217.   As discussed above in paragraphs 31-40, in a letter dated February 1, 2022, after

   ARM had been interfacing with Qualcomm and its development efforts for months, ARM

   notified Gerard Williams III, the former CEO and President of NUVIA, that it intended to

   terminate both NUVIA’s ALA and TLA for “material breach.”




                                                   71
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page166
                                                           466ofof332
                                                                   633PageID
                                                                       PageID#:#:11314
                                                                                  558




          218.     ARM’s February 2022 letter alleged that NUVIA had violated the assignment

   provisions in                 of both the NUVIA ALA and TLA when it was acquired by

   Qualcomm without ARM’s consent. ARM also alleged that NUVIA violated the confidentiality

   provisions of             of both of the NUVIA license agreements by making unlicensed use of

   ARM’s confidential information. ARM’s letter did not explain its assertions or define the

   purported breach.

          219.     But NUVIA was not required to obtain consent from ARM to “transfer” its

   licenses or technology.    There are no provisions in the NUVIA-ARM agreements or the

   Qualcomm-ARM agreements that prohibited Qualcomm from purchasing NUVIA, nor are there

   any such provisions that required ARM’s consent to purchase NUVIA.

          220.     As a Qualcomm subsidiary, NUVIA was licensed under the Qualcomm ALA and

   TLA to use ARM Technology and Confidential Information. And Qualcomm’s licenses covered

   the further development of the technology acquired from NUVIA by Qualcomm.

          221.     ARM’s argument under                 fails for the same reasons. At the time of the

   termination, both NUVIA and Qualcomm were licensed to use the ARM information in the

   Phoenix Core and related SoCs under the Qualcomm ALA and TLA, and any use of that

   information was fully authorized.

          222.     In addition, the Phoenix Core and the Server SoC implemented          of the ARM

   ISA, and did not utilize any ARM Confidential Information because ARM has published this

   specification and placed it in the public domain. ARM was well aware of this fact by the time it

   sent the February 1, 2022 termination letter.

          223.     Thus, contrary to ARM’s assertions, neither NUVIA nor Qualcomm “committed a

   material breach of” the NUVIA ALA.




                                                   72
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page167
                                                           467ofof332
                                                                   633PageID
                                                                       PageID#:#:11315
                                                                                  559




          224.   Moreover, ARM waited to terminate the NUVIA agreement until Qualcomm had

   already completed the design of the Phoenix Core for its Server SoC—and even after ARM had

   accepted Qualcomm’s core design as ISA compatible.

          225.   ARM demanded, upon termination, that NUVIA:

                         a.     “discontinue any use and distribution of all Arm Technology, Arm
                                Confidential Information and any products embodying such
                                technology or information”;

                         b.     “[a]t Arm’s option, either destroy or return to Arm any Arm
                                Confidential Information, including any copies thereof in its
                                possession and any Arm Technology or derivatives . . . thereof in
                                its possession”; and

                         c.     “[w]ithin one month after termination, furnish to Arm a certificate
                                signed by a duly authorized representative that to the best of his or
                                her knowledge, information and belief, after due enquiry, NUVIA
                                has complied with these provisions.”

          226.   ARM further claimed (wrongly) that these “obligations extend to Qualcomm and

   its widely publicized use of NUVIA’s technology developed under NUVIA’s ALA and TLA.”

   ARM contended in its termination notice that certification of the return or destruction of ARM

   Confidential Information should “extend to Qualcomm as well.”

          227.   ARM informed NUVIA that its unilateral termination would be effective as of

   March 1, 2022 and demanded the return or destruction of any ARM Confidential Information

   delivered to NUVIA by April 1, 2022.

          228.   ARM’s demand that NUVIA discontinue using and distributing ARM

   Technology, ARM Confidential Information, and any products embodying such technology or

   information was baseless. NUVIA and the technology Qualcomm acquired from NUVIA was

   licensed under Qualcomm’s license agreements.




                                                  73
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page168
                                                           468ofof332
                                                                   633PageID
                                                                       PageID#:#:11316
                                                                                  560
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page169
                                                           469ofof332
                                                                   633PageID
                                                                       PageID#:#:11317
                                                                                  561
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page170
                                                           470ofof332
                                                                   633PageID
                                                                       PageID#:#:11318
                                                                                  562




            239.   A January 19, 2023 email from Mr. Agrawal to seven other ARM employees

   makes clear that,




            240.   In the email, Mr. Agrawal explicitly states that

                                                                                           and that

   he has                                                             He additionally states that he




                                      Mr. Agrawal further explained that some of the files were




            241.   When asked about this email in his December 13, 2023 deposition, Mr.

   Agrawal testified that




            242.   Mark Werkheiser, a “Distinguished Engineer” and Fellow at ARM, also

   confirmed at his December 7, 2023 deposition that




                                                 76
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page171
                                                           471ofof332
                                                                   633PageID
                                                                       PageID#:#:11319
                                                                                  563




          243.   Mr. Werkheiser further testified that




          244.   The NUVIA code and/or NUVIA identified features for the CMN is NUVIA

   Confidential Information (1) under ARM’s                                                as

   applied to Qualcomm’s CPUs                                                              (2)

   as a NUVIA trade secret disclosed to ARM, and (3) as NUVIA marked Confidential

   Information disclosed to ARM. ARM is actively using NUVIA Confidential Information,

   including derivatives of NUVIA Technology —and directly profiting from that use.

          245.   Defendants have been harmed by ARM’s breach, which allowed ARM to

   access, use and profit from NUVIA Technology and Confidential Information, which

   belongs to the Defendants. ARM is providing the NUVIA Confidential Information to

   third parties that are in direct competition with Qualcomm. Further discovery is required

   to determine the precise scope of harm Defendants have suffered—and the precise benefits

   ARM has wrongfully incurred—as a result of ARM’s breach.

          bc.    ARM Continued Toto Threaten Qualcomm

          234246.       After NUVIA’s certification, ARM responded by purporting to impose

   even more onerous demands than required by the termination provisions. In an April 29, 2022

   letter, ARM wrote to confirm that: “both Qualcomm and NUVIA . . . will not proceed with any




                                               77
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page172
                                                           472ofof332
                                                                   633PageID
                                                                       PageID#:#:11320
                                                                                  564




   further development of NUVIA technology that embodies or is derivative of Arm confidential

   information or technology.”

          235247.        The termination provisions do not, by their plain language, require any

   such thing. They require only that NUVIA



                    These provisions apply only to NUVIA, not Qualcomm.          And, of course,

   Qualcomm owns its own licenses to ARM Confidential Information and Technology.

          236248.         Moreover, in this April letter, ARM stated that “Arm does not believe

   that the NuVia [sic] technology discussed above constitutes or can form the basis of an Arm

   Compliant Product or Architecture Compliant Product for purposes of the relevant Qualcomm

   agreements with Arm.” This assertion was incorrect because of Qualcomm’s own licenses,

   which do not restrict Qualcomm’s ability to develop CPU cores using Qualcomm’s technology,

   including technology it acquired from NUVIA.

          237249.        Then, on August 2, 2022, ARM told Qualcomm that “Qualcomm is not

   authorized to make, use, sell, or import a product incorporating designs or derivatives of the

   NUVIA technology.”      In other words, ARM contended—with absolutely no basis—that

   Qualcomm cannot use any of NUVIA’s intellectual property, proprietary designs, or confidential

   information, which include technology that ARM did not own or develop. ARM’s demands go

   far afield of ARM Confidential Information or ARM Technology. ARM is pretending that it has

   rights over NUVIA Technology and NUVIA Confidential Information, a position that is baseless

   in light of the actual provisions of the NUVIA agreements. ARM also threatened Qualcomm’s

   customers, asserting that “[n]either Qualcomm nor its customers are licensed to use any part of




                                                  78
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page173
                                                           473ofof332
                                                                   633PageID
                                                                       PageID#:#:11321
                                                                                  565




   Arm’s broad intellectual property portfolio with respect to such products. Arm will use all

   necessary means to protect its legal rights.”

          238250.         ARM’s threats are baseless. ARM apparently contends that it has rights

   over all technology, proprietary designs, and confidential information developed by NUVIA,

   including technology that had absolutely nothing to do with ARM. But ARM has no right to

   demand destruction of that technology. ARM does not own CPU and/or SoC designs of its

   licensees, as ARM’s license agreements and its statements to regulators make clear.

          239251.         There are no provisions in either the NUVIA-ARM agreements or the

   Qualcomm-ARM agreements that:

          a.      prohibited Qualcomm from purchasing NUVIA or acquiring NUVIA’s
                  technology;

          b.      required Qualcomm to obtain ARM’s consent to purchase NUVIA or access
                  NUVIA’s technology;

          c.      mandate that Qualcomm stop using any NUVIA technology it acquired;

          d.      mandate that Qualcomm destroy NUVIA’s technology;

          e.      prohibit the transfer or disclosure of NUVIA’s technology or confidential
                  information to Qualcomm;

          f.      limit the use of NUVIA technology only to NUVIA; or

          g.      require Qualcomm to obtain ARM’s consent to further develop any in-process
                  designs or technology that Qualcomm acquired from NUVIA.

          IV.     ARM CONTINUESCONTINUED                    TO    SUPPORT        QUALCOMM’S
                  DEVELOPMENT WORK

          240252.         Despite ARM’s demands that Qualcomm destroy and stop using NUVIA

   technology, for approximately one year, ARM engineers continued to provide verification

   support to Qualcomm in developing the Phoenix Core and related SoCs, and also continued to

   acknowledge the Defendants’ rights under the Qualcomm ALA and TLA to that technology.




                                                   79
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page174
                                                           474ofof332
                                                                   633PageID
                                                                       PageID#:#:11322
                                                                                  566




           241253.      For example, on April 12, 2022—after Qualcomm certified that it had

   destroyed all NUVIA-acquired ARM Confidential Information—ARM accepted test results

   verifying that the implementation of the Phoenix Core in the Server SoC complied with the

   requirements necessary to execute ARM’s instruction set. ARM explicitly validated this testing

   under the Qualcomm ALA.

           242254.      Similarly, in May of 2022, Qualcomm received an email from ARM

   stating that the Compute SoC—which integrated technology acquired from NUVIA and was first

   developed after Qualcomm’s acquisition of NUVIA—had passed all relevant tests and was

   ARM-compatible. Yet, ARM’s engineering team noted that it could not yet send a formal

   compliance waiver because ARM’s legal team was withholding it.

           V.     ARM IS ATTEMPTING TO DISRUPTUNFAIRLY AND UNLAWFULLY
                  ATTEMPTED    TO   PREVENT    QUALCOMM’S    CUSTOMER
                  RELATIONSHIPS   BY    MISREPRESENTING    QUALCOMM’S
                  ALACUSTOM CORES FROM COMPETING WITH ARM’S OWN
                  CORES.

           255.   Discovery has revealed that ARM views Qualcomm as a competitor against

   ARM’s own CPU designs—and an impediment to ARM’s business strategy.

           256.   ARM stated explicitly to regulators in connection with review of the

   proposed acquisition of ARM by NVIDIA that Qualcomm competes “head-to-head with

   the licensees that use ARM’s own CPU designs, such as MediaTek,”34 and, in internal

   documents,




   34
        Dec. 20, 2021 “Initial Submission” re: “Anticipated Acquisition By NVIDIA
        Corporation Of ARM Limited ME/6906/20” at 6.


                                                 80
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page175
                                                           475ofof332
                                                                   633PageID
                                                                       PageID#:#:11323
                                                                                  567




          257.   At the same time, ARM employees acknowledged in internal emails and chat

   communications that




          258.   In an effort to limit competition posed by Qualcomm’s custom CPU, ARM

   systematically and persistently used its access to information about Qualcomm’s products

   and relationships with Qualcomm’s customers to unfairly, unlawfully, and fraudulently

   attack Qualcomm and its custom CPU.

          259.   ARM used a variety of tactics to accomplish this, including by

   misrepresenting Qualcomm’s license agreements with ARM, threatening Qualcomm

   customers, and violating its contractual obligations to make reasonable efforts to provide

   Qualcomm with deliverables paid for under the Qualcomm license agreements.

          a.     ARM Misrepresented Qualcomm’s Licenses And Threatened Qualcomm
                 Customers In An Effort To Thwart Competition From Qualcomm

          243.   Since filing the Complaint in this case on August 31, 2022, 260. ARM     has

   persistently and wrongfully attempted to disrupt Qualcomm’s business and customer

   relationships by spreading misinformation about the nature of Qualcomm’s ARM licenses to

   customers that purchase Qualcomm’s ARM-compatible cores and chipsets.

          244261.       ARM has engaged in this misinformation campaign directly through its

   leadership and through the leadership of its owner, SoftBank, acting on ARM’s behalf, in an




                                               81
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page176
                                                           476ofof332
                                                                   633PageID
                                                                       PageID#:#:11324
                                                                                  568




   attempt to damage Qualcomm, disparage its products, disrupt Qualcomm’s relationships with its

   customers, and create uncertainty where there is none.

           245.       At least as early as October 2022, ARM falsely stated to one or more of

   Qualcomm’s longstanding original equipment manufacturer (“OEM”) customers that unless they

   accept a new direct license from ARM on which they pay royalties based on the sales of the

   OEM’s products, they will be unable to obtain ARM-compliant chips from 2025 forward. ARM

   has also threatened at least one OEM that, if the OEM does not do so, ARM will go on to license

   the OEM’s large competitors instead—the implication being that the OEM would be excluded

   from the market and could not obtain any ARM-compliant chips from Qualcomm or any other

   supplier, including “off-the-shelf” chips from ARM under a TLA. ARM has done this despite

   already having approached the OEM’s competitors with a direct licensing offer, while acting as

   if ARM would only approach the competing OEMs if the threatened OEM declined the license

   in the first instance.

           246262.          ARM also told one or more Qualcomm customers that, when the existing

   TLA agreements expire, ARM will cease licensing CPUs to all semiconductor

   companies—including Qualcomm—under an ARM TLA. ARM claimed that it is changing its

   business model and will only provide licenses to the device-makers themselves. ARM has

   explained to the OEMs that a direct OEM license will be the only way for device-makers to get

   access to ARM-compliant chips.

           247263.          ARM is trying to coerce such customers into accepting its direct license by

   falsely asserting that Qualcomm will not be able to provide them with ARM-compliant chips

   beginning in 2025 because Qualcomm’s ARM license agreements terminate in 2024, that ARM




                                                     82
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page177
                                                           477ofof332
                                                                   633PageID
                                                                       PageID#:#:11325
                                                                                  569
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page178
                                                           478ofof332
                                                                   633PageID
                                                                       PageID#:#:11326
                                                                                  570




          252268.        ARM’s coercion efforts did not stop with these false statements about

   Qualcomm’s license agreements. To apply more pressure, ARM further stated that Qualcomm

   and other semiconductor manufacturers will also not be able to provide OEM customers with

   other components of SoCs (such as graphics processing units (“GPU”), neural processing units

   (“NPU”), and image signal processor (“ISP”)), because ARM plans to tie licensing of those

   components to the device-maker CPU license.

          253269.        ARM also claimed that it had already informed Qualcomm about its new

   business model that requires a direct license with the OEMs. That statement is false. ARM has

   not notified Qualcomm that it will be requiring direct licenses from device-makers. ARM did

   not tell Qualcomm that it intends to stop licensing CPU technology as a standalone license, that

   it will no longer license CPU technology to semiconductor companies, or that it will require

   licensees to obtain other technologies (notably ARM’s GPU and NPU technology) only from

   ARM. As noted above, these attempted or threatened changes in ARM’s business model do not

   account for Qualcomm’s existing agreements with ARM.

          254270.        While ARM’s statements about Qualcomm have no basis in fact, they

   cause significant reputational damage and harm Qualcomm’s customer relationships. Moreover,

   while ARM’s goal may be to harm Qualcomm—and to coerce contracts with Qualcomm’s

   customers that are unnecessary in view of the fully exhaustive rights it has granted Qualcomm

   under its contracts—its tactics will result in harm to ARM’s customers and licensees throughout

   the industry.

          b.       ARM Attempted to Disrupt Qualcomm’s Development of Custom Cores By
                   Failing to Provide Deliverables To Which Qualcomm Is Entitled




                                                  84
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page179
                                                           479ofof332
                                                                   633PageID
                                                                       PageID#:#:11327
                                                                                  571




          271.    After filing its Complaint in this case, ARM attempted to disrupt

   Qualcomm’s development of custom cores under its ALA by refusing to provide

   deliverables to which Qualcomm is contractually entitled.

          272.                 of the Qualcomm ALA requires ARM to



                        and to




          273.    Under               of the Qualcomm ALA, where ARM

                                                               any breach of         of the

   Qualcomm ALA,




          274.    Qualcomm first discovered that ARM was withholding ARM Technology

   under the Qualcomm ALA in the fall of 2022. At this time, Qualcomm was embarking on

   its verification process for its           . As is the customary practice between an ALA

   licensee and ARM,




                                                85
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page180
                                                           480ofof332
                                                                   633PageID
                                                                       PageID#:#:11328
                                                                                  572




   to the ALA.

          275.     On November 3, 2022, Qualcomm notified ARM in writing of its failure to

                                                        , stating explicitly that ARM should take

   the letter as “Qualcomm’s required notice under                 that



                                                          Qualcomm’s letter otherwise complied

   with the notice requirements set forth in the Qualcomm ALA.

          276.     After not hearing from ARM, Qualcomm sent a follow-up letter on

   December 5, 2022.

          277.     ARM responded on December 6, 2022. In its response, ARM stated that it

   disagreed that             was at issue

   ARM additionally asserted that                              are governed by             of the

   Qualcomm ALA, not                , and that remedies for a breach of that section do not

   include                                     .

          278.     ARM additionally claimed that

   stating explicitly that

                                                                                          , ARM

   claimed that

                                      ARM was definitive in its factual assertions, stating that



          279.     ARM’s letter additionally threatened Qualcomm that if it did not drop its

   invocation of             , ARM would take steps to harm Qualcomm. ARM claimed that




                                                   86
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page181
                                                           481ofof332
                                                                   633PageID
                                                                       PageID#:#:11329
                                                                                  573




   Qualcomm’s invocation of                was

         and that, to the extent

             , ARM would                                                         ARM further

   stated that Qualcomm’s letter was

   which ARM purported was



         280.   More than a year later, discovery has revealed that ARM’s December 6, 2022

   letter misrepresented the facts—and concealed ARM’s strategy of

                                                                              , seemingly in an

   effort to create leverage by causing Qualcomm legal and economic duress.

         281.   In response to Qualcomm’s requests for production, ARM produced an

   October 2022 email chain in which Richard Grisenthwaite




         282.   Later in the email chain, on October 10, 2022, ARM engineer Vivek Agrawal



         283.                                                .

         284.   Mr. Agrawal’s documents and testimony additionally revealed that ARM



         285.   Mr. Agrawal stated at his December 13, 2023 deposition that



                                       In his deposition, Mr. Grisenthwaite




                                               87
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page182
                                                           482ofof332
                                                                   633PageID
                                                                       PageID#:#:11330
                                                                                  574




                                l. Neither Mr. Agrawal, nor Mr. Grisenthwaite,




           286.   The applicable              to the Qualcomm ALA includes the



           287.   Accordingly, when it was revealed through document and deposition

   testimony that, contrary to ARM’s December 6, 2022 letter, ARM had

                                                                    , it became clear that ARM

   breached its obligations under              of the Qualcomm ALA.

           288.   Qualcomm was unable to ascertain this information prior to document

   discovery and depositions of Mr. Grisenthwaite and Mr. Agrawal.

           289.   ARM’s in-house counsel concealed the facts, explicitly (and definitively)

   stating in ARM’s December 6, 2022 letter that

                                                                    Qualcomm did not have a

   valid basis to dispute that factual representation without discovery.

           290.   This is particularly true for the

                                                                                             .

   Accordingly, Qualcomm has no way of knowing definitively whether ARM had



                                                                           Mr. Agrawal’s recent

   deposition testimony was the first time Qualcomm was able to confirm

                                                        .35
   35
        Even today, Qualcomm’s team is not aware that
                                              ARM designated its documents and testimony


                                                  88
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page183
                                                           483ofof332
                                                                   633PageID
                                                                       PageID#:#:11331
                                                                                  575




           291.   ARM’s failure to                                                     increased

   Qualcomm’s burden in verification.

           292.   By failing to                  , ARM forced Qualcomm to expend time and

   resources to ensure that Qualcomm could verify its products, even in the absence of



           293.   Similarly, by failing to                   , ARM forced Qualcomm to use its

   own engineers to address issues that would have been addressed by

                                                                      Qualcomm was damaged

   as a result.

           294.   Additionally, because Qualcomm notified ARM of its failure to

                                                                                             and

                                                                       , Qualcomm was entitled

   to

                                                                                             as a

   result of ARM’s continued concealment of its breach.

           VI.    ARM’S WELL-ESTABLISHED EFFORTS TO LIMIT INNOVATION
                  ARE HARMFUL TO THE INDUSTRY AND TO ARM ITSELF

           255295.       ARM’s mercenary desire to thwart innovation is nothing new. Prior to

   Qualcomm’s acquisition of NUVIA, in September 2020, NVIDIA announced that it was going to

   acquire ARM to “bring[] together NVIDIA’s leading AI computing platform with Arm’s vast

   ecosystem to create the premier computing company for the age of artificial intelligence.” The




                                                    ARM designated its documents and testimony
        on this issue as highly confidential and attorneys’ eyes only, ensuring that Qualcomm’s
        business and engineering teams could not learn these facts.


                                                 89
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page184
                                                           484ofof332
                                                                   633PageID
                                                                       PageID#:#:11332
                                                                                  576




   announcement led to immediate antitrust concerns, regulatory challenges, and public opposition

   from many companies, including Qualcomm. The near universal concern was that an

   NVIDIA-controlled ARM would impede innovation and lead to higher prices. On February 7,

   2022, ARM and NVIDIA announced that the acquisition would be terminated.

          256296.        Only three days before that announcement—when it was no doubt clear to

   ARM that the acquisition would not close—ARM sent its termination letter to the Defendants,

   terminating NUVIA’s license agreements and demanding that Qualcomm stop working on any of

   the NUVIA technology. As Qualcomm was one of the more public opponents of the acquisition,

   ARM’s actions appear to be retributive.

          257297.        Although ARM’s efforts to destroy Qualcomm’s innovation and prevent

   Qualcomm from expanding and advancing technology may in the short term, create the illusion

   of ARM achieving greater profitability—either by effectively strongarming Qualcomm into

   paying additional, unjustified royalties or through eliminating Qualcomm as a competitor in the

   custom CPU and server SoC space—in the long term it only harms ARM’s interest and weakens

   the place in the market ARM hopes for after its IPO because it is injurious to ARM customers

   and licensees. ARM’s positions are directly contrary to the purpose of the ALA, which will have

   little value if licensees are not assured that they can use it to develop their own CPU core

   technology, at their own risk and expense and for their own benefit.

                             COUNTERCLAIM COUNTERCLAIMS

                                              COUNT I

                                       (Declaratory Judgment)

          258298.        Defendants incorporate by reference all allegations set forth in the

   preceding paragraphs 1-47 and 175-257 as though fully set forth herein.




                                                  90
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page185
                                                           485ofof332
                                                                   633PageID
                                                                       PageID#:#:11333
                                                                                  577
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page186
                                                           486ofof332
                                                                   633PageID
                                                                       PageID#:#:11334
                                                                                  578




   agreements with ARM, including by bringing suit claiming that Defendants breached NUVIA’s

   license agreements with ARM.

                                              COUNT II

                            (Breach of            of the Qualcomm ALA)

            302.   Defendant Qualcomm repeats and reallege all of the preceding allegations as

   if set forth fully herein.

            303.   The Qualcomm ALA is a valid, binding contract.

            304.   ARM failed to fulfill its obligation under          of the Qualcomm ALA

   because it



            305.   Accordingly, ARM did not



   and to

                                          as is required by         of the agreement.

            306.   Qualcomm

                          as is required under the contract.

            307.   As a proximate result of ARM’s breach of contract, Qualcomm has been

   damaged by delay that could have been avoided had ARM fulfilled its obligations and




                                                  92
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page187
                                                           487ofof332
                                                                   633PageID
                                                                       PageID#:#:11335
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                                              COUNT III

                              (Breach of                of the NUVIA ALA)

          308.      Defendants repeat and reallege all of the preceding allegations as if set forth

   fully herein.

          309.      The NUVIA ALA was a valid, binding contract.

          310.      ARM failed to fulfill its termination obligations to NUVIA, as set forth in

                   of the NUVIA ALA, by



          311.      As a proximate result of ARM’s breach of contract, Defendants have been

   damaged in an amount to be proven at trial.

                                              COUNT IV

                              (Breach of                of the NUVIA TLA)

          312.      Defendants repeat and reallege all of the preceding allegations as if set forth

   fully herein.

          313.      The NUVIA TLA was a valid, binding contract.

          314.      ARM failed to fulfill its termination obligations to NUVIA, as set forth in

                   of the NUVIA ALA, by



          315.      As a proximate result of ARM’s breach of contract, Defendants have been

   damaged in an amount to be proven at trial.

                                       PRAYER FOR RELIEF

          WHEREFORE, Defendants request judgment and relief as follows:




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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
                                                      Page188
                                                           488ofof332
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          a.      For     the     declaratory    judgments      set    forth     in    Defendants’

   counterclaimcounterclaims;

          b.      For an Order enjoining ARM from:

                  (i)     making any claim that Qualcomm’s CPU products, including products that
                          contain technology acquired from NUVIA, are not licensed under
                          Qualcomm’s agreements with ARM, are not ARM-compatible, cannot be
                          commercialized as ARM-compliant, or that Qualcomm is prohibited from
                          using ARM’s marks in the marketing of any such products;

                  (ii)    misrepresenting the scope, terms, or rights granted to Qualcomm under its
                          agreements with ARM; and

                  (iii)   making false statements about Qualcomm’s ability to sell its CPU
                          products to its customers, the media, analysts, or others;

          c.      For an Order requiring ARM to comply with its obligations under Qualcomm’s

   license agreements without discrimination or retaliation;

          d.      For damages in an amount deemed appropriate by the Court;

          de.     For an award of attorney’s fees and costs as allowed by law; and

          ef.     For such other and further relief as the Court may deem just and proper.

                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                    /s/ Jack B. Blumenfeld
                                                    __________________________________
   OF COUNSEL:                                      Jack B. Blumenfeld (#1014)
   Karen L. Dunn                                    Jennifer Ying (#5550)
   William A. Isaacson                              1201 North Market Street
   Melissa F. Zappala                               P.O. Box 1347
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      & GARRISON LLP                                jblumenfeld@morrisnichols.com
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   (202) 223-7300                                   Attorneys for Defendants

   Catherine Nyarady
   Erin J. Morgan
   Anna R. Gressel
   Madalyn G. Vaughn


                                                   94
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
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                                      Filed 02/29/24
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   (214) 855-8000
   October 26, 2022




                                         95
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
                                                      Page190
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                                   CERTIFICATE OF SERVICE
   I hereby certify that on February 21, 2024, I caused the foregoing to be electronically filed with
   the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered
   participants.
           I further certify that I caused copies of the foregoing document to be served on February

   21, 2024, upon the following in the manner indicated:

    Anne Shea Gaza, Esquire                                               VIA ELECTRONIC MAIL
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    Samantha G. Wilson, Esquire
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    Attorneys for Plaintiff

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    Joyce Liou, Esquire
    Diek Van Nort, Esquire
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    Palo Alto, CA 94304
    Attorneys for Plaintiff

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    MORRISON & FOERSTER LLP
    4200 Republic Plaza
    370 Seventeenth Street
    Denver, CO 80202-5638
    Attorneys for Plaintiff


                                                        /s/ Jack B. Blumenfeld

                                                        Jack B. Blumenfeld (#1014)
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                       EXHIBIT 
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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   1                  H I G H L Y     C O N F I D E N T I A L
   2                           ATTORNEYS' EYES ONLY
   3                  IN THE UNITED STATES DISTRICT COURT
   4                       FOR THE DISTRICT OF DELAWARE
   5                                                  C.A. NO: 22-1146 (MN)
   6      -----------------------------------
   7      ARM LTD., a UK Corporation,
   8
   9                    Plaintiff,
  10      v.
  11      QUALCOMM INC., a Delaware corporation,
  12      QUALCOMM TECHNOLOGIES, INC., a
  13      Delaware Corporation, and NUVIA, INC., a
  14      Delaware Corporation,
  15                    Defendants.
  16      -----------------------------------
  17        Deposition of RICHARD GRISENTHWAITE, taken by AILSA
  18        WILLIAMS, Certified Court Reporter, held at the
  19        offices of Norton Rose Fulbright, London, United
  20        Kingdom, on 15 November, 2023 at 9:00 a.m
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                                                      Page193
                                                           493ofof332
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 Case1:22-cv-01146-MN
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 Case1:22-cv-01146-MN
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   1                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE
   2
          ARM LTD.,                §
   3                               §
            Plaintiff and          §
   4        Counterclaim Defendant §
                                   §
   5      VS.                      §                  CIVIL ACTION NUMBER
                                   §                  22-1145 (MN)
   6      QUALCOMM INC., QUALCOMM §
          TECHNOLOGIES, INC. and   §
   7      NUVIA, INC.,             §
                                   §
   8        Defendants and         §
            Counterclaim Plaintiffs§
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  12                  CONFIDENTIAL - ATTORNEYS' EYES ONLY
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  15                     VIDEOTAPED ORAL DEPOSITION OF
  16                            MARK WERKHEISER
  17                             Austin, Texas
  18                           December 7, 2023
  19                               9:12 a.m.
  20
  21
  22
  23      Reported by:
  24      Micheal A. Johnson, RDR, CRR
  25      Job No. 6326913

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   1              IN THE UNTIED STATES DISTRICT COURT
   2                 FOR THE DISTRICT OF DELAWARE
   3      _________________________________
                                            )
   4      ARM, LTD,                        )CASE NO.:
                                            )
   5                        Plaintiff,     )22CV1146MM
                                            )
   6                v.                     )
                                            )
   7      QUALCOMM INC., QUALCOMM          )
          TECHNOLOGIES, INC. And Nuvia,     )
   8      INC.,                            )
                                            )
   9                        Defendants.    )
          _________________________________)
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  15                    DEPOSITION OF VIVEK AGRAWAL
  16                             VOLUME I
  17                   REMOTELY IN BANGALORE, INDIA
  18                   THURSDAY, DECEMBER 14, 2023
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  24      REPORTED BY:       NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                             CSR NO. 14125
  25      JOB NO.:           6326948

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From:                Vaughn, Madalyn
Sent:                Monday, January 22, 2024 2:22 PM
To:                  Li, Jack; Fung, Nicholas Rylan; Olson, Erik J. (Palo Alto); Jacobs, Michael A.; Llewellyn, Scott F.; Muino,
                     Daniel P.; Mooney, Kyle W.; Liou, Joyce; Brickey, Sarah E.; Davenport, Lydia; rvrana@ycst.com;
                     agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
Cc:                  GRP-QC; Dunn, Karen L; Isaacson, William A; Nyarady, Catherine; Zappala, Melissa Felder; Gressel,
                     Anna R; Braly, Jacob; jying@morrisnichols.com; Blumenfeld, Jack; Morgan, Erin J
Subject:             RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


Counsel:

We write in response to your January 22, 2024 emails regarding Qualcomm’s proposed extension to the case schedule
and draft amended counterclaims. As an initial matter, we disagree with ARM’s unsupported statement that
Qualcomm’s characterization of the parties’ discussions to date is “not accurate.” (1/22/2024 Email from J. Li.) We also
disagree that Qualcomm has “fail[ed] to make definitive proposals” (id.) on these issues, and address below the one
purported example that ARM cites concerning the potential filing of Qualcomm’s counterclaims as a new action.

With respect to the case schedule, the “delay by ARM” referenced in Qualcomm’s January 20, 2024 email is a clear
reference to ARM’s delay responding to Qualcomm’s proposed extension to the case schedule. Specifically, Qualcomm
contacted ARM about this issue on January 3, 2024 and, following the parties’ January 5, 2024 meet and confer, sent
ARM a proposed revised case schedule on January 8, 2024. (1/8/2024 Email from E. Morgan.) Despite the parties’ two
meet and confers since that time, ARM failed to send a counterproposal until two weeks later when counsel for ARM
circulated a counterproposal this morning—merely 3 minutes before sending your below email claiming that ARM had
“already sent Qualcomm a counterproposal” concerning the schedule. (See 1/22/2024 Email from J. Li at 11:21 a.m. ET
(sending counterproposal); 1/22/2024 Email from J. Li at 11:24 a.m. ET (claiming that ARM had “already sent a
counterproposal”).)

Moreover, ARM’s counterproposal that we received this morning does not address Qualcomm’s concerns with the
existing case schedule. Instead, under the guise of addressing Qualcomm’s concern about the time allotted to depose
experts, ARM has proposed a revised case schedule that prejudices Qualcomm by decreasing its time to submit rebuttal
reports to ARM’s five expert reports by 11 days, while only decreasing ARM’s time to submit reply reports by 3
days. This proposal is not workable. As ARM is well aware, experts are already in the process of drafting rebuttal
reports based on the current schedule. To propose shortening that schedule by nearly two weeks (and making rebuttal
reports due in less than a month, when no one has been working toward that deadline) is impracticable and
prejudicial. To the extent ARM viewed this as a real solution, it could have proposed it weeks ago, before expert work
had been taking place for more than a month. Additionally, ARM’s proposal does not address the other concerns with
the existing schedule that Qualcomm has raised during the parties’ meet and confers. Namely, that there are still fact
discovery issues in the process of being resolved, including (a) Qualcomm’s production of commit logs, which requires
Qualcomm to collect, review and produce 100,000 pages of technical documents and which Qualcomm has already
stated will not be complete until February 9, and (b) ARM’s insistence as recently as January 16 that it may still seek fact
depositions from two Qualcomm witnesses, Jonathan Weiser and John Bruno. ARM’s proposal also fails to take into
consideration Qualcomm’s stated intent to seek leave to amend its pleadings to add additional counterclaims.

With respect to Qualcomm’s amended counterclaims, Qualcomm’s local counsel will coordinate with ARM’s local
counsel this afternoon to contact the Court. To clarify Qualcomm’s question regarding whether ARM would oppose
Qualcomm filing the amended counterclaims as a new action, Qualcomm is requesting that ARM confirm whether—
notwithstanding the language in Paragraph 34 of the Protective Order that “Protected Material produced by a Party . . .
may be used by the Receiving Party only for purposes of this Litigation” (D.I. 38)—ARM would consent to Qualcomm’s

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                                                               518ofof332
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use of such material in filing a separate action to assert its additional counterclaims, or consent to amend the Protective
Order to expressly permit Qualcomm’s use of such material in a related matter. Please provide ARM’s position on this
issue by 3:30 p.m. ET today.

Qualcomm reserves all rights.

Best,
Madalyn


Madalyn Vaughn | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas | New York, NY 10019-6064
+1 212 373 3974 (Direct Phone) | +1 212 492 0974 (Direct Fax)
mvaughn@paulweiss.com | www.paulweiss.com



From: Li, Jack <JackLi@mofo.com>
Sent: Monday, January 22, 2024 11:24 AM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
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Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel,

We write in response to your January 21 email regarding Qualcomm’s proposed (1) changes to the current case schedule
and (2) amendment to the pleadings. Qualcomm’s characterization of the parties’ discussions is not accurate. But you
are correct that Arm continues to oppose Qualcomm’s proposed changes to the schedule and the pleadings, in part
because Qualcomm continues to fail to make definitive proposals. For example, it is unclear what Qualcomm means in
asking “whether ARM would oppose Defendants filing the amended counterclaims as a new action.” If Qualcomm has a
proposal to make, please do so with specificity, so that Arm can assess.

With respect to the case schedule, we do not understand your vague reference to “delay by ARM,” and Arm continues
to believe that the current schedule remains workable. Nevertheless, to resolve the issue, Arm has already sent
Qualcomm a counterproposal that should address Qualcomm’s concern regarding timing of expert depositions, which
was the sole reason Qualcomm identified on the January 19 meet-and-confer for proposing amending the case
schedule.

With respect to Qualcomm’s proposed amended counterclaims, as noted previously and consistent with the scheduling
order, Arm is willing to have its Delaware counsel join a call to the Court regarding a letter briefing schedule for
Qualcomm’s contemplated motion to amend.

Best,

                                                                2
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Jack

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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Saturday, January 20, 2024 10:40 PM
To: Li, Jack <JackLi@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:

We write to memorialize our January 19, 2024 meet and confer regarding the basis for ARM’s objections to Qualcomm’s
proposed extension to the case schedule and draft amended counterclaims.

With respect to the case schedule, we understand ARM’s objection to be its general belief that the current case
schedule may be fine as is, and that the parties could wait and see if they are able to comply with the schedule as it
currently exists. Based on your January 19 email, we understand that ARM intends to object to Defendants’ motion to
extend the schedule on that basis. As noted previously, in our view it is important to get to the Court by Monday on
these issues, as we continue to fear that further delay by ARM risks availability of 2024 trial dates and inconveniencing
the Court. Accordingly, to the extent ARM is now considering making a counterproposal to Qualcomm’s proposed
schedule—which we heard for the first time yesterday, despite the fact that the reasons we stated for the proposed
schedule adjustment were no different yesterday than those we articulated previously on our January 5, 2024 and
January 16, 2024 meet and confers—we ask (again) that ARM provide that information by Monday at 12 p.m. ET, so we
can consider it before we file our motion.

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With respect to Qualcomm’s amended counterclaims, ARM also stated in its January 19 email that it plans to oppose
Defendants’ motion to amend the pleadings. ARM was not prepared to engage in substantive discussions about the
counterclaims, despite having the text of those claims—with supporting citations to depositions and documents in the
record and descriptions of how and when the information underlying those claims was revealed in discovery—for 10
days. When pushed, ARM articulated the following bases for its objection to Qualcomm’s anticipated Rule 15
motion: (i) ARM’s lack of understanding with respect to how the amended counterclaims will impact the case schedule;
(ii) ARM’s lack of understanding with respect to how Qualcomm’s amended counterclaims will be “treated
procedurally”; and (iii) ARM’s claim that Qualcomm lacked diligence with respect to its claim that ARM breached
      of the NUVIA ALA. ARM also indicated that it “may” have additional arguments regarding diligence and a potential
futility argument, but that it was not prepared to confer on those potential arguments at this time, and that, rather than
discussing them, it would submit them to the Court in response to Defendants’ motion to amend the pleadings. ARM
asked for no further information about the amended counterclaims, but again articulated that it would be interested to
hear if Defendants had any unspecified “compromise proposals.”

While Defendants believe that the parties are at an impasse on the issues of scheduling and Defendants’ efforts to
amend the counterclaims, we are interested to know whether ARM would oppose Defendants filing the amended
counterclaims as a new action. Please let us know your thoughts by Monday at 12 p.m. ET, and please also provide local
counsel’s availability to jointly contact the court on Monday regarding a briefing schedule for Qualcomm’s Rule 15
motion.

Qualcomm reserves all rights.

Best,
Madalyn


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From: Li, Jack <JackLi@mofo.com>
Sent: Friday, January 19, 2024 11:47 AM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel,



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         1:24-cv-00490-MN Document
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We are available during the previously-scheduled meet-and-confer (from 3 to 3:30 PM ET), and can discuss these issues
on that call.

Thank you,
Jack

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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Friday, January 19, 2024 8:20 AM
To: Li, Jack <JackLi@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:

We’re available between 12 and 2:30 p.m. ET today to meet and confer regarding the basis for ARM’s objections. Please
let us know if a time in that window works for ARM and we will send an invite. To the extent a time during that window
does not work, we can add this issue to our privilege log meet and confer later this afternoon.

Best,
Madalyn


Madalyn Vaughn | Associate
Paul, Weiss, Rifkind, Wharton & Garrison LLP
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From: Li, Jack <JackLi@mofo.com>
Sent: Friday, January 19, 2024 7:00 AM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel,

We write in response to your January 17 email regarding Qualcomm’s proposed (1) changes to the current case schedule
and (2) amendment to the pleadings. In view of the parties’ discussion during the meet-and-confer, and Qualcomm’s
responses to the questions Arm raised, Arm continues to oppose Qualcomm’s proposed changes to the schedule and
the pleadings.

Consistent with the scheduling order, Arm is willing to have its Delaware counsel join a call to the Court regarding a
letter briefing schedule for Qualcomm’s contemplated Rule 15 motion, but does not understand there to be any need to
contact the Court regarding Qualcomm’s contemplated request to amend the schedule for currently pending claims (and
further notes that it has not confirmed the absence of conflicts for its entire team for the week of December 9, given
Arm’s opposition to changing the trial date).

We are available to meet and confer further as necessary regarding the basis for Arm’s objections, including the lack of
specificity in certain aspects of Qualcomm’s proposal and the status of current proceedings.

Thank you,
Jack

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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Thursday, January 18, 2024 11:54 PM
To: Li, Jack <JackLi@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:

We write to follow up on our January 17, 2024 email regarding Qualcomm’s proposed extension of the schedule and
draft amended counterclaims. Specifically, we write to reiterate our request for ARM to promptly provide its position on
both of these issues, which we ask that ARM provide by no later than COB tomorrow (January 19). To the extent we do
not hear from ARM by tomorrow, we intend to approach the Court as it has now been more than two weeks since
Qualcomm first raised these issues and we fear further delay by ARM risks the availability of trial dates and
inconveniencing the Court.

Qualcomm reserves all rights.

Best,
Madalyn


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From: Vaughn, Madalyn
Sent: Wednesday, January 17, 2024 12:15 PM
To: Li, Jack <JackLi@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
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<wisaacson@paulweiss.com>; Nyarady, Catherine <CNyarady@paulweiss.com>; Zappala, Melissa Felder
<MZappala@paulweiss.com>; Gressel, Anna R <AGressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel:

Following up on our meet and confer yesterday afternoon concerning Qualcomm’s proposed extension of the schedule
and intention to amend its counterclaims, we write to respond to the various questions ARM raised during our call,
which we have summarized below. For ease of review, we’ve included responses to the questions ARM raised in blue
text below.

In order to address this issue while the Court is still available the week of December 9, 2024—which we understand from
our discussion yesterday to be a week during which neither party is presently aware of any conflict—we think the parties
need to contact the Court by no later than the end of this week to (i) address the schedule, and (ii) request a briefing
schedule and argument for the Rule 15 motion. Please provide your local counsel’s availability this Thursday (January
18) to call the Court regarding these issues. As discussed during our call and in the interest of time, to the extent ARM
has further questions on these issues that can easily be addressed in writing, such as many of those below, we ask that
ARM please promptly send them via email rather than delay raising them until the parties speak on a meet and confer.

    1. Please confirm that Qualcomm will provide a redline against the first amended counterclaims prior to filing. The
       current redline is attached. Qualcomm reserves all rights to make further revisions to this redline prior to
       filing. Please note that the redline is designated HC-AEO, but can be shared with your client (though it cannot be
       shared publicly).

    2. Please provide Qualcomm’s view about what the briefing schedule would look like for the Rule 15 motion. As
       noted on our call yesterday afternoon, pursuant to Paragraph 8 of the Scheduling Order, the procedure outlined
       in Paragraph 7(g) of the Scheduling Order would govern the briefing schedule of a Rule 15 motion. (See D.I. 26.)

    3. Please confirm whether the proposed expert discovery dates in the revised case schedule Qualcomm provided
       would account for any supplemental expert discovery needed (if any) for the amended counterclaims. As
       discussed during our call yesterday afternoon, Qualcomm will not know to what extent it needs supplemental
       expert discovery and on what subjects—if any—until the Court determines the scope of permissible amended
       counterclaims and until ARM files its answer and defenses. The timing of any supplemental expert discovery will
       also necessarily depend on the scope of and timeline for any supplemental fact discovery. However, as
       represented on our call, Qualcomm believes that any necessary supplemental expert and fact discovery should
       be a reasonably cabined universe such that it could proceed on a parallel schedule and not impact a December 9
       trial date.

    4. Related to the above, please confirm whether ongoing expert discovery and any supplemental expert discovery
       needed for the counterclaims would be on separate tracks, and if so, provide Qualcomm’s anticipated
       timing/proposed deadlines for that separate expert track. As discussed during our call yesterday afternoon, and
       as previewed above, Qualcomm’s view is that any supplemental expert and fact discovery could proceed on a
       parallel track to the scheduled outlined in Qualcomm’s proposed revised case schedule. In other words, any
       supplemental discovery could be scheduled around the deadlines in Qualcomm’s proposed revised case
       schedule without the need to adjust any of those proposed deadlines.

    5. Please confirm that Qualcomm intends to seek to move the case schedule (including the trial date) irrespective
       of whether the Court permits Qualcomm to amend its counterclaims. Qualcomm confirms that it intends to
       seek an extension to the schedule, including by moving the trial date to the week of December 9, 2024,
       irrespective of the outcome of the separate motion it intends to file seeking to amend its counterclaims. As
       discussed during our meet and confers to date regarding this issue, Qualcomm’s view is that the current
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                                                06/12/24 Page
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          schedule is unworkable and the modest extension it proposes is necessary to allow the parties to timely wind up
          any remaining fact discovery issues, depose the significant number of experts in this case in a reasonable
          number of days, and brief Daubert and dispositive motions without cutting into the Court’s time to decide those
          motions.

       6. Please confirm whether Qualcomm has any alternatives in mind other than amending the pleadings. During our
          call yesterday afternoon, ARM further explained its question by asking whether Qualcomm would still seek to
          amend its counterclaims even if ARM offered a “compromise” position (for example, by agreeing to a December
          9 trial date in exchange for Qualcomm dropping its proposed amended counterclaims). Subject to Qualcomm’s
          positions set forth in our responses to the questions above, Qualcomm will consider any “compromise” proposal
          ARM makes, but cannot hypothetically determine whether such a proposal would be acceptable.

Best,
Madalyn


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From: Morgan, Erin J <ejmorgan@paulweiss.com>
Sent: Tuesday, January 16, 2024 2:25 PM
To: Li, Jack <JackLi@mofo.com>; Vaughn, Madalyn <mvaughn@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
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<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Hi Jack—

When I just spoke to Kyle 10 minutes ago, we confirmed that 2:30 pm EST today worked. Why are we now not able to
proceed as scheduled?

Thanks,

Erin


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                                               06/12/24 Page
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From: Li, Jack <JackLi@mofo.com>
Sent: Tuesday, January 16, 2024 2:22 PM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
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Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
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jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Hi Madalyn,

We are available tomorrow from 10 AM to 1 PM ET or 2 PM to 4 PM ET. We are also available on Thursday (Jan. 18)
after 10:30 AM ET. Please let us know any of those times work for you, and we can send an invite.

Thank you,
Jack

JACK LI
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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Tuesday, January 16, 2024 2:00 PM
To: Li, Jack <JackLi@mofo.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM <MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:



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                                                          Page227
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We need to reschedule our call this afternoon at 2 p.m. ET as we unfortunately now have a conflict. We will circle back
as soon as possible with additional times we are available.

Best,
Madalyn


Madalyn Vaughn | Associate
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mvaughn@paulweiss.com | www.paulweiss.com



From: Vaughn, Madalyn
Sent: Friday, January 12, 2024 5:10 PM
To: Li, Jack <JackLi@mofo.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
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Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <CNyarady@paulweiss.com>; Zappala, Melissa Felder
<MZappala@paulweiss.com>; Gressel, Anna R <AGressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel:

We are available on Tuesday, January 16 at 12 p.m. ET or 2 p.m. ET. Assuming one of those times work for ARM, please
send an invite.

Best,
Madalyn


Madalyn Vaughn | Associate
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From: Li, Jack <JackLi@mofo.com>
Sent: Thursday, January 11, 2024 8:58 PM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
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Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel,

We are not available tomorrow at 8:30 AM ET. Please provide Qualcomm’s availability for Tuesday, Jan. 16.

Thank you,
Jack

JACK LI
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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Wednesday, January 10, 2024 8:00 PM
To: Li, Jack <JackLi@mofo.com>; Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan
<NFung@mofo.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>;
Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W.
<KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
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<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:

We are not available at 9 a.m. ET on Friday, but can be available from 8:30-9 a.m. ET on Friday (1/12). Assuming that
works for ARM, please send an invite.

Best,
Madalyn


Madalyn Vaughn | Associate
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From: Li, Jack <JackLi@mofo.com>
Sent: Wednesday, January 10, 2024 4:50 PM
To: Morgan, Erin J <ejmorgan@paulweiss.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Vaughn, Madalyn
<mvaughn@paulweiss.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A.
<MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney,
Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Brickey, Sarah E.
<SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com;
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<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Counsel,

Thank you for sending Qualcomm’s proposed schedule and summary of contemplated amendments. Please let us know
if Qualcomm is available to meet and confer further on Friday (Jan. 12) at 9-9:30 AM ET regarding Qualcomm’s
proposal.

Best,
Jack

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From: Morgan, Erin J <ejmorgan@paulweiss.com>
Sent: Monday, January 8, 2024 7:26 PM
To: Fung, Nicholas Rylan <NFung@mofo.com>; Vaughn, Madalyn <mvaughn@paulweiss.com>; Olson, Erik J. (Palo Alto)
<EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino,
Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd
H. <FPatel@mofo.com>; Li, Jack <JackLi@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia
<LDavenport@mofo.com>; rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
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<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Zappala, Melissa Felder
<mzappala@paulweiss.com>; Gressel, Anna R <agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>;
jying@morrisnichols.com; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel—


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    Case1:22-cv-01146-MN
         1:24-cv-00490-MN Document
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Thank you for speaking Friday about a proposed extension of the schedule and Qualcomm’s intention to amend its
counterclaims. As discussed, we are writing to provide further details on both issues.

On the schedule, as discussed, Qualcomm proposes asking the Court to move the trial date to the week of December
9. This modest extension will allow the parties to create space in the schedule to wind up fact discovery disputes,
depose the significant number of experts in this case, and brief Daubert and dispositive motions without cutting into the
Court’s time to decide those motions. A proposed schedule is attached.

As to the amended counterclaims, Qualcomm intends to assert three counterclaims, which are summarized below, with
references to the bases for each claim.

Please let us know when you are available to meet and confer further on these issues.

Best,
Erin
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    1.




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From: Fung, Nicholas Rylan <NFung@mofo.com>
Sent: Thursday, January 4, 2024 1:12 PM
To: Vaughn, Madalyn <mvaughn@paulweiss.com>; Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A.
<MJacobs@mofo.com>; Llewellyn, Scott F. <SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney,
Kyle W. <KMooney@mofo.com>; Liou, Joyce <JLiou@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Li, Jack
<JackLi@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
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<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>; Zappala, Melissa Felder <mzappala@paulweiss.com>; Gressel, Anna R
<agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>; jying@morrisnichols.com; Blumenfeld, Jack
<JBlumenfeld@morrisnichols.com>
Subject: RE: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN

Madalyn,

We are available to meet and confer tomorrow at noon or 1 pm ET.

Best,

NICHOLAS FUNG
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From: Vaughn, Madalyn <mvaughn@paulweiss.com>
Sent: Wednesday, January 3, 2024 12:36 PM
To: Olson, Erik J. (Palo Alto) <EJOlson@mofo.com>; Jacobs, Michael A. <MJacobs@mofo.com>; Llewellyn, Scott F.
<SLlewellyn@mofo.com>; Muino, Daniel P. <DMuino@mofo.com>; Mooney, Kyle W. <KMooney@mofo.com>; Liou,
Joyce <JLiou@mofo.com>; Fung, Nicholas Rylan <NFung@mofo.com>; Patel, Fahd H. <FPatel@mofo.com>; Li, Jack
<JackLi@mofo.com>; Brickey, Sarah E. <SBrickey@mofo.com>; Davenport, Lydia <LDavenport@mofo.com>;
rvrana@ycst.com; agaza@ycst.com; YCST_Arm_Qualcomm@ycst.com; MoFo_Arm_QCOM
<MoFo_Arm_QCOM@mofo.com>
Cc: GRP-QC <GRP-QC@paulweiss.com>; Dunn, Karen L <kdunn@paulweiss.com>; Isaacson, William A
<wisaacson@paulweiss.com>; Nyarady, Catherine <cnyarady@paulweiss.com>; Morgan, Erin J
<ejmorgan@paulweiss.com>; Zappala, Melissa Felder <mzappala@paulweiss.com>; Gressel, Anna R
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<agressel@paulweiss.com>; Braly, Jacob <jbraly@paulweiss.com>; jying@morrisnichols.com; Blumenfeld, Jack
<JBlumenfeld@morrisnichols.com>
Subject: ARM Ltd. v. Qualcomm Inc., et al., C.A. No. 22-1146-MN


External Email




Counsel:



We would like to meet and confer at your earliest convenience regarding
                                                                g      g ((a)) seeking
                                                                                     g an extension to the case
schedule, including by moving the trial date, and (b)) Qualcomm’s intention to amend its counterclaims in this
case. Please let us know your availability tomorrow (Thursday, January 4) and Friday (January 5) for that
discussion.



Best,

Madalyn



Madalyn Vaughn | Associate
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                                279-1
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                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page246
                                                           546ofof332
                                                                   633PageID
                                                                       PageID#:#:11394
                                                                                  638
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page247
                                                           547ofof332
                                                                   633PageID
                                                                       PageID#:#:11395
                                                                                  639
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page248
                                                           548ofof332
                                                                   633PageID
                                                                       PageID#:#:11396
                                                                                  640
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page249
                                                           549ofof332
                                                                   633PageID
                                                                       PageID#:#:11397
                                                                                  641
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page250
                                                           550ofof332
                                                                   633PageID
                                                                       PageID#:#:11398
                                                                                  642
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page251
                                                           551ofof332
                                                                   633PageID
                                                                       PageID#:#:11399
                                                                                  643
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page252
                                                           552ofof332
                                                                   633PageID
                                                                       PageID#:#:11400
                                                                                  644
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page253
                                                           553ofof332
                                                                   633PageID
                                                                       PageID#:#:11401
                                                                                  645
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page254
                                                           554ofof332
                                                                   633PageID
                                                                       PageID#:#:11402
                                                                                  646




                       EXHIBIT 
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page255
                                                           555ofof332
                                                                   633PageID
                                                                       PageID#:#:11403
                                                                                  647
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page256
                                                           556ofof332
                                                                   633PageID
                                                                       PageID#:#:11404
                                                                                  648
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page257
                                                           557ofof332
                                                                   633PageID
                                                                       PageID#:#:11405
                                                                                  649
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page258
                                                           558ofof332
                                                                   633PageID
                                                                       PageID#:#:11406
                                                                                  650
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page259
                                                           559ofof332
                                                                   633PageID
                                                                       PageID#:#:11407
                                                                                  651
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page260
                                                           560ofof332
                                                                   633PageID
                                                                       PageID#:#:11408
                                                                                  652
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page261
                                                           561ofof332
                                                                   633PageID
                                                                       PageID#:#:11409
                                                                                  653
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page262
                                                           562ofof332
                                                                   633PageID
                                                                       PageID#:#:11410
                                                                                  654
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page263
                                                           563ofof332
                                                                   633PageID
                                                                       PageID#:#:11411
                                                                                  655
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page264
                                                           564ofof332
                                                                   633PageID
                                                                       PageID#:#:11412
                                                                                  656
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page265
                                                           565ofof332
                                                                   633PageID
                                                                       PageID#:#:11413
                                                                                  657
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page266
                                                           566ofof332
                                                                   633PageID
                                                                       PageID#:#:11414
                                                                                  658
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page267
                                                           567ofof332
                                                                   633PageID
                                                                       PageID#:#:11415
                                                                                  659
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page268
                                                           568ofof332
                                                                   633PageID
                                                                       PageID#:#:11416
                                                                                  660
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page269
                                                           569ofof332
                                                                   633PageID
                                                                       PageID#:#:11417
                                                                                  661
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page270
                                                           570ofof332
                                                                   633PageID
                                                                       PageID#:#:11418
                                                                                  662




                       EXHIBIT 
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page271
                                                           571ofof332
                                                                   633PageID
                                                                       PageID#:#:11419
                                                                                  663
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page272
                                                           572ofof332
                                                                   633PageID
                                                                       PageID#:#:11420
                                                                                  664




                       EXHIBIT 1
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page273
                                                           573ofof332
                                                                   633PageID
                                                                       PageID#:#:11421
                                                                                  665
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page274
                                                           574ofof332
                                                                   633PageID
                                                                       PageID#:#:11422
                                                                                  666
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page275
                                                           575ofof332
                                                                   633PageID
                                                                       PageID#:#:11423
                                                                                  667
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page276
                                                           576ofof332
                                                                   633PageID
                                                                       PageID#:#:11424
                                                                                  668
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page277
                                                           577ofof332
                                                                   633PageID
                                                                       PageID#:#:11425
                                                                                  669
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page278
                                                           578ofof332
                                                                   633PageID
                                                                       PageID#:#:11426
                                                                                  670
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page279
                                                           579ofof332
                                                                   633PageID
                                                                       PageID#:#:11427
                                                                                  671
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page280
                                                           580ofof332
                                                                   633PageID
                                                                       PageID#:#:11428
                                                                                  672
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page281
                                                           581ofof332
                                                                   633PageID
                                                                       PageID#:#:11429
                                                                                  673
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page282
                                                           582ofof332
                                                                   633PageID
                                                                       PageID#:#:11430
                                                                                  674
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page283
                                                           583ofof332
                                                                   633PageID
                                                                       PageID#:#:11431
                                                                                  675
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page284
                                                           584ofof332
                                                                   633PageID
                                                                       PageID#:#:11432
                                                                                  676
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page285
                                                           585ofof332
                                                                   633PageID
                                                                       PageID#:#:11433
                                                                                  677
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page286
                                                           586ofof332
                                                                   633PageID
                                                                       PageID#:#:11434
                                                                                  678
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page287
                                                           587ofof332
                                                                   633PageID
                                                                       PageID#:#:11435
                                                                                  679
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page288
                                                           588ofof332
                                                                   633PageID
                                                                       PageID#:#:11436
                                                                                  680
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page289
                                                           589ofof332
                                                                   633PageID
                                                                       PageID#:#:11437
                                                                                  681
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page290
                                                           590ofof332
                                                                   633PageID
                                                                       PageID#:#:11438
                                                                                  682
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page291
                                                           591ofof332
                                                                   633PageID
                                                                       PageID#:#:11439
                                                                                  683
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page292
                                                           592ofof332
                                                                   633PageID
                                                                       PageID#:#:11440
                                                                                  684
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page293
                                                           593ofof332
                                                                   633PageID
                                                                       PageID#:#:11441
                                                                                  685
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page294
                                                           594ofof332
                                                                   633PageID
                                                                       PageID#:#:11442
                                                                                  686
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page295
                                                           595ofof332
                                                                   633PageID
                                                                       PageID#:#:11443
                                                                                  687
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page296
                                                           596ofof332
                                                                   633PageID
                                                                       PageID#:#:11444
                                                                                  688
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page297
                                                           597ofof332
                                                                   633PageID
                                                                       PageID#:#:11445
                                                                                  689
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page298
                                                           598ofof332
                                                                   633PageID
                                                                       PageID#:#:11446
                                                                                  690
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page299
                                                           599ofof332
                                                                   633PageID
                                                                       PageID#:#:11447
                                                                                  691
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page300
                                                           600ofof332
                                                                   633PageID
                                                                       PageID#:#:11448
                                                                                  692
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page301
                                                           601ofof332
                                                                   633PageID
                                                                       PageID#:#:11449
                                                                                  693
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page302
                                                           602ofof332
                                                                   633PageID
                                                                       PageID#:#:11450
                                                                                  694
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page303
                                                           603ofof332
                                                                   633PageID
                                                                       PageID#:#:11451
                                                                                  695
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page304
                                                           604ofof332
                                                                   633PageID
                                                                       PageID#:#:11452
                                                                                  696
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page305
                                                           605ofof332
                                                                   633PageID
                                                                       PageID#:#:11453
                                                                                  697
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page306
                                                           606ofof332
                                                                   633PageID
                                                                       PageID#:#:11454
                                                                                  698
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page307
                                                           607ofof332
                                                                   633PageID
                                                                       PageID#:#:11455
                                                                                  699
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page308
                                                           608ofof332
                                                                   633PageID
                                                                       PageID#:#:11456
                                                                                  700
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page309
                                                           609ofof332
                                                                   633PageID
                                                                       PageID#:#:11457
                                                                                  701
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page310
                                                           610ofof332
                                                                   633PageID
                                                                       PageID#:#:11458
                                                                                  702
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page311
                                                           611ofof332
                                                                   633PageID
                                                                       PageID#:#:11459
                                                                                  703
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page312
                                                           612ofof332
                                                                   633PageID
                                                                       PageID#:#:11460
                                                                                  704
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page313
                                                           613ofof332
                                                                   633PageID
                                                                       PageID#:#:11461
                                                                                  705
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page314
                                                           614ofof332
                                                                   633PageID
                                                                       PageID#:#:11462
                                                                                  706
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page315
                                                           615ofof332
                                                                   633PageID
                                                                       PageID#:#:11463
                                                                                  707
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page316
                                                           616ofof332
                                                                   633PageID
                                                                       PageID#:#:11464
                                                                                  708




                       EXHIBIT 1
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page317
                                                           617ofof332
                                                                   633PageID
                                                                       PageID#:#:11465
                                                                                  709
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page318
                                                           618ofof332
                                                                   633PageID
                                                                       PageID#:#:11466
                                                                                  710




                       EXHIBIT 1
Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page319
                                                           619ofof332
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
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                                                           620ofof332
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page321
                                                           621ofof332
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
                                                      Page322
                                                           622ofof332
                                                                   633PageID
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page323
                                                           623ofof332
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                279-1
                                  16 Filed
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                                            06/12/24 Page
                                                      Page324
                                                           624ofof332
                                                                   633PageID
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page325
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                                                                   633PageID
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
                         Document
                                279-1
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                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page326
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                                                                   633PageID
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                279-1
                                  16 Filed
                                      Filed 02/29/24
                                            06/12/24 Page
                                                      Page327
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Case
 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
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 Case1:22-cv-01146-MN
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Case
 Case1:22-cv-01146-MN
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                                  16 Filed
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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                                            06/12/24 Page
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 Case1:22-cv-01146-MN
      1:24-cv-00490-MN Document
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Case
 Case1:24-cv-00490-MN
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                                              02/29/24 Page
                                                        Page633
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  ARM LTD.,                                        )
                                                   )
                        Plaintiff,                 )
                                                   )
         v.                                        )    C.A. No. 22-1146 (MN) (LDH)
                                                   )
  QUALCOMM INC., QUALCOMM                          )
  TECHNOLOGIES, INC. and NUVIA, INC.,              )
                                                   )
                        Defendants.                )

                                      [PROPOSED] ORDER

         WHEREAS, the Court having considered Defendants’ Motion for Leave to Amend Answer

  and Counterclaim, and any opposition thereto;

         IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Defendants are

  directed to file their amended answer and counterclaims on or before March 7, 2024.



         SO ORDERED, this ____ day of ________________, 2024.




                                                            ______________________________
                                                            J.
